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13

14   Attorneys for Plaintiff OWEN DIAZ
15

16                               UNITED STATES DISTRICT COURT

17                           NORTHERN DISTRICT OF CALIFORNIA
18   DEMETRIC DI-AZ, OWEN DIAZ, and                 Case No. 3:17-cv-06748-WHO
     LAMAR PATTERSON,
19
                   Plaintiffs,                      DECLARATION OF DAVID M.
20                                                  DERUBERTIS IN SUPPORT OF
           v.                                       PLAINTIFF’S MOTION FOR
21
                                                    ATTORNEYS’ FEES
     TESLA, INC. dba TESLA MOTORS, INC.;
22   CITISTAFF SOLUTIONS, INC.; WEST
     VALLEY STAFFING GROUP;
23   CHARTWELL STAFFING SERVICES, INC.;
     and DOES 1-50, inclusive,
24

25         Defendants.

26

27

28

                                              -i-

      DECLARATION OF DAVID M. DERUBERTIS IN SUPPORT OF PLAINTIFF’S MOTION
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 1                DECLARATION OF DAVID M. deRUBERTIS, ESQ.:
 2           I, David M. deRubertis, Esq., hereby declare as follows:
 3           1.    I am an attorney at law duly licensed to practice before all courts of
 4
     the State of California. This declaration is submitted in support of Plaintiff Owen
 5
     Diaz’s request for attorneys’ fees. I am the principal in the deRubertis Law Firm,
 6
     APC, an employment and trial boutique firm, where I concentrate on litigating
 7
     employment matters on behalf of workers throughout California.
 8
     I.      BACKGROUND, TRAINING AND EXPERIENCE:
 9
             2.    I graduated summa cum laude and Order of the Coif from Loyola Law
10
     School in 2000 with a cumulative grade point average of 92.05 (class rank of 2 of
11
     297). At Loyola, I was the recipient of the Dean’s Scholarship and received awards
12
     for the highest grade in 12 different classes and was a member of Loyola’s Byrne
13

14
     Trial Advocacy Team, which is considered one of the nation’s top law school

15   mock trial advocacy teams by the U.S News & World Report’s Annual Ranking.
16   On the Byrne Team, I won a national mock trial competition (Georgetown
17   University Law Center 2nd Annual National White Collar Crime Mock Trial
18   Invitational, November 1998), received the highest ranking in the 1998 Loyola
19   Law School Intramural Trial Advocacy Competition, and at graduation received
20   the American Board of Trial Advocates (ABOTA) award for Excellence in the
21   Preparation for Trial Law Award.
22           3.    Immediately after passing the bar, I opened my own law practice in
23
     November of 2000 handling a variety of plaintiff’s contingency matters. Since then
24
     I have conducted approximately thirty (30) trials in both state and federal courts
25
     (approximately twenty-four [24] jury and six [6] bench trials), in addition to five
26
     [5] binding arbitrations. This is just my post-bar trial experience. In my last year of
27
     law school, through an externship at the Los Angeles District Attorneys office, I
28


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 1   also personally conducted approximately ten (10) criminal juvenile adjudications
 2   which are bench trials. When jury and bench trials are added with binding
 3   arbitrations, I have conducted approximately forty-five (45) in total. I have a
 4
     statewide practice, having tried cases from as far South as San Diego County to as
 5
     far North as Sacramento and Yolo Counties, as well as multiple counties in
 6
     between, though my primary office is based in Los Angeles County.
 7
           4.     I have obtained multiple multi-million dollar and other significant
 8
     employment jury verdicts – including obtaining as lead counsel various record-
 9
     setting verdicts. For example, in June 2022, as lead trial counsel, I obtained the
10
     largest jury verdict in U.S. history for an employment case – $422,377,265 for
11
     Alfredo Martinez in the matter of Martinez/Page v. Southern California
12
     Edison/Edison International, in the Los Angeles Superior Court. In addition to
13

14
     Mr. Martinez’s verdict, I also obtained a $42.2 million jury verdict for his co-

15   Plaintiff Justin Page. Mr. Page’s verdict is the largest male victim sexual
16   harassment verdict in California history (and potentially in the country). In
17   September 2023, as lead trial counsel, I obtained a $20 million jury verdict in the
18   matter of Callahan v. Marriott, et al., in the San Francisco Superior Court. The
19   Callahan verdict of $20 million is believed to be the largest single-plaintiff
20   employment verdict out of the San Francisco Superior Court. In addition, the $5
21   million non-economic verdict in the Callahan matter is believed to be the largest
22   non-economic jury verdict in an employment case out of the San Francisco
23
     Superior Court. Or, in 2014, as lead trial counsel, I obtained a $6,000,000
24
     compensatory damages Sarbanes-Oxley retaliation jury verdict plus a finding of
25
     malice, fraud or oppression (at which point the matter resolved confidentially
26
     before the jury determined the amount of punitive damages) in the United States
27
     District Court for the Central District of California. Even before punitive damages,
28


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 1   this was the largest Sarbanes-Oxley retaliation verdict ever at the time and to this
 2   day remains the largest compensatory damage jury verdict in a Sarbanes-Oxley
 3   retaliation case. In 2017 in a jury trial in San Diego, I obtained as lead trial counsel
 4
     what was believed and reported to be the largest associational disability
 5
     discrimination jury verdict in California at the time under the FEHA. Back in 2004,
 6
     while not as lead counsel, I helped obtained $19,000,000 in a single plaintiff
 7
     disability discrimination case. This was the largest employment verdict in the
 8
     nation in 2004 and was at the time believed to be the largest single plaintiff
 9
     disability discrimination/California Family Rights Act verdict in California history
10
     at the time. I was also lead trial counsel in the matter of Loyola v. Woodbridge, et
11
     al., which led to a $12,495,000.00 resolution judgment, which is reportedly the
12
     largest ever resolution of a transgender harassment or discrimination case to date in
13

14
     America. I have also been lead trial counsel in numerous other employment jury

15   trials that have produced seven- and six- figure jury verdicts, and have settled
16   many multi-million dollar employment cases confidentially (including resolutions
17   of single-plaintiff employment cases for as high as: $15,000,000; $12,500,000;
18   $8,500,000; $6,250,000 on a five hundred thousand dollars [$500,000] economic
19   loss case; $5,250,000; $4,500,000 on a zero economic loss case; $4,200,000;
20   $3,800,000; $3,425,000; etc.). I have also settled an employment discrimination
21   class action for fifteen million dollars ($15,000,000), another employment
22   discrimination class action for seven million one hundred and thirty-seven
23
     thousand nine hundred dollars ($7,137,900.00), as well as multiple multi-million-
24
     dollar wage and hour class action matters.A substantial portion of my practice
25
     consists of being asked to step in to try employment cases for or with other
26
     attorneys, often after discovery has been completed and on the “eve of trial.” In the
27
     last five years, somewhere between fifty to seventy-five percent of my practice has
28


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 1   consisted of stepping into employment cases for other attorneys to either try the
 2   case or complete the work-up and try it. Often, these are last minute “eve of trial”
 3   requests and often I am asked to step in as lead trial counsel by attorneys who
 4
     themselves are very experienced employment or trial attorneys.
 5
           5.     A smaller portion of my practice includes handling complex or
 6
     cutting-edge employment law appeals, usually at the California Supreme Court
 7
     level (either on behalf of the employee or amicus curiae on behalf of the employee
 8
     or consumer). I have personally been lead counsel in four matters on the merits in
 9
     the California Supreme Court. In addition to my California Supreme Court
10
     practice, I have also handled 17 appeals as lead counsel (most of which were
11
     employment-related cases) in the California appellate courts and the Ninth Circuit
12
     Court of Appeals.
13

14
           6.     I have received numerous professional recognitions and honors,

15   including:
16
         Charles B. O’Reilly Memorial “Trial Lawyer of the Year” for Consumer
17
          Attorneys Association of Los Angeles (CAALA) (2014): In October 2014, I
18        was voted “Trial Lawyer of the Year” by the Consumer Attorneys
19        Association of Los Angeles (CAALA), which was formally awarded in
          January 2015. Every year, only one of CAALA’s nearly three thousand
20        members receives this award. I have been one of only five (5) employment
21        lawyers out of the fifty-one (51) individuals who have received this honor
          since 1972. In addition to receiving the Trial Lawyer of the Year honor in
22
          2014, in both 2009 and 2022, I was also a nominee for CAALA’s Trial
23        Lawyer of the Year.
24
         Daily Journal’s Top 100 Lawyers in California (2023): In 2023, I was honored
25        as one of the Top 100 Lawyers from all practices areas in California by the
26        Los Angeles & San Francisco Daily Journal.
27

28


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 1    “California Lawyer Attorney of the Year” (“CLAY Award”): In March
       2014, I was honored as a California Lawyer magazine “Attorney of the
 2
       Year” – i.e., a “CLAY Award” recipient – for my work in the employment
 3     law field and particularly the case of Harris v. City of Santa Monica (2013)
       56 Cal.4th 203.
 4

 5    Best Lawyers in America - “Lawyer of the Year Employment Law -
 6     Individuals” (2014 & 2018): In both 2014 and 2018, I was honored as Best
       Lawyers’ “Lawyer of the Year - Employment Law - Individuals” for the Los
 7
       Angeles area. Only one attorney from each practice area in each region
 8     receives this honor annually.
 9
      National Law Journal: Employment Law Trailblazer (2021 & 2023): In both
10     2021 and 2023, I was recognized by the National Law Journal as an
11     “Employment Law Trailblazer” for my work in employee rights litigation. I
       was of only four (4) plaintiff-side attorneys in the entire country who received
12
       this honor in 2021.
13

14    National Law Journal: Plaintiffs’ Lawyers Trailblazer (2023): In 2023, I was
15
       recognized by the National Law Journal as a “Plaintiffs’ Lawyers Trailblazer.

16    Law 360: Employment Law MVP: In 2022, I was recognized by Law360 as
17     one of its nationwide Employment Law MVPs. Law 360 honors five (5)
       attorneys nationwide with this honor and I was the only plaintiff-side
18
       attorney on the list in 2022.
19

20
      Law 360: Employment Law Practice Group of Year: In January 2023, my
       law firm (The deRubertis Law firm, APC) was recognized by Law 360 as
21     one of its five Employment Law Practice Groups of the Year for 2022. My
22     firm, a two-attorney firm in 2022, is one of two plaintiff-side firms on the
       list. The other plaintiff-side firm had over 100 attorneys.
23

24    Am Law Litigation Daily – Litigator of the Week: In June 2022, I was
25
       honored as “Litigator of the Week” by Am Law Litigation Daily for my
       work in securing the record-setting jury verdict in the Martinez/Page v.
26     Southern California Edison, et al. case.
27
      “Joe Posner Award” from the California Employment Lawyers Association
28
       (CELA): In 2011, I was the recipient of the California Employment
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 1      Lawyers’ Association’s (CELA) “Joe Posner Award.” CELA is a statewide
        organization of over one thousand employee rights lawyers – the largest
 2      statewide organization of employee rights attorneys in the Country. The
 3      “Posner Award” is CELA’s highest recognition and it is given to an
        individual for a career of work dedicated to advancing employee rights. To
 4
        date, I remain the youngest-ever recipient of this honor (37 years-old).
 5

 6    Daily Journal’s Top 10 Plaintiff-Side Employment Lawyer & Top Labor and
       Employment Lawyer (2009-2023): In both 2009 and 2010, I was honored as
 7     one of the Top 10 Plaintiff-Side Employment Lawyers in California by Los
 8     Angeles & San Francisco Daily Journals. In 2011, the Daily Journal re-
       styled this honor as “Top Labor & Employment Lawyers.” In 2011, 2012,
 9
       2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022 and 2023. I
10     was given this recognition. I am either the only plaintiff-side employment
11
       lawyer in California, or one of only two, to have been recognized by the
       Daily Journal in its top employment lawyers lists every year since the
12     inception of this recognition in 2009.
13
      Daily Journal’s “Top Plaintiffs’ (2022, 2016 & 2014): In 2022, the Los
14
       Angeles & San Francisco Daily Journals recognized the jury verdict I
15     obtained as lead counsel in the Martinez/Page v. SoCal Edison, et al. case as
16
       the number one verdict for 2022 on its “Top Plaintiffs’ Verdicts by Dollar”
       annual list. This verdict was the largest jury verdict in California in 2022 for
17     any type of case. Also, in both 2014 and 2016, the Los Angeles & San
18     Francisco Daily Journals recognized jury verdicts I obtained as lead counsel
       as being among the “Top Plaintiffs’ Verdicts by Impact” for those years. In
19
       2014, I received this honor for my successful federal jury trial in the case of
20     Zulfer v. Playboy Enterprises. In 2016, I received this honor for my
21
       successful state court jury trial in the case of Hernandez v. Pacific
       Bell/AT&T.
22

23    Benchmark Litigation: Labor & Employment Star (2022 & 2023): In both
       2022 and 2023, Benchmark Litigation recognized me as one of its
24
       nationwide Labor & Employment Stars.
25

26
      Top 100 Southern California Super Lawyer: From 2011-2023, I have been
       honored as a “Top 100 Southern California Super Lawyer” by Los Angeles
27     Magazine and Law & Politics, through the vote of my peers. In addition to
28     being recognized as a “Top 100 Southern California Super Lawyer” from

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 1      2011-2023, in 2010, I was recognized as a Super Lawyer in Employment
        Litigation. And, from 2005 through 2009, I was recognized as a Rising Star
 2      Super Lawyer by Los Angeles Magazine and Law & Politics – a distinction
 3      given to 2.5% of Southern California lawyers who are either under forty (40)
        years of age or have been in practice for less than ten (10) years.
 4

 5    American Board of Trial Advocates (ABOTA) Associate Member: In 2012,
 6     at thirty-eight (38) years-old, I was inducted into the American Board of
       Trial Advocates (ABOTA) at the rank of Associate.
 7

 8    Best Lawyers in America - Employment Law - Individuals: In addition to
       my “Lawyer of the Year” recognition discussed above, from 2012 through
 9
       2023, I have been recognized in Best Lawyers in America under the practice
10     area of Employment Law - Individuals.
11
      Best Law Firms in America - Employment Law- Individuals (“Tier 1”):
12
       From 2013 through 2023, my law firm (The deRubertis Law Firm, APC) has
13     been recognized in Best Lawyers in America under the practice area of
       “Employment Law – Individuals” and “Litigation - Labor & Employment.”
14
       My firm has received a Tier 1 listing regionally in addition to a national
15     ranking.
16

17    National Law Journal: Elite Trial Lawyers – Employment (Finalist): In 2023,
       I was a Finalist for the National Law Journal’s Elite Trial Lawyers –
18
       Employment award.
19

20
      “Consumer Attorney of the Year” Finalist for Consumer Attorneys
       Association of California (CAOC): In 2023, I am a Finalist for CAOC’s
21     “Consumer Attorney of the Year” award. The winner of this award will be
22     announced in November 2023.
23
      “Trial Lawyer of the Year” Finalist for Ventura County Trial Lawyers: In
24
       2023, I was a Finalist for “Trial Lawyer of the Year” for the Ventura County
25     Trial Lawyers.
26

27

28


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 1    “Street Fighter of Year” Finalist for Consumer Attorneys Association of
       California (CAOC): In both 2014 and 2015, I was Finalist for CAOC’s
 2
       “Street Fighter of the Year” award. This award is for smaller firm
 3     practitioners (five attorneys or less) that achieved a significant result in a
       case that exemplifies the everyday struggles of the small firm practitioner. In
 4
       2014, I was a Finalist for my work in the Zulfer v. Playboy Enterprises
 5     matter discussed above. In 2015, I was a Finalist for my pro bono
 6     representation of former firefighter Wynn Williams in the Supreme Court
       case of Williams v. Chino Valley Independent Fire District (2015) 61 Cal.4th
 7     97.
 8

 9    “Law Dragon 500 Leading Employment Lawyers”: From 2020-2023, I have
       been recognized by Law Dragon as among the Top 500 Employment
10
       Lawyers in the Country.
11

12    “Law Dragon 500 Leading Plaintiff Consumer Lawyers”: In 2023, I was
13     recognized by Law Dragon as among the Top 500 Plaintiff Consumer
       Lawyers in the Country.
14

15    “Top 100 California Trial Lawyer”: From 2008 to the present, I have been
16
       recognized as a “Top 100 Trial Lawyer” in California by The National Trial
       Lawyers (formerly, The ATLA), an organization that offers membership to
17     those it deems the Top 100 trial lawyers in each state.
18     (www.thenationaltriallawvers.org.).
19
      “Top 40 Under 40 Trial Lawyer”: In 2012 and 2013, I was honored by The
20     National Trial Lawyers (formerly, The ATLA) as one of the Top 40 Trial
21
       Lawyers Under 40.

22    “Fellow - Litigation Counsel of America”: In 2014, I was invited to join the
23     “Litigation Counsel of America” (LCA) as a “Fellow.” The LCA is an
       invitation-only trial lawyer honorary society whose membership is limited to
24
       3,500 Fellows nationwide and includes members from both sides of the bar
25     (plaintiff and defense).
26
      AV Preeminent Rating by Martindale Hubbell: I have achieved a preeminent
27     AV rating by Martindale Hubbell. This AV rating reflects lawyers who have
28


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 1         achieved the highest possible peer review rating in both legal abilities and
           professional ethics.
 2

 3         7.     Publications & Continuing Legal Education Seminars: I have spoken
 4
     or presented at in excess of one hundred continuing legal education seminars,
 5
     including nationwide seminars on employment law or trying employment cases. I
 6
     have also published articles in legal periodicals regarding employment law,
 7
     evidence and trial strategies. I also have published multiple articles on disability
 8
     discrimination and reasonable accommodation matters particularly.
 9
           8.     Leadership and Invitation-Only Professional Organization
10
     Membership: I currently serve on the Board of Governors of the Consumer
11
     Attorneys Association of Los Angeles (CAALA). I have served on the CAALA
12
     Board continuously since approximately 2012-2013. As part of my role in
13

14
     CAALA, I served as a Co-Chair for CAALA’s Annual Convention in Las Vegas in

15   both 2016 and 2017. I also currently an on the Committee planning CAALA’s
16   annual Plaintiffs’ Trial Academy, an intensive trial skills training program offered
17   by CAALA to its members. Previously, from approximately 2007 until 2019 when
18   I hit the term limit, I served on the Executive Board of the California Employment
19   Lawyers Association (CELA). As part of my involvement in CELA, for many
20   years, I was the Chair of CELA’s CACI Committee through which I typically
21   alone drafted and submitted comments to the Judicial Council’s CACI Committee
22   during the two times per year that the Judicial Council’s CACI Committee
23
     proposed amendments to the CACI instructions that impacted employment law
24
     issues. I also served for a number of years as a member of the Board of Governors
25
     of the Consumer Attorneys of California (CAOC), as well as a three-year term on
26
     the Executive Committee of the State Bar Labor & Employment Law Section. As
27
     part of my involvement in both CELA and CAOC, I often prepared amicus letters
28


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 1   or briefs on important issues and served as amicus counsel to both organizations. I
 2   was also one of the original founding Board Members of the Los Angeles Trial
 3   Lawyers Charities (LATLC), a non-profit corporation with a mission of making a
 4
     positive difference in the lives of people in need in the Los Angeles community
 5
     through fund raising, donations and financial and other support.
 6
            9.    Recognized Expertise in Employment Law: My expertise in
 7
     employment law issues – including specifically disability discrimination and
 8
     reasonable accommodation matters – is also reflected by the fact that I was asked
 9
     to serve (and did serve) on an Advisory Working Group to the California Fair
10
     Employment and Housing Commission as it endeavored to draft new Regulations
11
     for the California Code of Regulations interpreting the Fair Employment and
12
     Housing Act’s disability discrimination and reasonable accommodation provisions.
13

14
     I have also appeared before the California Law Review Commission representing

15   CELA to offer insight and expert guidance on issues affecting employment-related
16   contractual arbitration. Finally, I have testified to both the California Assembly
17   Judicial Committee and Senate Judiciary Committee regarding pending
18   employment-related legislation.
19   II.    OPINIONS REGARDING HOURLY RATES AND THE SKILL,
20          REPUTATION AND ABILITIES OF PLAINTIFF’S COUNSEL
21          10.   I have extensive knowledge of the prevailing hourly rates in the
22   community for work of similar nature and complexity to the work in this case.
23
     This knowledge includes knowledge of Northern California markets, including
24
     specifically the Bay Area market. My experience and knowledge in this regard
25
     comes from a variety of sources, including: (a) my own work in fee applications in
26
     other matters; (b) my assistance to other attorneys in their fee applications,
27
     including offering expert testimony regarding prevailing market rates (which
28


                                      -10-
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 1   expert testimony has been relied on in numerous trial courts throughout California
 2   in setting appropriate rates); (c) my familiarity with fee application orders in other
 3   cases; (d) my independent research and knowledge of the prevailing market rates
 4
     based on fee requests of other counsel and my familiarity with rates charged in
 5
     other law firms; and (e) my independent reading and research regarding law firm
 6
     billing rates. I have actively followed, monitored, researched and evaluated
 7
     attorney fee rates including in the employment area for approximately 20 years
 8
     now.
 9
            11.   While the overwhelming majority of my practice is contingency-based
10
     representation, my current hourly rate – the rate I charge if retained or consulted on
11
     an hourly basis on an employment law matter (whether individual, class or PAGA)
12
     – is $1,200 per hour. Based on my familiarity with prevailing market rates for
13

14
     work of similar complexity in the Southern California and Northern California/Bay

15   Area markets, I can attest that this hourly rate is well within the prevailing market
16   rate for work of similar complexity performed by attorneys of similar skill and
17   experience in both markets
18          12.   I understand that the hourly rates sought in this case by the various
19   attorneys for Plaintiff are: (a) Michael Rubin: $1,275; (b) J. Bernard Alexander,
20   III: $1,200; (c) Lawrence Organ: $975; (d) Corinne Johnson $825; (e) Dustin
21   Collier: $750; (f) Marqui Hood: $900; (g) Jonathan Rosenthal: $650; (h) Britt
22   Karp: $675; (i) Navruz Avloni: $725; (j) Cimone Nunley: $500; (k) Drew F. Teti:
23
     $650; (l) Brian C. Mathias: $525; and (m) Elizabeth R. Malay: $400; Molly
24
     Durkin: $750. Based on my personal experience and observations, as well as my
25
     familiarity with the prevailing market rates for work of similar complexity in the
26
     Bay Area market and my knowledge and understanding of these attorneys’
27
     respective reputations in the community, it is my professional opinion that all of
28


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 1   these rates are reasonable and well within the prevailing market range for work of
 2   similar complexity to the work done in this matter by attorneys of similar skill,
 3   experience, reputation and abilities.1
 4
            A.    Michael Rubin
 5
            13.   I have known Michael Rubin for approaching 15 years. Michael
 6
     Rubin is widely considered to be one of the foremost, if not the foremost, appellate
 7
     litigator handling plaintiffs-side employment matters (and other public policy
 8
     cases) in California, having successfully expanded the rights of workers,
 9
     consumers and others in such groundbreaking cases as Adolph v. Uber
10
     Technologies, Inc., 14 Cal.5th 1104 (2023); Dynamex Operations West v. Superior
11
     Court, 4 Cal.5th 903 (2018); Laffitte v. Robert Half Int’l Inc., 1 Cal.5th 480 (2016);
12
     Kilby v. CVS Pharmacy, Inc., 63 Cal.4th 1 (2016); Iskanian v. CLS Transp. Los
13

14
     Angeles, LLC, 59 Cal.4th 348 (2014); Brinker Restaurant Corp. v. Superior Court,

15   53 Cal.4th 1004 (2012); Pearson Dental Supplies, Inc. v. Superior Court, 48
16   Cal.4th 665 (2010); Vasquez v. State of California, 45 Cal.4th 243 (2008), and
17   countless other cases in the Ninth Circuit, U.S. Supreme Court, and other state
18   appellate courts. Mr. Rubin, who is regularly acknowledged in various
19   publications’ Top Attorneys lists, also has a well-deserved reputation for his
20   excellent trial-level litigation skills and successes. I am familiar with the
21   exceptionally well-crafted briefs that Mr. Rubin and his colleagues at Altshuler
22   Berzon LLP (including Jonathan Rosenthal and Corinne Johnson) prepared in this
23

24

25
     1
       Nearly a decade ago, in January 2014, the National Law Journal did an article
     entitled “NLJ Billing Survey: $1,000 Per Hour Isn’t Rare Anymore,” the point of
26
     which was that “four-figure hourly rates for in-demand partners at the most
27   prestigious firms don’t raise eyebrows – a few top earners are closing in on $2,000
     an hour.” Attached hereto and marked as Exhibit “A” is a true and correct copy of
28
     this article.
                                        -12-
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 1   matter after the first trial, and they reflect the thorough analysis and excellent
 2   craftsmanship for which he and his law firm are justifiably known. I have
 3   personal, firsthand knowledge of Mr. Rubin and his firm’s preeminence in high-
 4
     stakes, complex employment appellate matters as I, too, had a portion of my career
 5
     where I regularly practiced before the California Supreme Court on employment
 6
     law matters. Indeed, I was co-counsel with Mr. Rubin in Pearson Dental Supplies,
 7
     Inc. v. Superior Court, 48 Cal.4th 665 (2010), which was a case I had been
 8
     retained to handle but given schedule conflicts Mr. Rubin took over as lead. The
 9
     work he did on that case, like all others I have personally observed, was nothing
10
     short of outstanding. He is among, if not, the best in the business for this kind of
11
     work, as is his firm generally.
12
           14.    I understand that Mr. Rubin seeks fees at the rate of $1,275 per hour for
13

14
     work on this case. This is more than reasonable. In fact, it is my professional

15   opinion that Mr. Rubin’s rate is below the prevailing market rate for work of similar
16   complexity done by lawyers of similar caliber in the relevant market.
17         B.     J. Bernard Alexander, III
18         15.    I have known Bernard Alexander for approximately 18 years. For
19   approximately 10 years, I served on the Executive Board of the California
20   Employment Lawyers Association (CELA) with Mr. Alexander. I have also been
21   a co-panelist on a number of continuing education seminars with Mr. Alexander. I
22   was part of the committee chaired by Mr. Alexander, in the planning and creation
23
     of the Inaugural 2014 CELA Trial College in June 2014. Over the last number of
24
     years, I have regularly discussed cases, case issues, trial issues, employment law
25
     issues, etc. with Mr. Alexander and have seen firsthand his work product. Finally,
26
     I am also familiar with Mr. Alexander’s stellar reputation in the employment law
27
     community.
28


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 1         16.    Based on my experience and knowledge of Mr. Alexander, I can
 2   attest both based on firsthand knowledge of the quality of his work and his
 3   reputation in the community that he is an extremely skilled, experienced and able
 4
     advocate for employees in employment law cases. Mr. Alexander has extensive
 5
     trial experience, which separates him from many of his colleagues who handle
 6
     plaintiff-side employment cases. Mr. Alexander is extremely knowledgeable in
 7
     employment law matters.
 8
           17.    In short, Mr. Alexander is an excellent, highly skilled, experienced
 9
     and reputable plaintiff-side employee rights advocate. Any client represented by
10
     Mr. Alexander will find him or herself in great hands and very fortunate to have
11
     very able and skilled counsel who both knows substantive employment law and is
12
     an experienced trial lawyer. I understand that Mr. Alexander seeks fees at the rate
13

14
     of $1,200 per hour for work on this case. This is more than reasonable. In fact, it is

15   my professional opinion that Mr. Alexander’s rate is well-within the prevailing
16   market rate for work of similar complexity done by lawyers of similar caliber in the
17   relevant market.
18         C.     Larry Organ
19         18.    I also have known attorney Larry Organ for more than two decades.
20   Mr. Organ is one of the pioneers of employment law trial work in California
21   having tried or participated in some of California’s true landmark employment
22   trials for literally decades including Weeks v. Baker & McKenzie and Gober v.
23
     Ralphs Grocery Co. I worked with Mr. Organ on the CELA Committee on the
24
     proposed CACI Jury Instructions which included developing comments on the
25
     initial draft instructions. This gave me first-hand insight into his abilities to
26
     research and organize legal arguments. In addition, Mr. Organ wrote a letter of
27
     support to the California Supreme Court when I sought review of the Court of
28


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 1   Appeal Decision in Roby v. McKesson. I am well familiar with Mr. Organ’s skill,
 2   experience, ability and reputation and have spoken to Mr. Organ, and
 3   brainstormed with him, countless times. We have both taught at the CELA Trial
 4
     College on numerous occasions and most recently at Trial Lawyers University in
 5
     2022, so I have observed his teaching skills as well as his trial skills. In my
 6
     opinion, his sought rate of $975 per hour is below the prevailing market rate for an
 7
     attorney of his skill, ability, experience and reputation for work of similar
 8
     complexity to the work done in this case.
 9
            D.    Dustin Collier
10
           19.    I have known Mr. Collier for many years. Most recently, I worked
11
     with Mr. Collier to moderate a “Case Analysis” webinar he did regarding this case
12
     in July 2022. Then, I also worked with Mr. Collier and watched him demonstrate
13

14
     aspects of his trial presentation in two separate Trial Lawyers University (TLU)

15   programs he and I taught together in 2022 where this case or portions of the trial
16   presentation on it were featured.
17         20.    It is my opinion that Mr. Collier is without question one of the absolute
18   top up-and-coming trial lawyers in California. For nearly two decades, I have spent
19   countless hours working with, and mentoring, newer trial lawyers in California
20   particularly employment trial lawyers. I have regularly co-counseled and tried cases
21   with newer attorneys who are aspiring up-and-coming trial lawyers. I also regularly
22   teach at trial-related continuing education seminars, including the CELA’s Trial
23
     College and CAALA’s Plaintiff’s Trial Academy. From these experiences, I have
24
     seen firsthand countless newer trial attorneys and their skill levels so I have a solid
25
     basis for comparison.
26
           21.    I have had the privilege of directly observing Mr. Collier’s trial skills,
27
     including through sharing the privilege with Mr. Collier of teaching newer and
28


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 1   aspiring trial lawyers at CELA’s Trial College with Mr. Collier. I also recently put
 2   on a multi-day nationwide continuing legal education seminar where Mr. Collier and
 3   I were the lead organizers and participants. I have never seen an employment law
 4
     trial lawyer who – at a comparable year of practice – had better knowledge of trial
 5
     practice, better raw advocacy skills and better general skill level as a trial lawyer than
 6
     Mr. Collier. Indeed, if I were forced to select one employment trial lawyer in
 7
     California at Mr. Collier’s years of practice who was the best employment trial
 8
     lawyer in the state for that level of years of practice, I would select Mr. Collier for
 9
     that honor. In short, it is my professional opinion that Mr. Collier is as skilled,
10
     talented and outstanding an employment trial lawyer as I have ever seen from
11
     someone at his level of years of experience, and that his skill and expertise should
12
     command an hourly rate that is far beyond one determined simply by his years of
13

14
     practice. I understand that Mr. Collier seeks fees at the rate of $750 per hour for

15   work on this case. This is more than reasonable. In fact, it is my professional
16   opinion that Mr. Collier’s rate is below the prevailing market rate for work of similar
17   complexity done by lawyers of similar caliber in the relevant market.
18          22.    While not to the same degree as Mr. Collier, I nonetheless am familiar
19   with the work product, skill, abilities, knowledge expertise and reputation of Marqui
20   Hood, Britt Karp, Navruz Avloni, Jonathan Rosenthal, Corinne Johnson, Cimone
21   Nunley, Drew Teti, Brian Mathias and Elizabeth Malay. I have had the occasion to
22   interact with and speak with most of these attorneys on employment law issues, trial
23
     of employment cases and/or this case specifically. I have also participated in a CLE
24
     event at which Ms. Malay participated which touched on issues in this case. All of
25
     these attorneys are very skilled employment law attorneys individually, and
26
     collectively this team makes an amazing team that performs work well above their
27
     years of practice. In my opinion, based on my familiarity with the skill, experience,
28


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 1   abilities and reputations of these attorneys, and my familiarity with the prevailing
 2   market rates for attorneys of similar skill, experience, ability and reputations doing
 3   work of similar complexity in the relevant market, each of their sought rates is
 4
     reasonable and within the prevailing market rates.
 5
           23.    Fee orders from other employment cases show that the rates sought
 6
     here are well within the range of reasonableness. Indeed, they show that the rates
 7
     sought in this case fall well below the highest end of the rate spectrum despite that
 8
     the lawyers involved here are excellent attorneys for this type of work. I am aware
 9
     of fee orders in other FEHA cases that approved hourly rates as high as $1,300 per
10
     hour. For example, in April 2022, Judge Linfield of the LASC awarded attorney
11
     Carney Shegerian fees at the rate of one thousand three hundred dollars per hour in
12
     the FEHA case of Tran v. Golden State FC, et al., Los Angeles Superior Court
13

14
     Case No. BC 699931. Attached hereto and marked as Exhibit “B” is a true and

15   correct copy of this order. In addition, this same fee order approved attorney
16   Anthony Nguyen (a 2008 admittee) the rate of $1,000 for second-chair work on
17   this case. Ibid. This same order awarded attorney Melissa Cardenas (2012
18   admittee) fees at the rate of $800 per hour. Id. This, too, illustrates the
19   reasonableness of the rates sought here. Similarly, the same order approved
20   attorney Mark Lim (a 2016 admittee) at $700 per hour and attorney Leo Livshits (a
21   2020 admittee) at $600 per hour. Id. Again, the approval of these rates supports
22   the reasonableness of the rates sought here for sure. As another example, in
23
     December 2021, Judge Richard L. Fruin awarded attorney Carney Shegerian fees
24
     at the rate of $1,300 per hour for his work in the FEHA case of Garcia etc. v.
25
     Seltzer-Doren Management Company, Inc., et al., Los Angeles Superior Court
26
     Case No. BC 699421. Attached hereto and marked as Exhibit “C” is a true and
27
     correct copy of this fee order. In it, in addition to awarding Mr. Shegerian the rate
28


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 1   of $1,300 per hour, Judge Fruin awarded attorney Anthony Nguyen fees at the rate
 2   of $900 per hour for work in a second-chair capacity – again, well above even Mr.
 3   Collier’s sought rate here. Id. In the same order, Judge Fruin also awarded
 4
     attorney William Reed fees at the rate of $850 per hour and attorney Mark Lim (a
 5
     2016 admittee) fees at the rate of $650 per hour for work in a third-chair capacity.
 6
     Ibid. I offer the above to show that the rates sought here are well below the rates
 7
     sought and awarded in this type of case, even though the Plaintiff’s team in this
 8
     case is as good a team as one can assemble.
 9
           24.    I am also aware of the fact that partners at well-respected law firms
10
     that regularly defend employment cases like this charge hourly rates well above the
11
     rates sought here. For example, I can attest with personal knowledge based on
12
     review of court records that certain partners in the employment department of Paul
13

14
     Hastings, LLP regularly charge rates well above $1,000 per hour defending

15   employment cases. Paul Hastings, LLP firm regularly defends employment matters
16   like this case. In fact, I personally have litigated or handled now approaching 20
17   separate employment matters defended by the Paul Hastings firm in the last
18   approximately five years.
19         25.    Through a review of court records, I located fee litigation handled by
20   the Paul Hastings firm in connection with the defense of an employment-related
21   matter, which included briefing in 2019. The supporting declarations in this fee
22   litigation confirm the following rates were charged and that the rates stated below
23
     “are the same rates Paul Hastings generally charges to its clients,” and that “[t]hese
24
     rates are commensurate with rates of other top law firms in the Los Angeles area
25
     and are therefore reasonable.” The rates charged were: (1) Partner Dennis Ellis:
26
     $1,275 per hour in 2018, $1,200 per hour in 2017, $1,100 per hour in 2016, and
27
     $1,050 in 2015; (2) Partner Elena Baca: $1,200 per hour in 2019, $1,100 per hour
28


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 1   in 2019, $1,050 per hour in 2017, $1,025 per hour in 2016 and $975 in 2015; (3)
 2   Associate Nicholas Begakis [2007 admission]: $850 per hour in 2016, $790 per
 3   hour and $765 per hour in 2015; (4) Associate Scott Klausner [2013 admission]:
 4
     $875 per hour in 2018, $775 per hour and $745 per hour in 2017, $670 per hour
 5
     and $645 per hour in 2016, $550 per hour and $475 per hour in 2015; (5) associate
 6
     Jennifer Milazzo [2017 admission]: $735 per hour in 2019, $635 per hour and
 7
     $600 per hour in 2018 and $510 per hour in 2017; (6) associate Paul Kind [2015
 8
     admission]: $765 in 2018; and (7) post-bar clerk Daniel Rojas [June 2019
 9
     admission]: $560 in 2018. Attached hereto and marked as Exhibit “H” is a true
10
     and correct copy of the Declaration of Elena R. Baca in support of Defendant
11
     David Danziger’s motion for attorney’s fees in the case of Charney v. Danziger,
12
     L.A.S.C. Case No. BC 585664. Attached hereto and marked as Exhibit “I” is a
13

14
     true and correct copy of the Supplemental Declaration of Elena R. Baca in support

15   of David Danziger’s motion for attorney’s fees in the case of Charney v. Danziger,
16   L.A.S.C. Case No. BC 585664. The rate information set forth above can
17   particularly be found at: Exhibit “H” at paragraphs 10 through 15 and Exhibit “I”
18   at paragraphs 6 through 11.
19           26.    Likewise, I am aware that attorney Yesenia Gallegos.2 a 2004
20   admittee who is an employment law partner at McDermott Will & Emery, LLP has
21   billed at the rate of $1,030 per hour to defend an individual employment case in
22   2021 litigated in the Bay Area. Relatedly, in the same case, the McDermott
23
     associate who was admitted in 2014 billed at the rate of $910 per hour. Attached
24
     hereto and marked as Exhibit “J” is a true and correct copy of the Declaration of
25
     Yesenia Gallegos, Esq. filed in the matter of Miyagishima v. Avison Young-
26
     Northern California, LTD, Case No. CGC-20-584874. In paragraph 4 of her
27

28   2
         https://www.mwe.com/people/gallegos-yesenia-m/
                                        -19-
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 1   Declaration, Ms. Gallegos testifies as follows: “My hourly rate is $1030.00, and
 2   the hourly rate of my colleague, Emory Moore, is $910.00.” According to the
 3   McDermott firm’s website, Emory D. Moore, Jr. is an associate at the firm who
 4
     obtained his J.D. in 2014.3
 5
             27.    Similarly, I am aware that attorney Jessica Perry, a 2000 admittee who
 6
     is an employment law partner at the Orrick firm based in Menlo Park, has billed at
 7
     the rate of $1,170 per hour in defending an individual employment cases being
 8
     litigated in the Bay Area. In this same matter, associate attorney Anjali Vadillo
 9
     who was admitted in 2017 billed at the rate of $805 per hour. Attached hereto and
10
     marked as Exhibit “K” is a true and correct copy of the Declaration of Anjali
11
     Vadillo (exhibits omitted) in the matter of Kramer v. Carta, Inc., et al., San
12
     Francisco Superior Court Case No. CGC-20-585478. Additionally, it is
13

14
     noteworthy that Ms. Perry (who, again, billed at $1,170 per hour in this matter)

15   was not the lead partner on the case. Rather, Lynne C. Hermle is listed as the lead
16   attorney on the caption. Based on my familiarity with Ms. Hermle and Ms. Perry,
17   it is overwhelmingly likely that Ms. Hermle was billing at a much higher rate than
18   Ms. Perry on this case. Thus, Ms. Perry’s rate is likely not the highest billing rate
19   being charged by Orrick on the matter.
20           28.    Through a review of court records, I located a fee dispute brought by
21   Tesla’s trial counsel in this matter, Quinn Emmanuel. The firm represented Los
22   Angeles County in a case where the sheriff was accused of wrongfully rehiring a
23
     deputy who was accused of domestic abuse. County of Los Angeles v. Sheriff Alex
24
     Villanueva, et al., Los Angeles Superior Court Case No. 19STCP00630. Attached
25
     hereto and marked as Exhibit “L” is a true and correct copy of the complaint in
26
     Quinn Emmanuel’s subsequent suit for attorneys’ fees, Quinn Emmanuel Urquhart
27

28   3
         Error! Main Document Only.https://www.mwe.com/people/emory-d-moore-jr.
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 1   & Sullivan, LLP v. County of Los Angeles, et al., Los Angeles Superior Court Case
 2   No. 23STCV19134. This complaint contains a copy of Quinn Emmanuel’s 2019
 3   retainer agreement. The retainer agreement reflects an hourly billing rate of $1400
 4
     for Steven Madison, who is listed as the lead attorney in the caption and was
 5
     admitted to the California Bar in 1981. It also reflects an hourly billing rate of
 6
     $695 for Scott Mills, who was admitted to the California Bar in 2016.
 7
            29.     I have also reviewed the National Law Journal Billing Survey for
 8
     2017, 2016 and 2014.4 The Survey is an annual survey of law firm billing rates.
 9
     The data contained in this survey on attorney fee rates confirms that first chair
10
     level partners at quality law firms which defend employment cases regularly
11
     charge rates above and consistent with those sought here. The following chart
12
     illustrates data found from the Survey for firms that regularly defend employment
13

14
     cases such as this case. I am personally aware that each of the firms listed below

15   defends employment matters in California. Indeed, I have handled employment
16   matters against many of the firms listed below. In cases where the firm’s
17   information is contained in the 2017 Survey, that information is provided in the
18   chart below without an asterisk after the “Firm Name.” If the firm’s information
19   was not contained in the 2017 survey, then I use the data from either the 2016
20   survey (if included) and, if not, then the 2014 survey. If I used data from the 2016
21   survey, it is denoted with two ** after the “Firm Name.” If I used information in
22   the 2014 survey, it is denoted with one * after the firm’s name in the “Firm Name”
23
     column). All of these surveys understate the actual rates because they are stale by
24
     between four to seven years and during that four to seven year time frame rates
25

26
     4
       Error! Main Document Only. I did not rely on the 2015 survey because, unlike the 2014,
27   2016 and 2017 surveys, the 2015 survey did not list specific billing rates associated with specific
28   law firms. The NLJ stopped publishing this survey in 2017. Thus, the 2017 date provides the
     most up-to-date data, though obviously not current.
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 1   have generally risen in the relevant market.
 2

 3   Firm Name                       Partner High    Partner       Associate
 4                                   Rate            Average (If   High Rate
                                                     Listed)       (If Listed)
 5

 6   Akin Gump, et al.**             $1,325          $1,175        $690
 7
     Baker & McKenzie *              $1,130          $755          $925
 8
     Bingham McCutchen *             $1,080          $795          $605
 9

10   Cooley                          not disclosed   $1,100        $836
11
     Dechert**                       $995            $930          $755
12

13
     DLA Piper                       $1,120          $985          $850

14   Gibson Dunn & Crutcher          $1,195          $1,150        $875
15
     Greenberg Traurig               $1,080          $790          $475
16

17   Hogan Lovells *                 $1,000          $835          not disclosed
18
     Hughes Hubbard & Reed *         $995            $890          $675
19
     Irell & Manella                 not disclosed   $1,135        not disclosed
20

21   Jones Day                       $1,050          $950          $800
22
     King & Spalding, LLP            $1,435          $1,000        $790
23

24
     Morrison & Foerster *           $1,195          $865          $725

25   O’Melveny & Myers *             $950            $715          not disclosed
26
     Pillsbury Winthrop, et al.      $1,235          $830          not disclosed
27

28   Proskauer Rose, LLP             not disclosed   $1,200        not disclosed

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 1
      Sidley Austin                     $1,180             $1,135              not disclosed
 2
      Venable *                         $1,075             $660                $575
 3

 4    Winston & Strawn *                not disclosed      $930                $750
 5
             30.   Summing-up, based on my familiarity with the prevailing market rates
 6
     for work of similar complexity to the work performed in this case, including within
 7
     the Bay Area market, it is my opinion that the rates sought in this case by the
 8
     attorneys reasonable and in line with the prevailing market rate for similar services
 9
     within the relevant market. In fact, as noted above, it is my professional opinion
10
     that some of the rates sought are actually below a prevailing market rate.
11
     III.    IMPORTANCE AND EXPECTATION OF A MULTIPLIER IN FEE-
12
             SHIFTING CIVIL RIGHTS CONTINGENT-RISK CASES.
13
             31.   I understand that the plaintiff’s attorneys took this case on a purely
14

15
     contingent fee basis. To date, they have not received any income for their

16
     representation of the plaintiff in this case. I understand that the plaintiff in this
17   action could not have prosecuted this case by paying the attorneys’ hourly rates
18   (even if significantly discounted.)
19           32.   Contingent cases present the very real risk of working hundreds or
20   thousands of hours that may never be fairly compensated – or compensated at all
21   for that matter. The prospect of loss is, unfortunately, real. I can attest to this from
22   direct experience. In fact, in 2016 I tried a case (Duschak v. Phillips Services, Inc.,
23   et al.) in the Los Angeles Superior Court which unfortunately resulted in a
24   complete defense verdict. My office spent countless hours of attorney and staff
25
     time for which there will be zero compensation given our contingent
26
     representation. A similar fate awaited me in Yadkouri v. WalMart Stores, Inc.,
27
     (tried in the Los Angeles Superior Court) which unfortunately resulted in a
28


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 1   complete defense verdict. Again, my office spent countless hours of attorney and
 2   staff time for which there will be zero compensation given our contingent
 3   representation of Ms. Yadkouri. Thus, the risk inherent in contingent
 4
     representation is, indeed, a reality.
 5
               33.   Further, in addition to the potential of an outright loss, even
 6
     “victories” in contingent fee cases can present economic difficulties to small law
 7
     offices, such as mine, or the offices of the attorneys in this case. While the case is
 8
     being litigated, counsel must pay overhead, provide for their own expenses, and in
 9
     most cases, pay the out-of-pocket expenses incurred on the plaintiff’s behalf. And,
10
     in some contingent matters, the length of the case itself presents economic
11
     difficulty to the small practitioner that is not adequately compensated by an
12
     eventual award of fees based solely on the lodestar and without a multiplier.
13

14
               34.   The prospect of a court-awarded fee does not greatly reduce the risk

15   posed by these cases. In many cases, the prospect is nothing more than a potential
16   that never materializes. For instance, you must win the case to get a court-awarded
17   fee; even those cases that seem strongest at the outset can be lost, and sometimes
18   are lost. Likewise, there always are pitfalls and unforeseen obstacles that arise
19   along the way, such as settlement offers that the client may accept without
20   ensuring that counsel receives a reasonable fee, or changes in the law that
21   substantially affect the merits of the case, or other uncertainties involving the
22   client.
23
               35.   For these and other reasons, as an attorney who takes cases on a
24
     contingent basis with the availability of statutory attorney’s fees, it is my opinion
25
     that an enhancement of the hourly rate is necessary to make the fee in such cases
26
     reasonable, and to make it feasible for attorneys to take such cases. Simply put, an
27

28


                                      -24-
       DECLARATION OF DAVID M. DERUBERTIS IN SUPPORT OF PLAINTIFF’S MOTION
                             FOR ATTORNEYS’ FEES
         Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 26 of 412




 1   award of the lodestar amount without an enhancement does not compensate the
 2   attorney for the contingent risk undertaken.
 3         36.    Given the contingent risk and substantial investment of time on this
 4
     case, the extensive litigation through the appellate courts, and the nature of this
 5
     case, it is my professional opinion that a 2.0 multiplier is warranted and should be
 6
     awarded in order to ensure that a fully compensatory fee results.
 7

 8
           I declare under penalty of perjury under the laws of the State of California
 9
     that the foregoing is true and correct and is based on my personal knowledge. If
10
     called upon to do so, I could and would testify competently to the matters stated
11
     herein.
12
           Executed this 24th day of October 2023 at Westlake Village, California.
13

14                                           _______________________________
15                                           David M. deRubertis, Esq.
16

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                                      -25-
       DECLARATION OF DAVID M. DERUBERTIS IN SUPPORT OF PLAINTIFF’S MOTION
                             FOR ATTORNEYS’ FEES
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        EXHIBIT A
to DAVID DERUBERTIS DECL
                    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 28 of 412


              $1,000 Per Hour Isn't Rare Anymore; Nominal billing levels rise, but discounts ease blow. The
                                     National Law Journal January 13, 2014 Monday


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                                             TH:E .NATJONAL
                                             IAWJOU'RNAl
                                                  The National Law Journal

                                                 January 13, 2014 Monday

            SECTION: NU'S BILLING SURVEY; Pg. 1 Vol. 36 No. 20

            LENGTH: 1860 words

            HEADLINE: $1,000 Per Hour Isn't Rare Anymore;
            Nominal billing levels rise, but discounts ease blow.

            BYLINE: KAREN SLOAN

            BODY:




            As recently as five years ago, law partners charging $1,000 an hour were outliers. Today, four-
            figure hourly rates for indemand partners at the most prestigious firms don't raise eyebrows-and a
            few top earners are closing in on $2,000 an hour.

            These rate increases come despite hand-wringing over price pressures from clients amid a tough
            economy. But everrising standard billing rates also obscure the growing practice of discounts,
            falling collection rates, and slow march toward_alternative fee arrangements.



            Nearly 20 percent of the firms included in The National Law Journal's annual survey of large law
            firm billing rates this year had at least one partner charging more than $1,000 an hour. Gibson,
            Dunn & Crutcher partner Theodore Olson had the highest rate recorded in our survey, billing
            $1,800 per hour while representing mobile satellite service provider UghtSquared Inc. in Chapter
            11 proceedings.

            Of course, few law firm partners claim Olson's star power. His rate in that case is nearly the twice
            the $980 per hour average charged by Gibson Dunn partners and three times the average $604
            hourly rate among partners at NU 350 firms. Gibson Dunn chairman and managing partner Ken
            Doran said Olson's rate is "substantially" above that of other partners at the firm, and that the
            firm's standard rates are in line with its peers.

    "While the majority of Ted Olson's work is done under alternative billing arrangements, his hourly
    rate reflects his stature in the legal community, the high demand for his services and the unique
r.\:."'
:,~ value that he offers to clients given his extraordinary experience as a former solicitor general of
;~ the United States who has argued more than 60 cases before the U.S. Supreme Court and has
-~ counseled several presidents," Doran said.
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                 Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 29 of 412                             I
          In reviewing billing data this year, we took a new approach, asking each firm on the NLJ 350-our
          survey of the nation's 350 largest firms by attorney headcount-to provide their highest, lowest
          and average billing rates for associates and partners. We supplemented those data through public
          records. All together, this year's survey includes information for 159 of the country's largest law
          firms and reflects billing rates as of October.

          The figures show that, even in a down economy, hiring a large law firm remains a pricey prospect.
          The median among the highest partner billing rates reported at each firm is $775 an hour, while
          the median low partner rate is $405. For associates, the median high stands at $510 and the low
          at $235. The average associate rate is $370.

          Multiple industry studies show that law firm billing rates continued to climb during 2013 despite
          efforts by corpo'rate counsel to rein them in. TyMetrix's 2013 Real Rate Report Snapshot found
          that the average law firm billing rate increased by 4.8 percent compared with 2012. Similarly, the
          Center for the Study of the Legal Profession at the Georgetown University Law Center and
          Thomson Reuters Peer Monitor found that law firms increased their rates by an average 3.5
          percent during 2013.

          Of course, rates charged by firms on paper don't necessarily reflect what clients actually pay.
          Billing realization rates-which reflect the percentage of work billed at firms' standard rates- have
          fallen from 89 percent in 2010 to nearly 87 percent in 2013 on average, according to the
          Georgetown study. When accounting for billed hours actually collected by firms, the realization
          rate falls to 83.5 percent.

          "What this means, of course, is that- on average-law firms are collecting only 83.5 cents for
          every $1.00 of standard time they record," the Georgetown report reads. 'To understand the full
          impact, one need only consider that at the end of 2007, the collected realization rate was at the
          92 percent level."

          In other words, law firms set rates with the understanding that they aren't likely to collect the
          full amount, said Mark Medice, who oversees the Peer Monitor Index. That index gauges the
          strength of the legal market according to economic indicators including demand for legal services,
          productivity, rates and expenses. "Firms start out with the idea of, 'I want to achieve a certain
          rate, but it's likely that my client will ask for discounts whether or not I increase my rate,"'
          Medice said.

          Indeed, firms bill nearly all hourly work at discounts ranging from 5 percent to 20 percent off
          standard rates, said Peter Zeughauser, a consultant with the Zeughauser Group. Discounts can
          run as high as SO percent for matters billed under a hybrid system, wherein a law firm can earn a
          premium for keeping costs under a set level or for obtaining a certain outcome, he added. "Most
          firms have gone to a two-tier system, with. what is essentially an aspirational rate that they
          occasionally get and a lower rate that they actually budget for," he said.

          Most of the discounting happens at the front end, when firms and clients negotiate rates, Medice
          said. But additional discounting happens at the billing and collections stages. Handling alternative
          fee arrangements and discounts has become so complex that more than half of the law firms on
          the Am Law 100-NLJ affiliate The American Lawyer's ranking of firms by gross revenue-have
          created new positions for pricing directors, Zeughauser said.

          THE ROLE OF GEOGRAPHY


~f"l
"'·· Unsurprisingly, rates vary by location. Firms with their largest office in New York had the highest
\.,,..)
*~~    average partner and associate billing rates, at $882 and $520, respectively. Similarly, TyMetrix
.~:::, has reported that more than 25 percent of partners at large New York firms charge $1,000 per
::.o
                         Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 30 of 412
               .
            hour or more for contracts and commercial work.
                                                                  e
            Washington was the next priciest city on our survey, with partners charging an avera
            asso~iat~s. $~2_9. Part_ne.t? charne. an ..~v.era,ge $§9.1 in Chica o and associates 427
           ~~r~~l¥l~~·'f!Fffi~ii~ifazyff1'?~~'tf~fv~*'~\ii$66sttYitffrg4'e
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            Pricing also depends heavily on practice area, Zeughauser and Medice said. Bet-the-company
            patent litigation and white-collar litigation largely remain at premium prices, while practices
            including labor and employment have come under huge pressure to reduce prices.

            "If there was a way for law firms to hold rates, they would do it. They recognize how sensitive
            clients are to price increases," Zeughauser said. But declining profit margins-due in part to higher
            technology costs and the expensive lateral hiring market-mean that firms simply lack the option
            to keep rates flat, he said.

            BILLING SURVEY METHODOLOGY



            The National Law Journal's survey of billing rates of the largest U.S. law firms provides the high,
            low and average rates for partners and associates.

            The NU asked respondents to its annual survey of the nation's largest law firms (the NU 350) to
            provide a range of hourly billing rates for partners and associates as of October 2013.

            For firms that did not supply data to .us, in many cases we were able to supplement billing- rate
            data derived from public records.

            In total, we have rates for 159 of the nation's 350 largest firms.

            Rates data include averages, highs and low rates for partners and associates. Information also
            includes the average full-time equivalent (FTE) attorneys at the firm and the city of the firm's
            principal or largest office.

            We used these data to calculate averages for the nation as a whole and for selected cities.

            Billing Rates at the Country's Priciest Law Firms



            Here are the 50 firms that charge the highest average hourly rates for partners.


             Billing Rates at the Country's Priciest Law Firms
             FIRM NAME                    LARGEST                 AVERAGE                        PARTNER ASSOCIATE
                                          U.S.                    FULL-TIME                      HOURLY HOURLY
                                          OFFICE*                 EQUIVALENT                     RATES   RATES
                                                                  ATTORNEYS*
                                                                                                AVERAGE HIGH
                                                                                LOW AVERAGE HIGH LOW
             * Full-time equivalent attorney numbers and the largest U.S. office are from the NU 350
             published in April 2013. For complete numbers, please see NU.com.

::?;:)
             ** Firm did not exist in this form for the entire year.
~,,          Debevoise &                  New York                615                            $1,055              $1,075                    $955 $490                      $760   $120
;.~~         Plimpton
~:.:::o-
             Paul, Weiss,                 New York                803                            $1,040              $1,120                    $760 $600                      $760   $250
~,:_,
                    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 31 of 412
               .
              Rifkind,
              Wharton &
              Garrison
              Skadden;        New York 1,735     $1,035   $1,150   $845 $620    $845   $340
              Arps, Slate,
              Meagher &
              Flom
              Fried, Frank, New York 476         $1,000   $1,100   $930 $595    $760   $375
              Harris, Shriver
              & Jacobson
              Latham &        New York 2,033     $990     $1,110   $895 $605    $725   $465
              Watkins
              Gibson, Dunn New York 1,086        $980     $1,800   $765 $590    $930   $175
              & Crutcher
              Davis Polk & New York 787          $975     $985     $850 $615    $975   $130
              Wardwell
              Willkie Farr & New York 540        $950     $1,090   $790 $580    $790   $350
              Gallagher
              Cadwalader, New York 435           $930     $1,050   $800 $605    $750   $395
              Wickersham &
              Taft
              Weil, Gotshal New York 1,201       $930     $1,075   $625 $600    $790   $300
              & Manges
              Quinn           New York 697       $915     $1,075   $810 $410    $675   $320
              Emanuel
              Urquhart &
              Sullivan
              Wilmer Cutler Washington 961       $905     $1,250   $735 $290    $695   $75
              Pickering Hale
              and Dorr
              Dechert         New York 803       $900     $1,095   $670 $530    $735   $395
              Andrews         Houston    348     $890     $1,090   $745 $528    $785   $265
              Kurth
              Hughes          New York 344       $890     $995     $725 $555    $675   $365
              Hubbard &
              Reed
              Irell & Manella Los        164     $890     $975     $800 $535    $750   $395
                              Angeles
              Proskauer       New York 746       $880     $950     $725 $465    $675   $295
              Rose
              White & Case New York 1,900        $875     $1,050   $700 $525    $1,050 $220
              Morrison &      San        1,010   $865     $1,195   $595 $525    $725 $230
              Foerster        Francisco
              Pillsbury       Washington 609     $865     $1,070   $615 $520    $860   $375
              Winthrop
              Shaw Pittman
              Kaye Scholer New York 414          $860     $1,080   $715 $510    $680   $320
              Kramer Levin New York 320          $845     $1,025   $740 $590    $750   $400
:::o
?,..n         Naftalis &
   ..         Frankel
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 ~,~.
              Hogan Lovells Washington 2,280     $835     $1,000   $705 -
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               Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 32 of 412
          •
         Kasowitz,      New York
                                    e
                                    365      $835   $1, 195
                                                               e
                                                              $600 $340    $625   $200
         Benson,
         Torres &
         Friedman

         Kirkland & Ellis Chicago    1,517   $825   $995      $590 $540    $715   $235
         Cooley           Palo Alto  632     $820   $990      $660 $525    $630   $160
         Arnold &         Washington 748     $815   $950      $670 $500    $610   $345
         Porter
         Paul Hastings New York 899          $815   $900      $750 $540    $755   $335
         Curtis, Mallet- New York 322        $800   $860      $730 $480    $785   $345
         Prevost, Colt
         & Mosle
         Winston &        Chicago    842     $800   $995      $650 $520    $590   $425
         Strawn
         Bingham          Boston     900     $795   $1,080    $220 $450    $605   $185
         Mccutchen
         Akin Gump        Washington 806     $785   $1,220    $615 $525    $660   $365
         Strauss Hauer
         & Feld
         Covington & Washington 738          $780   $890      $605 $415    $565   $320
         Burling
         King &           Atlanta    838     $775   $995      $545 $460    $735   $125
         Spalding
         Norton Rose      N/A**      N/A**   $775   $900      $525 $400    $515   $300
         Fulbright
         DLA Piper        New York 4,036     $765   $1,025    $450 $510    $750   $250
         Bracewell &      Houston    432     $760   $1,125    $575 $440    $700   $275
         Giuliani
         Baker &          Chicago    4,004   $755   $1,130    $260 $395    $925   $100
         McKenzie
         Dickstein        Washington 308     $750   $1,250    $590 $475    $585   $310
         Shapiro
         Jen·ner &        Chicago    432     $745   $925      $565 $465    $550   $380
         Block
         Jones Day        New York 2,363     $745   $975      $445 $435    $775   $205
         Manatt,          Los        325     $740   $795      $640 -
         Phelps &         Angeles
         Phillips
         Seward &         New York 152       $735   $850      $625 $400    $600   $290
         Kissel
         O'Melveny & Los             738     $715   $950      $615 -
         Myers            Angeles
         McDermott        Chicago    1,024   $710   $835      $525 -
         Will & Emery
         Reed Smith       Pittsburgh 1,468   $710   $945      $545 $420    $530   $295
         Dentons          N/A**      N/A**   $700   $1,050    $345 $425    $685   $210
~p       Jeffer Mangels Los          126     $690   $875      $560 -
~,,

-, ..    Butler &         Angeles
 ..
~ _)
         Mitchell
*;:;""
.....    Sheppard,        Los        521     $685   $875
h~.)
                                                              $490 $415    $535   $275
r.~)
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~~
       Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 33 of 412

Mullin, Richter Angeles
& Hampton
Alston & Bird   Atlanta     805               $675       $875          $495 $425        $575       $280



THE FOUR- FIGURE CLUB



These 10 firms posted the highest partner billing rates.


THE FOUR-FIGURE CLUB
Gibson, Dunn & Crutcher                                                                  $1,800
Dickstein Shapiro                                                                        $1,250
Wilmer Cutler Pickering Hale and Dorr                                                    $1,250
Akin Gump Strauss Hauer & Feld                                                           $1,220
Kasowitz, Benson, Torres & Friedman                                                      $1,195
Morrison & Foerster                                                                      $1,195
Skadden, Arps, Slate, Meagher & Flom                                                     $1,150
Baker & McKenzie                                                                         $1,130
Bracewell & Giuliani                                                                     $1, 125
Paul, Weiss, Rifkind, Wharton & Garrison                                                 $1,120


Contact Karen Sloan at ksloan@alm.com

LOAD-DATE: January 13, 2014




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         EXHIBIT B
to DAVID DERUBERTIS DECL
           Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 35 of 412



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 9
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     145 S. Spring Street, Suite 400
10   Los Angeles, California 90012
     Telephone Number: (310) 860-0770
11   Facsimile Number: (310) 860-0771
12
     Attorneys for Plaintiff,
13
     THU NGUYET THI “NICKI” TRAN

14
                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
15
            FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
16

17
     THU NGUYET THI “NICKI” TRAN,            Case No.: BC 699 931
18
            Plaintiff,                       The Honorable Michael P. Linfield
19
     vs.                                     NOTICE     OF  RULING    RE
20                                           PLAINTIFF’S MOTION FOR AN
     GOLDEN STATE FC, LLC, KULDIP            AWARD OF ATTORNEYS’ FEES
21   SANDHU, an individual, ADAM
     KOZINN, an individual,
22   AMAZON.COM, INC., AMAZON                Dept.: 34
     CORPORATE LLC, AMAZON.COM
23   SERVICES, INC.,
     AMAZON.COM.KYDC LLC, and
24   DOES 1 through 20, inclusive,

25
            Defendants.
26
                                             Action Filed: March 28, 2018
27

28



                                       NOTICE OF RULING
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 1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that plaintiff Nicki Tran's Motion for Attorneys’ Fees
 3   and Defendants’ Motion to Tax Costs were heard on April 8, 2022, in department 34 of
 4   the Superior Court of Los Angeles, the Honorable Michael P. Linfield presiding. The
 5   Court ruled as follows:
 6      1. Plaintiff’s motion for attorney fees was granted in the total amount of
 7            $2,471,313.60, including the following hourly rates for Plaintiff’s counsel:
 8

 9        ·               Carney R. Shegerian          $1,300.00
10        ·               Raymond E. Hane, III         $1,000.00
11        ·               Anthony Nguyen               $1,000.00
12        ·               Melissa Cardenas             $800.00
13        ·               Leo Livshits                 $600.00
14        ·               Mark Lim                     $700.00
15        ·               Tori Hane                    $450.00
16        ·               John David                   $400.00
17

18      2. Defendant’s Motion to Tax Costs was granted in part in the amount of $12,247.79.
19            The Court awarded Plaintiff Thu Nguyet “Nicki” Tran costs in the amount
20            of $163,914.13.
21        True and correct copies of the Court’s tentative rulings, adopted at the hearing on
22   April 8, 2022, are respectively attached hereto as Exhibit 1 and Exhibit 2.
23

24   Dated: April 8, 2022                      SHEGERIAN & ASSOCIATES, INC.
25

26                                       By:
                                               Carney R. Shegerian, Esq.
27
                                               Attorneys for Plaintiff,
28                                             THU NGUYET THI “NICKI” TRAN

                                                    -2-
                                             NOTICE OF RULING
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               EXHIBIT 1
           Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 38 of 412




      Case Number: BC699931 Hearing Date: April 8, 2022 Dept: 34
      SUBJECT:             Motion for an Award of Attorney’s Fees


      Moving Party:         Plaintiff Thu Nguyet “Nicki” Tran
      Resp. Party:         Defendants Golden State FC LLC, Amazon.com, Amazon Corporate LLC, Amazon.com
                                        Services, Inc., and Amazon.com KYDC LLC (“Defendants”)


                Plaintiff Thu Nguyet “Nicki” Tran’s Motion for an Award of Attorney’s Fees is GRANTED in the
      amount of $2,471,313.60.


I.   BACKGROUND
                On March 28, 2018, Plaintiff Thu Nguyet “Nicki” Tran filed a complaint against Defendants
      Golden State FC, LLC, Kuldip Sandhu and Adam Kozinn to allege the following causes of action:


          1.      Gender, Sex, Disability, and Medical Condition Harassment and Hostile Work Environment,
                    Cal.Gov. Code § 12940(j);
          2.      Gender Sex, Disability, and Medical Condition Discrimination, Cal. Gov. Code § 12940(a);
          3.      Failure to Prevent Discrimination and Harassment, in Violation of FEHA, Cal. Gov. Code §
                    12940(k);
          4.      Failure to Engage in a Good Faith Interactive Process, Cal. Gov. Code § 12940(n);
          5.      Failure to Provide Reasonable Accommodation, Cal. Gov. Code § 12940(m);
          6.      Retaliation in Violation of FEHA, Cal. Gov. Code § 12940(h);
          7.      Retaliation, Cal. Lab. Code § 1102.5;
          8.      Violation of the California Family Rights Act;
          9.      Violation of Pregnancy Disability Leave Laws;
          10.    Wrongful Discharge in Violation of Public Policy


                On September 27, 2021, a jury trial commenced in this case. On October 21, 2021, the jury trial
      concluded. The jury awarded Tran a total of $309,478.90 in damages. (Minute Order, February 8, 2022.)


                On March 14, 2022, Plaintiff moved for an order to award her attorney’s fees in the amount of
      $1,981,725.00 plus a multiplier of 1.75, for a total of $3,468,018.75.


                On March 3, 2022, Defendants opposed the motion for attorney’s fees.


                On March 29, 2022, Plaintiff replied to Defendants’ opposition.
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II.    ANALYSIS


                    A.    Request for Judicial Notice


                    Plaintiff Thu Nguyet “Nicki” Tran requests that the Court take judicial notice of the following
          exhibits. Plaintiff submits these court records for judicial notice pursuant to Evidence Code sections 452
          and 453.


      1. Declaration of Elena R. Baca in Support of Defendant’s Motion for Attorneys’ Fees dated October 29,
          2018. Charney v. Danziger (LASC Case No. BC 585664)
      2. Supplemental Declaration of Elena R. Baca in Support of Defendant’s Motion for Attorneys’ Fees dated
          May 28, 2019. Charney v. Danziger (LASC Case No. BC 585664)
      3. Declaration of Geoffrey G. Moss in Support of Defendant’s Motion to Compel Responses and Further
          Responses to Special Interrogatories to Plaintiff, Set One, dated December 15, 2017. Rudnicki v. Farmers
          Insurance Exchange, et al. (LASC Case No. BC630158)
      4. Declaration of Natasha L. Domek in Support of Defendant Calix, Inc.’s Opposition to Plaintiff’s Motion to
          Compel Further Responses to Form Interrogatory 15.1, dated October 15, 2021. Bettiga v. Calix, Inc., et
          al. (Case No. SCV-264229)


                    The Court DENIES Plaintiff’s requests for judicial notice. (Evid. Code, § 452, subd. (d).) “Although
          a court may judicially notice a variety of matters (Evid. Code, § 450 et seq.), only relevant material may
          be noticed.” (American Cemwood Corp. v. American Home Assurance Co. (2001) 87 Cal.App.4th 431, 441,
          fn. 7.)


                    B.    Legal Standard


                 The determination of reasonable amount of attorney fees is
          within the sound discretion of trial courts. PLCM Group v.
          Drexler (2000) 22 Cal.4th 1084, 1095; Akins v. Enterprise Rent-A-Car
          Co. (2000) 79 Cal. App. 4th 1127, 1134. “In determining what
          constitutes a reasonable attorney fee when a contract or statute
          provides for such an award, courts should consider the nature of the
          litigation, its difficulty, the amount involved, and the skill required and
          success of the attorney's efforts, his or her learning, age and
          experience in the particular type of work demanded, the intricacies
          and importance of the litigation, the labor and necessity for skilled
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 40 of 412




legal training and ability in trying the cause, and the time
consumed.” Contractors Labor Pool, Inc. v. Westway Contractors,
Inc. (1997) 53 Cal.App.4th 152, 168.

       “Except as provided by statute or agreement, each party to a
lawsuit must ordinarily pay their own attorney’s fees.” (Glaviano v.
Sacramento City Unified School Dist. (2018) 22 Cal.App.5th 744, 750.)
During statutory fee-shifting cases, when the prevailing party is
statutorily authorized to recover their attorney’s fees from the losing
party, the lodestar method is the primary method for establishing the
recoverable fee amount. (Id.) The basic fee for comparable legal
services in a community is called the lodestar; adjustment of this
figure by the Court is based on factors including issue novelty/
difficulty, skill in legal presentation, the extent to which litigation
precludes other attorney employment, and the contingent nature of
the fee award. (Ketchum v. Moses (2001) 24 Cal.4th 1122, 1132.)
“The experienced trial judge is the best judge of the value of
professional services rendered in his court, and while his judgment is
of course subject to review, it will not be disturbed unless the
appellate court is convinced that it is clearly wrong.” (Id.) Once a party
establishes that they are entitled to attorney’s fees the lodestar is the
presumed analytical starting point to determine the appropriate
amount. (K.I. v. Wagner (2014) 225 Cal.App.4th 1412, 1425.)

      The court may rely on its own knowledge and familiarity with the
legal market in setting a reasonable hourly rate. “Affidavits of the
plaintiffs' attorney and other attorneys regarding prevailing fees in the
community, and rate determinations in other cases, particularly those
setting a rate for the plaintiffs' attorney, are satisfactory evidence of
the prevailing market rate.” (Heritage Pacific Financial, LLC v. Monroy
(2013) 215 Cal.App.4th 972, 1009.) Trial courts enjoy discretion to
increase or decrease the amount of attorney's fees they award
pursuant to the lodestar adjustment method. Such adjustment is
known as a “fee enhancement” or “multiplier.” (Mikhaeilpoor v. BMW
of North America, LLC (2020) 48 Cal.App.5th 240, 247.) “The Supreme
Court has set forth a number of factors the trial court may consider in
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adjusting the lodestar figure. These include: (1) the novelty and
difficulty of the questions involved, and the skill displayed in
presenting them; (2) the extent to which the nature of the litigation
precluded other employment by the attorneys; [and] (3) the
contingent nature of the fee award, both from the point of view of
eventual victory on the merits and the point of view of establishing
eligibility for an award.” (Id. at 248 [cleaned up].)

        C.       Discussion


    Tran moves for an order to award attorney’s fees in the amount of $1,981,725.00 plus a multiplier of
1.75, for a total of $3,468,018.75. Defendants note in the present case that Tran recovered
“approximately 2% of what she sought at trial.” (Opposition, p. 4:9.) However, attorney’s fees “need not
be proportional to the amount of damages recovered.” (Taylor v. Nabors Drilling USA, LP (2014) 222
Cal.App.4th 1228, 1251; Harman v. City and County of San Francisco (2007) 158 Cal.App.4th 407,
415,419 [no requirement that attorneys' fees be proportionate to verdict; $1.1 million in attorney's fees
after $30,3000 verdict]; Hjelm v. Prometheus Real Estate Group (2016) 3 Cal.App.5th 1155 [$71,652 in
damages and $326,475 in attorney's fees].) In fact, “[t]here is no mathematical rule requiring
proportionality between compensatory damages and attorney's fees awards, and courts have awarded
attorney's fees where plaintiffs recovered only nominal or minimal damages.” (Harman, supra,
158 Cal.App.4th at p. 421 [cleaned up].)


                   1.    Hourly Rates


        Plaintiff argues for the following hourly rates for her attorneys:


             ·          Carney R. Shegerian       $1,300.00
             ·          Raymond E. Hane, III       $1,000.00
             ·          Anthony Nguyen            $1,000.00
             ·          Melissa Cardenas          $800.00
             ·          Leo Livshits             $600.00
             ·          Mark Lim                 $700.00
             ·          Tori Hane                $450.00
             ·          John David              $400.00
(See, e.g., Shegerian Decl., ¶ 7; Hane Decl., ¶ 13; Nguyen Decl., ¶ 10; Cardenas Decl., ¶ 11; Livshits Decl., ¶
3; Lim Decl., ¶ 3.)
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        Defendants question the hourly rates claimed by Tran’s counsel. Tran’s lead trial counsel
charges $1,300 per hour while Amazon’s lead trial counsel charges $1,000 per hour. (Opposition, p.
10:3-4.) Defendants raise the example of an attorney for Plaintiff Tran, Leo Livshits, who had worked on
this case as a law student and was an attorney for a single year during trial who claimed $600 per hour,
only $200 less than Melissa Cardenas, an attorney on Tran’s counsel who possessed nine (9) years of
experience at time of trial. (Opposition, p. 10:10-12.)


    This Court agrees that an hourly rate of $1,300 for Plaintiff’s lead counsel – or even $1,000 for
Defendants’ lead counsel – would appear unreasonable to the average person. Nonetheless, eight years
ago, the Court of Appeal upheld a jury’s finding that $1,000/hour was, in the circumstances of that case,
a reasonable hourly rate. (Chodos v. Borman (2014) 227 Cal.App.4th 76.) It is not clear to the Court what
the limit is – or should be – on an attorney’s hourly rate. In 2018, David Boies, one of the nation’s
premier attorneys, charged $1,875/hour. (See “David Boies Pleads Not Guilty, New York Times, Sept. 21,
2018, available at https://www.nytimes.com/2018/09/21/business/david-boies-pleads-not-
guilty.html.) In 2020, it appears that Attorney Rudolph Giuliani may have been charging a rate of
$20,000/day in his representation of President Trump. (See “Giuliani is Said to Seek $20,000 a Day in
Payment for Trump Legal Work,” New York Times, Nov. 17, 2020, available
at https://www.nytimes.com/2020/11/17/us/politics/giuliani-trump-election-pay.html)


    Nonetheless, this Court has been involved in this case since its inception and has observed Plaintiff’s
counsel at both law and motion practice and at trial. Without diminishing the quality of defense counsel,
this court has observed that Plaintiff had excellent counsel and “[e]xcellent lawyers deserve higher fees. .
. .” (Karton v. Ari Design & Construction, Inc. (2021) 61 Cal.App.5th 734, 747.)


        The Court finds that Plaintiff’s counsel’s requested hourly rates are reasonable.


                2.     Number of Hours Worked


        Plaintiff’s counsel attests that it worked for the following number of hours on this case:


                               Attorney                   Total Hours
                Carney R. Shegerian                              407.3
                Raymond E. Hane, III                             206.7
                Anthony Nguyen                                   254.3
                Melissa Cardenas                                 854.2
                Leo Livshits                                       345
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                Mark Lim                                          25.3
                Tori Hane                                         40.8
                John David                                      111.1


                TOTAL:                                         2,244.7




        Defendants allege that Tran’s counsel overstaffed the case and employed inefficient litigation
practices that failed to achieve desired results. (Opposition, p. 6:23-24.) Defendants argue that they
employed “a single associate and partner” while Tran’s counsel used “three partners, an associate, and
three law students,” which resulted in what Defendants characterize “highly duplicative billing.”
(Opposition, p. 7:5-7.)


        In Defendants’ view, Tran’s counsels’ billing was excessive due to unneeded discovery, travel
time, and deposition preparation. (Opposition, p. 8:25—9:7.) The decisions to pursue depositions of
figures with little to no involvement in the case, to bring harassment claims against Amazon that were
ultimately dismissed, and the repetition of arguments rejected during trial in Tran’s Motion for Partial
New Trial on damages offer examples of what Defendants’ term unnecessary billing. (Opposition, p.
8:25—9:24.) Tran’s counsel contests Defendants’ arguments that, for example, that Attorney Cardenas’
effort before trial was duplicative, or that Attorneys Lim and David’s time spent assisting with jury
selection was unnecessary. (Reply, p. 3:13-27.)


        In her Reply, Tran defends her counsel’s litigation time, discovery strategy, deposition
supervisory time, travel time, and motion practice, but does not address Defendant’s concern about
overstaffing, including the “three partners, one associate, and three law students”. (Reply, p. 3:1—6:25.)


    It is not uncommon for courts to compare opposing counsel’s fees to help determine whether the
moving party’s fees are reasonable. That is because a “comparative analysis of each side’s respective
litigation costs may be a useful check on the reasonableness of any fee request.” (Mountjoy v. Bank of
America, N.A. (2016) 245 Cal.App.4th 266, 273, 281, quoting Donahue v. Donahue (2010) 182 Cal.App.4th
259, 272. See, also, Deane Gardenhome Ass’n v. Denktas (1993) 13 Cal.App.4th 1394, 1399 (comparing
losing party’s total incurred fees with prevailing party’s claim for fees); West Coast Dev. v. Reed (1992) 2
Cal.App.4th 693, 707; In re Tobacco Cases I (2013) 216 Cal.App.4th 570, 584 (court expressly recognized
that an opponent’s time and amounts charged were probative to the determination of whether the fee
claimant’s time is reasonable); Democratic Party of Washington v. Reed (9th Cir. 2004) 388 F.3d 1281,
1287 (prevailing parties’ hours were not excessive because number of hours claimed of the same
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“magnitude” as their opponent’s hours); Cairns v Franklin Mint Co. (9th Cir. 2002) 292 F.3d 1139
(declining to reduce defendant’s lodestar fee calculations, in part, because opponent had incurred even
greater fees).


         However, in this case, Defense counsel has not offered their billing records – or even a summary
of their billing records – to the Court for comparison.


         Nonetheless, the Court is concerned that Plaintiff’s counsel has overstaffed this case. “Just as
there can be too many cooks in the kitchen, there can be too many lawyers on a case.” (Morris v. Hyundai
Motor America (2019) 41 Cal.App.5th 24, 38, quoting Donahue v. Donahue (2010) 182 Cal.App.4th 259,
272.)


         This Court recognizes that “it is appropriate for a trial court to reduce a fee award based on its
reasonable determination that a routine, non-complex case was overstaffed to a degree that significant
inefficiencies and inflated fees resulted.” (Morris, supra, 41 Cal.App.5th at 39.)


    “A trial court may not rubber stamp a request for attorney fees but must determine the number of
hours reasonably expended.” (Id.) In this case, the Court has received a voluminous attorney's fees
application, including two appendices with 10 declarations and 23 exhibits. It makes no sense for the
Court to try to parse Plaintiff’s counsel’s billing on a line-by-line basis. “When a voluminous fee
application is made the court may make across-the-board percentage cuts either in the number of hours
claimed or in the final lodestar figure” (Id. at p. 40, quoting Warren v. Kia Motors America, Inc. (2018) 30
Cal.App.5th 24, 41 [internal quotation marks and ellipses deleted].) That is because


         “trial courts need not, and indeed should not, become green-eyeshade accountants. The essential
         goal in shifting fees (to either party) is to do rough justice, not to achieve auditing perfection. So
         trial courts may take into account their overall sense of a suit, and may use estimates in
         calculating and allocating an attorney’s time. And appellate courts must give substantial
         deference to these determinations, in light of ‘the district court’s superior understanding of the
         litigation.’ [Citations.] We can hardly think of a sphere of judicial decisionmaking in which
         appellate micromanagement has less to recommend it.” (Fox v. Vice (2011) 563 U.S. 826, 838
         [180 L.Ed.2d 45].)




         Considering all the relevant factors, the Court applies a 10% across the board reduction in
Tran’s counsel’s hours to address Defendant’s reasonable overstaffing and overbilling concerns.
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        The Court therefore finds that the reasonable hours incurred by Plaintiff’s counsel in this case is
2,244.7 – 224.5 = 2,020.2 hours.




                3.    Lodestar


        “Under the lodestar method, the trial court must first determine the lodestar figure—the
reasonable hours spent multiplied by the reasonable hourly rate—based on a careful compilation of the
time spent and reasonable hourly compensation of each attorney involved in the presentation of the
case.” (Glaviano v. Sacramento City Unified School Dist. (2018) 22 Cal.App.5th 744, 751.)


        The Court finds above that the hourly rates requested by Tran’s counsel (see supra, §2(c)(1))
and the reduced attorney work-hour calculations (see supra, §2(c)(2)) are reasonable.


        Thus, the lodestar in the present case is $1,765,224.00.


                4.    Multiplier


        Tran’s counsel represented Plaintiff Tran on contingency. (Motion, MPA, p. 2:8-11; Shegerian
Decl., ¶ 10.) This case was filed slightly more than four years ago; Tran’s counsel has not received any
payment during the four-year pendency of this litigation. In addition, plaintiff’s counsel has paid more
than $178,727.44 in unreimbursed costs during that time. (Shegerian Decl., ¶ 11.)


        Tran requests a multiplier of 1.75 given the contingent risk, the novelty and difficulty of the
questions presented, the level of skill displayed, and the fact that Tran’s counsel was precluded from
other work. (Reply, p. 9:3—10:21.) Defendants argue that the Court should apply a 0.5 negative
multiplier to the lodestar amount given Tran’s “50% success rate on her claims.”


        The Court finds that a multiplier is warranted in the present case due to the fact that Plaintiff’s
counsel has worked for four years without being paid. (By comparison, defense counsel has been paid
monthly for their services.) “A contingent fee must be higher than a fee for the same legal services paid
as they are performed. The contingent fee compensates the lawyer not only for the legal services he
renders but for the loan of those services. (Ketchum v. Moses (2001) 24 Cal.4th 1122, 1132.)
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              The S&P 500 index has doubled since this lawsuit was filed; in 2021 alone, the S&P 500 rose
      26.89%. (See, e.g., Bloomberg, “Three Monster Years for the S&P 500 Set a Towering Bar for January,”
      available at https://www.bloomberg.com/news/articles/2021-12-31/three-monster-years-in-s-p-500-
      set-a-towering-bar-for-january; “2021 Stock Market Year In Review,” available
      at https://www.forbes.com/advisor/investing/stock-market-year-in-review-2021/.)


              In short, during the past four years, the market has risen substantially more than 10% per year.
      The Court finds it reasonable to award Plaintiff’s counsel a 0.1 multiplier for each year Tran’s counsel
      litigated this case without pay. Given the four years of litigation in the present case, the Court applies a
      1.4 multiplier to the lodestar amount.


              Applying a 1.4 multiplier to the lodestar, Plaintiff’s attorney's fees are $1,765,224.00 x 1.4 =
      $2,471,313.60.




III. CONCLUSION


              Plaintiff Thu Nguyet “Nicki” Tran’s Motion for an Award of Attorney’s Fees is GRANTED in the
      amount of $2,471,313.60.
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               EXHIBIT 2
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      Case Number: BC699931 Hearing Date: April 8, 2022 Dept: 34
      SUBJECT:             Motion to Tax Costs
      Moving Party:         Defendants Golden State FC LLC, Amazon.com, Amazon Corporate LLC, Amazon.com
                                        Services, Inc., and Amazon.com KYDC LLC (“Defendants”)
      Resp. Party:         Plaintiff Thu Nguyet “Nicki” Tran




                Defendants Golden State FC LLC, Amazon.com, Amazon Corporate LLC, Amazon.com Services,
      Inc., and Amazon.com KYDC LLC Motion to Tax Costs is GRANTED in part in the amount of $12,247.79.
      The Court awards Plaintiff Thu Nguyet “Nicki” Tran costs in the amount of $163,914.13.


I.   BACKGROUND


                On March 28, 2018, Plaintiff Thu Nguyet “Nicki” Tran filed a complaint against Defendants
      Golden State FC, LLC, Kuldip Sandhu, Adam Kozinn, and Does 1 through 20, inclusive to allege the
      following causes of action:


          1.      Gender, Sex, Disability, and Medical Condition Harassment and Hostile Work Environment,
                    Cal.Gov. Code § 12940(j);
          2.      Gender Sex, Disability, and Medical Condition Discrimination, Cal. Gov. Code § 12940(a);
          3.      Failure to Prevent Discrimination and Harassment, in Violation of FEHA, Cal. Gov. Code §
                    12940(k);
          4.      Failure to Engage in a Good Faith Interactive Process, Cal. Gov. Code § 12940(n);
          5.      Failure to Provide Reasonable Accommodation, Cal. Gov. Code § 12940(m);
          6.      Retaliation in Violation of FEHA, Cal. Gov. Code § 12940(h);
          7.      Retaliation, Cal. Lab. Code § 1102.5;
          8.      Violation of the California Family Rights Act;
          9.      Violation of Pregnancy Disability Leave Laws;
          10.    Wrongful Discharge in Violation of Public Policy


                On September 27, 2021, a jury trial commenced in this case. On October 21, 2021, the jury
      awarded Tran a total of $309,478.90 in damages. (Minute Order, February 8, 2022.)


          On March 14, 2022, Defendants moved the Court “for an order pursuant to California Government
      Code § 12965, Code of Civil Procedure §§ 1033.5 and Rules of Court Rule 3.1700(b) to tax costs claimed
      by Plaintiff Thu Nguyet Thi “Nicki” Tran (“Plaintiff”). The motion is based on the ground that such costs
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        are discretionary under the fee shifting provision in the Fair Employment and Housing Act and given
        Plaintiff’s limited success at trial she should not be awarded full costs. Further, many of Plaintiff’s
        claimed costs are unsupported, disallowed by law, or otherwise unreasonable, and thus subject to tax.”
        (Motion, p. 2:6-12.)


                 On March 28, 2022, Tran filed an opposition to Defendants’ motion.


                 On April 1, 2022, Defendants filed a reply to Tran’s opposition.


II.   ANALYSIS


                 A.   Legal Standard


             “Except as otherwise expressly provided by statute, a prevailing
        party is entitled as a matter of right to recover costs in any action or
        proceeding.” (CCP § 1032(b).)

              After judgment is entered, the prevailing party “who claims costs
        must serve and file a memorandum of costs within 15 days after the
        date of service of the notice of entry of judgment or dismissal, or
        within 180 days after entry of judgment, whichever is first.” (Cal.
        Rules of Court, rule 3.1700(a).) “The memorandum of costs must be
        verified by a statement of the party, attorney, or agent that to the
        best of his or her knowledge the items of cost are correct and were
        necessarily incurred in this case.” (Id.)

              In turn, the losing party may file a motion to strike or tax costs.
        (Cal. Rules of Court, rule 3.1700(b).) Procedurally, “[a]ny notice of
        motion to strike or to tax costs must be served and filed 15 days after
        service of the cost memorandum.” (Ibid.)

             Even where parties are unsuccessful as to certain matters,
        prevailing parties as defined by statute (CCP § 1032) are entitled to
        recover all costs reasonably incurred, and proof that parties were
        unsuccessful on particular items is not tantamount to a demonstration
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that such costs were unreasonably incurred. (Michell v. Olick (1996)
49 Cal.App.4th 1194, 1200.)

      During the hearing, “the verified memorandum of costs is prima
facie evidence of their propriety, and the burden is on the
party seeking to tax costs to show they were not reasonable or
necessary.” (Nelson v. Anderson (1999) 72 Cal.App.4th 111, 131.)
“This procedure provides an orderly and efficient way of placing
disputed costs at issue on a line-item basis.” (612 South LLC v.
Laconic Ltd. Partnership (2010) 184 Cal.App.4th 1270, 1285.)

       “[T]he mere filing of a motion to tax costs may be a “proper
objection” to an item, the necessity of which appears doubtful, or
which does not appear to be proper on its face. [Citation.] However,
“[i]f the items appear to be proper charges the verified memorandum
is prima facie evidence that the costs, expenses, and services therein
listed were necessarily incurred by the defendant [citations], and the
burden of showing that an item is not properly chargeable or is
unreasonable is upon the [objecting party].” [Citations.]

       The court’s first determination, therefore, is whether the statute
expressly allows the particular item, and whether it appears proper on
its face. [Citation.] If so, the burden is on the objecting party to show
them to be unnecessary or unreasonable. [Citation.]”
(Nelson, supra, 72 Cal.App.4th at p. 131.)

      If the items are properly objected to, they are put in issue and
the burden of proof is on the party claiming them as costs. (Ladas v.
California State Auto Assn. (1993) 19 Cal.App.4th 761, 774.) “There is
no requirement that copies of bills, invoices, statements, or any other
such documents be attached to the memorandum. Supporting
documentation must be submitted only if costs have been put in issue
by a motion to tax costs.” (Jones v. Dumrichob (1998) 63 Cal.App.4th
1258, 1267.)
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       Code of Civil Procedure section 1033.5 sets forth various
categories of recoverable costs. Some of the costs include filing,
motion, and jury fees (CCP § 1033.5(a)(1).) and service of process by
a public officer, registered process server, or other means (CCP §
1033.5(a)(4).) However, allowable costs shall be reasonably necessary
to the conduct of litigation rather than merely convenient or beneficial
to its preparation. (CCP § 1033.5(c)(2).) Section 1033.5 also explains
that if an item is not mentioned in this section, these items may be
allowed or denied in the court’s discretion. (CCP § 1033.5(c)(4).)

      “Within 40 days after issuance of the remittitur, a party claiming
costs awarded by a reviewing court must serve and file in the superior
court a verified memorandum of costs under rule 3.1700.” (Cal. Rules
of Court, rule 8.278(c)(1).)

        B.    Discussion


                   1.   Timeliness


        Tran’s Memorandum of Costs was filed with the Court and served on Defendants by electronic
service on February 23, 2022. (Memorandum of Costs, Proof of Service.) The instant motion was filed
with the Court and served on Tran’s counsel on March 14, 2022. Pursuant to California Rules of Court,
Rule 3.1700(b)(1), the deadline to file and serve a motion to tax costs in this case was March 10, 2022.
Tran’s opposition was filed and served on March 28, 2022.


        The Court finds that Defendants’ Motion is untimely. (Opposition, p. 2:6-15.) However, the Court
will still reach the substance of Defendants’ arguments as Tran has not been prejudiced by Defendants’
untimely filing.


                   2.   Tran’s Adjustments to her Memorandum of Costs


        Tran excludes the following charges from her Memorandum of Costs: $2,525.10 in witness costs
and $39.42 in other costs. Tran therefore requests $176,161.92 in total costs.


                   3.   Court Adjustments to Tran’s Memorandum of Costs
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               Defendants propose the following reductions in Tran’s costs:



   ·   50% of $25,646.45 for Memorandum of Costs Item No. 12. (Motion, MPA, p. 4:7-8; Reply, p. 2:1-12.)

   ·   $33,005.00 for Dr. Reading for Memorandum of Costs Item No. 8b, specifically $6,825.00 given Dr.
       Reading’s inability to adjust his schedule, Tran’s additional examination to which Defendants lacked
       access, and the rush review of the file. (Motion, MPA, p. 4:24—5:11; Reply, p. 2:14-22.)

   ·   50% of Dr. Hunt’s $16,677.25 in fees, plus her $1,000.00 retainer for Memorandum of Costs Item No. 8b.
       (Reply, p. 3:1-7.)

   ·   $821.85 in Erin Klump’s Deposition fees for Memorandum of Costs No. 4e. (Motion, MPA, p. 5:17—6:1.)

   ·   $712.00 for Barkley Court Reporters: Half Day Per Diem for Memorandum of Costs No. 4e. (Motion, MPA,
       p. 6:2-6.)

   ·   $3,891.56 for Tran’s hotel and meals during trial for Memorandum of Costs No. 16. (Motion, MPA, p. 6:7-
       12; Reply, p. 3:8-25.)

   ·   $819.23 for parking, travel, and meal costs for local travel for Memorandum of Costs No. 16. (Motion,
       MPA, p. 6:13-20.)

               Tran notes that Defendants “fail to offer any evidence of “reasonable: economic expert fees for
       similar work” to that performed by Dr. Hunt and “offer nothing beyond speculation” on a reasonable fee
       for Dr. Reading’s services. (Opposition, p. 6:19—7:16.)


               The Court finds that the costs Tran incurred given her use of Dr. Hunt and Dr. Reading are
       reasonable, except for the $6,825.00 outlined in the second bullet point above that is associated with Dr.
       Reading. Tthe Court finds that the costs associated with Erin Klump and the costs of exhibits not
       explicitly used at trial are reasonable. (Opposition, p. 7:17—9:18.)


               The Court finds the $712.00 for Barkley Court Reporters: Half Day Per Diem, the $3,891.56 for
       Tran’s hotel and meals during trial, and the $819.23 for parking, travel, and meal costs for local travel
       unreasonable and they are therefore taxed.


III. CONCLUSION
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         Defendants Golden State FC LLC, Amazon.com, Amazon Corporate LLC, Amazon.com Services,
Inc., and Amazon.com KYDC LLC Motion to Tax Costs is GRANTED in part in the amount of $12,247.79
and awards Plaintiff Thu Nguyet “Nicki” Tran litigation costs in the amount of $163,914.13, as indicated
below:




                                            Motion to Tax Costs

Item                                                Amount         Amount           Amount
No.       Item                                    Requested          Taxed          Granted
1         Filing and motion fees                  $3,542.79           $0.00       $3,542.79
2         Jury fees                               $3,003.01           $0.00       $3,003.01
3         Jury food and lodging                        $0.00          $0.00            $0.00
4         Deposition costs                       $42,245.68        $712.00       $41,533.68
5         Service of process                      $3,020.70           $0.00       $3,020.70
6         Attachment expenses                          $0.00          $0.00            $0.00
7         Surety bond premiums                         $0.00          $0.00            $0.00
8         Witness fees                           $57,925.59      $6,825.00       $51,100.59
9         Court-ordered transcripts                    $0.00          $0.00            $0.00
10        Attorneys fees                               $0.00          $0.00            $0.00
11        Court reporter fees                    $15,875.98           $0.00         $732.00
12        Models, blowups, photocopies           $25,646.45           $0.00      $25,646.45
13        Interpreter fees                             $0.00          $0.00            $0.00
          Fees for electronic filing or
14        service                                      $0.00          $0.00            $0.00
          Fees for hosting electronic
15        documents                                    $0.00          $0.00            $0.00
16        Other                                  $24,901.72      $4,710.79       $20,190.93



          TOTAL                                    $176,161
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 1   TRAN v. GOLDEN STATE FC, et al.                        LASC CASE NO.: BC 699931
 2                                  PROOF OF SERVICE
 3               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 4        I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 11520 San Vicente
 5   Boulevard, Los Angeles, California 90049.
 6         On April 8, 2022, I served the foregoing document, described as “NOTICE OF
     RULINGS ON THE PARTIES’ MOTIONS IN LIMINE” on all interested parties in
 7   this action by placing true copies thereof in sealed envelopes, addressed as follows:
 8   Karen Kimmey, Esq.
     kkimmey@fbm.com
 9   Kelly M. Matayoshi, Esq.
     kmatayoshi@fbm.com
10   FARELLA BRAUN + MARTEL LLP 235
     Montgomery Street, 17th Floor
11   San Francisco, California 94104
12         (BY MAIL) As follows:
13         I placed such envelope, with postage thereon prepaid, in the United States mail at
           Los Angeles, California.
14
           (BY ELECTRONIC MAIL) I sent such document via electronic mail to the
15         email(s) noted above.
16         (STATE) I declare, under penalty of perjury under the laws of the State of
           California, that the above is true and correct.
17
            Executed on April 8, 2022, at Los Angeles, California.
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                                                 Michelle Hemer
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         EXHIBIT C
to DAVID DERUBERTIS DECL
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                                                                                     FILED
           2                                                                Superior Court of California
                                                                              County of Los Ange1es
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                                                                                  DEC 1 0 2021
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                                                                        Sherri R. Carter, Executive Officer/Clerk
           5                                                                        R.~                     A)ii;h
                                                                             BY: R. INOSTRdfA,~DEPUTY \l!!!7
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           9                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
          10            FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
          11

          12   ALBERT GARCIA and STEPHANIE               Case No.: BC 699 421
               GARCIA,                                   (Consolidated with Case No. BC 699 422)
          13
                                                         The Honorable Richard L. Fruin
          14            Plaintiff5,
                                                         IfiRQl'8SEBl ORDER GRANTING
          15                                               LAINTIFFS"' MOTION FOR AN
               vs.                                       AWARD OF ATTORNEYS' FEES
          16

          17   SELTZER-DOREN MANAGEMENT
               COMPANY, Il.JC. dba SIERRA
          18   MANAGEMENT GRESHAM
               APARTMENTS INVESTORS, and
          19   SELTZER-DOREN COMPANY &
               AFFILIATES,
          20
                                                         Hearing Date:         December 7, 2021
          21            Defendants.                      Trial:                August 2, 2021
                                                         Action Filed:         March 26. 2018
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                       Plaintiff Albert Garcia and Stephanie Garcias' motion for attorney fees pursuant to
             2   Government Code section 12965(b) came on for hearing on December_?, 2021.
             3         Having read and considered plaintiffs' motion and defendants' opposition, and
             4   having heard oral arguments of counsel, and good cause appearing,
             5         IT IS ORDERED that plaintiffs~ot~·n is GRANTED.                    - -
                                                    P~l1    ~7. Z~
             6         Defendants are ordered to pay $1,2~jj.BS in attorney fees, as stated in the
             7   Court's tentative ruling, attached hereto as Exhibit 1.
             8

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            IO         IT IS SO ORDERED
            11

            12   Dated: December /{) , 2021
            13
                                                  By:   _R-=--~---=.-»~:t:=------>L~~Uvt.=-==--'-
                                                          The Honorable Richard L. Fruin
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                                                        Ef'ROPOSED] ORDER
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                EXHIBIT 1
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     # 12 TENTATIVE RULINGS                9:15 a.m., Tuesday, December 7, 2021
     ALBERT GARCIA, STEPHANIE GARCIA v. SELTZER-DOREN MANAGEMENT
     COMPANY, INC. dba SIERRA MANAGEMENT, GRESHAM APARTMENTS INVESTORS,
     SELTZER-DOREN COMPANY & AFFLIATES, Case BC 699421.
           A. RULING ON PLAINTIFFS' MOTION FOR AN AWARD OF ATTORNEYS'
              FEES PLUS A MULTIPLIER:
     Attorneys' Fees Sought in Plaintiffs' Motion:
           Prevailing plaintiffs by statute are authorized to seek an award for their
     attorneys' fees to the extent reasonably incurred to prosecute FEHA claims.
           Plaintiffs in this fee motion seek attorneys' fees in the amount of
     $1,578,665 and ask the Court to exercise its discretion to increase that amount
     with a fee enhancement (a "multiplier") of 1.75, for a total attorneys' fees award
     of $2,762,663.75.
            The court must review the attorneys' time records to prepare a lodestar
     analysis. The lodestar is calculated by a multiplying the number of hours for
     necessary legal services x a reasonable hourly rate for each timekeeper
     performing such tasks. Ketchum v. Moses (2001) 24 Ca.I. App.4th 1122, 1132
     (attorneys' fees awarded after grant of a special motion to strike); Horsford v.
     Board of Trustees (2005) 132 Cal.App.4t" 359, 394 (attorneys' fees awarded
     after a plaintiffs proved employment discrimination in a jury trial).
           The Court in preparing a lodestar calculation has prepared the
     tabulations that are provided in the Appendix. Table A organizes plaintiffs'
     attorneys' time records to show by year the number of hours each timekeeper
~:   has charged to the litigation.
           Table B reflects minor reductions in the hours reported for various
     timekeepers. Plaintiffs conceded a reduction in the hours reported by Messrs.
     Morrison and Ross, after receiving defendants' opposition to the fee motion.
     The Court also discovered and corrected an overcounting of 1.2 hours in Urn's
     time records. (Any undercounting of hours was not corrected.)
            Table C contains any adjustments in the hours and billing rates for
     certain timekeepers by the Court in preparing its lodestar calculation.


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Plaintiffs Are Prevailing Parties Under the FEHA Attorneys' Fee Statute
       Plaintiffs prevailed at trial on claims alleging discrimination and
retaliation under the Fair Employment and Housing Act (FEHA), Government
Code section 12900 et seq·. Plaintiffs, therefore, are entitled to recover their
reasonable attorneys' fees under Government Code section 12965(b), reading:
"In civil actions brought under this section, the court, in its discretion, may
award reasonable attorney's fees and costs .... "
       As stated in Horsford v. Board of Trustees 132 Cal. App. 41h supra at 394,
an award of attorneys' fees "accomplishes the Legislature's expressly stated
purpose of FEHA 'to provide effective remedies that will eliminate these
discriminatory practices' [as identified in Gov. Code section 12920]. In order to
be effective in accomplishing the legislative purpose of assuring the availability
of counsel to bring meritorious actions under FEHA the goal of an award of
attorney fees 'is to fix a fee at the fair market value for a particular action'
[citing Ketchum v. Moses, supra, at 1132]."
      Albert Garcia sued the two defendants for discrimination and retaliation
based on medical condition (thyroid cancer) in violation of FEHA and for
wrongful termination. The jury awarded Albert Garcia $2,352,924 in economic
and non-economic damages, and further found, on clear and convincing
evidence, that the defendants' conduct constituted "malice, oppression and/or
fraud." In the phase 2 trial, the jury imposed $4 million in punitive damages in
favor of Albert Garcia. (See, Exh. 11.)
       Stephanie Garcia sued defendants for association discrimination and
retaliation (based on Albert's medical condition) in violation of FEHA and for
wrongful termination. (After her death Stephanie's estate was substituted in as
a plaintiff.) The jury awarded the Stephanie Garcia Estate economic damages of
$30,726, and further found, on clear and convincing evidence, that the
defendants' conduct constituted "malice, oppression and/or fraud." In the
phase 2 trial, they jury imposed punitive damages in the sum of $1,250,000 in
favor of the Stephanie Garcia Estate. (Exh. 11.)
     The Court, in October, denied defendants' motions for a new trial and for
judgment notwithstanding the verdict.
Trial Court Proceedings:
      The litigation spanned four years. Plaintiffs were represented by attorneys
from two law firms: Ross & Morrison and Shegerian & Associates.




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                 Plaintiffs retained the Ross & Morrison Law Firm in November 2017; that
          law firm filed separate complaints for Albert Garcia and Stephanie Garcia that
          were consolidated for discovery and trial.
                 Ross & Morrison negotiated the association of Shegerian & Associates as
          trial counsel in October 2018. The Shegerian Firm, however, billed limited hours
          to the case before this year. Carney Shegerian was plaintiffs' trial lawyer. Before
          2021, he billed only 3.5 hours to the matter.
                 The matter was tried to a jury from July 6 to August 6, 2021 with the trial
          proceedings adjourned at various times to accommodate the availability of
          individual jurors. Mr. Shegerian was assisted during trial by Anthony Nguyen
          and Mark Lim.
                  The trial was transmitted over a video conferencing platform and was
          accessible to remote viewers. The proceedings available through the video
          facility could also be seen on a large monitor in the courtroom. Half of the jury
          elected to_sit in the audience area of the courtroom to maintain social
          distancing from one another as recommended by the pc.ndemic emergency
          orders. The video facility permitting the jurors seated in the audience area to
          better follow the trial testimony. Using the video facility counsel examining
          from behind the counsel table could be seen as well as the judge presiding
          from the bench. The video cameras did not show the wi:nesses testifying from
          the witness chair. The jury box was not visible, although the jurors spaced in
          the audience area could be seen. All persons in the courtroom were wearing
          masks over their mouth and nostrils. The video platform also allowed for
          remote examination of witnesses, should that be needed, and the monitor
          mounted on the wall was also used to project trial exhibits and excerpts played
          from video-graphed depositions.
                 The Court was surprised to see Mr. Morrison appear on the monitor
          before the voir dire panel was admitted into the courtroom on the first day of
          the trial. The Court told counsel he did not want attorneys to watch the trial
          remotely if they intended to seek to recover attorneys' fees for their time
          watching the trial. Mr. Shegerian assured the Court that attorneys who were not
          present the courtroom would not be seeking to charge for any time spent in
          watching the trial. However, the time records attached t::> this fee motion {Exhs.
'"I'\:'   1 and 2) show Morrison and Ross viewed large periods of the trial, and, while
          their time records state "no charge" for their trial-watching time, they seek to
          charge for hours spent in conferring with the trial team based on their watching
          of the trial proceedings over the teleconferencing facilty. The Court was
          unaware during the trial that Morrison and Ross were vi·~wing the trial as
          neither turned on their cameras after the Court commented on the first day.



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Findings re Hours and Hourly Fee Rates for Shegerian & Associates:
      An attorney's billing rate sought in a fee motion must be shown to be
necessary to a plaintiff's success; otherwise it is not under the statute
"reasonably spent." 1
      Shegerian & Associates seek attorneys' fees for lawyers employed by that
firm at the following hourly rates: Carney Shegerian--$1,300; Anthony Nguyen-
-$1,000; Jill McDonell--$1,000; Mark Lim--$700; Zackery Lynch--$375; and
William Reed--$850. Time records are provided for all of those lawyers.
Exhibits 3, 4, 5, 6, 7 and 8. Those lawyers, other than McDonell and Lynch,
provide declarations in support of the fee request.
       Little information is provided about the firm's practices in preparing time
records. Mr. Nguyen made this brief statement (repeated in other declarations):
"I am familiar with the proper procedure for calculating hourly bills. I
understand which tasks are billable and which are not." Mr. Nguyen does not
say whether the attorneys prepare the time records contemporaneously with the
legal task that is reported; or whether the attorneys use actual time for their
entries. The appellate decisions indicate that the trial court is to accept, unless
suspicion is aroused, attorney time representations, and the Court will accept
the number of hours claimed by Shegerian & Associates as substantially correct.
       Having observed plaintiffs' trial team, Messrs. Shegerian, Nguyen and
Lim, over the course of the trial, the Court formed a favorable opinion of their
trial skills. Mr. Shegerian has previously tried cases in Department 15. He is a
successful plaintiff's-side trial lawyer in employment cases. His trial skills are
praised by other plaintiff's-side employment lawyers-in the declarations of
Nicholas C. Rowley, Abash Homampour, Gary A. Dordick and Reza Mirroknian-
in support of his requested $1,300 per hour rate. Mr. Rowley says: "As far as
the Southern California legal community goes, Mr. Shegerian is among the best
of the best. There is no employment lawyer in the country who has his success
record or who tries as many cases." Rowley decl., para. 11. Mr. Dordick says: "I
know Mr. Shegerian to be the preeminent employment lawyer in the country."
Dordick decl., para 10. The Court will approve a billing rate for Mr Shegerian in
this matter at $1,300 per hour.
     The Court will approve a billing rate of $900 per hour for Mr. Nguyen, a
2008 law graduate. That hourly rate was approved for him by Judge Victor
Chavez in 2020. Nuygen decl., para. 10. At the trial Nguyen examined two

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 "'Reasonably spent' means that time spent 'in the form of inefficient or duplicative efforts is
not subject to compensation. (Id at [Kitchum] 1132."' Horsford v. Board of Trustees, 132
Cal.App.4 1" supra at 394.

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witnesses and gave the rebuttal closing in the phase 2 trial. His ability during
the trial to marshal the witness and documentary evidence assisted the lead
examining attorney. Mr. Shegerian testified to his value to the trial team.
      The billing rates charged by the attorneys practicing at Shegerian &
Associates are recommended by the four declarants in a non-specific manner.
Mr. Dordick says: "I also understand that Mr. Nguyen, Ms. McDonell (sic), Mr.
Lim, Mr. Ross, Mr. Morrison, and Mr. Lynch, are requesting hourly rates of
$1,000, $1,000, $850, $700, $975, $975, and $375, respectively. Based on my
knowledge of their experience and abilities, I believe their requested rates to be
within the range of comparable market rates charged by attorneys in Los
Angeles." Dordick decl, para. 10. These comments are echoed in the Rowley,
Homampour and Mirroknian declarations. These declarants, however, do not
display any familiarity with the facts of this case nor of the actual contributions
made in this case by each of the referenced attorneys. They further do not
define in any way what is meant by their term "within the range of comparable
market rates." The declarations provide little support for the requested
lodestar rates. The Court assumes, however, because the declarants do not say
otherwise, that these plaintiff's-side employment trial lawyers are proposing
market rates for lawyers representing plaintiffs in contingent fee cases. As the
appellate decisions state, an appropriate multiplier for a contingent fee case
may be embodied in the hourly rate approved in a lodestar analysis rather than
added after the lodestar calculation is made. Ketchum v. Moses, 24 Cal. App.4th
supra at 1133; Horsford v. Board of Trustees, 132 Cal.App.4th supra at 394.
      The Court will approve a $650 hourly rate for Mr. Lim, a 2016 law
graduate. That rate for Mr. Lim was previously approved by Judge Victor
Chavez. Lim examined two witnesses at trial and otherwise maintained contact
with the potential witnesses during the trial.
       The remaining three attorneys providing legal services for the Shegerian
Law Firm with their billing rates are Jill McConell ($1,000 per hour), William
Reed ($850), and Zachery Lynch ($375). McConell, a 1992 law graduate,
contributed 9.9 hours, all on September 27, 2021, in preparing oppositions to
defendants' motions for new trial and JNOV. (Exh. 7.) She is a specialist in
preparing appellate and motion briefs. Shegerian decl., para. 24. Plaintiffs'
briefs filed in opposition to defendants' post-trial motions were well researched
and written. The Court will approve a lodestar $900 hourly rate for McConell.
        William Reed provided legal services in attending with Mr. Morrison a
mediation on July 22, 2019. His legal services were not otherwise used in the
litigation. (His charge of 0.3 hours on 10/19/21 to review the Orrick declaration
appears to be billed in error-there is no Orrick declaration). The Court believes
that a $450 hourly rate is appropriate for Mr. Reed's contribution to the case. In

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       the mediation (which was unsuccessful) Mr. Morrison was the lead attorney; his
       firm was then managing the Garcia litigation. Whatever knowledge Reed gained
       about the case was not material as Reed provided no further legal services for
       the in the Garcia case.
             The Court will approve an hourly rate for Mr. Lynch in the amount
       requested ($375). Lynch billed time to the case in the months April through
       September 2021; his time entries (in Exh. 6) indicate that he assisted the trial
       team in making contacts with the trial witnesses.
       Findings re Hours and Hourly Fee Rates of Ross & Morrison:
              Andrew J. Morrison and Gary B. Ross filed declarations to support their
       fee request, testifying that Exhibits 1 and 2 to be "a true and correct copy of my
       time records detailing the time and hours I spent on this case." The
       declarations, however, provide no information concerning their time keeping
       practices such as whether each attorney recorded time entries concurrently as
       the legal services are provided. The time records show Ross and Morrison
       communi'cated with each other constantly about the litigation, even about
       routine matters. For instance, Morrison's entry for July 9, 2018 states: "review
       and anal\isis of defendants' responses to Form Interrogatories; conclude not to
       make a motion to compel"; while Ross' entry for the same date states "receipt,
       review and preliminary analysis of defendants' responses to plaintiff's first set
       of Form Interrogatories; strategy and analysis re: whether the bring a discovery
       motion (motion to compel further responses)."
             Defendants' opposition complains that the Ross & Morrison time entries
       show extensive duplication, saying that "100 out of the total 350 entries (160
       hours out of total 380 hours billed) by Mr. Ross are described as tasks
       performed by Mr. Morrison." Opp. 7: 11 and 22-23. Conferencing is
       appropriate, and often beneficial, when several attorneys are working as a
       team, but the extent of the conferencing in this case between Morrison and
       Ross when both are experienced employment lawyers and are claiming $975
       per hour !billing rates is a concern.
              In October 2018 Ross & Morrison entered negotiations to associate a
-·.-   different llaw firm, Shegerian & Associates, to represent the plaintiffs at trial.
       Morrison's October 12 time entry reads: "telephone call from Gary Ross ... (he's
       on his way to meet client with Carney Shegerian)," while Ross' time entry three
       days later reads: "10/12-10/15 extensive communications with client, ADM
       and co-counsel re: retention of co-counsel for trial. ... " Ross & Morrison
       form~lly associated Shegerian & Associates as co-counsel on November 13,
       2018. It is not a criticism that Ross & Morrison selected the Shegerian firm to
       be trial counsel but that circumstance should be considered in determining a
       lodestar calculation of the Ross & Morrison legal fees. In the legal market,

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premium legal rates are accorded to lawyers who undertake to prove the case
to a jury, while lesser rates are accorded to attorneys who provide legal services
up to the trial.
   A. Reduction in Hours Claimed by Ross & Morrison:
    Plaintiffs in their reply concede that 15.15 hours of Morrison's time was for
clerical functions and should not have been included in the lodestar calculation.
Plaintiffs likewise concede that 4.9 hours of Ross' time should not have been
billed. The time adjustments for specific dates are shown in the Nguyen
declaration filed on November 24. (These adjustments are also reflected in
Table B.) These minor reductions do not address all of defendants' duplicate-
billing concerns, but the Court, on the evidence it has, concludes not to make
further reductions in the hours claimed for duplicate billing.
   The Court will, however, deduct the Ross & Morrison hours for the time that
they billed during the trial period, that is between July 5 through August 6,
2021. In this period Morrison and Ross provided to the Shegerian trial team
their observations based on their remote viewing of the trial. For instance, Mr.
Morrison in his time entry for July 13 (Exh. 1) states:
      "Review and analysis of text from Gary Ross including discussion re
      potential issues due to juror attrition; email responding to same (1.25);
      review and analysis of brief re grossing up damages and mitigation (.08);
      attend trial via Court Connect - attorneys only (1.09); strategy and legal
      analysis re: CACI issue; read CACls; read court of appeals ruling; draft
      email; shorten email; send email (1.58); extensive strategy and legal
      analysis re: principal/agent issues (1.08)"
      The Shegerian team consisted of three experienced and prepared trial
attorneys. Plaintiffs' fee motion, in the declarations, have not provided any
evidence that the contributions from Messrs. Morrison and Ross based on their
remote observation of the trial provided material benefit to the trial team. The
Court need not make a finding that the observations of Morrison and Ross
rendered during the trial had no value; they were simply duplicative of the legal
services rendered by the trial team and, thus, were not reasonably necessary.
The Court finds that the time was beyond what was required given the
competence of the trial team.                                    ·
       The time, moreover, is based on counsel's remote viewing of the trial
proceedings. The Court stated expressly on the trial's first day that it would not
approve legal fees based on counsel's remote viewing of the trial proceedings.
Plaintiffs did not at any time request any exception from that ruling.
  The hours that are deducted from Mr. Morrison's time entries in July and
August are 16.58; and from Mr. Ross' time entries 36.00 hours.

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   B. Reduction in Billing Rates Claimed by Ross & Morrison:
   The hourly rates claimed by Ross & Morrison ($975 per hour for each
partner) are not shown to be market rates for the legal services they provided.
Plaintiffs provide no evidence that other courts have approved their legal fees in
any lodestar calculation. Mr. Ross identifies two employment cases in which he
was the prevailing attorney (see, Ross decl. referencing Dudley v. Sycamore
Hathaway, BC 500071 and Beck v. Sybase, Inc., BC 17385 51), but he noticeably
does not state when those victories were achieved nor what lodestar legal fee
he received from the trial judges.
   The Court of Appeals criticized the performance of Ross & Morrison in this
action, and that fact bears upon a lodestar calculation of their reasonable legal
fee. Ross & Morrison, as plaintiffs' counsel, submitted an opposition to a
motion for summary judgment from Gresham Apartments Investors that failed
to comply with CRC, Rule 3.116 dealing with the submission of deposition
testimony as an exhibit. The trial judge for that reason struck and, therefore,
did not consider the deposition evidence that was submitted to oppose the
motion. The trial judge, therefore, granted the motion and dismissed defendant
Gresham Apartments Investors from the action. The appellate court said:
"although the [trial] court did not expressly grant summary judgment because
of the procedural default, it effectively did." Slip Op. 15. The loss was rectified
when the appellate court reversed the judgment that had dismissed that
defendant but said the dismissal occurred because Ross & Morrison did
"something we would not expect most lawyers to do." Slip Op. 14.
   The appeal from the loss of the summary judgment motion caused harm to
plaintiffs. It delayed the trial for more than two years, and during that delay
plaintiff Stephanie Garcia contracted COVID-19 and died. Because of her death,
her estate was barred from recovering non-economic damages. CCP section
377.34. The jury likely would have awarded non-economic damages to her: it
awarded economic damages to her estate. That the appellate court concluded
the trial judge abused its discretion in striking plaintiffs' opposing evidence
because their counsel failed to submit the evidence in a manner compliant with
Rule 3.1116 does not change the fact that the trial court granted summary
judgment against plaintiffs' claims against Gresham Apartments Investors
because Ross & Morrison did not file a rule-compliant opposition.
   Plaintiffs' motion provides no explanation for how the default occurred.
There is no statement, for instance, that plaintiffs' counsel were familiar with
and tried to follow Rule 3.116 for submitting deposition excerpts as exhibits to
a summary judgment motion. Plaintiffs' motion, furthermore, does not discuss
the impact that plaintiffs' counsel's failure should have on their claims for high
end legal fees.

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               Plaintiffs' failure to address this issue is separately a reason to reduce the
            legal fees claimed by Messrs. Morrison and Ross in their fee motion.
                The Court recognizes that the Court of Appeal reversed the trial judge. The
            Court, however, assumes that the trial judge would have denied the summary
            judgment had it been required to accept the deposition exhibits that were
            stricken. The loss of the motion ultimately did not deprive plaintiffs an
            opportunity to prosecute their claims against Gresham Apartments Investors,
            although it reduced the damages recoverable by the Stephanie Garcia estate
            and caused greater expense in the prosecution of plaintiffs' claims. Defendants
            should not bear the expense caused by the failure of plaintiffs' counsel to
            comply with CRC Rule 3.1116.
               In the absence of any other benchmark, the Court will approve a lodestar
            attorney's fee for Messrs. Morrison and Ross of $735 per hour. This is the
            hourly rate that defense counsel, who testifies he specializes like Ross &
            Morrison in employment litigation, received in representing defendant Gresham
            Apartments Investors in this case. Mackey decl., para. 15.
            Findings re Plaintiffs' Fee Enhancement Claim:
                   "[T]he lodestar is the basic fee for comparable legal services in the
            community; it may be adjusted based on factors including as relevant herein,
            (1) the novelty and difficulty of the questions involved, (2) the skill displayed in
            presenting them, (3) the extent to which the nature of the litigation precluded
            other employment by the attorneys, (4) the contingent nature of the fee award.
            (Sorano Ill, supra, 20 Cal.3d at p.49.) The purpose of such adjustment is to fix a
            fee at the fair market value for the particular action." Ketchum v. Moses (2001)
            34 Cal.41h 1122, 1132.
                  Only one of the four factors identified in the Ketchum decision is
            applicable to plaintiffs' fee motion.
                   The case did not present novel or difficult questions. The underlying facts
            for the wrongful termination claims were not disputed at trial. As the Court said
            in its written rulings denying defendants' post-trial motions: "Selzer-Doran
            Management manages 35 other apartment buildings, and, as a practice,
            employs couples to serve as resident managers in each apartment building,
'   -.,:'   providing them with the use of an apartment during their employment as their
            principal compensation. Defendants argued that although Albert was an
            exemplary employee, no complaints ever having been received about him, the
            termination of the Garcias as employees and as tenants was justified because
            complaints had been received about Stephanie and defendants had concluded
            that her personality was not conducive to her duties in showing and renting
            vacant apartments." The principal issue at trial, given that defendants were

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informed of Albert's medical condition, was whether defendants' reason for
terminating the Garcias' employment and evicting them from their home was
 pretextual. This issue is not novel; it is the issue in FEHA termination cases.
Presenting evidence on the issue was not uniquely difficult. Defendants had
 little documentation to support their contention that Stephanie's performance
was deficient or that they had given notice to Stephanie that her performance as
a rental manager was deficient. (The Court sustained Mr. Shegerian's immediate
objection to defendants' attempt to introduce the vacancy rates in other
Seltzer-Doren managed buildings because defendants had objected to
plaintiffs' efforts before trial to obtain that information.) Whether Gresham
Apartments Investors was liable for the termination decision made by its
 management agent Seltzer-Doren was potentially a significant issue but not
one that required legal analysis at trial because the issue was decided before
trial by the Court of Appeals.
      Ross & Morrison did not find the need to take extensive factual discovery.
The parties exchanged written discovery which is standard for an employment
case. Ross & Morrison took four depositions, all of employees of defendants,
and defended only the two depositions taken of the plaintiffs. The depositions
taken after the matter was remanded back to the trial court were of each side's
designated experts. The meager discovery supports the view that the case did
not present novel or difficult issues.
       The second factor-the skill displayed at trial-does not merit a fee
enhancement. The skill of plaintiffs' lead trial counsel has earned for him a
lodestar attorney's fee of $1,300 per hour. The trial team, as a unit, was
effective in investigatir:ig and in presenting facts at trial to support plaintiffs'
argument that they were subject to unlawful discrimination. Shegerian's
examination of adverse witnesses was prepared, aggressive and focused, as
needed in this case, but that would be expected from a $1,300 per hour lawyer.
The lodestar fee rate establishes the presumptive market value for a lawyer's
time. The Court finds no basis to go beyond that presumptive value in this case.
       The Court disagrees with Mr. Nugyen's argument that the fact the jury
returned a substantial verdict for the plaintiffs in itself establishes the verdict
was produced by the skills of their lawyers. Reply 1: 14-16. The substantial
verdict in this case derived from its facts: defendants expelled plaintiffs from
their home and their employment because Albert Garcia required treatment and
recuperation time for throat cancer and defendants argued their failure to
accommodate Albert's medical condition with explanations that the jury,
apparently, did not find credible.
     This Court, when considering whether a multiplier to a lodestar is
appropriate, is guided by our Supreme Court in its Ketchum decision:

                                        10
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       "[A] trial court should award a multiplier for exceptional representation
       onlly when the quality of representation far exceeds the quality of
       representation that would have been provided by an attorney of
       comparable skill and experience billing at the hourly rate used in the
       lodestar calculation. Otherwise, the fee award will result in unfair double
       counting be unreasonable." 24 Cal 4th, supra, at 1139.
  Applying that guidance to this case, the question is: did the Shegerian trial
- team obtain results that would not have been expected from another high-
  priced plaintiff's-side employment lawyer (say, Gary Dordick)? The fee motion
  provides no evidence to conclude that the quality of plaintiffs' trial lawyers "far
  exceeds" that would have been obtained by another lawyer of comparable skills.
        Plaintiffs gesture to the third factor-that taking this case "precluded
 other employment"-but no facts are offered to support any such assertion.
 Shegerian states: "The trial in this case demanded that Plaintiff's counsel spend
 more than 10 hours per day on multiple days. Thus, this commitment had a
 dramatic ability of (sic) counsel's ability to accept work in other cases."
 Shegerian decl. para. 21. Mr. Shegerian offers no facts for his statement. Did
 his firm turn down other meritorious cases? The 10 hour work days occurred
 when Mr. Shegerian was trying this action, altogether nine days. The Garcia
 trial, moreover, occurred during the first month in which the LASC re-opened
 for civil jury trials. The fact that Shegerian does not identify any other trial for
 which he was committed (and which he could not continue to a future date)
 suggests his statement is formulaic and not based on fact. Ross & Morrison, the
 other law firm representing plaintiffs, do not say that their firm was precluded
 from representing other clients because of the demands of this case. Their time
 records do not indicate their commitment to this case precluded other legal
 work.
        There is, in sum, no evidence that either Shegerian or Ross & Morrison
 rejected other cases because of their commitment to this case. There being no
 supporting facts, the Court disregards entirely the assertions that plaintiffs'
 counsel were precluded from other work becau.se of the demands of this case.
        The fourth factor-that counsel represented plaintiffs under a
 contingency contract-does merit a modest increase in the lodestar amount.
 The multiplier in a contingency case recognizes that there will be a delay, even
 in a successful case, in the payment of front-end legal fees and costs. There
 has been a delay, in this case, in payment to plaintiffs' counsel as legal fees,
 assuming that counsel would otherwise have been paid on a monthly basis.
 However, most of Shegerian & Associates' legal fees were incurred within the ·
 last ten months, substantially mitigating any burden due to a delay in payment.
 (The attorneys' fee award will draw 10 percent interest once entered in the

                                          11
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 70 of 412




 judgment.) The legal fees incurred by Ross & Morrison have accrued over four
 years, although two of those years can be attributed to their procedural default
 that resulted in a grant of summary judgment subsequently reversed on appeal.
 The high hourly fees claimed as lodestar rates by lawyers representing clients
 with FEHA ·claims suggest that those rates already include a contingency
 premium. Those high hourly rates claimed by attorneys in employment cases
 are attested to in plaintiffs' motion. Rowley decl., para. 9; Dordick decl., para.
 9; Homampur decl., para. 15; and Mackey decl., paras. 15 and 16. As the
 Horsford decision states: "The contingency adjustment may be made at the
 lodestar phase of the court's calculation or by applying a multiplier to the
 noncontingency lodestar calculation (but not both)." 132 Cal.App.4th supra at
 395.
        Plaintiffs also make an argument that is beyond the analysis structure
 prescribed by controlling authority, namely that in establishing a fee
 enhancement the Court should award a high multiple because the Dow Jones
 Average has increased dramatically since when this case was filed. That
 argument is specious. The lodestar-plus-multiplier approach "anchors the trial
 court's analysis to an objective determination of the value of the attorney's
 services, ensuring that the amount awarded is not arbitrary." Ketchum v. Moses
 24 Cal.4th supra at 1134. Investing after-tax earnings in the stock market is a
 bet on a roulette wheel; it does not provide an "objective determination" to
 recognize what a willing buyer and a willing seller will pay in a marketplace for
 legal services rendered on a noncontingent basis. The Court thinks less of
 plaintiffs' motion for making this fallacious argument.
      The Court, after reviewing the factors pertinent to this case, shall award a
 1.1 multiplier to the lodestar calculation .
. Attorneys' Fee Award.
       The attorneys' fee awarded to plaintiffs in this case is $1,263,133.95.
 That calculation of this amount is shown on Table C in the Appendix. The
 lodestar is to be multiplied by a 1.1 fee enhancement.
       B. RULING ON DEFENDANTSt MOTION TO TAX COSTS
        The Court has reviewed the motion but has not prepared a written
 tentative ruling.




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                                                  BC699421-TIME SHEET TABULATION
                                                   RE: MOTION FOR ATTORNEY FEES

                [TABLE AJ     ORIGINAL HOURS                                            HOURS BILLED BY YEAR
 Attorney      Rate/hr    Exh. Total      Exh #        Table Total      2017       2018             2019          2020         2021
Ross           $975.00      382.20         #2            410.18        26.85       118.80          155.03         44.75        64.75
Morrison       $975.00      529.00         #1            529.20         2.45       146.69          252.01         79.29        48.76
Shegerian     $1,300.00     195.70         #3            195.70         0.00        2.60            0.60           0.30        192.20
Nguyen        $1,000.00     180.10         #4            181.10        0.00         5.00            7.10          0.80         168.20
Lim             $700.00     279.90          #5           278.70         0.00        0.00            24.60          7.90        246.20
Reed           $850.00       15.80         #8             15.80        0.00         0.00            15.50         0.00          0.30
Lynch           $350.00      94.60          #6            94.60         0.00        0.00             0.00         0.00          94.60
McDonell      $1,000.00      9.90           #7            9.90         0.00         0.00            0.00          0.00          9.90

                                                                     TABLE B-1
                                                                                   EXH*           Conceded       Reduced      TOTAL
                                                                     Ross            382.20              4.90        16.58      360.72
                                                                     Morrison        529.00             15.15        36.00      477.85
                                                                     Shegerian       195.70              0.00         0.00      195.70
                                                                     Nguyen          180.10              0.00         0.00      180.10
                                                                     Lim             279.90              0.00         1.20      278.70
                                                                     Reed             15.80              0.00         0.00       15.80
                                                                     Lynch            94.60              0.00         0.00       94.60
                                                                     McDonell          9.90              0.00         0.00        9.90




                [TABLE BJ     AMENDED HOURS                                             HOURS BILLED BY YEAR
 Attorney      Rate/hr    Exh. Total      Exh#         Table Total         2017     2018            2019          2020          2021
Ross            $975.00     360.72          #2           410.18         26.85      115.55          153.68         44.45         28.75
Morrison        $975.00     477.85          #1           514.05          2.45      144.62          239.51         78.79        -32.10
Shegerian     $1,300.00     195.70          #3           195.70          0.00       2.60            0.60           0.30        192.20
Nguyen        $1,000.00     180.10          #4           181.10          0.00       5.00            7.10           0.80        168.20
Lim             $700.00     278.70          #5           278.70        . 0.00       0.00            24.60          7.90        246.20
Reed            $850.00      15.80          #8            15.80            0.00     0.00            15.50          0.00          0.30
Lynch           $350.00      94.60          #6            94.60            0.00     0.00             0.00          0.00         94.60
McDonell      $1,000.00      9.90           #7            9.90             0.00     0.00            0.00           0.00          9.90




            [TABLE CJ     AMENDED HOURS & RATES                                                FEES PER YEAR
 Attorney      Rate/hr      HOURS          FEES        Table Total         2017     2018            2019          2020          2021
Ross           $735.00      360.72     $265,129.20        0.00       $19,734.75 $84,929.25       $112,954.80    $32,670.75   $21,131.25
Morrison        $735.00     477.85     $351,219.75        0.00        $1,800.75 $106,295. 70     $176,039.85    $57,910.65   $23,593.50
Shegerian     $1,300.00     195.70     $254,410.00        0.00          $0.00    $3,380.00          $780.00       $390.00    $249,860.00
Nguyen          $900.00     180.10     $162,090.00        0.00          $0.00    $4,500.00         $6,390.00      $720.00    $151,380.00
Lim             $650.00     278.70     $181,155.00        0.00          $0.00      $0.00          $15,990.00     $5,135.00   $160,030.00
Reed            $450.00      15.80      $7,110.00         0.00          $0.00      $0.00           $6,975.00       $0.00       $135.00
Lynch           $350.00      94.60     $33,110.00         0.00          $0.00      $0.00             $0.00         $0.00     $33,110.00
McDonell        $900.00       9.90      $8,910.00         0.00          $0.00      $0.00             $0.00         $0.00      $8,910.00
                                       $1,263,133.95
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        EXHIBIT H
to DAVID DERUBERTIS DECL
                  Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 73 of 412



              1     PAUL HASTINGS LLP
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                    JENNIFER L. MILAZZO (SB# 318356)
              3     jennifermilazzo@paulhastings.com
                    515 South Flower Street                                      FILED
              4     Twenty-Fifth Floor                                    Superior Court of California
                    Los Angeles, CA 90071-2228                              County of Los An11.elcs
              5     Telephone: (213) 683-6000
                    Facsimile: (213) 627-0705                                   OCT 2 g 2018
              6
                                                                   Sherri It                  '· fficer/Clerk
                    Attorneys for Defendant
              7     David Danziger                                  By_-4-l4Al.u...<.LYo~-, Oepu ty

              8

              9                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

             10                                        COUNTY OF LOS ANGELES

             11

             12     DOV CHARNEY, an individual,                  CASE NO. BC585664

             13                          Plaintiff,              DECLARATION OF ELENA R. BACA IN
                                                                 SUPPORT OF DEFENDANT DAVID
             14             v.                                   DANZIGER'S MOTION FOR
                                                                 ATTORNEYS' FEES
             15     DAVID DANZIGER, an individual; and
                    DOES 1 to 50, inclusive,                     [Notice of Motion and Motion; Memorandum
             16                                                  of Points and Authorities and [Proposed] Order
                                         Defendants.             filed and served concurrently herewith]
             17
                                                                 Date:          June 4, 2019
             18                                                  Time:           8:45 a.m.
                                                                 Dept.:          14
             19                                                  Judge:          Hon. Terry A. Green

             20                                                  RESERVATION ID: 181026360333

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             28       ORIGINAL
                             DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
                    LEGAL_US_E # 138379706.3
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                                               DECLARATION OF ELENA R. BACA

           2              I, Elena R. Baca, hereby declare and state as follows:

           3              1.      I am an attorney duly admitted to practice law before all the Courts of the State of

           4     California and this Court. I am a Partner at the law firm of Paul Hastings LLP and counsel of

           5     record for Defendant David Danziger. I make this declaration in support of Danziger' s Motion

           6     for Attorneys' Fees (the "Fees Motion"). I have personal knowledge of the facts set forth below,

           7     and if called as a witness, I would and could competently testify thereto.

           8              2.      Plaintiff Dov Charney ("Plaintiff') filed his Complaint in this action on June 19,

           9     2015. In response, Danziger filed an initial Special Motion to Strike Charney's Complaint

          10     pursuant to California Civil Procedure Code Section 425.16. Charney responded to the motion

          11     with a demand for specified discovery under CCP 425.16(g). Danziger, through counsel, made

          12     extensive efforts to meet and confer with Charney to discuss his discovery demands, all to no

          13     avail.

          14              3.      On July 24, 2018, Danziger filed an Amended Special Motion to Strike pursuant to

          15     California Civil Procedure Code Section 425.16 (the "anti-SLAPP Motion"). Charney opposed

          16     this motion on August 3, 2018, which was not served on Danziger until August 6, 2018, leaving

          17     Danziger with less than 48 hours to prepare a reply. In support of his opposition filing, Charney

          18     placed in the public record privileged information and information subject to protective orders in

          19     other proceedings. Danziger's counsel sought to meet and confer regarding Charney's improper

          20     disclosures but received no response. A hearing was held on the anti-SLAPP Motion on

          21     August 15, 2018, during which this Court granted Danziger's anti-SLAPP Motion and struck

-~'"'     22     Charney' s Complaint in its entirety. A true and correct copy of excerpts of the August 15, 2018
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.t'o•"
          23     hearing transcript is attached hereto as "Exhibit A." The Court's August 17, 2018 Court Ruling is
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1v;       24     attached hereto as "Exhibit B."
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it~:r.
          25              4.      Attorneys from Paul Hastings, billed more than 456.6 hours oftime on work

          26     related to Danziger's anti-SLAPP Motion. This work consisted of developing an efficient, cost-

          27     effective litigation strategy, analyzing Charney's papers, investigating Charney's allegations,

          28     researching legal issues, drafting and revising the anti-SLAPP Motion and Reply, drafting and
                                                                   -2-
                          DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
                 LEGAL_US_E # 138379706.3
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              1     revising the supporting declarations and related filings, and preparing for and arguing at the

              2     hearing on the anti-SLAPP Motion. Attached hereto as "Exhibit C" is a true and correct copy of

              3     redacted invoices prepared by Defendants' counsel that reflect time spent and billed through

              4     September 21, 2018, in connection with Paul Hastings' preparation of the anti-SLAPP Motion.

              5     Exhibit Chas been redacted to preserve attorney-client and attorney work product information,

              6     while providing sufficient support for the fees sought to be recovered by the Fees Motion.

              7             5.        Attached hereto as "Exhibit D" is a summary of the time and aggregate value of

              8     time based on the standard hourly rates, organized by year and billing attorney, contained in the

              9     redacted invoices attached as Exhibit C. Exhibit D was prepared by Paul Hastings in the regular

             10     course of business at my direction after my review of Paul Hastings invoices in this matter.

             11     Exhibit D reflects a true and accurate summary of the time spent and billed through

             12     September 21, 2018 in connection with Paul Hastings' preparation of the anti-SLAPP Motion.

             13             6.        I am familiar with Paul Hastings' billing rates and practices. Paul Hastings has an

             14     established procedure for recording time spent on client matters. Each attorney records the time

             15     worked on each client matter describing their work done. These time records are submitted to

             16     Paul Hastings's Accounting Department. At the end of each month, the Accounting Department

             17     prepares client billing statements which set forth the services rendered and the hours spent

             18     performing each task that month. The billing statements submitted to Danziger in this matter

             19     were prepared in accordance with established procedures for recording time and tasks spent on

             20     client matters.

             21             7.        I have reviewed the billing statements submitted to Danziger by Paul Hastings in

f!'ll·JI.·   22     connection with this case and found them to be accurate. Paul Hastings' monthly billing
·'"'''
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f;:;:        23     statements are maintained in the ordinary course of business and establish that Paul Hastings
"""'
......'
.,,,S:~
             24     attorneys spent more than 456 hours defending Danziger against Chamey's claims in this matter.
    ..
!):%         25     All of the time billed was reasonably necessary and required in the defense of those claims. Any

             26     time that was determined to be excessive, redundant, or otherwise unnecessary, was "written off'

             27     and not billed. Paul Hastings' customary standard billing rates are commensurate with the rates

             28     of attorneys of similar skill, experience, and expertise in the same area. The hourly billing rates
                                                                      -3-
                             DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
                    LEGAL_US_E # 138379706.3
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             1     submitted herewith are the standard and customary hourly rates charged by Paul Hastings to other

             2     clients for attorneys' work. Applying the standard hourly rates charged annually to the hours

             3     worked on this matter in each year, results in the aggregated value for 456.6 hours worked. The

             4     invoices sent to the client for the attorney time and work in this matter exceeded $280,000.00.

             5     For purposes of this motion, only $280,000.00 is requested.

             6             8.       Paul Hastings is consistently recognized as the national leader in employment

             7     discrimination class action defense litigation. Paul Hastings has been named "Global

             8     Management Labour and Employment Law Firm of the Year" by The International Who's Who

             9     of Business Lawyers every year since 2006. Paul Hastings has been named The American

            10     Lawyer's "Labor and Employment Litigation Law Firm of the Year" twice and ,is consistently

            11     ranked in Band 1 for Labor and Employment Law in Chambers USA. Paul Hastings attorneys are

            12     also the authors and editors of several published authorities on employment law, including the

            13     Lindeman & Grossman, Employment Discrimination Law treatise, which is repeatedly cited by

            14     the U.S. Supreme Court in interpreting Title VII law.

            15             9.       I am.Chair of Paul Hastings Los Angeles office and Co-Vice Chair of the Global

            16     Employment Law practice. I have been licensed to practice law in the state of California since

            17     1992 and have been a labor and employment lawyer for more than 20 years. I graduated from

            18     Notre Dame Law School in 1992. I am a former law clerk to the Hon. Consuelo B. Marshall

            19     (United States District Court, Central District of California) and a former adjunct professor in

            20     complex civil litigation for Pepperdine University Law School. I have represented employers in

            21     the entire range of employment law matters, including but not limited to employee mobility, wage

....,,      22     and hour, whistleblower issues, discrimination, hostile work environment, breach of contract and
 jc.•'-'
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 i;;:J:     23     related tort claims (including defamation). I have tried multiple jury cases to conclusion in state
J;;,.··~·
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 ~{'        24     and federal courts and litigated and tried numerous arbitrations. Although I am based in the Paul
 I:"..
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 f):''
~._; "/•    25     Hastings Los Angeles office, I regularly litigate in district and state courts across the country.

            26             10.      I am a Fellow of the Trial Lawyer Honorary Society. I have been consistently

            27     ranked by Chambers USA and the Legal 5 00 as one of the top employment defense lawyers in

            28     California. I have been selected continuously since 2006 as one of the Best Lawyers in
                                                                    -4-
                            DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
                   LEGAL_US_E # 138379706.3
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             1     America in employment law. I have been named repeatedly as one of California's "Top Women

            2      Lawyers" and as one of California's "Top Labor and Employment Attorneys" by the Los Angeles

            3      Daily Journal. The American Lawyer also recognized me in its "Top 45 Under 45" list. My

            4      standard hourly billing rates have been $975.00 (2015); $1,025.00 (2016); $1,050.00 (2017); and

            5      $1,110.00 (2018).

            6              11. ·    Dennis Ellis graduated from Howard University School of Law in 1995. He is a

            7      Partner in the Paul Hastings Litigation Department and is Chair of the Complex Litigation and

             8     Trial Practice group. Mr. Ellis is a Fellow of the Litigation Counsel of America's Trial Lawyer

            9      Honorary Society. He was named Lawyer of the Year by California Lawyer magazine. Mr. Ellis

            10     has been named a "Super Lawyer" every year since 2007 and was previously named a "Rising

            11     Star" by Los Angeles magazine. Mr. Ellis' hourly billing rates have been $1,050.00 (2015);

            12     $1,100.00 (2016); $1,200.00 (2017); and $1,275.00 (2018).

            13             12.      Nicholas Begakis graduated from the University of California, Hastings College of

            14     the Law in 2007. Before leavingthe firm, he was an associate in the Paul Hastings Litigation

            15                                             a
                   Department. Mr. Begakis was named "Rising Star" by Los Angeles magazine. Mr. Begakis

            16     hourly billing rates have been $765.00 and $790.00 (2015); and $850.00 (2016).

            17             13.      Scott Klausner graduated from Loyola Law School in 2013. Prior to practicing at

            18     Paul Hastings, Mr. Klausner served as law clerk to the Honorable Arthur L. Alarcon of the U.S.

            19     Court of Appeals for the Ninth Circuit. Mr. Klausner's hourly billing rates have been $475.00

            20     and $550.00 (2015); $645.00 and $67,0.00 (2016); $745.00 and $775.00 (2017); and $840.00 and

            21     $875.00 (2018).

.t.-•··     22             14.      Jennifer Milazzo graduated from the University of California Los Angeles School
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"'~:J;"
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            23     of Law in 2017. Prior to practicing at Paul Hastings, Ms. Milazzo served as a judicial extern to
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                   the Honorable Stephen Wilson of the Central District of California. Ms. Milazzo' s hourly billing
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.~!!!•.~!
            24
pis,r,      25     rates have been $510.00 (2017),; and $600.00 and $635.00 (2018).

            26              15.     These are the same rates Paul Hastings generally charges to its clients. These rates

            27     are commensurate with rates of other top law firms in the Los Angeles area and are therefore

            28     reasonable.
                                                                    -5-
                            DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
                   LEGAL_US_E # 138379706.3
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             1              16.       Paul Hastings has not yet finalized bills for its services relating to the instant Fees

             2     Motion, but based on my evaluation of Paul Hastings' attorney time-tracker software, I estimate

             3     that Paul Hastings attorneys have billed approximately 30 hours on work related to this Fees

             4     Motion. I further anticipate that Paul Hastings attorneys will bill approximately 15 hours

             5     preparing the Reply in Support of the Fees Motion and preparing for and attending the hearing on
                                  '
             6     this Motion. Prior to the hearing, Paul Hastings will file and serve a supplemental declaration

             7     describing all fees incurred in connection with this Fees Motion.

             8             I declare under penalty of perjury under the laws of the United States and the State of

             9     California that the· foregoing is true and correct.

            10             Executed this 29th day of October, 2018, at Los Angeles, California.

            11

            12
                                                               By:
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                            DECLARATION OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
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EXHIBIT A
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                   Charney vs. Danziger




      Reporter's Transcript of Proceedings
                       August 15, 2018




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               Transcript of Proceedings                                 Charney vs. Danziger

           1    IF THAT'S GOING TO BE THE ALLEGED STATEMENT, THE STATEMENT
           2    WOULD BE TO ROTH WE HAVE THIS OUTSIDE INVESTIGATION, AND
           3    THEY HAVE FOUND ALL OF THESE IMPROPRIETIES, AND I CAN'T TELL
           4    YOU WHAT THEY ARE, BUT IF YOU KNEW WHAT THEY WERE THEN YOU'D
           5    AGREE, AND THEY HAVE -- SURE ENOUGH THE BOARD COMES OUT WITH
           6    THIS -- TO MEASURE, PARAGRAPH 3, MISUSE OF CORPORATE ASSETS
           7    AND SO EVERYTHING ABOUT THE EXISTENCE OF THE INVESTIGATION,
           8    ABOUT IT BEING SERIOUS, AND ABOUT HOW THE BOARD OR -- HE
           9    WOULD AGREE THAT'S AN OPINION BUT THE BOARD AGREED, AND
          10    MAYBE IN SOME PERFECT PLATONIC UNIVERSE, CHARNEY IS INNOCENT
          11    OF THESE CHARGES.          BUT THAT WASN'T -- THAT'S NOT WHAT WE'RE
          12    DEALING WITH HERE.         WE'RE DEALING WITH:     WAS THERE AN
          13    INVESTIGATION?        DID HE DID SAY THERE WAS AN INVESTIGATION?
          14    DID HE IMPLY WHAT THE OUTCOMES WERE?             IN FACT WAS CHARNEY
          15    DISMISSED BY THE BOARD OF DIRECTORS AND WAS ONE OF THESE
          16    THESE ARE THE GROUNDS STATED.          SO THOSE ARE ALL TRUE
          17    STATEMENTS.        I MEAN THERE'S NO ONE FALSE STATEMENT THERE.
          18                NOW YOU'RE TAKING THIS OFF INTO SOME OTHER LEVEL OF
          19    THE UNIVERSE
          20                MR. MULLER:      YOUR HONOR --
          21                THE COURT:       -- WHERE BUT, ACTUALLY, IF I'D ONLY
          22    KNEW THE THAT TRUTH, WE'D BEEN WITH CHARNEY THROUGHOUT --
r·''      23                MR. MULLER:      YOUR HONOR, IF MR. DANZIGER -- HE
""'
~·~·
i;;:';
,,,,...   24    COULD HAVE TOLD THE TRUTH TO MR. ROTH WHEN MR. ROTH CALLED
~~·~
f'ilJ     25    HIM.    HE COULD HAVE SAID,, "YOU KNOW WHAT?         HE DIDN'T ENGAGE
....~~
\);7.     26    IN ANY FINANCIAL MALFEASANCE.          THERE WAS NO MISCONDUCT" --
          27                THE COURT:      I DON'T DISAGREE
          28                MR. MULLER:      -- "BUT WE HAVE JUST DECIDED TO

                                                                                     Page 42
                                               www.aptusCR.com
                                                                             PAGES
             Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 82 of 412



                 Transcript of Proceedings                              Charney vs. Danziger

             1    SUSPEND HIM, AND WE'RE GOING TO SAY THAT THAT'S THE REASON
             2    THAT WE'RE SUSPENDING HIM FOR, BUT THERE'S NOT REALLY
             3    FINANCIAL MISCONDUCT."        HE COULD HAVE SAID THAT.     THAT WOULD
             4    HAVE BEEN TRUTHFUL.        AND IF HE HAD DONE SO, MR. ROTH WOULD
             5    HAVE SAID "THANK YOU VERY MUCH, DAVID" AND HE WOULD GONE
             6    AHEAD AND SUPPORTED MR. CHARNEY IN THE PROXY FIGHT, BUT
             7    INSTEAD HE LIED --
             8                 THE COURT: IT WOULD CERTAINLY BE DISTURBING IF IN
             9    FACT THE BOARD LET THEM FOR SOMETHING THAT WOULD PROVABLY
            10    ANNOYING FALSE, BUT THAT'S NOT BEFORE US.          OKAY.
            11                MR. MULLER:     YOUR HONOR, IT IS TANGENTIALLY BEFORE
            12    THE COURT TO THE EXTENT THAT HE TOLD MR. ROTH FALSELY THAT
            13    THEY HAD REASONS JUSTIFYING THE SUSPENSION.          "IF YOU KNEW
            14    WHAT WE KNEW, YOU WOULD AGREE."         THAT WAS FALSE.
            15                THE COURT:     LOOK.   I DON'T AGREE WITH YOU.    I THINK
            16    THIS -- THE DEFENSE POSITION IS BY FAR THE STRONGER POSITION
            17    HERE.     I'M GOING TO GRANT THE ANTI-SLAPP.
            18                THIS CASE, LIKE THE OTHER CASES, HAS BEEN
            19    EXTRAORDINARILY WELL ARGUED AND BRIEFED.         I'VE ENJOYED
            20    READING IT.       I'VE ENJOYED ENGAGING COUNSEL ON THIS.      I'VE
            21    ENJOYED READING THE COURT OF APPEAL OPINIONS ON THIS; SO
            22    YOU'VE HAD FUN WITH THE COURT OF APPEAL TOO.          AND NO DOUBT
.1'"''-'    23    THIS ONE WILL GO TO THE COURT OF APPEAL.         IT HAS SOME NEW
.....
·"''''
~:;:        24    WRINKLES TO IT, AND I'M CURIOUS TO SEE HOW THEY HANDLE IT.
i,,...
-~~·.,..·
e:~ !,.'
            25                 I'VE ENJOYED ALL OF YOU, AND I APPRECIATE YOUR
!<>·"
p:1:        26    GREAT WORK.       I'M GOING TO GRANT THE MOTION.     I'LL ISSUE AN
            27    OPINION TO GET TO THE COURT OF APPEAL, ALONG WITH THE
            28    COMMENTS HERE IN COURT, AND GOOD LUCK THERE.

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                   Transcript of Proceedings                                Charney vs. Danziger

               1                 BEST OF LUCK, AND THE CASE WILL BE DISMISSED NOW
               2    BECAUSE ALL -- THIS GOES TO ALL CAUSES OF ACTION.             THEY'RE
               3    ALL DERIVATIVE FROM THAT MOTION.           OKAY?
               4                 MR. MULLER:     YES, YOUR HONOR.
               5                 THE COURT:     YES.
               6                 THE CLERK:     IS THERE A LIST OF THE ITEMS THAT ARE
               7    TO BE SEALED?
                                                                       .•
               8                 THE COURT:     I'M JUST GOING TO GRANT THE EX PARTE
               9    CONDITIONALLY UNTIL THE 20TH SO
              10                 THE CLERK:     SO THERE'S ALL THE DOCUMENTS
              11                 THE COURT:     YOU'RE GOING TO HAVE TO --
              12                 MS. BACA:     I WILL LET MR. KLAUSNER NAVIGATE THE
              13    LIST --
              14                 THE COURT:     YES.    MR. KLAUSNER, IF YOU COULD WORK
              15    WITH MADAM CLERK -- YOU KNOW, I FORGET --- SHE ACTUALLY HAS
              16    TO CARRY OUT THIS BOOTS-ON-THE-GROUND ORDER SO -- AND WHEN
              17    WE SAY "SEAL OF RECORDS," SHE HAS TO KNOW WHAT THEY ARE.
              18                 MR. KLAUSNER:     SURE, YOUR HONOR.
              19                 THE COURT:     OKAY.   THANK YOU, FOLKS.
              20                 MS. BACA:     THANK YOU.
              21
              22                 (WHEREUPON, THE PROCEEDINGS WERE CONCLUDED.)

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              24
:~~,..~
M'            25
CJ
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Qi:)'.        26
              27
              28


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                 Transcript of Proceedings                                  Charney vs. Danziger

             1                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

             2                         FOR THE COUNTY OF LOS ANGELES

             3

             4    DEPARTMENT 14                             HON. TERRY A. GREEN, JUDGE

             5

             6    DOV CHARNEY, AN INDIVIDUAL

             7                               PLAINTIFF,
                  VS.                                              CASE NO. BC585664
             8
                  AMERICAN APPAREL, INC., A
             9    DELAWARE CORPORATION; DAVID
                  DANZINGER, AN INDIVIDUAL, AND DOES
            10    1 TO 50,

            11                               DEFENDANTS.

            12

            13                                REPORTER'S

            14                                CERTIFICATE

            15

            16                 I, ROSA M.    SAMPLES, C.S.R. NO.   12383, COURT

            17    REPORTER OF THE SUPERIOR COURT OF THE STATE OF            CALIFORNI~,


            18    FOR THE COUNTY OF LOS ANGELES, DO HEREBY CERTIFY THAT THE

            19    FOREGOING PAGES 1 THROUGH 44 PAGES,          INCLUSIVE,   COMPRISE A

            20    FULL, TRUE, AND CORRECT COMPUTER-AIDED TRANSCRIPT OF THE

            21    PROCEEDINGS TAKEN IN THE ABOVE-ENTITLED MATTER ON 15TH OF

            22    AUGUST,    2018.

-""~·
            23
 ""~
 ;,,.,,,,
p;          24                DATED THIS 12TH DAY OF SEPTEMBER,       2018.
ll"·-"
·"'···      25
&~
J"'"
 ~~:):      26

            27                               ROSA M. SAMPLES, C.S.R. 12383
                                             OFFICIAL COURT REPORTER PRO TEMPORE
            28


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           EXHIBIT B
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 86 of 412                                                     I

                                                                                                                           !
                                       COURT RULING                                                                        II
                                Charney v. American Apparel, Inc., et al.
                                BC 585 664
                                                                                              F~tE!D
                                                                                   Supenor Court ot California             I
TYPE OF MOTION:                 Special Motion to Strike Complaint.
                                                                                     County of Los Angeles

                                                                                             'AUG 17 2018.
                                                                                                                           Il
.MOVING PARTY:                  Defendant, David Danziger.                   Sherri R)'r~~xec6tive Officer/Clerk
                                                                              By    __.[)·    • V~
                                                                                                 ~!:'. · · ·~
                                                                                                           lllvL 0 eputy
                                                                                              Marisa V • 11,11a            I
RESPONDING PARTY:

HEARING DATI;:
                               Plaintiff, Dov Charney. .

                                Wednesday, August 15, 2018.
                                                                                                                           II
         Plaintiff is the founder of Defendant American Apparel, Inc; (hereinafter "American
Apparel"); Defendant David Danziger (hereinafter "Danziger") was a director on Defendant
                                                                                                                           II
American Apparel's Board beginning in June 24, 2011. On June 18, 2014, plaintiff was                                       ~
terminated by the Board. Plaintiff claims that Defendant Danziger, in a deliberate move to quash
plaintiff's efforts to regain control of Defendant American Apparel, contacted Defendant
American Apparel's second largest shareholder, Joharmes Minho Roth (hereinafter "Roth") of
FiveT Capital (hereinafter "FiveT"). Plaintiff alleges that Defendant Danziger directly and
                                                                                                                           I
falsely told Roth that plaintiff was under criminal investigation. Plaintiff asserts that, as a direct
result of this false representation to Roth, Roth informed plaintiff that FiveT could not support
him in his struggle to retake Defendant American Apparel. Plaintiff also claims that Defendant
Danziger made statements to Lyndon Lea (hereinafter "Lea"), co~founder of Defendant
American Apparel investor Lyon Capital, which disparaged and demeaned plaintiff.

        On June 19, 2015, plaintiff filed his complaint for (1) Defamation; (2) False Light; (3)
Intentional Interference with Actual Economic Relations; (4) Intentional Interference with
Prospective Economic Relations and (5) Violation of Business & Professions Code§ 17200, et
seq. against Defendants American Apparel, Danziger, and DOES 1-50. On February 23, 2017,
plaintiff voluntarily dismissed Defendant American Apparel, with prejudice.

        Defendant Danziger now moves this court, per Code of Civil Procedure § 425 .16 to strike
the entire Complaint on the grounds that it is based upon communications and conduct in
furtherance of his rights of petition and free speech under the United States and California
Constitutions and Plaintiff cannot establish a probability of success on the merits.

        The court has ruled on all objections. Defendant's Request for Judicial Notice is
GRANTED as to the existence of the documents, and the fact that certain statements were made,
but not as to the truth of the contents. Lockley v. Law Office of Cantrell, Green, Pekich, Cruz &
McCort (2001) 91Cal.App.4th875, 882. Defendant's motion is GRANTED.

       Code of Civil Procedure § 425.16 states, in pertinent part, as follows:

               (b)(l) A cause of action against a person arising from       any act of

                                                  1
                                                                                                PAGE 12
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                 that person in furtherance of the person's right of petition or free
                 speech under the United States Constitution or the California
                 Constitution in connection with a public issue shall be subject to a
                 special motion to strike, unless the court determines that the
                 plaintiff has established that there is a probability that the plaintiff
                 will prevail on the claim.
                         (2) In making its determination, the court shall consider the
                 pleadings, and supporting and opposing affidavits stating the facts
                 upon which the liability or defense is based.
                         (3) If the court determines that the plaintiff has established
                a probability that he or she will prevail on the claim, neither that
                determination nor the fact of that determination shall be admissible
                in evidence at any later stage of the case, or in any subsequent
                action, and no burden of proof or degree of proof otherwise
                applicable shall be affected by that determination in any later stage
                of the case or in any subsequent proceeding.
                (c)(l) Except as provided in paragraph (2) [NIA here], in any
                action subject to subdivision (b), a prevailing defendant on a
                special motion to strike shall be entitled to recover his or her
                attorney's fees and costs. If the court finds that a special motion to
                strike is frivolous or is solely intended to cause unnecessary delay,
                the court shall award costs and reasonable attorney's fees to a
                plaintiff prevailing on the motion, pursuant to Section 128.5.

               (e) As used in this section, 'act in furtherance of a person's right of
               petition or free speech under the United States or Califori:rla
               Constitution in connection with a public issue' includes: (1) any
               written or oral statement or writing made before a legislative,
               executive, .or judicial proceeding, or any other official proceeding
               authorized by law, (2) any written or oral statement or writing
               made in connection with an issue under consideration or review by
               a legislative, executive, or judicial body, or any other official
               proceedjng authorized by law, (3) any written or oral statement or
               writing made in a place open to the public or a public forum in
               connection with an issue of public interest, or (4) any other
               conduct in furtherance of the exercise of the constitutional right of
               petition or the constitutional right of free speech in connection with
               a public issue or an issue of public interest ....

        "A special motion to strike under section 425.16-the so-called anti-SLAPP statute-
allows a defendant to ~eek early dismissal of a lawsuit that qualifies as a SLAPP. 'SLAPP is an
acronym for "strategic lawsuit against public participation."' (Jarrow Formulas, Inc. v.
LaMarche (2003) 31 C.41h 728, 732, fn. 1). A SLAPP is '[a] cause of action against a person
arising from any act of that person in furtherance of the person's right of petition or free speech
under the United States or California Constitution in connection with a public issue.' (§ 425.16,
subd. (b)(l).)." Nygard. Inc. v. Uusi-Kerttula <ioo8) 159 Cal.App.4th 1027, 1035.



                                                  2
                                                                                            PAGE 13
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         "A SLAPP is subject to a special motion to strike 'unless the court determines that. the
plaintiff has established that there is a probability that the plaintiff will prevail on the claim.' (§
425.16, subd. (b)(l).)."Nygard, supra, 159 Cal.App.4th at 1035. The "evaluation of an anti-
SLAPP motion requires a two-step process in the trial court," which is addressed below. Id. An
anti-SLAPP motion may be directed at one particular theory of recovery within a cause of action,
so that the motipn. will be successful as to that theory, even if an alternate theory still supp.orts
the cause of action. Baral v. Schnitt (2016) 1 Cal.5th 376, 392-396.

Protected Activity

        The moving party bears the initial burden of showing that the action falls within the class
of suits subject to the special motion to strike. Matson v. Dvorak (1995) 40 Cal.App.4th 539,
548; Dixon v. Superior Court (1994) 30 Cal.App.4th 733, 742; Wilcox v. Superior Court (1994)
17 Cal.App.4th 809, 819.

        Plaintiff does not contest Defendant's assertion that the conversations carried on by
Danziger with Roth, and then with Lea, were in held connection with an issue of public interest,
and therefore fall under the protections of Subdivision 425.16(e)(4). Instead, Plaintiff contends
that these conversations fall under an exception carved out by Section 425.17 for commercial
speech. Plaintiff's theory is that he and Defendant Danzigger were in a competition over who
would manage American Apparel. Each was offering management services to the company,
Danziger as co-chairman of the board of directors; and Plaintiff in the same position and as CEO.
Plaintiff characterizes Danziger's conversations as efforts to influence the shareholders who
could cause American Apparel to buy his management services instead of Plaintiff's. Plaintiff's
theory goes well beyond the current borders of the exception he seeks to apply.
                                                                                                          II
        Code of Civil Procedure§ 425.17 reads in relevant part as follows:
                                                                        '
      "(c) Section 425.16 does not apply to any cause of action brought against a person
                                                                                                          II
      primarily engaged in the business of selling or leasing goods or services, including, but
      not limited to, insurance, securities, or financial instruments, arising from any statement         I'
      or conduct by that person if both, of the following conditions exist:
      (1) The statement or conduct consists of representations of fact about that person's or a
      business competitor's business operations, goods, or services, that is made for the purpose
      of obtaining approval for, promoting, or securing sales or leases of, or commercial
      transactions in, the person's goods or services, or the statement or conduct was made in
      the course of delivering the person's goods or services.
      (2) The intended audience is an actual or potential buyer or customer, or a person likely
      to repeat the statement to, or otherwise influence, an actual or potential buyer or
      customer, or the statement or conduct arose out of or within the context of a regulatory
      approval process, proceeding, or investigation, except where the statement or conduct
      was made by a telephone corporation in the course of a proceeding before the California
      Public Utilities Commission and is the subject of a lawsuit brought by a competitor,
      notwithstanding that the conduct or statement concerns an important public issue.




                                                 3
                                                                                         PAGE 14
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       (e) If any trial court denies a special motion to strike on the grounds that the action or
       cause of action is exempt pursuant to this section, the appeal provisions in subdivision (i)
       of Section 425.16 and paragraph (13) of subdivision (a) of Section 904.1 do not apply to
       that action or cause of action."

        ''The commercial speech exemption set forth in section 425.17, subdivision (c) is a
statutory exception to section 425.16 and should be narrowly construed. The burden of proof as
to the applicability of the commercial speech exemption falls on the party seeking the benefit of
it-i.e., the plaintiff." Dean v. Friends of Pine Meadow (2018) 21 Cal.App.5th 91, 98 (iritemal
quotations and citations omitted). "Section 425.17's legislative history indicates that this :
statutory exemption was drafted to track constitutional principles governing regulation of
commercial speech based upon guidelines discussed in Kasky, supra, 27 Cal.4th 939, 119
Cal.Rptr.2d 296, 45 P.3d 243. In doing so, it followed Kasky's guidelines on commercial speech,
focusing on the speaker, the content of the message, and the intended audience." Id. at 105
(internal quotations and citations omitted). Section 425.17 "is aimed squarely at false advertising
claims and is designed to permit them to proceed without having to undergo scrutiny under the
anti-SLAPP statute." JAMS. Inc. v. Superior Court (2016) 1Cal.App.5th984, 994.

       The Kasky guidelines are as follows.

       "[C]ategorizing a particular statement as commercial or noncommercial speech requires
       consideration of iliree elements: the speaker, the intended audience, and the content of the
       message.

        In typical commercial speech cases, the speaker is likely to be someone engaged in
        commerce-that is, generally, the production, distribution, or sale of goods or serVices-
        or someone acting on behalf of a person so engaged, and the intended audience is likely
        to be actual or potential buyers or customers of the speaker's goods or services, or
      · persons acting for .actual or potential buyers or customers, or persons (such as reporters or
        reviewers) likely to repeat the message to or otherwise influence actual or potenti8;l
        buyers or customers ...

      [I]n deciding whether speech is commercial two relevant considerations are advertising
      format and economic motivation. [Citation]. These considerations imply that commercial
      speech generally or typically is directed to an audience of persons who may be influenced
      by that speech to engage in a cornm~rcial transaction with the speaker or the person on
      whose behalf the speaker is acting. Speech in advertising format typically, although not
      invariably, is speech about a product or service by a person who is offering that product
      or service at a price, directed to persons who may want, and be willing to pay for, that
      product or service ... [however,] presentation in.advertising format does not necessarily
      establish that a message is co.mlnercial in character. [Citation]. Economic motivation
      likewise implies that the speech is intended to lead to commercial transactions, which in
      turn assumes that the speaker and the target audience are persons who will engage in
      those transactions, or their agents or intermediaries.




                                                 4
                                                                                        PAGE 15
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          Finally, the factual content of the message should be commercial in character. In the
          context ofregulation of false or misleading advertising, this typically means that the
          speech consists of representations of fact about the business operations, products, or
          services of the spe~er (or the individual or company that the speaker represents), made
          for the purpose of promoting sales of, or other commercial transactions in, the speaker's
          products or services." Kasky v. Nike. Inc. (2002) 27 Cal.4th 939, 960-961.

        In summary, Plaintiff must show that Defendant Danziger (1) is primarily engaged in the
business of selling goods or services, (2) that his alleged statements were made about his own or
a business competitors' goods or services, (3) that the representations were made for the ·
purposes of inducing a commercial transaction, and (4) that Roth and Lea were either actual or
prospective buyers, or could influence an actual or prospective buyer. Plaintiff can show none of
these things. It is worth noting that Plaintiff does not cite a single factually similar case. A
contest in restricted circles over who should control a company is already well afield from the
usual false advertising claims which are meant to be the sole subjects of this exception.

Primary Engagement

        Plaintiff has made no showing that Danziger' s primary business is the sale of his
 management services. Danziger did indeed have a position that required him to manage
American Apparel. However, that does not mean Danziger is in the business of selling              .
management services. Defendant correctly points out in his reply that, if Danziger's directorate
alone were enough to place him in the category of a seller of services, the entire employed
population of the state would be in that same category. In the technical sense, every person who
draws a wage is engaged in selling their services: everyone from the teenage grocery store clerk
to the company accountant to the legislators who voted on Section 425.17, and including the
judge who interprets it, is engaged in the business of selling services. 1 Having a job and drawing
a salary is not sufficient to meet the first element of the Section 425.17 commercial speech
exception. It can't be. Otherwise the exception would no longer be an exception; it would be the
rule. Every politician talking to a voter and every employee talking to her boss would suddenly
be engaged in commercial speech.

Inducing a Commercial Transaction

        The commercial tr~ction here is the retention of Danziger to be co-chairman of
American Apparel's board of directors. Danziger replaced Plaintiff in that position on June 18,
2014, just days before the conversations which are the subject of this lawsuit occurred.
(Declaration of David Danziger, 1; Declaration of Dov. Charney 1f 9). For the reasons discussed
above, the offer of or retention in employment, by itself, cannot be a "commercial transaction"
within the meaning of Subdivision 425. l 7(c)(l). If it were, there would be no limit to this:



1At oral argument, Plaintiff dU:ected the court's attention to Simpson Strong-Tie Co.. Inc. v. Gore (20 I 0) 49 Cal.4th
12, 30, in which the Supreme Court held that an attorney issuing an advertisement is primarily engaged in selling
services. That case is simply too divergent from this one to be of much help to Plaintiff. An attorney issuing an
advertisement is a contractor, not an employee, and a false advertising claim is far closer to the heart of commercial
speech than a private conversation over the telephone.


                                                           5
                                                                                                         PAGE 16
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exception. Any comment made by any employed person which could be construed as related to;
her job would meet this element.

Bityer or Influencer

        American Apparel, through its board of directors, was the "buyer" of Danzigger' s
services as co-chairman. Roth and Lea were indisputably in a position to influence American
Apparel. But once again, the fact that an audience member is in a position to influence an ·    i
employer opens a can of worms too large to ever close again. Persons in a position to influence!
art employer might be anyone, from family connections to golfing buddies to consumers of the i
erfiployer's goods or services. Almost anyone could meet this element.                          l
                                                                                                '     i
        In sum, Plaintiff has not met his burden to prove that the commercial speech exception /
applies to these facts. This action falls within the class of suits which are subject to a special I
motion to strike.                                                                                  i


Probability of Prevailing

         Once a defendant has made his/her/its prima facie showing that plaintiffs complaint 1
"arises from" their constit~tionallY, protected free speech activity, "the burden shifts to plaintiff!
to, establish a 'probability' that plaintiff will prevail on whatever claims are asserted against
defendant. [See CCP § 425.16(b)]." Weil & Brown, et al., Cal. Prac. Guide: Civ. Proc. Before ;
T#al (The Rutter Group 2017), if 7:1005.                                                              ·
  i
  '
  ;     "'(P)laintiffmust demonstrate that the complaint is both legally sufficient and supported
by a prima facie showing of facts sufficient to support a favorable judgment if the evidence     ,
submitted by plaintiff is credited. [Navellier v. Sletten (2002) 29 C4th 82, 89, 93, 124 CR2d 530,
536, 540; Soukup v. Law Offices of Herbert Hafif (2006) 39 C4th 260, 291, 46 CR3d 638,
6~2]." Id. at if 7:1007.
  i


  i ·   Because the issue is the validity of the lawsuit as a whole, the inquiry may stop at legal .
sJfficiency; "ruling on an anti-SLAPP motion does not necessarily require a ruling on the meritS
of the plaintiffs claims." Barry v. State Bar of California (2017) 2 Cal.5th 318, 326.
  '
  i      If the complaint is legally sufficient, the standard for evaluating the evidence is ''the same
stii,ndard governing a motion for summary judgment, nonsuit or directed verdict. I.e., in opposing
atl anti-SLAPP motion, it is plaintiff's burden to make a prima facie showing offacts that would
srtpport a judgment in plaintiffs favor. [Taus v. Loftus (2007) 40 C4th 683, 714, 54 CR3d 775,,
799-a "summary-judgment-like procedure"; Kenne v. Stennis (2014) 230 CA4th 953, 963, 179
CR3d 198, 206 (citing text); Lunada Biomedical v. Nunez (2014) 230 CA4th 459, 469, 178
Cjud 784, 792 (citing text)]. The court does not weigh credibility or the comparative strength of
the evidence. The court considers defendant's evidence only to determine if it defeats plaintiffs•
showing as a matter of/aw. [Soukup v. Law Offices of Herbert Hafif, supra, 39 C4th at 291, 46
CR3d at 662; Overstock.ci>m. Inc. v. Gradient Analytics, Inc. (2007) 151 CA4th 688, 699-700,:
61 CR3d 29, 38-rather than weigh credibility or evaluate weight of evidence, court accepts "as
true all evidence favorable to the plaintiff'; see ~ 7: 1020 ff.]" Id. at if 7: 1008 (emphasis theirs).



                                                   6
                                                                                          PAGE 17
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 Defamation
                                                                                                   I


        "Defamation is an invasion of the interest in reputation. The tort illvolves the intentio~l
publication of astatement of fact that is false, unprivileged, and has a natural tendency to inj    .
oi: which causes special damage. (Civ. Code §§ 45, 46; 5 Witkin, Summary of Cal. Law (9th e .
1~88) Torts § 471, pp. 557-558.). Publication means communication to some third person who
uiiderstands the defamatory meaning of the statement and its application to the person to who~
r~ference is made. Publication need not be to the 'public' at large; communication to a·single   -1
iridividual is sufficient. (Cunningham v. Simpson (1969) 1 C.3d 301, 306; 5 Witkin, Summary
dal. Law, supra, Torts,§§ 471, 476, pp. 557-558, 560-561)." Smith v. Maldonado (1999) 72
                                                                                                   ffI
Cal.App.4th 637, 645; see Taus v. Loftus (2007) 40 Cal.4th 683, 720.                              I

  .      Plaintiff alleges that Defendant Danzigger told Roth and Lea ''that Charney was being
llivestigated for matters 'criminal' in nature," but declined to tell Plaintiff what they were.
(Complaint ml 20-21, 23). Danziger attests that he told Roth that Plaintiff had been suspended
following an internal investigation which revealed facts to justify the suspension, and that Ro
would understand the decision if he knew what the board of directors knew. (Declaration of
David Danziger ~ 6). Plaintiff fails to provide evidence to show that Defendant Danziger said
anything false, or unprivileged.                                                                   I
         Plaintiff seems to be arguing that he never actually did anything wrong. That is not quitf
the issue here. Defendant Danziger told Roth and Lea that an investigation had produced
tilldings of criminal misbehavior by Plaintiff. (Declaration of Lyndon Lea~ 5). The issue is
therefore whether an investigation had produced such findings, not whether those findings wer
t4emselves accurate. It is not disputed that there was an investigation, conducted by independe t
counsel (viz. the law firm of Jones Day, assisted by FTI Consulting, Inc. Declaration of David
Danziger ifif 4-5). But Plaintiff provides no evidence as to what the findings of the investigatio
were, which would allow this court to detemtjne that Defendant Danziger falsely characterized
them. The declaration of in-house counsel Glenn Weinman is not relevant to the element of
falsity because he was not a member of the investigatory team. Danziger explains that
documentary evidence from the investigation contained claims that Plaintiff had violated ce
provisions of the California Penal Code. (Id.~ 7). Plaintiff has not met his burden of producing
evidence to show that Defendant Danziger's statement was false.
                                                                                                         ~

         Plaintiff's theories on this case show a tendency to migrate away from the true north of
~s pleadings. Already the evidence presented has shown that Defendant Danziger's actual                  II
comments were one sligh~ step removed from what was pled: Defendant Danziger did not say
~at Plaintiff was under investigation for criminal acts, he said that an investigation had produc d
fit:idings of criminal misbehavior. Plaintiff presents no evidence to suggest that this was false.       I
hi;s opposition papers and at oral argument, Plaintiff makes two further shifts south in search o a
w~er factual climate: he argues that the false statement can be implied from Defendant
D~iger's suggestion to Roth that 'if you knew what the board knew, you would agree with it
                                                                                                         I
decision.' Plaintiff argues that this statement carries twin implications: (a) that the board knew
something Roth didn't know, and (b) that the board had facts to justify their decision. Plaintiff
c<?ntends that both of these implications were false.



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                                                                                        PAGE 118
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                                                                                                                             I
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                                                                                                                             I
                                                                                                                        i
          The import of the pleadings is that Defendant Danziger falsely told Roth that Plaintiff i
 was under criminal investigation. Pursued by the evidence (or lack thereof), Plaintiff's claim ho/;
                                                                                                                             I

                                                                                                                              II
 now morphed into something like 'Defendant Danziger implied that the board was right in its I
 decision.' Even if Plaintiff could amend his complaint at this late date (he cannot),2 the        !
 mpendment would still be unsuccessful. Plaintiff correctly argues that a statement which is not                        I
 literally false may still be actionable if it plainly implies something which is false. When
                           a
 determining whether statement has a defamatory meaning, the court must look at what               I
 r~asonable interpretations·eXist, neither straining to arrive at a techllically possible innocent
 Itjeaning nor stretching to arrive at a technically possible defamatory meaning. Forsher v.
 Bugliosi (1980) 26 C.3d 792, 803. The question is whether a defamatory meaning would strike a
 reasonable auditor of the statement. And the answer is no.
                                                                                                   ·
                                                                                                                             II
                                                                                                                             ~
                                                                                                                             !
        Defendant Danziger said that there was an investigation of Plaintiff which produced                                  I~
findings of criminal misbehavior, and followed that statement with a comment to the effect tha
if,Roth knew what the board knew, he would understand their decision. The implication of that
st~tement is indeed that Danziger knows something Roth doesn't know: the findings of the
                                                                                                                             II
~vestigation. There is no evidence that this was false, that is, that Roth knew what the
investigation had found.                                                                                                     I
   :     It may also be implied from Danziger's statement that the findings of the investigation ;
provided a reasonable basis for the board's decision. Once again, there is no evidence that this ~s
false. Plaintiff has produced nothing to controvert this characterization of the investigation
fi.P.dings. Furthermore, th~ statement that Roth would ''understand'' implicates questions of
b~iness judgment which take the statement out of the realm of things provably true or false. 3 J
                                                                                                    I
                                                                                                    I
                                                                                                                             II
Once again, it does not necessarily matter to this claim whether the investigation findings were ,
a~urate. It matters if a business executive, looking at those findings, would see a reason to
tefminate Plaintiff's services. This is not really the sort of thing that can be proved, and even if t
                                                                                                                      J      I
could be, Plaintiff provides no evidence regarding those findings. Plaintiff has simply not carri d
m's burden to prove a likelihood of prevailing on any of his theories.                              I                        I
False Light Privacy                                                                                                    i
 :      "False light is a species of invasion of privacy, based on publicity that places a plaintiffr
before the public in a false light that would be highly offensive to a reasonable person, and whe e

2 Plaintiff suggested at oral argument that he should be permitted to amend bis   plea~gs       to state his new theories,
citing to Nguyen-Lam v. Cao (2009) 171 Cal.App.4th 858. In that case, the 'Court of Appeal overlooked the               ~
pliiintiff's technical failure to plead the level of malice appropriate to her sland.er claim (she pied conscious disre rd
in$tead of actual malice) because her evidence was sufficient to support a finding of malice at any level. Id. at 868        I
870. The Nguyen-Lam court was not faced with a situation in which the plaintiff wished to alter her entire theory f
recovery, a request to which the law in this context is hostile. See e.g. Okorie v. Los Angeles Unified School Dist.
(2017) 14 Cal.App.5th 574, 598-599; Navellier v. Sletten (2003) 106 Cal.App.4th 763, 772 (no eleventh-hour                   I
amendment may be allowed to avert an anti-SLAPP motion to strike), Special motions to strike are treated in a
similar manner to a sununary judgment motion (Lam v. Ngo (2001) 91 Cal.App.4th 832, 843), where it is establish
that a plaintiff may not present the defense with a "moving target, unbounded by the pleadings." Falcon v. Long
Beach Genetics. Inc. (2014) 224 Cal.App.4th 1263, 1280.
                                                                                                                             I
                                                                1
3 See Franklin v. Dynamic Details. Inc. (2004) I I6 Cal.App.4 h 375, 385-386 (defamation must be based on a
statement which is provably true or false).


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                 Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 94 of 412                                    ~
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    th~ defendant knew or act~d in reckless disregard as to the falsity of the publicized matter and
 th¢ false light in which the plaintiff would be placed. A 'false light' claim, like libel, exposes a
 person to hatred, contempt, ridicule, or obloquy and asswnes the audience will recognize it as
 subh. A 'false light' cause of action is in substance equivalent to a libel claim, and should meet
 th~ same requirements of the libel claim, including proof of malice where malice is required for
                                                                                                                    I   i
 th~ libel claim. Indeed, when a false light claim is coupled with a defamation claim, the false
 li~ht claim is essentially superfluous, and stands or falls on whether it meets the same
 r:'iluirements as the defamation cause of action." Jackson v. MaY'weather (2017) 10 Cal.App.5th
                                                                                                                    I
 1140, 1264.                 .                                                                                      f
             !                                                                                                      f
             i
        Since Plaintiff has not.~hown a probability of prevailing on the defamation claim, heh
 n~t shown a probability of prevailing on the false light claim.
         I
             I




Interference Torts
                                                                                                                I   •
                                                                                                                    "
  ;     "The elements which a plaintiff must plead to state the cause of action for intentional
interference with contractual relations are (1) a valid contract between plaintiff and a third p ·              I
(2~ defend~t's knowledge of this contract; (3) defendant's intentional acts designed to induce a
brbach or disruption of the contractual relationship; (4) actual breach or disruption of the
cdp.tractual relationship; and (5) resulting damage." Pacific Gas & Electric Co. v. Bear Stearns
~ (1990) 50 Cal.3d 1118, 1126.
                                                                                                                I
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         i

.        j         "~he .t~rt of i~tentional or negligent .interf~rence ~th ~rospectiv~ economi~ adv~tage
m~poses liability for unpr<:>per methods of disrupting or diverting the busmess relationship of                 ~
another which fall outside the boundaries of fair competition." Settimo Associates v. Environ
Systems. Inc. (1993) 14 Cal.App.4th 842, 845. "The five elements for intentional interference
                                                                                                                I
~th prospective economic advantage are: (1) an economic relationship between the plaintiff an
                                                                                                                I
some third party, with the probability of future economic benefit to the plaintiff; (2) the
defendant's lmowledge of the relationship; (3) intentional acts on the part of the defendant
designed to disrupt the relationship; (4) actual disruption of the relationship; and (5) economic
h¥ru to the plaintiff proximately caused by the acts of the defendant." Youst v. Longo (1987) 4
                                                                                                                u
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                                                                                                                 I
C~l.3d 64, 71, fu. 6.
     I                                                                                                           i
  !     "With respect to the third element, a plaintiff must show that the defendant engaged in
in~ependently wrongful act. .. 'an act is independently wrongful if it is unlawful, that is, if it is
proscribed by some constitutional, statutory, regulatory, common law, or other determinable
legal standard .... an act must be wrongful by some legal measure, rather than merely a product
                                                                                                                II
o( an improper, but lawful, purpose or motive."' San Jose Const.. Inc. v. S.B.C.C.. Inc. (2007)
1~5 Cal.App.4th 1528, 1544-1545.

   ,     Because these claims depend on the commission of an independently wrongful act, the
ar,e derivative of the defamation claim. AJj discussed above, that claim fails because there is no
eVidence to show that Defendant Danziger's statement was false. Therefore, in the absence of a
adt independently wrongful, these claims are insufficient.
    !



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               Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 95 of 412
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           ffCi
           I "Business and Professions Code section 17200... establishes three varieties of unfair
      ¢ompetition-acts or practices which are unlawful, or unfair, or fraudulent.'' Podolsky v. First
      Healthcare Corp. (1996) 50 C.A.4th 632, 647. "The 'unlawful' practices prohibited by section
      i 7200 are any practices forbidden by law, be it civil or criminal, federal, state, or municipal,
     ~tatutory, regulatory, or court-made. (People 'v. McHale (1979) 25 C.3d 626, 632)." Saunders
     Superior Court (1994) 27 C.A.4th 832, 838-839. If a business practice is alleged to be
     '!unlawful," then the complaint "must state facts supporting the statutory elements of the alleg d
     yiolation. (See G.H.I.I. v. MTS (1983) 147 C.A.3d 256 [fillegations of secret rebates, locality
     discrimination, sale below cost, and loss leaders; complaint was sufficient]; Khou v. Mal 's of·
     Calif. (1993) 14 C.A.4th 612, 619, citing the text (demurrer was properly sustained; complain
     identified no particular statutory section that was violated and failed to describe with reasonab e
     particularity facts supporting violation] ... " 5 Witkin, Cal. Procedure (5th ed. 2008), Pleading,
     779, p. 196.

                  This claim is likewise derivative of the defamation claim, and likewise fails.

     Conclusion

        /      Plaintiff's claims ~e all derivative, in one way or another, from the claim of defatnatio .
     qefendant Danziger told Roth and Lea that an investigation conducted by independent, outsid




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     cpunsel had produced findings of potentially criminal misconduct by Plaintiff. These
     cpnversations are.concededly protected speech under Section 425.16(e)(4). They do not fall in o
     t:J?.e commercial speech exception set forth in Section 425.17. Therefore, Defendant has carried
     ~~ burden to show that this suit is subject to the anti-SLAPP statute. There is no evidence befi e
     q.ts c~urt which, if believed, would show that the investigation referred to by Danziger had no
     produced the findings he claimed. In the absence of evidence to show that Danziger's state.me t
     W,as false, Plaintiff has failed to carry his burden to show a probability of prevailing. Defendan 's
     ~otion is therefore GRANTED.
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                                                                                                             I
      i;




                                                                      Judge of the Superior Court
                                                                    · Terry A. Green




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Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 96 of 412




                            EXHIBIT C
PAUL
HASTINGS
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    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 97 of 412



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                                            t: +1.213.683.6000 I f: +1.213.627.0705 I www.paulhastings.com




                                                             October 19, 2018




                                     SUMMARY SHEET




Legal fees for professional services
for the period ending September 30, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




                                                                                               PAGE22
                         •                                               •
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 98 of 412



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                                                             October 19, 2018




                                    REMITTANCE COPY




Legal fees for professional services
for the period ending September 30, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 99 of 412



                                                                   Pag~2




                               REMITTANCE COPY (cont.)




                 Invoice



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Invoice Date    Number
07/31/2017
09/25/2017



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10/25/2017
11/21/2017
12/20/2017



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01/15/2018
03/26/2018
04/23/2018



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05/30/2018
06/21/2018
07/27/2018



               -
08/21/2018
09/26/2018


                   Total Prior Balance Due
                   Total Balance Due




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 PAUL
 HASTINGS
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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 100 of 412



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                                                        .,.     I f: +1.213.627.0705 I www.paulhastings.com




                                                             October 19, 2018




FOR PROFESSIONAL SERVICES RENDERED
for the period ending September 30, 2018


Charney Litigation (Danzinger)




-
D ate
09/18/2018
09/19/2018
              Timekeeper Name Activity Description
              Elena R. Baca
              Scott M. Klausner
                                  A103
                                  A107
                                         Prepare stipulation to seal
                                         Correspond with opposing counsel regarding
                                                                                                        O.to
                                                                                                        O.lD
                                                                                                              .
                                         stipulation and hearing


                                                                                                        •
--
09/19/2018    ScottM. Klausner                                                                      -   0.40




                                                                                                        •
--
0 9/19/2018   ScottM. Klausner    A107                                                              -   0.70




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                             •
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 101 of 412


                                                                       •                    Page 2




09/21/2018   ScottM. Klausner        A107   Correspond with opposing counsel regarding       1.20
                                            depositions and deficiencies in document
                                            productions, including related analysis


                                                                                             •
       Total Hours                                                                           2.50

                                        Timekeeper Summary
         Elena R. Baca                                   0.10   hours at
         Scott M. Klausner                               2.40   hours at

Costs incurred and advanced




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Date                                                                 Quantity              Amount


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T otal Costs incurred and advanced
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             Current Fees and Costs
             Prior Balance Due
             Total Balance Due - Due Upon Receipt




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HASTINGS
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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 102 of 412



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                                                             September 26, 2018




                                        SUMMARY SHEET




Legal fees for professional services
for the period ending August 31, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




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                         •                                               •
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 103 of 412



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                                                             September 26, 2018




                                    REMITTANCE COPY




Legal fees for professional services
for the period ending August 31, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 104 of 412



                                                                        Page 2




                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                    Pa~mentsL




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Invoice Date   Number         Amount      Trust Appl.    Credits   Balance Due
07/31/2017
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09/25/2017
10/25/2017


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05/30/2018


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06/21/2018
07/27/2018
08/21/2018                                     ••
                Total Prior Balance Due
                Total Balance Due




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                                      •                                              •
                Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 105 of 412



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                                                                         September 26, 2018




            FOR PROFESSIONAL SERVICES RENDERED
            for the period ending August 31, 2018


            Charney Litigation (Danzinger)
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            D ate                            Activity


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            08/06/2018   Scott M. Klausner   A104                                                                   0.80
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            08/27/2018   Scott M. Klausner   A104                                                                   0.30



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                 Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 106 of 412



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              08/06/2018
                           Timekeeper Name Activity Description
                           Jennifer L. Milazzo    A102                                                          6.70




              08/06/2018   Jennifer L. Milazzo    A103   Prepare objections to declarations submitted in        1.30
                                                         support of opposition to anti-SLAPP motion
              08/06/2018   Jennifer L. Milazzo    A104                                                          3.10


              08/06/2018   Jennifer L. Milazzo    A103   Prepare reply to non-opposition to anti-SLAPP          0.50
                                                         motion
              08/07/2018   Jennifer L. Milazzo    A102                                                          5.50




              08/07/2018   Jennifer L. Milazzo    A103   Prepare objections to declarations in support of       1.3,D
                                                         opposition to anti-SLAPP motion
              08/07/2018   Jennifer L. Milazzo    A104                                                          2.30
                                                                         prepare
                                                         reply to opposition to anti-SLAPP motion
              08/07/2018   Jennifer L. Milazzo    A103   Prepare reply to opposition to anti-SLAPP              4.20



              - -
              08/08/2018   Jennifer L. Milazzo
                                                  •
                                                  A103
                                                         motion



                                                         Prepare reply to opposition to anti-SLAPP
                                                         motion and manage filing of the same
                                                                                                                •
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}!:rt·~·      08/08/2018   Jennifer L. Milazzo    A103   Prepare objections to declarations in support of       1.60
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 ~, ....                                                 opposition to ahti-SLAPP motion
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fl'!l•i(,     08/08/2018   ] ennifer L. Milazzo   A104                                                          2.30
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              08/08/2018   ]ennifer L. Milazzo    A102                                                          1.10




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                Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 107 of 412



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rv;
             08/06/2018

             08/07/2018
                          Scott M. Klausner

                          Scott M. Klausner
                                              A104

                                              A107   --
                                                     Prepare correspondence to opposing counsel
                                                     regarding remedying public disclosure of
                                                     confidential documents
                                                                                                       2.20

                                                                                                       0.20



                                                                                                       8.00
~:.~:        08/07/2018   Scott M. Klausner   A103   Prepare reply brief in support of anti-SLAPP
toi>·•                                               motion
{);X
             08/07/2018   Scott M. Klausner   A104                                                     1.80




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            08/07 /2018   Scott M. Klausner   A103                                                            2.00


            08/07 /2018   Scott M. Klausner   A104                                                            1.50

            08/07 /2018   Scott M. Klausner   A104                                                            2.80




            08/07/2018    Scott M. Klausner   A104                                                            1.50

            08/08/2018    Scott M. Klausner   A103   Review, revise, finalize, and coordinating filing       10.QO
                                                     of reply brief in support of anti-SLAPP motion
            08/08/2018    Scott M. Klausner   A103   Review, revise, and finalize evidentiary                 2.30
                                                     objections to declarations submitted Plaintiff
                                                     filed in support of opposition to anti-SLAPP
                                                     motion
            08/10/2018    Scott M. Klausner   A107   Prepare correspondence to opposing counsel              0.20
                                                     regarding remedying public disclosure of
                                                     confidential documents
            08/13/2018    Scott M. Klausner   A104                                                            1.00

            08/13/2018    Scott M. Klausner   A104                                                           2.10

            08/14/2018    ScottM. Klausner    A104                                                           1.10

            08/14/2018    Scott M. Klausner   A104                                                           1.30

            08/15/2018    Scott M. Klausner   A109   Attend hearing on anti-SLAPP motion and ex              2.30
                                                     parte application to seal or strike
            08/15/2018    Scott M. Klausner   A106                                                           0.20
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                 Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 109 of 412



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              08/04/2018   Elena R. Baca         A104   lililii'mmunications -
                                                                   nd filing notice of non-receipt of
                                                                                                          - 0.20

                                                        opposition
              08/04/2018   Jennifer L. Milazzo   A104                                                       0.10

              08/06/2018



              -
              08/08/2018
                           Scott M. Klausner




                           Elena R. Baca
                                                 • -
                                                 A104




                                                 A103
                                                        Review and revise




                                                        Strategize and prepare reply brief
                                                                                                            0.60



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                                                                                                            0.60
              08/14/2018   Elena R. Baca         A103                                                       0.30
              08/29/2018   Scott M. Klausner     A104   Review                                              0.30



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              08/14/2018   Scott M. Klausner     A104                                                     - 2.00




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              08/08/2018   Scott M. Klausner     A103                                                     - 0.70

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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 110 of 412


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08/14/2018   Jennifer L. Milazzo   A101                                                             1.10




08/14/2018   Jennifer L. Milazzo   A103   Prepare ex parte application to seal or strike            2.20
                                          declarations and exhibits submitted in support
                                          ofD. Charney's opposition to anti-SLAPP
08/14/2018   Jennifer L. Milazzo   A104                                                             2.10




08/14/2018   Jennifer L. Milazzo   A103   Prepare declarations and exhibits in support of           1.60
                                          ex parte application to seal or strike declarations
                                          and exhibits submitted in support ofD.
                                          Charney's opposition to anti-SLAPP
08/14/2018   Jennifer L. Milazzo   A102                                                             1.40




08/16/2018   Jennifer L. Milazzo   A104                                                             0.10



                                                                                                    •
      -                               Timekeeper Summary
                                                                                                   -
                                                        ·-
        Elena R. Baca                                6. 90       hours at




      -
        Scott M. Klausner
                                                        ·-
                                                        ·-
                                                        58.50    hours at




                                                        ·-
        Jennifer L. Milazzo                             42.80    hours at




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                                                                                                PAGE 35
                        •                          •
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 111 of 412



                                                                      Page 7




Costs incurred and advanced


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                                                 Quantity   Rate     Amouht




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                                                                   Page 8




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Total Costs incurred and advanced

            Current Fees and Costs
            Prior Balance Due
                                                                  -
            Total Balance Due - Due Upon Receipt




                                                               PAGE 37
PAUL
HASTINGS
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Legal fees for professional services
for the period ending July 31, 2018
                        Costs incurred and advanced
                        Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 114 of 412



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Legal fees for professional services
for the period ending July 31, 2018
                        Costs incurred and adv;anced
                        Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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                 •             PAUL HASTINGS LLP
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                                                                             •
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 -
07 /23/2018
07 /24/2018
               Elena R. Baca
               Elena R. Baca
                                   A101
                                   A103
                                          Prepare Anti-SLAPP motion
                                          Prepare court filing
                                                                            - 0.50
                                                                              0.20


                                                                             •
--
07 /17 /2018   Scott M. Klausner                                            - 2.20




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0 7/17/2018                                                                 - 0.50
                                                                                '




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-
07 /30/2018   Scott M. Klausner   A106   Prepare correspondence to opposing counsel
                                         regarding discovery stay
                                                                                        -0.30

07 /30/2018   Scott M. Klausner   A103                                                   0.80



                                                                                         •
       - Elena R. Baca
                                     Timekeeper Summary
                                                    1.50     hours at
                                                                                         -
         Scott M. Klausner                           12.50   hours at




                                                      ·-
         Jennifer L. Milazzo                          1.10   hours at




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Total Costs incurred and advanced


            Current Fees and Costs
            Total Balance Due - Due Upon Receipt
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Legal fees for professional services
for the period ending June 30, 2018
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending June 30, 2018
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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                                   •                                                                  •
06/19/2018   Jennifer L. Milazzo   A102                                                               0.30




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-
06/12/2018   Jennifer L. Milazzo   A104                                                           -   0.50



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06/20/2018
             Timekeeper Name Activity
             Scott M. Klausner   A104                                      1.00
                                                                             !
06/28/2018   Scott M. Klausner   A104                                      1.00



                                                                           •
      - Scott M. Klausner
                                      Timekeeper Summary
                                                     2.00   hours at
                                                                           •
                                                     ·-
        Jennifer L. Milazzo                          0.80   hours at



             Current Fees and Costs
             Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending May 31, 2018
                       Costs incurred and advanced
                       Current Fees and Costs Due
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Legal fees for professional services
for the period ending May 31, 2018
                       Costs incurred and advanced
                       Current Fees and Costs Due
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           for the period ending May 31, 2018


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           05/07/2018   Jennifer L. Milazzo   A104                                                                   0.40



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           05/02/2018   Scott M. Klausner                                                                        -   o.5'o



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05/14/2018

05/30/2018
               Jennifer L. Milazzo

               Jennifer L. Milazzo
                                     A109

                                     A104    -
                                             Review and prepare

                                             Strategize
                                                                                                 0.30

                                                                                                 0.10



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-
0 5/08/2018    Jennifer L. Milazzo   A103    Prepare reply to opposition to anti-SLAPP
                                             motion
                                                                                               - 0.60

05/15/2018     Jennifer L. Milazzo   A104    Prepare and manage filing of notice of ruling       0.40
                                             following status conference


                                                                                                 •
--
0 5/02/2018
05/12/2018     Elena R. Baca         A101
                                                                                               - 0.30
                                                                                                 0.20
05/14/2018     Elena R. Baca         A101    Prepare-                                            0.30
05/15/2018     Elena R. Baca         A109    Prepare for and attend status conference            1.60
                                             hearing
05/15/2018     JenniferL. Milazzo    A111                                                        0.20

05/15 / 2018   Jennifer L. Milazzo   A 111   Attend status conference                            0.80



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D ate
05/10/2018
             Timekeeper Name Activity Description
             Jennifer L. Milazzo    A103   Prepare reply brief to opposition to anti-SLAPP
                                           motion
                                                                                                 2.50

05/21/2018   Jennifer L. Milazzo   A104                                                          0.50



                                                                                                 •
        -
        Elena R. Baca
                                       Timekeeper Summary
                                                         2.40   hours at
                                                                                                -
        -                                               ·-
        Scott M. Klausner                                0.50   hours at




                                                        ·-
        Jennifer L. Milazzo                              5.80   hours at



Costs incurred and advanced
                                                                    Quantity                   Amount


                                                                           • • ••
Total Costs incurred and advanced


             Current Fees and Costs
             Total Balance Due - Due Upon Receipt
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Legal fees for professional services
for the period ending April 30, 2018
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending April 30, 2018
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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for the period ending April 30, 2018


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04/28/2018
             Timekeeper Name Activity Description
             Scott M. Klausner   A106                                                                0.20




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D ate
04/24/2018
             Timekeeper Name Activity
             Elena R. Baca      A104                                       0.10



                                                                           •
        -
        Elena R. Baca
                                      Timekeeper Summary
                                                     0.10   hours at
                                                                           •
                                                     ·-
        Scott M. Klausner                            0.20   hours at



             Current Fees and Costs
             Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending March 31, 2018
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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for the period ending March 31, 2018
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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for the period ending March 31, 2018


Charney Litigation (Danzinger)




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03/06/2018   Dennis S. Ellis     AlOS                                                                     0.30



03/09/2018   Dennis S. Ellis
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D ate
03/09/2018
              Timekeeper Name
              Elena R. Baca
                                  Activi~

                                  A104
                                            Description
                                            Conference
                                                                                         Hours
                                                                                           0.10


                                                                                           •
--
0 3/06/2018   Scott M. Klausner   A109      Prepare for and attend status conference     - 0.90



                                                                                          •
                                                                                         -••
        -Dennis S. Ellis
                                       Timekeeper Summary
                                                      0.60       hours at
                                                                                           •
         Elena R. Baca                                    0.10   hours at




        -                                                 ·-
         Scott M. Klausner                                0.90   hours at




              Current Fees and Costs
              Total Balance Due - Due Upon Receipt
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Legal fees for professional services
for the period ending February 28, 2018
                      Current Fees and Costs Due
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                                                          March 26, 2018




Attn: Thomas M. Giangrande
      Complex Claims Director



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for the period ending February 28, 2018
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt
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                                                         March 26, 2018




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for the period ending February 28, 2018


Charney Litigation (Danzinger)




Date         Timekeeper Name Activity
02/05/2018   Elena R. Baca       A104                                                               O.W



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                                Timekeeper Summary




   -                                           ·-
    Elena R. Baca                              0.10   hours at



       Current Fees and Costs
       Total Balance Due - Due Upon Receipt




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                                                           January 15, 2018




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Legal fees for professional services
for the period ending December 31, 2017
                     Costs incurred and advanced
                     Current Fees and Costs Due
                     Total Balance Due - Due Upon Receipt




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for the period ending December 31, 2017
                     Costs incurred and advanced
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                     Total Balance Due - Due Upon Receipt




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D ate
12/12/2017
             Timekeeper Name Activity Description
             Scott M. Klausner   A109   Attend status conference                                      1.00



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-
12/11/2017
             Timekeeper Name Activity Description
             Scott M. Klausner   A 104    Prepare stipulation to continue anti-SLAPP
                                          hearing date
                                                                                                0.30

12/11/2017   Scott M. Klausner   A107     Correspond with opposing counsel regarding            0.20
                                          stipulation to continue anti-SLAPP hearing date


                                                                                                •
      -                               Timekeeper Summary
                                                                                                •
                                                       ·-
        Scott M. Klausner                            1.50      hours at



Costs incurred and advanced
                                                                   Quantity      Rate



Total Costs incurred and advanced


             Current Fees and Costs
             Total Balance Due - Due Upon Receipt




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                        •                                              •
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Legal fees for professional services
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                     Current Fees and Costs Due
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Legal fees for professional services
for the period ending November 30, 2017
                     Current Fees and Costs Due
                     Total Balance Due - Due Upon Receipt




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                                                                       December 20, 2017




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              for the period ending November 30, 2017


              Charney Litigation (Danzinger)




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              11/02/2017
                           Timekeever Name Activity
                           Dennis S. Ellis     A104
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.gi:x         11/02/2017   Dennis S. Ellis     A102                                                               0.50

              11/02/2017   Scott M. Klausner   A104                                                               0.20




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                                                                     Page 2




                                                                      •
  - Dennis S. Ellis
                                 Timekeeper Summary
                                                2.00   hours at
                                                                      •
                                                ·-
    Scott M. Klausner                           2.20   hours at



        Current Fees and Costs
        Total Balance Due - Due Upon Receipt




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                         •                                               •
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Legal fees for professional services
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                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending October 31, 2017
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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                                                              (Revised: September 19, 2018)
                                                              November 21, 2017




FOR PROFESSIONAL SERVICES RENDERED
for the period ending October 31, 2017


Charney Litigation (Danzinger)




--                                Activity


                                  •                                                                      •
10/26/2017    Scott M. Klausner   A104                                                                   0.20




                                                                                                         •
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-
1 0/26/2017   Elena R. Baca       A104       Revie~
                                                                                                     ..  0.10

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                                                                                                PAGE (5
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   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 151 of 412



                                                                                Page 2




-
D ate
10/26/2017
             Timekeeper Name Activity
             Elena R. Baca      A104      Strategize                             0.10


                                                                                 •
        -
        Elena R. Baca
                                      Timekeeper Summary
                                                       0.20   hours at
                                                                                 •
                                                       ·-
        Scott M. Klausner                              0.20   hours at



Costs incurred and advanced
                                                                  Quantity     Amount




Total Costs incurred and advanced
                                                                                •
             Current Fees and Costs
             Total Balance.Due - Due Upon Receipt




                                                                             PAGE76
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Legal fees for professional services
for the period ending September 30, 2017
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending September 30, 2017
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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                                                             October 25, 2017




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for the period ending September 30, 2017


Charney Litigation (Danzinger)
                                                                                                 -
-
D ate
09/14/2017
09/14/2017
               Timekeeper Name Activit)'. Description
               Dennis S. Ellis
               Dennis S. Ellis
                                 A106
                                 A106
                                                                                                     Hours
                                                                                                        1.00
                                                                                                        0.50

09/19/2017     Dennis S. Ellis   A105                                                                   0.20



09/19 / 2017   Dennis S. Ellis   A106                                                                   0.30



09 /28/2017    Dennis S. Ellis   A106                                                                   0.50



                                                                                                        •
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09/15/2017                                                                                          -   2.30




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                                                           October 25, 2017




FOR PROFESSIONAL SERVICES RENDERED
for the period ending September 30, 2017


Charney Litigation (Danzinger)
                                                                                               -
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D ate
09;l14/2017
09/14/2017
              Timekeeper Name Activity Description
              Dennis S. Ellis
              Dennis S. Ellis
                                 A106
                                 A106
                                        Prepare email                                                  1.00
                                                                                                      0.50


09/19/2017    Dennis S. Ellis    A105                                                                 0.20



09/19/2017    Dennis S. Ellis    A106                                                                 0.30



09 /28/2017   Dennis S. Ellis    A106                                                                 0.50



                                                                                                      •
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0 9/15/2017                                                                                        -   2.30




                                                                                              PAGE 79
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                                                                               Page 2




09/18/2017     ScottM. Klausner   A103      Review and revise                   0.10



                                                                                •
--
-
09 /19 /2017   Elena R. Baca                                                  -•0.40




--
0 9/19/2017    ScottM. Klausner   A109      Attend status conference          - 1.10



                                                                                •
        Total Hours                                                             6.40

                                        Timekeeper Summary
          Dennis S. Ellis                              2.50      hours at
          Elena R. Baca                                   0.40   hours at
          Scott M. Klausner                               3.50   hours at


               Current Fees and Costs
               Total Balance Due - Due Upon Receipt




                                                                            PAGE 80
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Legal fees for professional services
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                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending August 31, 2017
                      Current Fees and Costs Due
                      Total Balance Due - Due Upon Receipt




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for the period ending August 31, 2017


Charney Litigation (Danzinger)                                                            $40.00




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Legal fees for professional services
for the period ending June 30, 2017
                       Costs incurred and advanced
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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Legal fees for professional services
for the period ending June 30, 2017
                       Costs incurred and advanced
                       Current Fees and Costs Due
                       Total Balance Due - Due Upon Receipt




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                                                         July 31, 2017




FOR PROFESSIONAL SERVICES RENDERED
for the period ending June 30, 2017


Charney Litigation (Danzinger)
                                                                                            -
-
D ate
05/23/2017
             Timekeeper Name Activity Description
             Scott M. Klausner    A106                                                              0.60




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                                    •
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                                                                                             Page 2




          01/20/2017   Dennis S. Ellis     A106    -ond                                       0.50
                                             ..•
          01/23/2017   Scott M. Klausner   A106                                               0.10

          01/23/2017   Scott M. Klausner   A104                                               0.20

          01/24/2017   Dennis S. Ellis     A106    -nee                                       0.50




                                             •
          02/01/2017   Dennis S. Ellis     A105    Correspond with S. Klausner                0.30




          -
          02/23/2017   Scott M. Klausner
                                           •
                                           A108
                                                                                              •
                                                                                              0.30



          02/28/2017

          02/28/2017
                       Dennis S. Ellis

                       Elena R. Baca
                                           A103

                                           A104
                                                   ..
                                                   Correspond with S. K l a u s n e r -       0.30

                                                                                              0.20



          03/22/2017   Scott M. Klausner   A108                                               0.30

          04/25/2017   Scott M. Klausner   A106                                               0.20



          04/26/2017   Scott M. Klausner   A101                                               0.40




          04/26/2017   Scott M. Klausner   A104                                               1.00
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          04/27/2017   Elena R. Baca       A104
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                                                                                              0.20
          04/27/2017   Elena R. Baca       A104                                               0.20




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                                                                              Page 3




           04/27 /2017   Elena R. Baca       A107                              0.20

           05/08/2017    Scott M. Klausner   A106                              0.30




           05/09/2017    Scott M. Klausner   A106                              0.20




           05/10/2017    Scott M. Klausner   A106                              0.40




           05/10/2017    Scott M. Klausner   A106                              0.30




           05/10/2017    Scott M. Klausner   A108                              0.20




           05/11/2017    Scott M. Klausner   A108                              0.20




           05/11/2017    Scott M. Klausner   A104                              2.10




           05/11/2017    Scott M. Klausner   A106                              0.40
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1M:        05/11/2017    Scott M. Klausner   A106                              0.50
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           05/15/2017    Scott M. Klausner   A108                              0.20




                                                                          PAGE 88
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05/15/2017    Sc;ott M. Klausner   A108                                                        0.30




05/30/2017    Scott M. Klausner    A108                                                        0.20




                                                                                              -
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0 2/28/2017   Scott M. Klausner    A106                                                       -1.20


02/28/2017    Scott M. Klausner    A106                                                        0.40


05/02/2017    Scott M. Klausner    A108   Meet and confer with 0. Muller regarding             0.10
                                          mediation of claims following status conference


                                                                                               •
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-
0 2/23/2017   Scott M. Klausner    A108   Telephone conferences with K. Fink, 0. Muller,
                                          and Judge Green's Chambers regarding
                                                                                              -0.50

                                          dismissal of American Apparel and status of
                                          hearing on selection of mediator


                                                                                               •
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0 1/13/2017   ScottM. Klausner     A109                                                       -0.30




                                                                                            PAGE89
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                                                                                Page 5




01/14/2017   Dennis S. Ellis     A105   ~ndS. Klausner                           0.50

                                   '
                                                     .   •'


01/14/2017   Scott M. Klausner   A101   Review documents                         0.70
                                                   correspond with D. Ellis

01/15/2017   Dennis S. Ellis     A105                                            0.50




                                                                              PAGE90
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                                                                             Page 6




                                     Timekeeper Summary
        Dennis S. Ellis                             3.10   hours at
        Elena R. Baca                               2.40   hours at




                                                    ·-
        Scott M. Klausner                          17.90   hours at



Costs incurred and advanced


                                                      .. • ••  Quantity     Amount




                                                           •
Total Costs incurred and advanced


            Current Fees and Costs
            Total Balance Due - Due Upon Receipt
                                                           -




                                                                          PAGE91
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Legal fees for professional services
for the period ending June 30, 2015
                       Less 15% Discount
                       Current Fees and Costs Due
                       Total Balance Due




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Legal fees for professional services
for the period ending June 30, 2015
                       Less 15% Discount
                       Current Fees and Costs Due
                       Total Balance Due




                                                                                                            PAGE 93
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               for the period ending June 30? 2015


               Charney Litigation (Danziger)
                                    Less 15% Discount




               Date         Timekeeper Name     Description                                           Hours          Amount
               06/19/2015

               06/19/2015
                            Scott M. Klausner

                            Scott M. Klausner   -
                                                Conference with N. Begakis -                             0.30

                                                                                                         1.00
                                                                                                                       165.00

                                                                                                                       550.00



               06/19/2015   Scott M. Klausner                                                            1.00          550.00



               06/21/2015   Dennis S. Ellis                                                              0.30          315.00


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               06/22/2015   Dennis S. Ellis     Review-                                                  0.30          315.00
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               06/22/2015   Scott M. Klausner                                                            1.20          660.00
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               06/22/2015   Scott M. Klausner                                                           2.00         1,100.00




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                                                                                      Page 2




                   Date         Timekeeper Name                                     Amount
                   06/22/2015   Scott M. Klausner                            2.50    1,375.00




                   06/23/2015   Dennis S. Ellis                              0.50     525.00



                   06/23/2015   Dennis S. Ellis                              0.50     525.00


                   06/23/2015   Dennis S. Ellis                              1.00   1,050.00

                   06/23/2015   Scott M. Klausner                            1.20     660.00




                   06/23/2015   Scott M. Klausner                            1.00     550.00




                   06/23/2015   Scott M. Klausner                            3.10   1,705.00



                   06/24/2015   Scott M. Klausner                            0.80     440.00




               I   06/24/2015   Scott M. Klausner                            1.50     825.00


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.,:>:              06/24/2015   Scott M. Klausner                            0.20     110.00
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~;.,               06/24/2015   Scott M. Klausner                            0.20     110.00
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             Date         Timekeeper Name                                                        Amount
             06/24/2015   Scott M. Klausner                                               3.70   2,035.00



             06/25/2015   Scott M. Klausner                                               0.40    220.00




             06/25/2015   Scott M. Klausner                                               0.20    110.00




             06/26/2015   Dennis S. Ellis                                                 1.00   1,050.00
             06/29/2015   Nicholas]. Begakis   Correspond and conferences with D. Ellis   0.80    632.00
                                               and S. Klausner

             06/29/2015   Scott M. Klausner                                               1.20    660.00




             06/29/2015   Scott M. Klausner    Draft and revise memorandum of points      6.80   3,740.00
                                               and authorities in support of anti-SLAPP
                                               motion
             06/30/2015   Dennis S. Ellis      Correspond with K Fink regarding service   0.30    315.00
                                               of Danziger
             06/30/2015   Dennis S. Ellis      Telephone conference with K Fink           0.30    315.00
                                               regarding service of Danziger
             06/30/2015   Dennis S. Ellis                                                 0.30    315.00

             06/30/2015   Dennis S. Ellis      D r a f - .letter                          0.30    315.00
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;t.l·~·      06/30/2015   Dennis S. Ellis                                                 0.50    525.00
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 ~'>l·i..·   06/30/2015   Nicholas]. Begakis                                              1.00    790.00
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~Ji          06/30/2015   Scott M. Klausner                                               1.00    550.00
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Date         Timekeeper Name     Description                                 Hours    Amount
06/30/2015   Scott M. Klausner   D,i;aft and n;yise ll!emorandum of points    8.10    4,455.00
                                 and authorities in support of anti-SLAPP
                                 motion
06/30/2015   Scott M. Klausner                                                0.80     440.00



             Total                                                           45.30   27,997.00

                                      Timekeeper Summary
        Dennis S. Ellis                              5.30        hours at
        Nicholas J. Begakis                               1.80   hours at
        Scott M. Klausner                               38.20    hours at


             Current Fees and Costs
             Total Balance Due




                                                                                           PAGE97
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Legal fees for professional services
for the period ending July 31, 2015
                        Less 15% Discount


                        Costs incurred and advanced
                        Current Fees and Costs Due
                        Prior Balance Due
                        Total Balance Due




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                        Less 15% Discount


                        Costs incurred and advanced
                        Current Fees and Costs Due
                        Prior Balance Due
                       Total Balance Due




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                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                    Pa~ments/_




               - -                             • • -
Invoice Date   Number          Amount     Trust A1212L   Credits   Balance Due
07/30/2015


                 Total Prior Due
                 Balance Due




                                                                          PAGE 100
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Charney Litigation (Danziger)
                     Less 15% Discount




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               ••
               07/02/2015    Nicholas]. Begakis    A105   - o n d with D. Ellis                          -0.30

               07/07/2015
               07/08/2015

               07/08/2015
                             Nicholas]. Begakis
                             Elena R. Baca

                             Nicholas]. Begakis
                                                   A103
                                                   A105

                                                   A103
                                                          ..
                                                          Review and revise
                                                          Conference with D. Ellis
                                                                                                          1.00
                                                                                                          0.20

                                                                                                          3.40

               07/08/2015    Scott M. Klausner     A104                                                   0.30



               07 /09/2015   Dennis S. Ellis       A108   Correspond with K. Fink regarding service       0.20
               07/09/2015    Nicholas]. Begakis    A103                                                   2.80

               07 /09/2015   Scott M. Klausner     A104                                                   0.30



               07/10/2015    Nicholas J. Begakis   A103                                                   1.00

               07/10/2015    Scott M. Klausner     A103   Draft notice of motion and anti-SLAPP motion    0.20
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1~•.lf•        07/10/2015    Scott M. Klausner     A104                                                   0.50
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               07/10/2015    Scott M. Klausner     A103                                                   1.50

               07/15/2015    Dennis S. Ellis       A103                                                   2.00
               07/15/2015    Nicholas]. Begakis    A103   Review and revise                               3.80




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                07 /15/2015   Scott M. Klausner     A103                                                  . 0.30

                07 /15/2015   Scott M. Klausner     A103                                                   0.40

                07 /15/2015   Scott M. Klausner     A103                                                   0.20

                07 /15/2015   Scott M. Klausner     A104                                                   0.30



                07/15/2015    Scott M. Klausner     A103                                                   0.80

                07/16/2015    Scott M. Klausner     A103                                                   0.20

                07/17/2015    Dennis S. Ellis       A105                                                   1.00

                07/17/2015    Nicholas J. Begakis   A105   Conference with D. Ellis and S. Klausner        0.50

                07/17/2015    Scott M. Klausner     A103                                                   1.40

                07/17/2015    Scott M. Klausner     A102                                                   1.90



                07/18/2015    Scott M. Klausner     A103                                                   3.80

                07/20/2015    Scott M. Klausner     A103                                                   1.00

                07/21/2015    Nicholas J. Begakis   A108   Correspond with K. Fink regarding service of    0.50
                                                           process on D. Danziger

 ,,,,...        07/22/2015    Nicholas J. Begakis   A103                                                   2.30
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                07/23/2015    Dennis S. Ellis       A103                                                   2.00
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                07/23/2015    Nicholas J. Begakis   A103                                                   1.50
1f:liJ;
.r:;~:
;Fi·".'
·!).:>:         07/23/2015    Scott M. Klausner     A102                                                   0.80



                07/23/2015    Scott M. Klausner     A103                                                   1.00




                                                                                                           PAGE 103
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             07/24/2015     Nicholas]. Begakis   A108   Telephone conference and correspond with K.    0.40
                                                        Fink regarding responsive pleading and
                                                        evidence preservation
             07/24/2015     Scott M. Klausner    A102   Le al research                                 2.00



             07 /24/2015    Scott M. Klausner    A105                                                  0.20



             07 /24/2015    Scott M. Klausner    A103                                                  4.70

             07 /25/2015    Nicholas]. Begakis   A103                                                  1.50

             07 /25/2015    Scott M. Klausner    A102                                                  1.40



             07 /27 /2015   Dennis S. Ellis      A103   Review and revise                              2.00
             07 /27 /2015   Nicholas]. Begakis   A103                                                  1.00

             07 /27 /2015   Scott M. Klausner    A105                                                  0.20



             07 /27 /2015   Scott M. Klausner    A103                                                  0.90

             07 /27 /2015   Scott M. Klausner    A102                                                  1.90



             07/27/2015     Scott M. Klausner    A105                                                  0.20

             07/28/2015     Nicholas]. Begakis   A103                                                  1.70

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""'~'        07/28/2015     Nicholas]. Begakis   A106                                                  0.20
"'-.-
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 l'.%1i.·    07/28/2015     Scott M. Klausner    A102                                                  1.40
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.pr,;;       07/28/2015     Scott M. Klausner    A103                                                  0.50

             07/28/2015     Scott M. Klausner    A103                                                  0.40




                                                                                                       PAGE 104
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07/28/2015   Scott M. Klausner       A103                                   1.00

                     ..            .•··
07/28/2015   Scott M. Klausner       A105                                   0.30


07/29/2015   Dennis S. Ellis         A103                                   2.00


07/29/2015   Nicholas J. Begakis     A103                                   0.80
07/29/2015   Scott M. Klausner       A102                                   0.40


07/29/2015   Scott M. Klausner       A103                                   0.40

07/29/2015   Scott M. Klausner       A103                                   0.40


07/31/2015   Dennis S. Ellis         A103                                   1.70
07/31/2015   Dennis S. Ellis         A105                                   0.30
07/31/2015   Scott M. Klausner       A103                                   0.40



                                                                            •
                                                                           -••
      - Elena R. Baca
                                          Timekeeper Summary
                                                         0.20   hours at
                                                                            •
        Dennis S. Ellis                                 12.50   hours at




                                                         ·-
        Nicholas J. Begakis                             23.10   hours at




                                                         ·-
        Scott M. Klausner                               32.40   hours at




       -                                                 ·-
                                                                             PAGE 105
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-
Costs incurred and advanced

                      .,
Total Costs incurred and advanced


            Current Fees and Costs
            Prior Balance Due
            Total Balance Due




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Legal fees for professional services
for the period ending August 31, 2015
                      Less 15% Discount


                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due




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Legal fees for professional services
for the period ending August 31, 2015
                      Less 15% Discount


                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due




                                                                                                            E 108
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                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                    PaJ>:ments/_



               -- --                                      •• --
Invoice Date   Number        Amount        Trust Appl.    Credits   Balance Due
07/30/2015
08/28/2015                                     ••
                 Total Prior Due
                 Balance Due




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FOR PROFESSIONAL SERVICES RENDERED
for the period ending August 31, 2015


Charney Litigation (Danziger)
                     Less 15% Discount




08/02/2015   Dennis S. Ellis     A103                                                               1.00




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          08/Q2/2015   Scott M. Klausner     A103                             0.70

          08/02/2015   Scott M. Klausner     A103                             0.70

          08/03/2015   Dennis S. Ellis       A106   -ond                      0.50

          08/03/2015   Dennis S. Ellis       A103   Review and revise         3.50
          08/03/2015   Nicholas J. Begakis   A103   Review and revise         0.80
          08/03/2015   Scott M. Klausner     A103                             0.30

          08/04/2015   Scott M. Klausner     A104                             0.40


          08/11/2015   Dennis S. Ellis       A103                             0.50
          08/11/2015   Elena R. Baca         A103                             0.50
          08/11/2015   Nicholas J. Begakis   A103                             0.70
          08/11/2015   Nicholas J. Begakis   A103                             1.00

          08/11/2015   Scott M. Klausner     A103                             0.20

          08/11/2015   Scott M. Klausner     A103                             0.20

          08/11/2015   Scott M. Klausner     A103                             0.60

          08/12/2015   Dennis S. Ellis       A103                             1.70
          08/12/2015   Nicholas J. Begakis   A103                             1.30

          08/12/2015   Scott M. Klausner     A103                             0.30
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 l:J      08/12/2015   Scott M. Klausner     A103                             1.60
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   ·!:·   08/13/2015   Dennis S. Ellis       A103                             1.50
1~'.l'
.!):~.:   08/13/2015   Nicholas J. Begakis   A103                             1.00

          08/20/2015   Nicholas J. Begakis   A108                             0.70




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08/25/2015   Scott M. Klausner    A102                                                   0.80

                            ...
08/25/2015   Scott M. Klausner    A108   Correspond with K. Fink regarding anti-SLAPP    0.10
                                         motion
08/26/2015   Dennis S. Ellis      A104                                                   0.30
08/26/2015   Scott M. Klausner    A103                                                   0.90



08/26/2015   Scott M. Klausner·   A102   Legal research regarding scope of available     0.50
                                         discovery regarding anti-SLAPP motion




       Total Hours
                                                                                         •
                                                                                        48.10

                                      Timekeeper Summary
        Elena R. Baca                                   0.80   hours at
        Dennis S. Ellis                               12.90    hours at
        Nicholas J. Begakis                           12.10    hours at
        Scott M. Klausner                             22.30    hours at




-
Costs incurred and advanced




Total Costs incurred and advanced


             Current Fees and Costs
             Prior Balance Due
             Total Balance Due




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Legal fees for professional services
for the period ending September 30, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Less Retainer Applied
                      Total Balance Due




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for the period ending September 30, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Less Retainer Applied
                      Total Balance Due
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FOR PROFESSIONAL SERVICES RENDERED
for the period ending September 30, 2015




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                                                                                             0.30


                                                                                              1.00
                                                                                             0.50


                                                                                             0.50


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                                                                                             0.20
                                                                                             0.30



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             Date         Timekeeper Name Acrivi!)! Description                                       Hours
             09/03/2015   Dennis S. Ellis   A103    Draft opposition and supporting declaratig_n of     1.QO
                                                    D. Danziger
             09/03/2015   Dennis S. Ellis   A105    Conference and correspond with t e a m -            2.00

             09/03/2015   Elena R. Baca     A107    Review request from K. Fink and draft response      0.40
                                                    regarding same
             09/03/2015   Elena R. Baca     A104                                                        0.40


             09/03/2015   Elena R. Baca     A105    -Ellis                                              0.60

             09/08/2015   Elena R. Baca     A101    Prepare-                                            0.10
             09/09/2015   Dennis S. Ellis   A105    Tele hone conference with attorneys-                0.50

             09/09/2015   Elena R. Baca     A104                                                        0.60


             09/09/2015   Elena R. Baca     A101    Prepare                                             0.10
             09/09/2015   Elena R. Baca     A103    Revise                                              0.60
             09/10/2015   Dennis S. Ellis   A105                                                        0.30
             09/10/2015   Elena R. Baca     A107                                                        0.20
             09/10/2015   Elena R. Baca     A106    iilliiloneconferenc                                0.30

             09/10/2015   Elena R. Baca     A109    Prepare for and attend ex parte motion hearing      1.40
             09/14/2015   Dennis S. Ellis   A104                                                       0.50
             09/14/2015   Dennis S. Ellis   A107                                                       2.50

             09/15/2015   Dennis S. Ellis   A103    Draft opposition to ex parte proceedings           3.00
             09/15/2015   Elena R. Baca     A101    Prepare                                            0.50
1!'m+
:~'ll•_it•   09/15/2015   Elena R. Baca     A104    Review-                                            0.10
 ~'1>.'
·t:~,.:      09/16/2015   Dennis S. Ellis   A104                                                       1.00
1h.-''"
~!!•.'
ii\~;
.~:r.        09/16/2015   Dennis S. Ellis   A109    Prepare for and attend ex parte hearing            2.00
'"'"'        09/16/2015   Elena R. Baca     A101    Attend ex parte hearing                            2.60
·~*'
             09/16/2015   Elena R. Baca     A101    Prepare                                            0.40
             09/17/2015   Dennis S. Ellis   A104                                                       0.30
             09/18/2015   Dennis S. Ellis   A105    Conference with N. Begakis-                        0.30




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......------------------------         -----   ---- - -   -




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                                                                                                                    Page 4




                Date         Timekeeper Name       Activi~   Description                                            Hours
                09/03/2015   Nicholas]. Begakis    A103      praft oppQsition.. to ex p[l!te_ application seeking     7.00
                                                             discovery in support of opposition to anti-
                                                             SLAPP motion
                09/04/2015   Elena R. Baca         A105      Correspond                                               0.10
                09/04/2015   Elena R. Baca         A107      Correspond with opposing counsel regarding               0.10
                                                             2802 issues
                09/08/2015   Nicholas]. Begakis    A105                                                               0.20
                                                             -nd

                09/09/2015   Nicholas]. Begakis    A104                                                               0.70



                09/09/2015   Nicholas]. Begakis    A103      Draft opposition to ex parte application for             3.70
                                                             continuance of anti-SLAPP hearings in order to
                                                             allow for discovery
                09/10/2015   Nicholas]. Begakis    A109      Prepare for and attend hearing on plaintiff's ex         3.80
                                                             parte application to continue hearing on anti-
                                                             SLAPP motions to allow for discovery
                09/10/2015   Nicholas]. Begakis    A103      Draft notice of ruling on ex parte application           0.50
                09/24/2015   Elena R. Baca         A104      Review                                                   0.30
                09/28/2015   Nicholas]. Begakis    A103      Draft opposition to motion for limited                   0.70
                                                             discovery
                09/29/2015   Nicholas J. Begakis   A103      Draft opposition to motion for limited                   0.80
                                                             discovery
                09/30/2015   Nicholas]. Begakis    A103      Draft opposition to motion for limited                   1.00
                                                             discovery


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                09/03/2015   Scott M. Klausner     A103      Draft declaration ofD. Ellis in support of
                                                             opposition to ex parte application for leave to
                                                                                                                    - 1.40
·!:.:'>'.                                                    conduct limited discovery
'""''
-~~             09/03/2015   Scott M. Klausner     A102      Le al research                                          0.50


                09/03/2015   Scott M. Klausner     A108                                                              0.20




                                                                                                                      PAGE 120
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                                                                                           Page 5




09/10/2015   Scott M. Klausner     A104                                                     0.20



09/11/2015   Nicholas]. Begakis    A108                                                     0.40



09/14/2015   Nicholas]. Begakis    A108                                                     1.20



09/15/2015   Nicholas]. Begakis    A103   Draft opposition to ex parte application and      7.00
                                          supporting documents
09/16/2015   Nicholas J. Begakis   A105                                                     0.60



                                                                                           •
••
09/18/2015   Nicholas J. Begakis   A103   Draft notice of ruling on ex parte application   -0.50
09/24/2015   Nicholas]. Begakis    A104
                                          iiiiliiis                                         0.60




      Total Hours
                                                                                            •
                                                                                           68.80

                                      Timekeeper Summary
        Elena R. Baca                               12.90       hours at ·
        Dennis S. Ellis                                 24.90   hours at
                            "
        Nicholas]. Begakis                              28.70   hours at
        Scott M. Klausner                                2.30   hours at




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-
Costs incurred and advanced


                                                                -...•.
Total Costs incurred and advanced


            Current Fees and Costs
                                                                - -
            Less Retainer Applied
            Total Balance Due




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Charney Litigation (Danziger)




Legal fees for professional services
for the period ending October 31, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due




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Charney Litigation (Danziger)




Legal fees for professional services
for the period ending October 31, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior:Balance Due
                      Total Balance Due




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                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                    Payments/



                                              --- --- -
Invoice Date   Number        Amount        Trust Appl.   Credits   Balance Due
07/30/2015
08/28/2015
09/28/2015


                 Total Prior Due
                 Balance Due




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FOR PROFESSIONAL SERVICES RENDERED
for the period ending October 31, 2015


Charney Litigation (Danziger)




-
D ate
10/01/2015
             Timekeeper Name Activi!)>: Description
             Nicholas]. Begakis   A103   Draft opposition to motion for specified
                                         discovery
                                                                                                       1.20


10/02/2015   Nicholas]. Begakis   A103   Draft opposition to motion for specified                      2.00
                                         discovery
10/04/2015   Nicholas]. Begakis   A103   Draft opposition to motion for limited                        2.40



                                                                                                      -
                                         discovery




        Total Hours                                                                                   5.60

                                      Timekeeper Summary
         Nicholas]. Begakis                             5.60    hours at

Costs incurred and advanced


Total Costs incurred and advanced


             Current Fees and Costs




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                                               •
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       Prior Balance Due
       Total Balance Due




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                                                      November 30, 2015




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Legal fees for professional services
for the period ending October 31, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Total Balance Due




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                                                      N"overnber30,2015




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Legal fees for professional services
for the period ending October 31, 2015
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Total Balance Due




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                                                                  November 30 2015




            FOR PROFESSIONAL SERVICES RENDERED
            for the period ending October 31, 2015


            Charney Litigation Against Danziger




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                                                                                                                 •
            -
            D ate
            10/05/2015   Dennis S. Ellis   A106    -th
                         Timekeeper Name Activi!)'. Description

                                                                      D. Danziger
                                                                                                              Hours
                                                                                                                 0.30

,r.m..,     10/12/2015   Dennis S. Ellis   A105                                                                  0.70
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                                                    liliiiiice
 ~,.,.,,
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            10/13/2015   Dennis S. Ellis   A102     Research                                                     0.50
'"'"'
 ~.....
1M.
·!:Y.       10/16/2015   Dennis S. Ellis   A102                                                                  0.50
l"""~
.f.'.!:>:
            10/18/2015   Dennis S. Ellis   A101     Prepare for hearing on ex parte stay and motion              0.80
                                                    for discovery




                                                                                                                       PAGE 130
                •
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                                                                  •
   -Dennis S. Ellis
                          Timekeeper Summary
                                         7.60   hours at
                                                                 -
                                         ·-
    Elena R. Baca                        1.20   hours at


    Nicholas J. Begakis                 27.80   hours at
    Scott M. Klausner                    3.40   hours at



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Costs incurred and advanced
                                                                  ....•
                                                                  ••
Total Costs incurred and advanced                                 •
                                                                  -
            Current Fees and Costs
            Total Balance Due




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Legal fees for professional services
for the period ending April 30, 2016
      '
                       Current Fees and Costs Due
                      Total Balance Due
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Legal fees for professional services
for the period ending April 30, 2016
                       Current Fees and Costs Due
                       Total Balance Due




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for the period ending April 30, 2016


Charney Litigation Against Danziger
                                                                                                 -
-
04/18/2016
             Timekeeper Name Activity Description
             ScottM. Klausner    A101                                                                   3.10



    Subtotal: 1..ASO Trial and Hearing Attendance                                                       3.10



      Total Hours                                                                                       3.10

                                      Timekeeper Summary
        Scott M. Klausner                                 3.10    hours at


             Current Fees and Costs
             Total Balance Due




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                                            t: +1.312.499.6000 I f: +1.312.499.6100 I www.paulhastings.com




                                                       August 10, 2016




                                       SUMMARY SHEET




Legal fees for professional services
for the period ending July 31, 2016
                        Current Fees and Costs Due
                        Total Balance Due




                                                                                                             AGE 138
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PAUL
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                                                       August 10, 2016




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Legal fees for professional services
for the period ending July 31, 2016
                        Current Fees and Costs Due
                       Total Balance Due




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                                           t: +1.312.499.6000 I f: +1.312.499.6100 I www.paulhastings.com




                                                      August 10, 2016




FOR PROFESSIONAL SERVICES RENDERED
for the period ending July 3( 2016


Charney Litigation Against Danziger




                                                                                                   -•
                                                                                                      •
-
D ate
07/18/2016
             Timekeeper Name Activity Description
             Dennis S. Ellis     A105   - d with S. Klausner                                          0.30



                                                                                                      •
-
D ate
07/28/2016
             Timekeeper Name ·Activity Description
             Scott M. Klausner   A103   Draft and serve notice of order at status
                                        conference
                                                                                                      0.30


                                                                                                      •
                                                                                                            PAGE 140
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                                                                        Page 2




-
D ate .
07 /18/2016
               Timekeeper Name Activity Description
               Scott M. Klausner   A101
                                                                        ~
                                                                        1.70




                                                                         •
          -
          Dennis S. Ellis
                                       Timekeeper Summary
                                                      0.30   hours at
                                                                         •
                                                      ·-
          Scott M. Klausner                           2.00   hours at




              Current Fees and Costs
              Total Balance Due




                                                                           PAGE 141
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      Date             T'iii1ekee11er                   Desf rTption    - _ -~- ~~-~····:·Flours:·;··-~;
    5/30/2015     Scott M. Klausner     Conference with N. Begakis                                  0.8
                                        Draft and revise memorandum of points and
    5/30/2015     Scott M. Klausner                                                                 8.1
                                        authorities in support of anti-SLAPP motion
    611912015     Scott M. Klausner     Conference with N. Begakis                                  0.3
    6/19/2015     Scott M. Klausner     Legal research                                              1.0
    6/19/2015     Scott M. Klausner     Review and analyze                                          1.0
    6/21/2015     Dennis S. Ellis       Correspond                                                  0.3
    6/22/2015     Dennis S. Ellis       Review                                                      0.3
    6/22/2015     Scott M. Klausner     Draft                                                       2.0
    6/22/2015     Scott M. Klausner     Legal research                                              2.5
    6/22/2015     Scott M. Klausner     Review and analyze                                          1.2
    6/23/2015     Dennis S. Ellis       Review                                                      1.0
    6/23/2015     Dennis S. Ellis       Telephone conference                                        0.5
    6/23/2015     Dennis S. Ellis       Telephone conference                                        0.5
    6/23/2015     Scott M. Klausner     Draft                                                       3.1
    6/23/2015     Scott M. Klausner     Legal research                                              1.2
    6/23/2015     Scott M. Klausner     Review and analyze                                          1.0
    6/24/2015     Scott M. Klausner     Correspond with                                             0.2
    6/24/2015     Scott M. Klausner     Correspond with                                             0.2
    6/24/2015     Scott M. Klausner     Draft                                                       3.7
    6/24/2015     Scott M. Klausner     Legal research                                              1.5
    6/24/2015     Scott M. Klausner     Review and analyze                                          0.8
    6/25/2015     Scott M. Klausner     Legal research                                              0.2
    6/25/2015     Scott M. Klausner     Review and analyze                                          0.4
    6/26/2015     Dennis S. Ellis       Research                                                    1.0
                                        Correspond and conferences with D. Ellis
    6/29/2015     Nicholas J. Begakis                                                              0.8
                                        and S. Klausner
                                        Draft and revise memorandum of points and
    6/29/2015     Scott M. Klausner                                                                6.8
                                        authorities in support of anti-SLAPP motion

    6/29/2015     Scott M. Klausner     Legal research                                              1.2
                                        Correspond with K. Fink regarding service
    6/30/2015     Dennis S. Ellis                                                                  0.3
                                        of Danziger
    6/30/2015     Dennis S. Ellis       Draft letter                                               0.3
    6/30/2015     Dennis S. Ellis       Telephone conference                                       0.3
    6/30/2015     Dennis S. Ellis       Telephone conference                                       0.5
                                        Telephone conference with K. Fink
    6/30/2015     Dennis S. Ellis                                                                  0.3
                                        regarding service of Danziger
    6/30/2015     Nicholas J. Begakis   Review and revise                                          1.0
    6/30/2015     Scott M. Klausner     Legal research                                             1.0
     7/1/2015     Dennis S. Ellis       Telephone conference                                       1.0
     7/2/2015     Nicholas J. Begakis   Correspond with D. Ellis                                   0.3
    717/2015      Nicholas J. Begakis   Review and revise                                          1.0
    7/8/2015      Elena R. Baca         Conference with D. Ellis                                   0.2
    7/8/2015      Nicholas J. Begakis   Review and revise                                          3.4
    7/8/2015      Scott M. Klausner     Review and analyze                                         0.3
    7/9/2015      Dennis S. Ellis       Correspond                                                 0.3

    7/9/2015      Dennis S. Ellis       Correspond with K. Fink regarding service                  0.2

    7/9/2015      Nicholas J. Begakis   Review and revise                                          2.8



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            7/9/2015                  Scott M. Klausner        Review and analyze                                             0.3
            7/10/2015                 Nicholas J. Begakis      Review and revise                                              1.0
                                                               Draft notice of motion and anti-SLAPP
            7/10/2015                 Scott M. Klausner                                                                       0.2
                                                               motion
            7/10/2015                 Scott M. Klausner        Review and analyze                                             0.5
            7/10/2015                 Scott M. Klausner        Review and revise                                              0.8
            7/10/2015                 Scott M. Klausner        Review and revise                                              1.5
            7/15/2015                 Dennis S. Ellis          Review and revise                                              2.0
            7/15/2015                 Nicholas J. Begakis      Review and revise                                              3.8
            7/15/2015                 Scott M. Klausner        Review and analyze                                             0.3
            7/15/2015                 Scott M. Klausner        Review and revise                                              0.3
            7115/2015                 Scott M. Klausner        Review and revise                                              0.4
            7/15/2015                 Scott M. Klausner        Review and revise                                              0.2
            7/15/2015                 Scott M. Klausner        Review and revise                                              0.8
            7/16/2015                 Scott M. Klausner        Review and revise                                              0.2
                                                               Conference with N. Begakis and S.
            7/17/2015                 Dennis S. Ellis                                                                         1.0
                                                               Klausner
            7/17/2015                 Nicholas J. Begakis      Conference with D. Ellis and S. Klausner                       0.5
            7/17/2015                 Scott M. Klausner        Legal research                                                 1.9
            7/17/2015                 Scott M. Klausner        Review and revise                                              1.4
            7/18/2015                 Scott M. Klausner        Review and revise                                              3.8
            7/20/2015                 Scott M. Klausner        Review and revise                                              1.0
                                                               Correspond with K. Fink regarding service
            7/21/2015                 Nicholas J. Begakis                                                                     0.5
                                                               of process on D. Danziger
            7/22/2015                 Nicholas J. Begakis      Review and revise                                              2.3
            7/23/2015                 Dennis S. Ellis          Review and revise                                                2
            7/23/2015                 Nicholas J. Begakis      Review and revise                                              1.5
            7/23/2015                 Scott M. Klausner        Legal research                                                 0.8
            7/23/2015                 Scott M. Klausner        Review and revise                                              1.0
                                                               Telephone conference and correspond with
            7/24/2015                 Nicholas J. Begakis      K. Fink regarding responsive pleading and                      0.4
                                                               evidence preservation
            7/24/2015                 Scott M. Klausner        Conference with N. Begakis                                     0.2
            7/24/2015                 Scott M. Klausner        Legal research                                                 2.0
            7/24/2015                 Scott M. Klausner        Review and revise                                              4.7
            7/25/2015                 Nicholas J. Begakis      Review and revise                                              1.5
            7/25/2015                 Scott M. Klausner        Legal research                                                 1.4
            7/27/2015                 Dennis S. Ellis          Review and revise                                              2.0
            7/27/2015                 Nicholas J. Begakis      Review and revise                                              0.4
            7/27/2015                 Nicholas J. Begakis      Review and revise                                              1.0
            7/27/2015                 Scott M. Klausner        Confer with D. Ellis and N. Begakis                            0.2
            7/27/2015                 Scott M. Klausner        Conference with D. Ellis and N. Begakis                        0.2
            7/27/2015                 Scott M. Klausner        Legal research                                                 1.9
            7/27/2015                 Scott M. Klausner        Review and revise                                              0.9
            7/28/2015                 Nicholas J. Begakis      Correspond with                                                0.2
            7/28/2015                 Nicholas J. Begakis      Review and revise                                              1.7
            7/28/2015                 Scott M. Klausner        Confer with D. Ellis and N. Begakis                            0.3
            7/28/2015                 Scott M. Klausner        Legal research                                                 1.4
            7/28/2015                 Scott M. Klausner        Review and revise                                              0.5
            7/28/2015                 Scott M. Klausner        Review and revise                                              0.4
            7/28/2015                 Scott M. Klausner        Review and revise                                              1.0



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                              7/29/2015                                 Dennis S. Ellis        Review and revise                                                                       2.0
                              7/29/2015                                 Nicholas J. Begakis    Review and revise                                                                       0.8
                              7/29/2015                                 Scott M. Klausner      Legal research                                                                          0.4
                              7/29/2015                                 Scott M. Klausner      Review and revise                                                                       0.4
                              7/29/2015                                 Scott M. Klausner      Review and revise                                                                       0.4
                              7/31/2015                                 Dennis S. Ellis        Correspond                                                                             0.3
                              7/31/2015                                 Dennis S. Ellis        Review and revise                                                                      1.7
                              7/31/2015                                 Scott M. Klausner      Revise                                                                                 0.4
                             . 8/1/2015                                 Scott M. Klausner      Correspond with D. Ellis and N. Begakisn                                               0.4
                               8/2/2015                                 Dennis S. Ellis        Review and revise                                                                      1.0
                               8/2/2015                                 Scott M. Klausner      Review and revise                                                                      0.7
                               8/2/2015                                 Scott M. Klausner      Review and revise                                                                      0.7
                               8/3/2015                                 Dennis S. Ellis        Correspond                                                                             0.5
                               8/3/2015                                 Dennis S. Ellis        Review and revise                                                                      3.5
                               8/3/2015                                 Nicholas J. Begakis    Review and revise                                                                      0.8
                               8/3/2015                                 Scott M. Klausner      Review and revise                                                                      0.3
                               8/4/2015                                 Scott M. Klausner      Review and analyze                                                                     0.4
                                                                                               Correspond with K. Fink regarding service
                               8/10/2015                                Nicholas J. Begakis                                                                                           0.4
                                                                                               of deposition notices
                               8/10/2015                                Nicholas J. Begakis    Review and analyze                                                                     0.6
                               8/10/2015                                Nicholas J. Begakis    Telephone conference with T. Rehn                                                      0.3
                               8/10/2015                                Scott M. Klausner      Conference with D. Ellis and N. Begakis                                                0.3
                               8/10/2015                                Scott M. Klausner      Legal research                                                                         0.5
                               8/11/2015                                Dennis S. Ellis        Finalize                                                                               0.5
                               8/11/2015                                Elena R. Baca          Review and revise                                                                      0.5
                               8/11/2015                                Nicholas J. Begakis    Review and revise                                                                      0.7
                               8/1112015                                Nicholas J. Begakis    Review and revise                                                                      1.0
                                                                                               Draft objections to plaintiffs notices of
                               8/11/2015                                Scott M. Klausner                                                                                             0.4
                                                                                               depositions
                               8/11/2015                                Scott M. Klausner      Review and revise                                                                      0.2
                               811112015                                Scott M. Klausner      Review and revise                                                                      0.2
                               811112015                                Scott M. Klausner      Review and revise                                                                      0.6
                               8/12/2015                                Dennis S. Ellis        Correspond                                                                             0.3
                               8/12/2015                                Dennis S. Ellis        Review and revise                                                                      1.7
                               8/12/2015                                Nicholas J. Begakis    Revise and finalize                                                                    1.3
                                                                                               Draft objections to plaintiffs notices of
                               8/12/2015                                Scott M. Klausner                                                                                              1.5
                                                                                               depositions
                              8/12/2015                                 Scott M. Klausner      Legal research                                                                         0.7
                              8/12/2015                                 Scott M. Klausner      Review and revise                                                                      0.3
                              8/12/2015                                 Scott M. Klausner      Review and revise                                                                      1.6
                              8113/2015                                 Dennis S. Ellis·       Review and revise                                                                      0.5
                              8/13/2015                                 Dennis S. Ellis        Revise and finalize                                                                    1.5
                              8/13/2015                                 Elena R. Baca          Review                                                                                 0.3
                              8/13/2015                                 Nicholas J. Begakis    Finalize                                                                               1.0
                              8/13/2015                                 Nicholas J. Begakis    Review and revise                                                                      1.2
                              8/13/2015                                 Scott M. Klausner      Legal research                                                                         1.6
                              8113/2015                                 Scott M. Klausner      Review and revise                                                                      5.1
                              8/14/2015                                 Nicholas J. Begakis    Review and revise                                                                      0.7
                              8/14/2015                                 Scott M. Klausner      Review and revise                                                                      1.5




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                                                                                                                  Descrjp~ion ·                      _        _', ·-~~ .. Hours ,;~
                                                                                 Correspond with K. Fink regarding meet
                 8/17/2015                     Nicholas J. Begakis                                                                                                                             0.6
                                                                                 and confer and request for limited discovery
                 8/17/2015                     Nicholas J. Begakis               Correspond with T. Rehn                                                                                       0.4
                 8/18/2015                     Nicholas J. Begakis               Correspond regarding                                                                                          0.3
                                                                                 Correspond with K. Fink regarding request
                8/18/2015                      Nicholas J. Begakis                                                                                                                             0.4
                                                                                 for limited discovery
                8/18/2015                      Nicholas J. Begakis               Correspond with M. Helm                                                                                       0.3
                                                                                 Correspond with D. Ellis, N. Begakis, and
                8/18/2015                      Scott M. Klausner                 K. Fink regarding depositions and other                                                                       0.1
                                                                                 discovery matters
                8/18/2015                      Scott M. Klausner                 Review and revise                                                                                             0.9
                                                                                 Correspond with K. Fink regarding
                8/19/2015                      Dennis S. Ellis                                                                                                                                 0.5
                                                                                 litigation
                8/19/2015                      Dennis S. Ellis                   Review                                                                                                        0.5
                8/19/2015                      Nicholas J. Begakis               Correspond                                                                                                    0.2
                8/19/2015                      Nicholas J. Begakis               Revise and finalize                                                                                           0.6
                8/20/2015                      Nicholas J. Begakis               Correspond                                                                                                    0.7
                8/21/2015                      Dennis S. Ellis                   Research                                                                                                      1.0
                                                                                 Telephone conference with K. Fink
                8/21/2015                      Dennis S. Ellis                                                                                                                                 0.5
                                                                                 regarding discovery
                8/21/2015                      Nicholas J. Begakis               Correspond                                                                                                    0.3
                8/25/2015                      Dennis S. Ellis                   Correspond                                                                                                    0.3
                8/25/2015                      Dennis S. Ellis                   Review letter                                                                                                 0.3
                8/25/2015                      Nicholas J. Begakis               Conference with D. Ellis and S. Klausner                                                                      0.3
                8/25/2015                      Scott M. Klausner                 Conference with D. Ellis                                                                                      0.2
                                                                                 Correspond with K. Fink regarding anti-
                8/25/2015                      Scott M. Klausner                                                                                                                               0.1
                                                                                 SLAPP motion

                                                                                 Correspond with K. Fink regarding limited
                8/25/2015                      Scott M. Klausner                                                                                                                               1.6
                                                                                 discovery regarding anti-SLAPP motion

                8/25/2015                      Scott M. Klausner                 Legal research                                                                                                0.8
                8/25/2015                      Scott M. Klausner                 Review and analyze                                                                                            0.2
                8/26/2015                      Dennis S. Ellis                   Review letter                                                                                                 0.3
                                                                                 Legal research regarding scope of available
                8/26/2015                      Scott M. Klausner                                                                                                                               0.5
                                                                                 discovery regarding anti-SLAPP motion

                8/26/2015                      Scott M. Klausner                 Review and revise                                                                                             0.9
                9/3/2015                       Dennis S. Ellis                   Conference and correspond with team                                                                           2.0
                                                                                 Draft opposition and supporting declaration
                 9/3/2015                      Dennis S. Ellis                                                                                                                                 1.0
                                                                                 ofD. Danziger
                 9/3/2015                      Dennis S. Ellis                   Research                                                                                                      1.0
                 9/3/2015                      Dennis S. Ellis                   Telephone conference                                                                                          0.3
                 9/3/2015                      Elena R. Baca                     Correspond with D. Ellis                                                                                      0.6
                 9/3/2015                      Elena R. Baca                     Review                                                                                                        0.4
                                                                                 Review request from K. Fink and draft
                 9/3/2015                      Elena R. Baca                                                                                                                                   0.4
                                                                                 response regarding same
                 9/3/2015                      Elena R. Baca                     Telephone conference                                                                                          0.5
                                                                                 Draft opposition to ex parte application
                 9/3/2015                      Nicholas J. Begakis               seeking discovery in support of opposition                                                                    7.0
                                                                                 to anti-SLAPP motion



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                                                                                   Draft declaration ofD. Ellis in support of
                        9/3/2015                        Scott M. Klausner          opposition to ex parte application for leave                           1.4
                                                                                   to conduct limited discovery
                        9/3/2015                        Scott M. Klausner          Legal research                                                         0.5
                        9/3/2015                        Scott M. Klausner          Review and analyze                                                     0.2
                        9/4/2015                        Elena R. Baca              Correspond                                                             0.1
                                                                                   Correspond with opposing counsel
                        9/4/2015                        Elena R. Baca                                                                                     0.1
                                                                                   regarding 2802 issues
                        9/8/2015                        Elena R. Baca              Prepare                                                                0.1
                        9/8/2015                        Nicholas J. Begakis        Correspond                                                             0.2
                        9/9/2015                        Dennis S. Ellis            Telephone conference with attorneys                                    0.5
                        9/9/2015                        Elena R. Baca              Prepare                                                                0.1
                        9/9/2015                        Elena R. Baca              Review                                                                 0.6
                        9/9/2015                        Elena R. Baca              Revise                                                                 0.6
                        9/9/2015                        Elena R. Baca              Telephone conference with co-counsel                                   0.5
                        9/9/2015                        Elena R. Baca              Telephone conference with D. Ellis                                     0.5
                                                                                   Draft opposition to ex parte application for
                        9/9/2015                        Nicholas J. Begakis        continuance of anti-SLAPP hearings in                                  3.7
                                                                                   order to allow for discovery
                     9/9/2015                           Nicholas J. Begakis        Review and analyze                                                     0.7
                    9/10/2015                           Dennis S. Ellis            Correspond                            '                                0.3
                    9110/2015                           Elena R. Baca              Correspond                                                             0.2
                    9/10/2015                           Elena R. Baca              Correspond with D. Ellis                                               0.2
                                                                                   Correspond with K. Fink regarding
                    9110/2015                           Elena R. Baca                                                                                     0.3
                                                                                   deposition
                                                                                   Prepare for and attend ex parte motion
                    9/10/2015                           Elena R. Baca                                                                                     1.4
                                                                                   hearing
                                                                                   Review email from K. Fink regarding
                    9110/2015                           Elena R. Baca                                                                                     0.1
                                                                                   discovery
                    9/10/2015                           Elena R. Baca              Telephone conference                                                   0.4
                    9/10/2015                           Elena R. Baca              Telephone conference                                                   0.3
                                                                                   Telephone conference with K. Fink
                    9110/2015                           Elena R. Baca                                                                                     0.2
                                                                                   regarding discovery
                                                                                   Draft notice of ruling on ex parte
                    9/10/2015                           Nicholas J. Begakis                                                                               0.5
                                                                                   application

                                                                                   Prepare for and attend hearing on plaintiffs
                    9/10/2015                           Nicholas J. Begakis        ex parte application to continue hearing on                            3.8
                                                                                   anti-SLAPP motions to allow for discovery

                    9110/2015                           Scott M. Klausner          Review and analyze                                                     0.2
                    911112015                           D~nnis S. Ellis            Correspond with attorneys                                              0.3
                    911112015                           Dennis S. Ellis            Interview                                                              0.3
                    9/1112015                           Dennis S. Ellis            Review documents                                                       0.3
                    9111/2015                           Elena R. Baca              Correspond with D. Ellis                                               0.3
                    911112015                           Nicholas J. Begakis        Correspond with                                                        0.4
                    9/14/2015                           Dennis S. Ellis            Correspond with counsel                                                2.5
                    9/14/2015                           Dennis S. Ellis            Review                                                                 0.5
                    9114/2015                           Elena R. Baca              Correspond with D. Ellis                                               0.2
                                                                                   Correspond with opposing counsel
                    9114/2015                           Elena R. Baca                                                                                     0.6
                                                                                   regarding discovery
                    9114/2015                           Nicholas J. Begakis        Correspond                                                             1.2



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          --·-""·"               ·- .           rn!!_el{eeper '       .                 .
                     9115/2015             Dennis S. Ellis                Draft opposition to ex parte proceedings                                    3.0
                     9115/2015             Elena R. Baca                  Conference                                                                  0.3
                     9/15/2015             Elena R. Baca                  Prepare                                                                     0.5
                     9/15/2015             Elena R. Baca                  Review                                                                      0.1
                                                                          Draft opposition to ex parte application and
                     9/15/2015             Nicholas J. Begakis                                                                                        7.0
                                                                          suooorting documents
                     9/16/2015              Dennis S. Ellis               Prepare for and attend ex parte hearing                                     2.0
                     9116/2015            . Dennis S. Ellis               Review                                                                      1.0
                     9/16/2015              Elena R. Baca                 Attend ex parte hearing                                                     2.6
                     9/16/2015              Elena R. Baca                 Prepare                                                                     0.4
                     9116/2015              Nicholas J. Begakis           Conferences and correspond                                                  0.6
                     9117/2015              Dennis S. Ellis               Review and revise                                                           0.3
                     9/18/2015              Dennis S. Ellis               Conference with N. Begakis                                                  0.3
                     9/18/2015              Dennis S. Ellis               Initial review                                                              0.8
                                                                          Draft notice of ruling on ex parte
                     9/18/2015             Nicholas J. Begakis                                                                                        0.5
                                                                          aoolication
                     9/2112015             Dennis S. Ellis                Outline                                                                     0.5
                     9/2112015             Dennis S. Ellis                Review                                                                      1.0
                     9/22/2015             Dennis S. Ellis                Review and revise                                                           2.0
                                                                          Prepare reply brief and objections for anti-
                     9/23/2015             Dennis S. Ellis                                                                                            4.5
                                                                          SLAPP motion for filing
                     9/24/2015             Elena R. Baca                  Review                                                                      0.3
                     9/24/2015             Nicholas J. Begakis            Review and analyze                                                          0.6
                     9/28/2015             Dennis S. Ellis                Review                                                                      0.5
                                                                          Draft opposition to motion for limited
                     9/28/2015             Nicholas J. Begakis                                                                                        0.7
                                                                          discovery
                                                                          Draft opposition to motion for limited
                     9/29/2015             Nicholas J. Begakis                                                                                        0.8
                                                                          discovery
                                                                          Draft: opposition to motion for limited
                     9/30/2015             Nicholas J. Begakis                                                                                        1.0
                                                                          discovery
                                                                          Draft opposition to motion for specified
                     10/1/2015             Nicholas J. Begakis                                                                                        1.2
                                                                          discovery
                                                                          Draft opposition to motion for specified
                     10/2/2015             Nicholas J. Begakis                                                                                        2.0
                                                                          discovery
                                                                          Draft opposition to motion for limited
                     10/4/2015             Nicholas J. Begakis                                                                                        2.4
                                                                          discovery
                     10/5/2015             Dennis S. Ellis                Correspond with client                                                      0.3
                     10/5/2015             Dennis S. Ellis                Correspond with D. Danziger                                                 0.3
                     10/5/2015             Dennis S. Ellis                Review and revise                                                           1.0
                     10/5/2015             Nicholas J. Begakis            Correspond                                                                  0.4
                                                                          Draft opposition to motion for specified
                     10/5/2015             Nicholas J. Begakis                                                                                        5.0
                                                                          discovery and suooorting documents
                     10/5/2015             Scott M. Klausner              Review and revise                                                           0.3
                                                                          Draft opposition to motion for special
                     1017/2015             Dennis S. Ellis                                                                                            1.7
                                                                          discovery
                     1017/2015             Dennis S. Ellis                Draft statement of decision                                                 0.3
                     1017/2015             Nicholas J. Begakis            Conferences and correspond                                                  0.6
                     1017/2015             Nicholas J. Begakis            Correspond with C. Fox and D. Ellis                                         0.3
                     1017/2015             Scott M. Klausner              Draft case management statement                                             1.0
                     1017/2015             Scott M. Klausner              Meet and confer with opposing counsel                                       0.5
                     10/8/2015             Nicholas J. Begakis            Review and revise                                                           0.5



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                                10/8/2015                                 Scott M. Klausner            Draft case management statement                                          1.0
                                10/9/2015                                 Nicholas J. Begakis          Correspond                                                               1.2
                                10/9/2015                                 Nicholas J. Begakis          Draft ex parte annlication to stay litigation                            0.8
                                10/9/2015                                 Nicholas J. Begakis          Review and revise                                                        0.5
                               10/10/2015                                 Elena R. Baca                Conference with D. Ellis                                                 0.2
                               10/12/2015                                 Dennis S. Ellis              Telephone conference                                                     0.7
                               10/12/2015                                 Nicholas J. Begakis          Correspond                                                               0.5
                               10/13/2015                                 Dennis S. Ellis              Research                                                                 0.5
                               10/13/2015                                 Dennis S. Ellis              Review                                                                   0.5
                               10113/2015                                 Nicholas J. Begakis          Correspond                                                               1.3
                               10/13/2015                                 Nicholas J. Begakis          Draft ex parte application to stay litigation                            1.0
                                                                                                       Meet and confer correspondence with K.
                               10/13/2015                                 Nicholas J. Begakis          Steinberg (counsel for plaintiff) regarding                              0.8
                                                                                                       bankruptcy issues
                               10/13/2015                                 Nicholas J. Begakis         Review and analyze                                                        0.5
                               10/13/2015                                 Nicholas J. Begakis         Review and revise                                                         0.8
                                                                                                      Draft ex parte application to stay
                               10/14/2015                                 Nicholas J. Begakis                                                                                   5.0
                                                                                                      proceeding and supporting documents
                               10114/2015                                 Scott M. Klausner           Review and revise                                                         0.6
                               10/15/2015                                 Dennis S. Ellis             Review and revise                                                         1.0
                               10115/2015                                 Nicholas J. Begakis         Review and revise                                                         3.5
                               10/16/2015                                 Dennis S. Ellis             Research                                                                  0.5
                                                                                                      Prepare for hearing on ex parte stay and
                               10/18/2015                                 Dennis S. Ellis                                                                                       0.8
                                                                                                      motion for discovery
                                                                                                      Prepare for hearing on ex parte application
                               10118/2015                                 Nicholas J. Begakis                                                                                   0.6
                                                                                                      to stay proceedings
                               10/19/2015                                 Nicholas J. Begakis         Correspond with E. Baca and L. Paez                                       0.5
                                                                                                      Prepare for and attend hearing on ex parte
                               10/19/2015                                 Nicholas J. Begakis                                                                                  4.0
                                                                                                      annlication to stay litigation
                               10/22/2015                                 Elena R. Baca               Conference with client                                                    0.6
                               10/22/2015                                 Elena R. Baca               Telephone conference                                                      0.4



                            Timekeeper                                    Total Hours for 2015                              Billing Rate                          Grand Totai
                     ..                                                                                                                                                                ~·

 Elena R. Baca                                                                                     15.1                                              $975.00          $14,722.50
 Dennis S. Ellis                                                                                   63.2                                            $1,050.00          $66,360.00
 Nicholas J. Begakis
 (May 1, 2015 -Dec. 31, 2015)                                                                      99.1                                              $790.00          $78,289.00
 Scott M. Klausner
l(May 1, 2015 -Dec. 31, 2015)                                                                      98.6                                              $550.00          $54,230.00




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                                                                     Prepare for and attend status
                     4/18/2016          Scott M. Klausner                                                                                    3.1
                                                                     conference
                     7/18/2016          Dennis S. Ellis              Correspond with S. Klausner                                             0.3
                                                                     Prepare for and attend status
                     7/18/2016          Scott M. Klausner                                                                                    1.7
                                                                     conference
                                                                     Draft and serve notice of order at
                     7/28/2016          Scott M. Klausner                                                                                    0.3
                                                                     status conference




Scott M. Klausner
(Jan. 1, 2016-May 31, 2016                                     3.1                                    $645.00               $1,999.50
Scott M. Klausner
(Jun. 1, 2016-Dec. 31, 2016                                    2.0                                    $670.00               $1,340.00




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                                                                                                       Prepare for and attend telephone conference;
                      1113/2017                                Scott M. Klausner                                                                                            0.3
                                                                                                       correspond with E. Baca and D. Ellis
                      1114/2017                                Dennis S. Ellis                         Correspond with E. Baca and S. Klausner                              0.5
                      1114/2017                                Elena R. Baca                           Review docwnents                                                     0.2
                      1114/2017                                Scott M. Klausner                       Review documents; correspond with D. Ellis                           0.7
                      1115/2017                                Dennis S. Ellis                         Correspond with E. Baca and S. Klausner                              0.5
                      1117/2017                                Dennis S. Ellis                         Correspond with S. Klausner                                          0.5
                      1117/2017                                Elena R. Baca                           Attend status conference                                             1.0
                      1117/2017                                Elena R. Baca                           Review documents                                                     0.2
                      1117/2017                                Scott M. Klausner                       Attend status conference                                             1.0
                      1117/2017                                Scott M. Klausner                       Review documents                                                     0.4
                      1120/2017                                Dennis S. Ellis                         Correspond                                                           0.5
                      1123/2017                                Scott M. Klausner                       Correspond                                                           0.1
                      1123/2017                                Scott M. Klausner                       Review documents                                                     0.2
                      1124/2017                                Dennis S. Ellis                         Telephone conference                                                 0.5
                       2/112017                                Dennis S. Ellis                         Correspond with S. Klausner                                          0.3
                      2/23/2017                                Scott M. Klausner                       Correspond with D. Ellis                                             0.3
                      2/23/2017                                Scott M. Klausner                       Review and analyze                                                   0.3
                                                                                                       Telephone conferences with K. Fink, 0. Muller,
                                                                                                       and Judge Green's Chambers regarding dismissal
                      2/23/2017                                Scott M. Klausner                                                                                            0.5
                                                                                                       of American Apparel and status of hearing on
                                                                                                       selection of mediator
                      2/28/2017                                Dennis S. Ellis                         Correspond with S. Klausner                                          0.3
                      2/28/2017                                Elena R. Baca                           Correspond                                                           0.2
                                                                                                       Prepare for and attend status conference regarding
                      2/28/2017                                Scott M. Klausner                                                                                           2.3
                                                                                                       potential mediation
                      2/28/2017                                Scott M. Klausner                       Review and analyze                                                  0.4
                      2/28/2017                                Scott M. Klausner                       Review docwnents                                                     1.2
                      3/22/2017                                Scott M. Klausner                       Correspond                                                          0.3
                                                                                                       Appear for case management conference
                      4/18/2017                                Scott M. Klausner                                                                                            1.0
                                                                                                       regarding status of proceedings and mediation
                      4/25/2017                                Scott M. Klausner                       Telephone conference                                                0.2
                                                                                                       Prepare for and attend telephone conference;
                      4/26/2017                                Scott M. Klausner                                                                                           0.4
                                                                                                       correspond with E. Baca
                      4/26/2017                               Scott M. Klausner                        Review doc.wnents                                                    1.0
                      4/27/2017                               Elena R. Baca                            Correspond                                                          0.2
                      4/27/2017                               Elena R. Baca                            Strategize                                                          0.2
                      4/27/2017                               Elena R. Baca                            Strategize                                                          0.2
                       5/112017                               Elena R. Baca                            Review documents                                                    0.1
                       5/2/2017                               Elena R. Baca                            Review                                                              0.1
                                                                                                       Attend status conference regarding mediation and
                      5/2/2017                                 Scott M. Klausner                                                                                           0.8
                                                                                                       anti-SLAPP briefing schedule
                                                                                                       Meet and confer with 0. Muller regarding
                      5/2/2017                                 Scott M. Klausner                                                                                           0.1
                                                                                                       mediation of claims following status conference
                       5/2/2017                               Scott M. Klausner                        Prepare correspondence                                              0.1
                       5/8/2017                               Scott M. Klausner                        Attend telephonic conference                                        0.3
                       5/9/2017                               Scott M. Klausner                        Attend telephonic conference                                        0.2
                      5/10/2017                               Scott M. Klausner                        Analysis                                                            0.3
                      5/10/2017                               Scott M. Klausner                       _Attend telephonic conference                                        0.4
                      5/10/2017                               Scott M. Klausner                        Attend telephonic conference                                        0.2
                      511112017                               Scott M. Klausner                        Analyze and revise                                                  0.4
                      5/1112017                               Scott M. Klausner                        Attend telephonic conference                                        0.2



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                         5/11/2017                                     Scott M. Klausner                                        Attend telephonic conference                                                          0.5
                                                                                                                                Review, analyze, and assess issues; follow-up
                         5/11/2017                                     Scott M. Klausner                                                                                                                              2.1
                                                                                                                                with E. Baca
                         5/15/2017                                    Scott M. Klausner                                         Attend telephonic conference                                                          0.2
                         5/15/2017                                    Scott M. Klausner                                         Attend telephonic conference                                                          0.3
                         5/23/2017                                    Scott M. Klausner                                         Prepare for and attend telephonic conference                                          0.4
                         5/23/2017                                    Scott M. Klausner                                         Review documents                                                                      0.6
                         5/30/2017                                    Scott M. Klausner                                         Telephone conference                                                                  0.2
                         9/14/2017                                    Dennis S. Ellis                                           Prepare email                                                                         1.0
                         9/14/2017                                    Dennis S. Ellis                                           Telephone conference with S. Klausner                                                 0.5
                         9/15/2017                                    Scott M. Klausner                                         Prepare                                                                               2.3
                         9/18/2017                                    Scott M. Klausner                                         Review and revise                                                                     0.1
                         9/19/2017                                    Dennis S. Ellis                                           Prepare email                                                                         0.3
                         9/19/2017                                    Dennis S. Ellis                                           Prepare email to S. Klausner                                                          0.2
                        9119/2017                                     Elena R. Baca                                             Review                                                                                0.4
                        9/19/2017                                     Scott M. Klausner                                         Attend status conference                                                              1.1
                        9/28/2017                                     Dennis S. Ellis                                           Prepare email                                                                         0.5
                        10/26/2017                                    Elena R. Baca                                             Review                                                                                0.1
                        10/26/2017                                    Elena R. Baca                                             Strategize                                                                            0.1
                        10/26/2017                                    Scott M. Klausner                                         Strategize                                                                            0.2
                         1112/2017                                    Dennis S. Ellis                                           Research                                                                              0.5
                         1112/2017                                    Dennis S. Ellis                                           Review                                                                                0.5
                         1112/2017                                    Dennis S. Ellis                                           Telephone conference with S. Klausner                                                 0.5
                         1112/2017                                    Scott M. Klausner                                         Prepare for and attend hearing on OSC                                                 2.0
                         11/2/2017                                    Scott M. Klausner                                         Strategize                                                                            0.2
                        11129/2017                                    Dennis S. Ellis                                           Instruct team                                                                         0.5
                                                                                                                                Correspond with opposing counsel regarding
                        12/1112017                                    Scott M. Klausner                                                                                                                               0.2
                                                                                                                                stipulation to continue anti-SLAPP hearing date
                                                                                                                                Prepare stipulation to continue anti-SLAPP
                       12111/2017                                     Scott M. Klausner                                                                                                                               0.3
                                                                                                                                hearing date
                       12/12/2017                                     Scott M. Klausner                                         Attend status conference                                                              1.0




      .. _Timekeeper ·                                                Total Hours for 2017                                                        Billing Rate      ~
                                                                                                                                                                                     -                 G ra.nd );o(l_!l .
Elena R. Baca                                                                                                             3.0                                                 $1,050.00                     $3,150.00

Dennis S. Ellis
                                                                                                                          7.6                                                 $1,200.00                     $9,120.00
Scott M. Klausner
(Jan. 1, 2017-May 31, 2017)                                                                                              17.9                                                  $745.00                     $13,335.50

Scott M. Klausner
(Jun. l,2017-Dec.31,2017)
                                                                                                                          7.4                                                  $775.00                      $5,735.00




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                             2/5/2018                   Elena R. Baca                        Strategize                                                     0.1
                             3/6/2018                   Dennis S. Ellis                      Update with S. Klausner                                        0.3
                             3/6/2018                   Scott M. Klausner                    Prepare for and attend status conference                       0.9
                             3/9/2018                   Dennis S. Ellis                      Prepare email to S. Klausner                                   0.3
                             3/9/2018                   Elena R. Baca                        Conference                                                     0.1
                            4/24/2018                   Elena R. Baca                        Strategize                                                     0.1
                            4/28/2018                   Scott M. Klausner                    Telephonic conference                                          0.2
                             5/2/2018                   Elena R. Baca                        Prepare                                                        0.3
                             5/2/2018                   Scott M. Klausner                    Strategize                                                     0.5
                             517/2018                   Jennifer L. Milazzo                  Strategize                                                     0.4
                                                                                             Prepare reply to opposition to anti-SLAPP
                            5/8/2018                    Jennifer L. Milazzo                                                                                 0.6
                                                                                             motion
                                                                                             Prepare reply brief to opposition to anti-
                            5/10/2018                   Jennifer L. Milazzo                                                                                 2.5
                                                                                             SLAPP motion
                            5/12/2018                   Elena R. Baca                        Prepare                                                        0.2
                            5114/2018                   Elena R. Baca                        Prepare                                                        0.3
                            5/14/2018                   Jennifer L. Milazzo                  Review and prepare                                             0.3
                                                                                             Prepare for and attend status conference
                            5/15/2018                   Elena R. Baca                                                                                       1.6
                                                                                             hearing
                            5/15/2018                   Jennifer L. Milazzo                  Attend status conference                                       0.8
                                                                                             Prepare and manage filing of notice of ruling
                            5/15/2018                   Jennifer L. Milazzo                                                                                 0.4
                                                                                             following status conference
                            5/15/2018                   Jennifer L. Milazzo                  Prepare email                                                  0.2
                            5/21/2018                   Jennifer L. Milazzo                  Strategize                                                     0.5
                            5/30/2018                   Jennifer L. Milazzo                  Strategize                                                     0.1
                            6/12/2018                   Jennifer L. Milazzo                  Strategize                                                     0.5
                            6/19/2018                   Jennifer L. Milazzo                  Analyze research                                               0.3
                            6/20/2018                   Scott M. Klausner                    Review                                                         1.0
                            6/28/2018                   Scott M. Klausner                    Review                                                         1.0
                            7116/2018                   Scott M. Klausner                    Confer                                                         0.2
                            7/16/2018                   Scott M. Klausner                    Review and analyze                                             1.3
                            7/17/2018                   Jennifer L. Milazzo                  Research                                                       0.5
                            7/17/2018                   Scott M. Klausner                    Review and analyze                                             2.2
                            7/18/2018                   Jennifer L. Milazzo                  Review                                                         0.2
                                                                                             Prepare amended motion to strike (anti-
                            7/18/2018                   Scott M. Klausner                                                                                   4.0
                                                                                             SLAPP motion)
                            7/19/2018                   Jennifer L. Milazzo                  Review                                                         0.4
                            7/23/2018                   Elena R. Baca                        Prepare Anti-SLAPP motion                                      0.5
                            7/23/2018                   Elena R. Baca                        Prepare motion to dismiss                                      0.6
                                                                                             Prepare amended motion to strike (anti-
                            7/23/2018                   Scott M. Klausner                                                                                   2.8
                                                                                             SLAPP motion) and related documents
                            7/24/2018                   Elena R. Baca                        Prepare court filing                                           0.2
                                                                                             Review, finalize, and manage filing of
                            7/24/2018                   Scott M. Klausner                    amended motion to strike (anti-SLAPP                           0.7
                                                                                             motion) and related documents
                            7/30/2018                   Elena R. Baca                        Prepare discovery objections                                   0.2
                                                                                             Prepare correspondence to opposing counsel
                            7/30/2018                   Scott M. Klausner                                                                                   0.3
                                                                                             regarding discovery stay
                            7/30/2018                   Scott M. Klausner                    Prepare objections to notice of deposition                     0.8
                            7/30/2018                   Scott M. Klausner                    Strategize                                                     0.2
                             8/2/2018                   Scott M. Klausner                    Prepare                                                        1.3



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                                                                                                                        ' ;             Hours· &· .
                                                                          Exchange communications and filing notice of
               8/4/2018                     Elena R. Baca                                                                                                 0.2
                                                                          non-receipt of oooosition
               8/4/2018                     Jennifer L. Milazzo           Strategize and correspond                                                       0.1
                                                                          Analyze prepare reply to opposition to anti-
               8/6/2018                     Jennifer L. Milazzo                                                                                           3.1
                                                                          SLAPP motion

                                                                          Prepare objections to declarations submitted in
               8/6/2018                     Jennifer L. Milazzo                                                                                           1.3
                                                                          support of opposition to anti-SLAPP motion
                   ..
                                                                         Prepare reply to non-opposition to anti-SLAPP
               8/6/2018                     Jennifer L. Milazzo                                                                                           0.5
                                                                         motion
               8/6/2018                     Jennifer L. Milazzo          Research case law                                                                6.7
               8/6/2018·                    Scott M. Klausner            Analysis and research                                                            4.5
               8/6/2018                     Scott M. Klausner            Factual investigation and analysis                                               l.9
               8/6/2018                     Scott M. Klausner            Prepare                                                                          l.6
               8/6/2018                     Scott M. Klausner            Review and analyze                                                               l.O
               8/6/2018                     Scott M. Klausner            Review and analyze                                                               2.2
               8/6/2018                     Scott M. Klausner            Review and revise                                                                0.6
               8/6/2018                     Scott M. Klausner            Strategize                                                                       0.8
                                                                         Analyze prepare reply to opposition to anti-
               817/2018                     Jennifer L. Milazzo                                                                                           2.3
                                                                         SLAPP motion
                                                                         Prepare objections to declarations in support
               817/2018                     Jennifer L. Milazzo                                                                                           1.3
                                                                         of opposition to anti-SLAPP motion
                                                                         Prepare reply to opposition to anti-SLAPP
               817/2018                     Jennifer L. Milazzo                                                                                           4.2
                                                                         motion
               8/7/2018                     Jennifer L. Milazzo          Research case law                                                                5.5
               817/2018                     Scott M. Klausner            Analysis and research                                                            l.8
               817/2018                     Scott M. Klausner            Analysis and research                                                            1.5
               817/2018                     Scott M. Klausner            Analysis and research                                                            1.5
                                                                         Prepare correspondence to opposing counsel
               817/2018                     Scott M. Klausner            regarding remedying public disclosure of                                         0.2
                                                                         confidential documents
                                                                         Prepare reply brief in support of anti-SLAPP
               8/7/2018                     Scott M. Klausner                                                                                             8.0
                                                                         motion
               817/2018                     Scott M. Klausner            Review and revise                                                                2.0
               817/2018                     Scott M. Klausner            Strategize                                                                       2.8
               8/8/2018                     Elena R. Baca                Strategize and prepare reply brief                                               0.6
                                                                         Analyze prepare reply to opposition to anti-
               8/8/2018                     Jennifer L. Milazzo                                                                                           2.3
                                                                         SLAPP motion
                                                                         Prepare objections to declarations in support
               8/8/2018                     Jennifer L. Milazzo                                                                                           l.6
                                                                         of oooosition to anti-SLAPP motion
                                                                         Prepare reply to opposition to anti-SLAPP
               8/8/2018                     Jennifer L. Milazzo                                                                                           4.3
                                                                         motion and manage filing of the same
               8/8/2018                     Jennifer L. Milazzo          Research case law                                                                1.1
               8/8/2018                     Scott M. Klausner            Review and revise                                                                0.7
                                                                         Review, revise, and finalize evidentiary
                                                                         objections to declarations submitted Plaintiff
               8/8/2018                     Scott M. Klausner                                                                                             2.3
                                                                         filed in support of opposition to anti-SLAPP
                                                                         motion
                                                                         Review, revise, finalize, and coordinating
               8/8/2018                    Scott M. Klausner             filing of reply brief in support of anti-SLAPP                             10.0
                                                                         motion



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"''"""" '•' -'1 • ~.1r""' " , •   ~-   ._   •   ,   '+ .               ,                                             D'e~~ription , ) . ~' ._. ~-, . ·~ · ·:1·;,;~ lfQ.!!nY,,..:~~:~.
                                                                                         Prepare correspondence to opposing counsel
                          8110/2018                        Scott M. Klausner             regarding remedying public disclosure of                                                                                     0.2
                                                                                         confidential documents
                          8/13/2018                        Elena R. Baca                 Prepare                                                                                                                      1.9
                          8/13/2018                        Scott M. Klausner             Identify and compile                                                                                                         1.0
                          8113/2018                        Scott M. Klausner             Prepare                                                                                                                      2.1
                          8/14/2018                        Elena R. Baca                 Prepare                                                                                                                      0.3
                          8/14/2018                        Jennifer L. Milazzo           Analyze                                                                                                                      2.1
                          8/14/2018                        Jennifer L. Milazzo           Conduct research on case law                                                                                                 1.4
                          8/14/2018                        Jennifer L. Milazzo           Prepare                                                                                                                      1.1
                                                                                         Prepare declarations and exhibits in support of
                                                                                         ex parte application to seal or strike
                          8/14/2018                        Jennifer L. Milazzo                                                                                                                                        1.6
                                                                                         declarations and exhibits submitted in support
                                                                                         ofD. Charney's opposition to anti-SLAPP

                                                                                         Prepare ex parte application to seal or strike
                          8/14/2018                        Jennifer L. Milazzo           declarations and exhibits submitted in support                                                                               2.2
                                                                                         ofD. Charney's opposition to anti-SLAPP

                         8/14/2018                         Scott M. Klausner          Analyze and research                                                                                                            2.0
                         8114/2018                         Scott M. Klausner          Annotate and summarize                                                                                                          1.1
                         8/14/2018                         Scott M. Klausner          Prepare                                                                                                                         1.3
                         8/15/2018                         Elena R. Baca              Prepare for and attend hearing                                                                                                  3.5
                                                                                      Attend hearing on anti-SLAPP motion and ex
                         8/15/2018                         Scott M. Klausner                                                                                                                                          2.3
                                                                                      parte aoolication to seal or strike
                         8115/2018                         Scott M. Klausner          Corresponding                                                                                                                   0.2
                         8/15/2018                         Scott M. Klausner          Prepare                                                                                                                         3.0
                         8/16/2018                         Jennifer L. Milazzo        Strategize                                                                                                                      0.1
                         8/25/2018                         Elena R. Baca              Strategize                                                                                                                      0.2
                         8/27/2018                         Elena R. Baca              Strategize                                                                                                                      0.2
                         8/27/2018                         Scott M. Klausner          Strategize                                                                                                                      0.3
                         8/29/2018                         Scott M. Klausner          Review                                                                                                                          0.3
                         9118/2018                         Elena R. Baca              Prepare stipulation to seal                                                                                                     0.1
                         9/19/2018                         Scott M. Klausner          Analyze                                                                                                                         0.4
                                                                                      Correspond with opposing counsel regarding
                         9119/2018                         Scott M. Klausner                                                                                                                                          0.1
                                                                                      stipulation and hearing
                         9/19/2018                         Scott M. Klausner          Prepare meet and confer correspondence                                                                                          0.7
                                                                                      Correspond with opposing counsel regarding
                         9/21/2018                         Scott M. Klausner          depositions and deficiencies in document                                                                                        1.2
                                                                                     !Productions, including related analysis


                                                                                                                                                                                                                        1~
                      Timekeeper
                                                             Total Hours for
                                                                                                                     Billing Rate                                                        '
                                                                                                                                                                                      . Grand Total ·
                                                                   2018
                                                                                                        '
Elena R. Baca                                                                 11.2                                                                            $1,100.00                           $12,320.00
Dennis S. Ellis                                                                0.6                                                                            $1,275.00                              $765.00
Scott M. Klausner
'Jan. 1, 2018-May 31, 2018)                                                    1.6                                                                                 $840.00                           $1,344.00
Scott M. Klausner
(Jun. 1, 2018-Dec. 31, 2018)                                                  75.4                                                                                 $875.00                        $65,975.00




                                                                                                                                                                               PAGE 154
                                                        •
       Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 231 of 412




Jennifer L. Milazzo
 Jan. 1, 2018-Ma 31, 2018          5.8                        $600.00     $3,480.00
Jennifer L. Milazzo
 Jun. 1, 2018-Dec. 31, 2018       44.7                        $635.00    $28,384.50




                                                               . '
                                                                 '




                                                                     PAGE 155
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          EXHIBIT I
to DAVID DERUBERTIS DECL
Electronically FILED by Superior Court of California, County of Los Angeles on 05/28/2019 02:07 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Bolden,Deputy Clerk
                             Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 233 of 412



                         1      PAUL HASTINGS LLP
                                ELENA R. BACA (SB# 160564)
                         2      elenabaca@paulhastings.com
                                JENNIFER L. MILAZZO (SB# 318356)
                         3      jennifermilazzo@paulhastings.com
                                515 South Flower Street
                         4      Twenty-Fifth Floor
                                Los Angeles, CA 90071-2228
                         5      Telephone: (213) 683-6000
                                Facsimile: (213) 627-0705
                         6
                                Attorneys for Defendant
                         7      David Danziger
                         8

                         9                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                       10                                                          COUNTY OF LOS ANGELES

                       11

                       12       DOV CHARNEY, an individual,                                                CASE NO. BC585664

                       13                                    Plaintiff,                                    SUPPLEMENTAL DECLARATION OF
                                                                                                           ELENA R. BACA IN SUPPORT OF DAVID
                       14                   v.                                                             DANZIGER’S MOTION FOR
                                                                                                           ATTORNEYS’ FEES
                       15       DAVID DANZIGER, an individual; and
                                DOES 1 to 50, inclusive,
                       16                                                                                  Date:               June 4, 2019
                                                             Defendants.                                   Time:               8:45 a.m.
                       17                                                                                  Dept.:              14
                                                                                                           Judge:              Hon. Terry A. Green
                       18
                                                                                                           RESERVATION ID: 181026360333
                       19

                       20

                       21

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                       28

                                        SUPPLEMENTAL DECL. OF ELENA BACA IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES
                                LEGAL_US_E # 141940854.2
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 234 of 412



 1                                  DECLARATION OF ELENA R. BACA
 2            I, Elena R. Baca, hereby declare and state as follows:
 3            1.       I am an attorney duly admitted to practice law before all the Courts of the State of
 4    California and this Court. I am a partner at the law firm of Paul Hastings LLP, and counsel of
 5    record for Defendant David Danziger (“Danziger”). I make this supplemental declaration in
 6    support of Danziger’s Motion for Attorneys’ Fees (“Fees Motion”). I have personal knowledge
 7    of the facts set forth below, and if called as a witness, I would and could competently testify
 8    thereto.
 9            2.       On October 29, 2018, Danziger filed his Fees Motion. Plaintiff Dov Charney
10    (“Plaintiff”) opposed the Fees Motion on May 21, 2019, which was not served on Danziger until
11    May 23, 2019, at approximately 1:25 p.m. Plaintiff was required to serve his Opposition no later
12    than the close of business on May 22, 2019. See Cal. Civ. Proc. Code § 1005.
13            3.       Danziger’s requested fee award seeks additional recovery for the approximately
14    37.2 hours that attorneys from Paul Hastings billed on work related to Danziger’s Motion for
15    Attorneys’ Fees (the “Fees Motion”). I billed 3.1 hours on such work, including drafting and
16    revising the Fees Motion and supporting declarations. Scott Klausner, a mid-level associate at
17    Paul Hastings at the time, billed 6 hours to the Fees Motion, including drafting and revising the
18    Fees Motion. Paul Kind, a mid-level associate at Paul Hastings at the time, billed 5.5 hours on
19    work related to the Fees Motion, including revising the Fees Motion and preparing the supporting
20    declarations and related filings. Jennifer L. Milazzo, a junior associate, spent 14.9 hours on work
21    related to the Fees Motion, including revising the Fees Motion, reviewing the supporting
22    invoices, performing legal research, and finalizing the Fees Motion and relating filings. Daniel
23    Rojas, a junior associate, spent 7.7 hours on work related to the Fees Motion, including revising
24    the Fees Motion and performing legal research in support of the Fees Motion. Attached hereto as
25    “Exhibit A” is a true and correct copy of redacted invoices prepared by Paul Hastings that reflect
26    time spent and billed from October 1, 2018 through December 31, 2018, in connection with Paul
27    Hastings’ preparation of the Fees Motion. Exhibit A has been redacted to preserve attorney-client
28
                                                        -2-
          SUPPLEMENTAL DECL. OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES
      LEGAL_US_E # 141940854.2
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 235 of 412



 1    and attorney work product information, while providing sufficient support for the fees sought to
 2    be recovered by the Fees Motion.
 3            4.       I have reviewed the billing statements submitted to Danziger by Paul Hastings in
 4    connection with the preparation of the Fees Motion and found them to be accurate. Paul
 5    Hastings’ monthly billing statements are maintained in the ordinary course of business and
 6    establish that Paul Hastings attorneys spent 37.2 hours preparing the Fees Motion. Any time that
 7    was determined to be excessive, redundant, or otherwise unnecessary, was “written off” and not
 8    billed. Paul Hastings’ customary standard billing rates are commensurate with the rates of
 9    attorneys of similar skill, experience, and expertise in the same area. The hourly billing rates
10    submitted herewith are the standard and customary hourly rates charged by Paul Hastings to other
11    clients for attorneys’ work. Applying the standard hourly rates charged annually to the hours
12    worked since October 1, 2018 results in the aggregated value for 37.2 hours worked.
13            5.       Danziger’s requested fee award also seeks additional recovery for the
14    approximately 15.66 hours that attorneys from Paul Hastings billed on work related to Danziger’s
15    Reply to Plaintiff’s Opposition to the Fees Motion (the “Reply”). Paul Hastings has not yet
16    finalized bills for its services related to the preparation of the Reply in support of the Fees
17    Motion. Nevertheless, I have diligently tracked the time I have billed in connection with the
18    Reply. To date, I have billed 0.6 hours on such work. This time was spent reviewing and
19    analyzing Plaintiff’s Opposition, reviewing and revising the Reply, and drafting and revising the
20    supporting declarations and related filings. I have also reviewed the time records of Ms. Milazzo,
21    which she has recorded using Paul Hastings’ attorney time-tracker software. Ms. Milazzo has
22    billed 15.6 hours in connection with the Reply. This work has consisted of reviewing and
23    analyzing Plaintiff’s Opposition to the Fees Motion, conducting legal research regarding the
24    arguments raised in the Opposition and authorities cited in support thereof, drafting and revising
25    the Reply, and drafting and revising the supporting declarations and related filings.
26            6.       Attached hereto as “Exhibit B” is a summary of the time and aggregate value of
27    time based on the standard hourly rates, organized by billing attorney, contained in the redacted
28    invoices attached as Exhibit A and the time entered into Paul Hastings’ time-tracker software.
                                                        -3-
          SUPPLEMENTAL DECL. OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES
      LEGAL_US_E # 141940854.2
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 236 of 412



 1     Exhibit B was prepared by Paul Hastings in the regular course of business at my direction after

 2     my review of Paul Hastings' invoices in this matter. Exhibit B reflects a true and accurate

 3     summary of the time spent and billed from October 1, 2018 through December 31, 2018, in

 4     connection with Paul Hastings' preparation of the Fees Motion and a true and accurate summary

 5     of the time spent on the Reply from May 23, 2019 to May 28, 2019.

 6              7.        Paul Kind received his J.D. from Loyola Law School, where he graduated Order of

 7     the Coif While in law school, Mr. Kind served as a Note & Comment Editor of the Loyola of

 8     Los Angeles Law Review, and he won the award for the best published comment. Mr. Kind also

 9     served·as a judicial extern to the Honorable Stephen R. Reinhardt of the United States Court of

10     Appeals for the Ninth Circuit and to R. Gary Klausner of the United States District Court for the

11     Central District of California.

12              8.        Daniel Rojas graduated from the University of Chicago Law School. While in law

13     school, Mr. Rojas was an in-.h ouse legal intern at Microsoft. In 2018, Mr. Rojas' hourly billable

14     rate was $560.00.

15              9.        The rates for Daniel Rojas and Paul Kind are commensurate with rates of other top

16     law firms in the Los Angeles area and are therefore reasonable.

17              10.       My 2019 standard hourly billable rate is $1,200.00.

18              11.       Ms. Milazzo's 2019 standard hourly billable rate is $735.00.

19

20              I declare under penalty of perjury under the laws of the United States and the State of

21     California that the foregoing is true and correct.

22

23              Executed this 28th day of May 2019, at Los Angeles, California.

24

25

26
                                                 By:
27

28

                                                          -4-
           SUPPLEMENTAL DECL. OF ELENA R. BACA IN SUPPORT OF MOTION FOR ATTORNEYS' FEES
       LEGAL_ US_E # 14 1940854.2
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             EXHIBIT A

                                                     EXHIBIT A, PAGE 5
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                                           PAUL HASTINGS LLP
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                                                            November 26, 2018




                                     SUMMARY SHEET

Charney Litigation (Danzinger)



Legal fees for professional services
for the period ending October 31, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




                                                                                EXHIBIT A, PAGE 6
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                                                            November 26, 2018




                                    REMITTANCE COPY

Charney Litigation (Danzinger)



Legal fees for professional services
for the period ending October 31, 2018
                      Costs incurred and advanced
                      Current Fees and Costs Due
                      Prior Balance Due
                      Total Balance Due - Due Upon Receipt




                                                                                EXHIBIT A, PAGE 7
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                                                                        Page 2




                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                     Payments/
Invoice Date    Number       Amount        Trust Appl.   Credits   Balance Due
07/31/2017
09/25/2017
10/25/2017
11/21/2017
12/20/2017
01/15/2018
03/26/2018
04/23/2018
05/30/2018
06/21/2018
07/27/2018
08/21/2018
09/26/2018
10/19/2018


                 Total Prior Balance Due
                 Total Balance Due




                                                          EXHIBIT A, PAGE 8
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                                                             November 26, 2018




FOR PROFESSIONAL SERVICES RENDERED
for the period ending October 31, 2018


Charney Litigation (Danzinger)



Date         Timekeeper Name Activity Description                                                    Hours




Date         Timekeeper Name Activity Description                                                    Hours
10/09/2018   Jennifer L. Milazzo   A104   Manage the preparation of invoices for motion                  0.40
                                          for attorney fees
10/10/2018   Daniel Rojas          A102   Legal research regarding motion for attorneys                  1.00
                                          fees
10/11/2018   Daniel Rojas          A102   Legal research regarding motion for attorneys                  1.00
                                          fees
10/12/2018   Daniel Rojas          A102   Legal research regarding motion for attorneys                  1.00
                                          fees




                                                                                 EXHIBIT A, PAGE 9
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                                                                                          Page 2




Date         Timekeeper Name Activity Description                                        Hours
10/26/2018   Elena R. Baca       A103   Review transcript for motion for attorney fees     0.50




Date         Timekeeper Name Activity Description                                        Hours


10/22/2018   Scott M. Klausner   A103   Prepare motion for attorneys' fees and             3.00
                                        supporting documents
10/23/2018   Scott M. Klausner   A103   Prepare motion for attorneys' fees and             3.00
                                        supporting documents
10/25/2018   Elena R. Baca       A103   Prepare motion for attorneys fee                   0.20
10/26/2018   Elena R. Baca       A103   Prepare motion for fees                            0.20
10/26/2018   Elena R. Baca       A103   Revise motion for attorneys' fees                  0.80
10/26/2018   Elena R. Baca       A103   Prepare attorneys' fee motion                      0.40
10/26/2018   Paul D. Kind        A103   Prepare notice of motion and motion for fees       2.00
10/26/2018   Paul D. Kind        A103   Prepare E. Baca declaration in support of          3.50
                                        motion for fees
10/28/2018   Elena R. Baca       A103   Prepare motion for attorneys' fees                 0.50
10/29/2018   Elena R. Baca       A103   Prepare fees motion                                0.40




Date         Timekeeper Name Activity Description                                        Hours




                                                                             EXHIBIT A, PAGE 10
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                                                                                             Page 3




Date         Timekeeper Name Activity Description                                            Hours
10/15/2018   Daniel Rojas          A103   Draft and revise motion for attorney's fees          3.50
10/25/2018   Jennifer L. Milazzo   A103   Prepare notice of motion and motion for              0.30
                                          attorneys' fees
10/26/2018   Jennifer L. Milazzo   A104   Prepare notice of motion and motion for              5.00
                                          attorneys' fees
10/27/2018   Daniel Rojas          A102   Legal research relating to motion for attorney's     1.20
                                          fees
10/27/2018   Jennifer L. Milazzo   A104   Prepare and revise motion for attorneys' fees        1.30
                                          and supporting declaration
10/28/2018   Jennifer L. Milazzo   A104   Prepare and revise motion for attorneys' fees        2.90
                                          and supporting declaration
10/29/2018   Jennifer L. Milazzo   A104   Manage filing of motion for attorneys fees           2.40

10/29/2018   Jennifer L. Milazzo   A104   Revise and finalize motion for attorneys' fees       2.40

10/30/2018   Jennifer L. Milazzo   A101   Attend to management of upcoming deadlines           0.20
                                          pertaining to attorneys' fee motion




Date         Timekeeper Name Activity Description                                            Hours




                                                                             EXHIBIT A, PAGE 11
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                                                                                        Page 4




                                     Timekeeper Summary
        Elena R. Baca                               3.10   hours at
        Scott M. Klausner                           6.00   hours at
        Paul D. Kind                                7.00   hours at
        Daniel Rojas                                7.70   hours at
        Jennifer L. Milazzo                        14.90   hours at



Costs incurred and advanced
Date          Description                                             Quantity   Rate        Amount




Total Costs incurred and advanced

            Current Fees and Costs
            Prior Balance Due
            Total Balance Due - Due Upon Receipt




                                                                      EXHIBIT A, PAGE 12
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                                                           January 16, 2019




                                    SUMMARY SHEET

Charney Litigation (Danzinger)



Legal fees for professional services
for the period ending December 31, 2018
                     Current Fees and Costs Due
                     Prior Balance Due
                     Total Balance Due - Due Upon Receipt




                                                                             EXHIBIT A, PAGE 13
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                                                           January 16, 2019




                                   REMITTANCE COPY

Charney Litigation (Danzinger)



Legal fees for professional services
for the period ending December 31, 2018
                     Current Fees and Costs Due
                     Prior Balance Due
                     Total Balance Due - Due Upon Receipt




                                                                             EXHIBIT A, PAGE 14
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                                                                        Page 2




                          REMITTANCE COPY (cont.)




                          Summary of Prior Balance Due
                Invoice                     Payments/
Invoice Date    Number       Amount        Trust Appl.   Credits   Balance Due
07/31/2017
09/25/2017
10/25/2017
11/21/2017
12/20/2017
01/15/2018
03/26/2018
04/23/2018
05/30/2018
06/21/2018
07/27/2018
08/21/2018
09/26/2018
10/19/2018
11/26/2018
12/20/2018


                 Total Prior Balance Due
                 Total Balance Due




                                                         EXHIBIT A, PAGE 15
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                                                             January 16, 2019




FOR PROFESSIONAL SERVICES RENDERED
for the period ending December 31, 2018


Charney Litigation (Danzinger)



Date         Timekeeper Name Activity Description                                                    Hours
12/11/2018   Elena R. Baca       A104     Review status of clerk's award of attorneys fees               0.10
                                          and costs as prevailing party




                                      Timekeeper Summary
        Elena R. Baca                                0.10         hours at

             Current Fees and Costs
             Prior Balance Due
             Total Balance Due - Due Upon Receipt




                                                                               EXHIBIT A, PAGE 16
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             EXHIBIT B

                                                    EXHIBIT B, PAGE 17
         Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 250 of 412


       Date                Timekeeper                            Description                        Hours
                                              Legal research regarding motion for attorneys
    10/10/2018        Daniel Rojas                                                                              1.00
                                              fees
                                              Legal research regarding motion for attorneys
    10/11/2018        Daniel Rojas                                                                              1.00
                                              fees
                                              Legal research regarding motion for attorneys
    10/12/2018        Daniel Rojas                                                                              1.00
                                              fees
    10/15/2018        Daniel Rojas            Draft and revise motion for attorney's fees                       3.50
                                              Legal research relating to motion for attorney's
    10/27/2018        Daniel Rojas                                                                              1.20
                                              fees
    10/25/2018        Elena R. Baca           Prepare motion for attorneys fee                                  0.20
    10/26/2018        Elena R. Baca           Prepare attorneys' fee motion                                     0.40
    10/26/2018        Elena R. Baca           Revise motion for attorneys' fees                                 0.80
    10/26/2018        Elena R. Baca           Prepare motion for fees                                           0.20
    10/26/2018        Elena R. Baca           Review transcript for motion for attorney fees                    0.50
    10/28/2018        Elena R. Baca           Prepare motion for attorneys' fees                                0.50
    10/29/2018        Elena R. Baca           Prepare fees motion                                               0.40
                                              Review status of clerk's award of attorneys fees
    12/11/2018        Elena R. Baca                                                                             0.10
                                              and costs as prevailing party
                                              Manage the preparation of invoices for motion
     10/9/2018        Jennifer L. Milazzo                                                                       0.40
                                              for attorney fees
                                              Prepare notice of motion and motion for
    10/25/2018        Jennifer L. Milazzo                                                                       0.30
                                              attorneys' fees
                                              Prepare notice of motion and motion for
    10/26/2018        Jennifer L. Milazzo                                                                       5.00
                                              attorneys' fees
                                              Prepare and revise motion for attorneys' fees and
    10/27/2018        Jennifer L. Milazzo                                                                       1.30
                                              supporting declaration
                                              Prepare and revise motion for attorneys' fees and
    10/28/2018        Jennifer L. Milazzo                                                                       2.90
                                              supporting declaration
    10/29/2018        Jennifer L. Milazzo     Revise and finalize motion for attorneys' fees                    2.40
    10/29/2018        Jennifer L. Milazzo     Manage filing of motion for attorneys fees                        2.40
                                              Attend to management of upcoming deadlines
    10/30/2018        Jennifer L. Milazzo                                                                       0.20
                                              pertaining to attorneys' fee motion
                                              Prepare E. Baca declaration in support of motion
    10/26/2018        Paul D. Kind                                                                              3.50
                                              for fees
    10/26/2018        Paul D. Kind            Prepare notice of motion and motion for fees                      2.00
                                              Prepare motion for attorneys' fees and supporting
    10/22/2018        Scott M. Klausner                                                                         3.00
                                              documents
                                              Prepare motion for attorneys' fees and supporting
    10/23/2018        Scott M. Klausner                                                                         3.00
                                              documents

                         Total Additional
    Timekeeper                                                  Billing Rate                      Grand Total
                         Hours for 2018
Daniel Rojas                           7.70                                             $560.00          $4,312.00
Elena R. Baca                          3.10                                           $1,110.00          $3,441.00
Jennifer L. Milazzo                   14.90                                             $635.00          $9,461.50
Paul D. Kind                           5.50                                             $765.00          $4,207.50
Scott M. Klausner                      6.00                                             $875.00          $5,250.00

                        Total Additional
    Timekeeper        Hours for 2019 (Reply                     Billing Rate                      Grand Total
                              Brief)
Elena R. Baca                          0.06                                           $1,200.00             $72.00

LEGAL_US_E # 141963905.2
                                                                                           EXHIBIT B, PAGE 18
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Jennifer L. Milazzo         15.60                          $735.00        $11,466.00




LEGAL_US_E # 141963905.2
                                                              EXHIBIT B, PAGE 19
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          EXHIBIT J
to DAVID DERUBERTIS DECL
                                                                        Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 253 of 412



                                                                    1    Yesenia Gallegos (SBN 231852)
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                                                                         E-mail: emoore@mwe.com
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                                                                         444 West Lake Street, Suite 4000
                                                                    7    Chicago, IL 60606
                                                                         Tel: 312.372.2000
                                                                    8    Facsimile: 312.984.7700
                                                                    9    Attorneys for Defendant
                                                                         Avison Young – Northern California, LTD.
                                                                   10

                                                                   11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
M C D ERMOTT W ILL & E MERY LLP




                                                                   12                                    COUNTY OF SAN FRANCISCO
                                  ATTORNEYS AT LAW
                                                     LOS ANGELES




                                                                   13                                                  Case No. CGC-20-584874
                                                                          Melinda Miyagishima,                         DECLARATION OF YESENIA GALLEGOS
                                                                   14
                                                                                                                       IN SUPPORT OF DEFENDANT AVISON
                                                                                            Plaintiff,                 YOUNG – NORTHERN CALIFORNIA,
                                                                   15
                                                                                                                       LTD.’S MOTION TO COMPEL FORENSIC
                                                                                 v.                                    INSPECTION OF PLAINTIFF’S CELLULAR
                                                                   16
                                                                                                                       PHONE
                                                                          Avison Young – Northern California,
                                                                   17     LTD., and Does 1 through 10 inclusive,       [Filed concurrently with (1) Notice of Motion and
                                                                   18                                                  Motion to Compel; (2) [Proposed] Order; and (3)
                                                                                            Defendants.                Proof of Service]
                                                                   19
                                                                                                                       VIA VIDEOCONFERENCE
                                                                   20                                                  Date:          May 19, 2021
                                                                                                                       Time:          9:00 a.m.
                                                                   21                                                  Dept.:         302
                                                                                                                       Hearing Judge: Hon. Ethan P. Schulman
                                                                   22
                                                                                                                       Complaint Filed:    June 11, 2020
                                                                   23                                                  Trial Date:         June 21, 2021

                                                                   24

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                                                                         DECLARATION OF YESENIA GALLEGOS IN SUPPORT OF MOTION TO COMPEL FORENSIC
                                                                         INSPECTION OF PLAINTIFF’S CELLULAR PHONE                      Case No. CGC-20-584874
                                                                        Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 254 of 412




                                                                    1                             DECLARATION OF YESENIA GALLEGOS

                                                                    2           I, Yesenia Gallegos, declare as follows:

                                                                    3           1.      I am an attorney duly licensed to practice before all courts of the State of

                                                                    4    California, and am an attorney with McDermott, Will & Emery LLP, counsel of record for

                                                                    5    Defendant Avison Young – Northern California, LTD. (“Avison Young”). I make this

                                                                    6    declaration based upon personal knowledge and if called upon as a witness, I could and would

                                                                    7    testify competently to matters stated herein.

                                                                    8           2.      On June 11, 2020, Plaintiff Melinda Miyagishiima filed a Complaint against

                                                                    9    Defendant Avison Young alleging four claims: (1) retaliation; (2) age discrimination; (3) failure

                                                                   10    to prevent discrimination; and (4) wrongful termination in violation of public policy.
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                                                                   11           3.      On July 21, 2020, Avison Young filed its Answer generally denying the
                                  ATTORNEYS AT LAW




                                                                   12    allegations. On October 29, 2020, this Court issued a Case Management Order scheduling the
                                                     LOS ANGELES




                                                                   13    trial date for June 21, 2021, at 9:30 a.m. in Department 206.

                                                                   14           4.      On about August 12, 2020, my office served Plaintiff with Avison Young’s

                                                                   15    Request for Production of Documents, Set One (“RFP Set One”). True and correct copies of

                                                                   16    excerpts of RFP Set One are attached hereto and incorporated herein as “Exhibit A.”

                                                                   17           5.      On about August 28, 2020, during my call with Plaintiff’s counsel, Plaintiff

                                                                   18    requested and Avison Young granted a one week extension to respond to its RFP Set One, from

                                                                   19    September 14, 2020 to September 21, 2020. During my call with Plaintiff’s counsel, I informed

                                                                   20    Plaintiff’s counsel that Avison Young would be unlikely to grant further extensions because it

                                                                   21    needed sufficient time to prepare for Plaintiff’s deposition.

                                                                   22           6.      On about September 21, 2020, Plaintiff served her written and verified responses

                                                                   23    to Avison Young’s RFP Set One and produced 76 pages of documents bates stamped PL 00001 –

                                                                   24    PL 000076. A true and correct copy of Plaintiff’s written responses to Avison Young’s RFP Set

                                                                   25    One are attached hereto and incorporated herein as “Exhibit B.”

                                                                   26           7.      On October 1, 2020, my colleague Emory Moore and I sent Plaintiff’s counsel a

                                                                   27    meet and confer letter, inter alia, questioning Plaintiff’s failure to produce any text messages. A

                                                                   28    true and correct copy of my October 1, 2020 meet and confer letter is attached and incorporated

                                                                                                                  1
                                                                         DECLARATION OF YESENIA GALLEGOS IN SUPPORT OF MOTION TO COMPEL FORENSIC
                                                                         INSPECTION OF PLAINTIFF’S CELLULAR PHONE                      Case No. CGC-20-584874
                                                                        Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 255 of 412




                                                                    1    herein as “Exhibit C.” Plaintiff’s counsel responded by email October 1, 2020. A true and

                                                                    2    correct copy of his email response is attached and incorporated herein as “Exhibit D.”

                                                                    3           8.      On October 5, 2020, Plaintiff’s counsel sent me and my colleague an email

                                                                    4    representing that “with this transmission, our document production is complete.” A true and

                                                                    5    correct copy of Plaintiff’s counsel’s email, without attachments, is attached hereto and

                                                                    6    incorporated herein as “Exhibit E.” Plaintiff’s October 5, 2020 document production did not

                                                                    7    contain text messages or social media messages. It did contain handwritten notes purportedly

                                                                    8    recounting text messages between Plaintiff and Dominik Slonek regarding facts at issue in this

                                                                    9    litigation. A selection of those handwritten notes are attached hereto and incorporated herein as

                                                                   10    “Exhibit F.”
M C D ERMOTT W ILL & E MERY LLP




                                                                   11           9.      On October 12, 2021, I sent Plaintiff’s counsel another meet and confer letter,
                                  ATTORNEYS AT LAW




                                                                   12    pointing out that Plaintiff had failed to produce a single text message and requesting clarification
                                                     LOS ANGELES




                                                                   13    about Plaintiff’s document search efforts. A true and correct copy of my October 12, 2021 letter

                                                                   14    is attached and incorporated herein as “Exhibit G.”

                                                                   15           10.     On October 20, 2020, Plaintiff’s counsel responded to my October 12, 2021 letter,

                                                                   16    stating that Plaintiff’s September 21, 2020 and October 5, 2020 productions “represents the

                                                                   17    universe of documents in my client’s possession related to this case.” Plaintiff’s counsel’s

                                                                   18    October 20, 2020 letter further stated that his client has searched for and has confirmed that she

                                                                   19    does not possess any responsive text messages. A true and correct copy of Plaintiff’s counsel’s

                                                                   20    October 20, 2020 letter is attached and incorporated herein as “Exhibit H.”

                                                                   21           11.     Defendant deposed Plaintiff February 18, 2021. During Plaintiff’s deposition of

                                                                   22    February 18, 2021, she testified that her whistleblower retaliation claim stems from a March 2018

                                                                   23    incident where Plaintiff alleges that she was harassed by a co-worker, reported that harassment to

                                                                   24    Dominik “Nick” Slonek, her supervisor via text message, and that Slonek responded that he

                                                                   25    would address the situation but did not do so until the next week. Plaintiff testified that she

                                                                   26    believed Slonek returned to work that day intoxicated. Plaintiff alleges that, after she reported

                                                                   27    Slonek’s intoxication to Defendant’s Human Resources Department, Slonek began treating her

                                                                   28    differently. Plaintiff testified that she deleted all of her text messages with Slonek. True and

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                                                                         DECLARATION OF YESENIA GALLEGOS IN SUPPORT OF MOTION TO COMPEL FORENSIC
                                                                         INSPECTION OF PLAINTIFF’S CELLULAR PHONE                      Case No. CGC-20-584874
                                                                        Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 256 of 412




                                                                    1    correct copies of excerpts from Plaintiff’s deposition transcript wherein she testified about text

                                                                    2    messages that she deleted are attached hereto and incorporated herein as “Exhibit I - 37:11-20;

                                                                    3    82:3-11; 113:6-16; 118:2-16.

                                                                    4            12.     On February 18, 2021, Avison Young served a second set of RFPs on Plaintiff (RFP

                                                                    5    Set Two). RFP Set Two specifically sought text messages between Plaintiff and specific witnesses.

                                                                    6    A true and correct copy of Avison Young’s RFPs Set Two are attached hereto and incorporated

                                                                    7    herein as “Exhibit J.”

                                                                    8            13.     Between March 24, 2021 and March 29, 2021, Plaintiff produced 453 pages of

                                                                    9    documents containing thousands of communications. These communications were responsive to

                                                                   10    RFP No. 12 from Avison Young’s RFP Set One served on Plaintiff in August 2020, seven months
M C D ERMOTT W ILL & E MERY LLP




                                                                   11    earlier.1
                                  ATTORNEYS AT LAW




                                                                   12            14.     Among the documents that Plaintiff produced, were numerous highly relevant text
                                                     LOS ANGELES




                                                                   13    messages and other communications. For example, Plaintiff produced text messages indicating

                                                                   14    that she had schemed to sue Avison Young for retaliation years before she was actually laid off in

                                                                   15    2020. A true and correct copy of this illustrative text message communication is attached hereto

                                                                   16    and incorporated herein as “Exhibit K - “Well I told them. If I get fired am suing for retaliation.

                                                                   17    Cause this is f[#@&!*] messed up for those of us that watch the $$ and don’t get paid what we

                                                                   18    have earned.”

                                                                   19            15.     Between April 6, 2021 and April 21, 20221, I met and conferred with Plaintiff’s

                                                                   20    counsel, during which I requested that Plaintiff submit her cellular phone(s) used between 2018

                                                                   21    and 2020 for forensic inspection. True and correct copies of my correspondence to Plaintiff’s

                                                                   22    counsel of April 6, 2021, Plaintiff’s counsel’s response to me of April 7, 2021, my further

                                                                   23    correspondence to Plaintiff’s counsel of April 14, 2021, and Plaintiff’s counsel’s response to me of

                                                                   24    April 19, 2021 are attached hereto and incorporated herein as Exhibits L, M, N, and O,

                                                                   25    respectively.   Subsequent emails between counsel for each party are attached hereto and

                                                                   26    incorporated herein as “Exhibit P.”

                                                                   27
                                                                         1
                                                                   28     Notably, on February 15, 2021, just three days before Plaintiff’s deposition, Plaintiff had
                                                                         produced a supplemental production of fifty-eight pages of documents.
                                                                                                                  3
                                                                         DECLARATION OF YESENIA GALLEGOS IN SUPPORT OF MOTION TO COMPEL FORENSIC
                                                                         INSPECTION OF PLAINTIFF’S CELLULAR PHONE                      Case No. CGC-20-584874
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                                                                    1           16.     Plaintiff refused to submit her phone(s) for forensic inspection.

                                                                    2           17.     Avison Young cannot proceed adequately to trial without evidence of the text

                                                                    3    message communications between Plaintiff and her alleged discriminator and retaliator.

                                                                    4           18.     I have practiced employment litigation exclusively for 17 years, since 2014. I

                                                                    5    obtained my Bachelor of Arts degree in Political Science from the University of California Los

                                                                    6    Angeles, and my Juris Doctorate from the University of San Francisco School of Law. I represent

                                                                    7    employers in employment litigation—including class actions—pending in both state and federal

                                                                    8    court. I have litigated over 100 discrimination and/or retaliation cases under the California Fair

                                                                    9    Employment and Housing Act. I also litigated employment cases on behalf of employees between

                                                                   10    2004 and 2007. I am a frequent author and speaker on employment topics, including those
M C D ERMOTT W ILL & E MERY LLP




                                                                   11    pertaining to the defense of wage and hour class actions and California Private Attorneys General
                                  ATTORNEYS AT LAW




                                                                   12    Act (PAGA) representative actions, and the defense of FEHA discrimination claims.
                                                     LOS ANGELES




                                                                   13           19.     I spent at least 2 hours meeting and conferring with Plaintiff’s counsel on this issue,

                                                                   14    at least 4 hours preparing this motion to compel and supporting papers, expect to spend at least 8

                                                                   15    hours analyzing Plaintiff’s opposition and preparing a reply brief, and expect to spend at least 2

                                                                   16    hours preparing for an attending a hearing on this motion. Accordingly, Avison Young will be

                                                                   17    charged for no less than 16 hours on tasks related to this motion to compel. My hourly rate is

                                                                   18    $1030.00, and the hourly rate of my colleague, Emory Moore, is $910.00. Using Mr. Moore’s

                                                                   19    lower hourly rate of $910, Avison Young will have incurred no less than $14,560 on the instant

                                                                   20    motion.

                                                                   21           I declare under penalty of perjury under the laws of the State of California that the foregoing

                                                                   22    is true and correct. Executed this 27th day of April, 2021, at Los Angeles, California.

                                                                   23

                                                                   24                                                          Yesenia Gallegos
                                                                   25

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                                                                         DECLARATION OF YESENIA GALLEGOS IN SUPPORT OF MOTION TO COMPEL FORENSIC
                                                                         INSPECTION OF PLAINTIFF’S CELLULAR PHONE                      Case No. CGC-20-584874
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                       EXHIBIT A
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 259 of 412




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 5   Emory D. Moore, Jr. (pro hac vice application forthcoming)
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 6   McDermott Will & Emery LLP
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 8   Facsimile: 312.984.7700

 9   Attorneys for Defendant Avison Young – Northern
     California, LTD.
10
                                  SUPERIOR COURT OF CALIFORNIA
11
                                     COUNTY OF SAN FRANCISCO
12

13   Melinda Miyagishima,                                Case No. CGC-20-584874
14                  Plaintiff,                           Complaint Filed: June 11, 2020
                                                         Trial Date: None Set
15   v.
16   Avison Young – Northern California, LTD.,           DEFENDANT’S REQUEST FOR
     and Does 1 through 10 inclusive,                    PRODUCTION OF DOCUMENTS
17                                                       (SET ONE) TO PLAINTIFF
                    Defendants.
18

19

20          REQUESTING PARTY:              Defendant, Avison Young – Northern California, LTD.

21          RESPONDING PARTY:              Plaintiff, Melinda Miyagishima

22          SET NUMBER:                    One (1)

23          Demand is hereby made by Defendant Avison Young – Northern California, LTD., pursuant

24   to California Code of Civil Procedure Section 2031.010 et. seq. that Plaintiff Melinda Miyagishima

25   produce and permit inspection and copying of the documents and items described below, within

26   thirty (30) days from the date of service hereof. The place of inspection shall be the offices of

27   McDermott Will & Emery LLP, 2049 Century Park East, Suite 3200, Los Angeles, CA 90067.

28   ///


     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 260 of 412




 1                                              DEFINITIONS

 2          The following terms shall have the following meanings, unless the context requires

 3   otherwise:

 4          1.      The terms “DOCUMENT” OR “DOCUMENTS” as used herein means the original

 5   (and any copies which differ in any way from the original) of any written, printed, typed, recorded,

 6   or graphic material of every type, form, or description, including but not limited to, letters,

 7   correspondence, COMMUNICATIONS, notes of oral COMMUNICATIONS, telegrams, telexes,

 8   microfiches, bulletins, circulars, pamphlets, studies, reports, charts, graphs, notices, diaries,

 9   summaries, notes, messages, instructions, work assignments, personal notes, e-mails, digital

10   information and files, screen shots, web sites, social media pages, text messages, SMS messages,

11   messaging sent through applications, notebooks, drafts, data sheets, data compilations, statistics,

12   maps, speeches, tapes, tape recordings and transcripts of such tapes and recordings.

13          2.      The term “COMMUNICATION” or “COMMUNICATIONS” as used herein shall

14   mean and refer to any meeting, conversation (face-to-face, telephonic, or otherwise), discussion, text

15   message, instant message, direct message, private message, social media message, telex message,

16   cable, correspondence, message, tape-recorded message, video message, or other occurrences in

17   which thoughts, opinions, or information are transmitted between or among two or more persons or

18   between or among one or more persons and any electronic, photographic, or mechanical device or

19   devices for receiving, transmitting, or storing data or other information.

20          3.      The term “RELATING TO” as used herein means concerning, referring to, pertaining

21   to, reflecting, evidencing, describing, memorializing, recording, contradicting or supporting.

22          4.      The terms “YOU” and “YOUR” as used herein mean Plaintiff MELINDA

23   MIYAGISHIMA.

24          5.      “AVISON YOUNG” means Defendant AVISON YOUNG – NORTHERN

25   CALIFORNIA, LTD. and each of its employees, officers, directors, independent contractors,

26   partners, shareholders, agents, members, attorneys, predecessors, successors, assignees, subsidiary

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                                                       2
     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 261 of 412




 1   or parent corporations, affiliates, and all persons now or previously under their control or acting on

 2   their behalf.

 3           6.      The term “COMPLAINT” refers to the Complaint filed by you in San Francisco

 4   Superior Court Case No. CGC-20-584874, as well as any subsequent amendments.

 5           7.      The terms “and, “or,” and “and/or” shall be interpreted in the broadest sense, so as to

 6   be read as “and” and “or.”

 7                                        DOCUMENT REQUESTS

 8   REQUEST FOR PRODUCTION NO. 1

 9           All DOCUMENTS referenced in the COMPLAINT or RELATING TO the allegations in the

10   COMPLAINT.

11   REQUEST FOR PRODUCTION NO. 2

12           All DOCUMENTS which YOU intend to, or may, submit at either the trial of this action or

13   in connection with a motion for summary judgment in this action.

14   REQUEST FOR PRODUCTION NO. 3

15           All DOCUMENTS from January 1, 2017 through present between YOU and AVISON

16   YOUNG.

17   REQUEST FOR PRODUCTION NO. 4

18           All DOCUMENTS RELATING TO YOUR job performance at AVISON YOUNG.

19   REQUEST FOR PRODUCTION NO. 5

20           All DOCUMENTS RELATING TO any formal or informal complaint YOU made to or

21   regarding AVISON YOUNG.

22   REQUEST FOR PRODUCTION NO. 6

23           All DOCUMENTS RELATING TO any disclosure of information by YOU to or regarding

24   AVISON YOUNG in relation to a potential or actual violation of a law, statute, rule, or regulation.

25   REQUEST FOR PRODUCTION NO. 7

26           All DOCUMENTS RELATING TO any retaliation against, harassment of, or adverse

27   employment action against YOU by AVISON YOUNG.

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     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
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 1   REQUEST FOR PRODUCTION NO. 8

 2          All DOCUMENTS RELATING TO the termination of YOUR employment with AVISON

 3   YOUNG.

 4   REQUEST FOR PRODUCTION NO. 9

 5          All DOCUMENTS RELATING TO any claim by YOU for unemployment benefits related

 6   to the termination of YOUR employment with AVISON YOUNG.

 7   REQUEST FOR PRODUCTION NO. 10

 8          All documents or communications RELATING TO YOUR attempt(s) to find employment

 9   following termination of YOUR employment with AVISON YOUNG.

10   REQUEST FOR PRODUCTION NO. 11

11          All DOCUMENTS RELATING TO any employment YOU had subsequent to termination

12   of YOUR employment with AVISON YOUNG that identifies the employer, position, location, job

13   duties, compensation, and benefits.

14   REQUEST FOR PRODUCTION NO. 12

15          All communications between YOU and any individual, other than YOUR attorney,

16   RELATING TO any allegations in the COMPLAINT.

17   REQUEST FOR PRODUCTION NO. 13

18          All DOCUMENTS between YOU and the California Department of Fair Employment &

19   Housing or any other Federal, State, or local governmental agency or quasi-governmental agency

20   RELATING TO AVISON YOUNG.

21   REQUEST FOR PRODUCTION NO. 14

22          All DOCUMENTS RELATING TO damages YOU allege YOU suffered as a result of

23   AVISON YOUNG’s conduct.

24   REQUEST FOR PRODUCTION NO. 15

25          YOUR federal and state income tax returns (including all schedules, attachments, W-2 forms,

26   1099 statements, pay stubs and worksheets) for the years 2015, 2016, 2017, 2018, and 2019.

27   ///

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     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
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 1   REQUEST FOR PRODUCTION NO. 16

 2          YOUR entire personnel file maintained by any current or former employer with whom YOU

 3   were employed at any time since April 4, 2020.

 4   REQUEST FOR PRODUCTION NO. 17

 5          All DOCUMENTS since January 1, 2017 to, from, or RELATING TO Dominik Slonek.

 6   REQUEST FOR PRODUCTION NO. 18

 7          All DOCUMENTS supporting YOUR allegation in paragraph 8 of YOUR COMPLAINT

 8   that “[t]he company also encouraged [YOU] to maintain an active real estate license – which [YOU]

 9   did – so [YOU] remain[ed] eligible for any ‘Spot Bonus’ on AY real estate transactions.”

10   REQUEST FOR PRODUCTION NO. 19

11          All DOCUMENTS supporting YOUR allegation in paragraph 9 of YOUR COMPLAINT

12   that “After helping with the opening of the AY San Francisco office, [YOU played key roles in AY’s

13   expansion through the region … with [YOUR] help, AY opened 5 offices in Oakland, San Mateo,

14   San Jose, Sacramento, and Denver … [constituting] AY’s ‘Northern California Region.’”

15   REQUEST FOR PRODUCTION NO. 20

16          All DOCUMENTS supporting YOUR allegation in paragraph 11 of YOUR COMPLAINT

17   that “[s]tarting in approximately late 2017, [YOU] began taking notice of Slonek’s alcohol

18   consumption, including his apparent intoxication at the office during work hours.”

19   REQUEST FOR PRODUCTION NO. 21

20          All DOCUMENTS supporting YOUR allegation in paragraph 12 of YOUR COMPLAINT

21   that “Slonek’s alcohol consumption – particularly during work hours – appeared to be escalating in

22   the first part of 2018. He would frequently attend ‘business lunches’ … at which he apparently

23   would consume significant amounts of alcohol to the point that he would be obviously intoxicated

24   when he returned to the office [and] [s]ometimes, he would not even return to the office after these

25   lengthy lunches.”

26   ///

27   ///

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     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
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 1   REQUEST FOR PRODUCTION NO. 22

 2          All DOCUMENTS supporting YOUR allegation in paragraph 13 of YOUR COMPLAINT

 3   that YOU “noticed that Slonek regularly expensed significant alcohol tabs from occasions during

 4   which Slonek said he had been ‘recruiting,’ from bars or events like Golden State Warriors games

 5   where Slonek would host clients … [and that YOU] also managed Slonek’s calendar on which

 6   [YOU] observed his many lunches and recruiting meetings.”

 7   REQUEST FOR PRODUCTION NO. 23

 8          All DOCUMENTS supporting YOUR allegation in paragraph 14 of YOUR COMPLAINT

 9   that “[i]n early March 2018, an AY broker confided in [YOU] THAT HE COULD NO LONGER

10   ATTEND LUNCHES WITH Slonek because they ended up consuming too much alcohol.”

11   REQUEST FOR PRODUCTION NO. 24

12          All DOCUMENTS supporting YOUR allegation in paragraph 15 of YOUR COMPLAINT

13   that “[o]n or about March 16, 2018, [YOU] observed Slonek leave around 11:30 a.m. for a lunch

14   meeting with a client. Slonek did not return to the office until approximately 4:30 p.m. [and] Slonek

15   was obviously intoxicated, stumbling down the hallway.”

16   REQUEST FOR PRODUCTION NO. 25

17          All DOCUMENTS supporting YOUR allegation in paragraph 16 of YOUR COMPLAINT

18   that YOU were “increasingly concerned by Slonek’s alcohol consumption and the fact that he would

19   be driving home to Los Altos from San Francisco while intoxicated.”

20   REQUEST FOR PRODUCTION NO. 26

21          All DOCUMENTS supporting YOUR allegation in paragraph 16 of YOUR COMPLAINT

22   that “[o]n or around March 19, 2018, [YOU] called AY Human Resources Manager Bethany

23   Marinacci to discuss several events at the office, including Slonek’s [alleged] alcohol consumption

24   [and YOU] said [YOU were] concerned for the well-being of both Slonek and others who were or

25   could be impacted by Slonek’s drinking. [YOU] w[ere] afraid that Slonek’s escalating drinking

26   would result in him killing someone while [allegedly] driving drunk on his way home from work …

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     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
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 1   in [YOUR] view, the company was abetting Slonek’s drinking by paying Slonek’s expense reports

 2   which included reimbursement for alcohol costs.”

 3   REQUEST FOR PRODUCTION NO. 27

 4          All DOCUMENTS supporting YOUR allegation in paragraph 17 of YOUR COMPLAINT

 5   that in a call from AY Chief Human Resources Officer Pam Mazza YOU “indicated to Mazza that

 6   there was another issue – relating to Slonek – to which Mazza responded ‘I know’ and proceeded to

 7   end the call [and] YOU came away from th[at] conversation with the impression that Mazza seemed

 8   to not want to know anything further about Slonek.”

 9   REQUEST FOR PRODUCTION NO. 28

10          All DOCUMENTS supporting YOUR allegation in paragraph 18 of YOUR COMPLAINT

11   that “AY did not engage in any sort of investigation into [YOUR] complaints related to Slonek’s

12   alcohol consumption nor did the company undertake any remedial action beyond Marinacci saying

13   that AY President of US Operations Earl Webb would ‘speak to’ Slonek about his drinking.”

14   REQUEST FOR PRODUCTION NO. 29

15          All DOCUMENTS supporting YOUR allegation in paragraph 19 of YOUR COMPLAINT

16   that “[a]fter [YOUR] calls to Marinacci, Slonek began closing the San Francisco office early on most

17   Fridays, often saying he was going to ‘recruiting lunches’ and would not be back until later [and

18   continued doing so] through at least March 2020.”

19   REQUEST FOR PRODUCTION NO. 30

20          All DOCUMENTS supporting YOUR allegation in paragraph 19 of YOUR COMPLAINT

21   that “[o]n one of the first instances [of closing the office early], [YOU] briefly returned to the office

22   after it had closed to finish up a few tasks [and while there] … Slonek entered the office through the

23   back door and began yelling at [YOU] that the office was closed [and] [t]o your observation, Slonek

24   was intoxicated and agitated.”

25   REQUEST FOR PRODUCTION NO. 31

26          All DOCUMENTS supporting YOUR allegation in paragraph 20 of YOUR COMPLAINT

27   that “[a]fter her call to Marinacci, Slonek never again put [YOU] on a Spot Bonus … [but] Slonek

28
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     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 266 of 412




 1   approved at least one other Operations Manager in the region [to] receive multiple Spot Bonuses,

 2   including one for approximately $20,000.”

 3   REQUEST FOR PRODUCTION NO. 32

 4          All DOCUMENTS supporting YOUR allegation in paragraph 25 of YOUR COMPLAINT

 5   that “[b]eginning on March 16, 2020, all AY US offices transitioned to Work From Home as a result

 6   of COVID-19.”

 7   REQUEST FOR PRODUCTION NO. 33

 8          All DOCUMENTS supporting YOUR allegation in paragraph 26 of YOUR COMPLAINT

 9   that “[o]n April 1, AY held a virtual town hall for employees … [during which it was] announced

10   that the company would be eliminating a small number of its 5,250 employees.”

11   REQUEST FOR PRODUCTION NO. 34

12          All DOCUMENTS supporting YOUR allegation in paragraph 27 of YOUR COMPLAINT

13   that on April 3, 2020, while on a Zoom meeting, “Slonek informed [YOU] that due to the impact of

14   COVID-19 on the business, [YOUR] position was being ‘eliminated.’”

15   REQUEST FOR PRODUCTION NO. 35

16          All DOCUMENTS supporting YOUR allegation in paragraph 31 of YOUR COMPLAINT

17   that YOUR “responsibilities and job duties wer taken over by an employee who was substantially

18   younger than [YOU] [are], who had less seniority than [YOU] do[], and who had substantially less

19   experience than [YOU] do[].”

20

21    Dated: August 12, 2020                      MCDERMOTT WILL & EMERY LLP
22
                                                  By: ____________________________________
23                                                    YESENIA GALLEGOS
24                                                    Attorneys for Defendant
                                                      Avison Young – Northern California, LTD
25

26

27

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                                                    8
     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
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                       EXHIBIT B
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 268 of 412



                                                          1 Noah D. Lebowitz [SBN 194982]
                                                            LAW OFFICE OF NOAH D. LEBOWITZ
                                                          2 1442A Walnut Street, No. 452
                                                            Berkeley, California 94709
                                                          3 Telephone: (510) 883-3977
                                                            Facsimile: (510) 540-1057
                                                          4 E-mail: noah@ndllegal.com

                                                          5 Attorneys for Plaintiff
                                                            MELINDA MIYAGISHIMA
                                                          6

                                                          7

                                                          8                                   SUPERIOR COURT OF CALIFORNIA

                                                          9                                       COUNTY OF SAN FRANCISCO

                                                         10                                               (Unlimited Jurisdiction)

                                                         11
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12    MELINDA MIYAGISHIMA,                                          Case No. CGC-20-584874
                          1442A Walnut Street. No. 452




                                                                    Plaintiff,
                              Berkeley, CA 94709




                                                         13
                                                                                                                             PLAINTIFF’S RESPONSE TO
                                                         14                                                                  DEFENDANT’S REQUEST FOR
                                                               v.                                                            PRODUCTION OF DOCUMENTS, SET
                                                         15                                                                  ONE
                                                         16
                                                               AVISON YOUNG – NORTHERN
                                                         17    CALIFORNIA, LTD., and DOES 1 through
                                                               10, inclusive,
                                                         18

                                                         19         Defendants.
                                                         20

                                                         21          PROPOUNDING PARTY:                    Defendant Avison Young – Northern California, LTD

                                                         22          RESPONDING PARTY:                     Plaintiff Melinda Miyagishima

                                                         23          SET NUMBER:                           ONE

                                                         24          Pursuant to Code of Civil Procedure § 2024.030(c)(2), Plaintiff Melinda Miyagishima

                                                         25 hereby responds to the first set of requests for production of documents served by Defendant

                                                         26 Avison Young-Northern California, LTD. as follows:

                                                         27

                                                         28

                                                                                                                       -1-
                                                                                  Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 269 of 412



                                                          1                                            GENERAL RESPONSE
                                                                     Miyagishima’s response is made without waiving, or intending to waive, but on the
                                                          2
                                                              contrary, expressly reserving: (a) the right to object, on the grounds of competency, privilege,
                                                          3
                                                              relevancy or materiality, or any other proper grounds, to the use of the documents, for any
                                                          4
                                                              purpose in whole or in part, in any subsequent step or proceeding in this action or any other
                                                          5
                                                              action; (b) the right to object on any and all grounds, at any time, to other requests for production
                                                          6
                                                              or other discovery procedures involving or relating to the subject matter of this Request to which
                                                          7
                                                              Ramos herein responds; and (c) the right at any time to revise, correct, add to, or clarify any of
                                                          8
                                                              the responses herein. The inadvertent production of any privileged document shall not be
                                                          9
                                                              deemed to be a waiver of any applicable privilege with respect to such document or any other
                                                         10
                                                              document.
                                                         11
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12                 RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13

                                                         14 REQUEST FOR PRODUCTION NO. 1:

                                                         15          All DOCUMENTS referenced in the COMPLAINT or RELATING TO the allegations in

                                                         16 the COMPLAINT.

                                                         17 RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                                                         18          Plaintiff object to this Request as not reasonably particularized as required by CCP §

                                                         19 2031.030(c)(1). Plaintiff objects to this Request as compound. Without waiving such objections,
                                                            Plaintiff responds as follows:
                                                         20
                                                                    Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         21

                                                         22
                                                              REQUEST FOR PRODUCTION NO. 2:
                                                         23
                                                                     All DOCUMENTS which YOU intend to, or may, submit at either the trial of this action
                                                         24
                                                              or in connection with a motion for summary judgment in this action.
                                                         25
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
                                                         26
                                                                     Plaintiff object to this Request as not reasonably particularized as required by CCP §
                                                         27
                                                              2031.030(c)(1). Plaintiff objects to this Request as compound. Plaintiff objects to this Request as
                                                         28

                                                                                                                     -2-
                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 270 of 412



                                                              vague, ambiguous, and unintelligible as Plaintiff has no idea what Defendant would, could, or
                                                          1
                                                              will argue, if at all, in an yet-unfiled motion for summary judgment. Based on the foregoing
                                                          2
                                                              objections, Plaintiff is incapable of providing a substantive response.
                                                          3

                                                          4
                                                              REQUEST FOR PRODUCTION NO. 3:
                                                          5
                                                                     All DOCUMENTS from January 1, 2017 through present between YOU and AVISON
                                                          6
                                                              YOUNG.
                                                          7
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
                                                          8
                                                                     Plaintiff objects to this Request as vague, ambiguous and unintelligible as to the phrase
                                                          9
                                                              “between YOU and AVISON YOUNG.” Plaintiff invites Defendant to meet and confer and
                                                         10 clarify the meaning of this Request.

                                                         11
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 REQUEST FOR PRODUCTION NO. 4:
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13          All DOCUMENTS RELATING TO YOUR job performance at AVISON YOUNG.
                                                         14 RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

                                                         15          Plaintiff objects to this Request to the extent Defendant has equal or superior access to

                                                         16 responsive documents, and it is therefore harassing. Without waiving such objection, Plaintiff

                                                         17 responds as follows:

                                                         18          Plaintiff has no responsive documents in her possession, custody or control.

                                                         19
                                                              REQUEST FOR PRODUCTION NO. 5:
                                                         20
                                                                     All DOCUMENTS RELATING TO any formal or informal complaint YOU made to or
                                                         21
                                                              regarding AVISON YOUNG.
                                                         22
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
                                                         23
                                                                     Plaintiff objects to this Request to the extent Defendant has equal or superior access to
                                                         24
                                                              responsive documents, and it is therefore harassing. Without waiving such objection, Plaintiff
                                                         25
                                                              responds as follows:
                                                         26
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         27

                                                         28

                                                                                                                     -3-
                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 271 of 412



                                                              REQUEST FOR PRODUCTION NO. 6:
                                                          1
                                                                     All DOCUMENTS RELATING TO any disclosure of information by YOU to or
                                                          2
                                                              regarding AVISON YOUNG in relation to a potential or actual violation of a law, statute, rule,
                                                          3
                                                              or regulation.
                                                          4
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
                                                          5
                                                                     Plaintiff objects to this Request as vague, ambiguous and unintelligible as to the phrase
                                                          6
                                                              “any disclosure of information by YOU.” Plaintiff invites Defendant to meet and confer and
                                                          7
                                                              clarify the meaning of this Request.
                                                          8

                                                          9
                                                              REQUEST FOR PRODUCTION NO. 7:
                                                         10          All DOCUMENTS RELATING TO any retaliation against, harassment of, or adverse
                                                         11 employment action against YOU by AVISON YOUNG
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13          Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         14

                                                         15 REQUEST FOR PRODUCTION NO. 8:

                                                         16          All DOCUMENTS RELATING TO the termination of YOUR employment with

                                                         17 AVISON YOUNG.

                                                         18 RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
                                                                 Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         19

                                                         20
                                                              REQUEST FOR PRODUCTION NO. 9:
                                                         21
                                                                     All DOCUMENTS RELATING TO any claim by YOU for unemployment benefits
                                                         22
                                                              related to the termination of YOUR employment with AVISON YOUNG.
                                                         23
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
                                                         24
                                                                     Plaintiff objects to this Request as not relevant and not reasonably calculated to lead to
                                                         25
                                                              the discovery of relevant evidence as the documents sought reflect collateral source information
                                                         26
                                                              which are not relevant to any issue in this case.
                                                         27

                                                         28

                                                                                                                     -4-
                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                         Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 272 of 412



                                                              REQUEST FOR PRODUCTION NO. 10:
                                                          1
                                                                     All documents or communications RELATING TO YOUR attempt(s) to find
                                                          2
                                                              employment following termination of YOUR employment with AVISON YOUNG.
                                                          3
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
                                                          4
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          5

                                                          6
                                                              REQUEST FOR PRODUCTION NO. 11:
                                                          7
                                                                     All DOCUMENTS RELATING TO any employment YOU had subsequent to
                                                          8
                                                              termination of YOUR employment with AVISON YOUNG that identifies the employer,
                                                          9
                                                              position, location, job duties, compensation, and benefits.
                                                         10 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

                                                         11          Plaintiff has no responsive documents as no such documents ever existed.
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13 REQUEST FOR PRODUCTION NO. 12:

                                                         14          All communications between YOU and any individual, other than YOUR attorney,

                                                         15 RELATING TO any allegations in the COMPLAINT.

                                                         16 RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

                                                         17          Plaintiff will produce all responsive documents in her possession, custody or control.

                                                         18
                                                              REQUEST FOR PRODUCTION NO. 13:
                                                         19
                                                                     All DOCUMENTS between YOU and the California Department of Fair Employment &
                                                         20
                                                              Housing or any other Federal, State, or local governmental agency or quasi-governmental agency
                                                         21
                                                              RELATING TO AVISON YOUNG.
                                                         22
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
                                                         23
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         24

                                                         25
                                                              REQUEST FOR PRODUCTION NO. 14:
                                                         26
                                                                     All DOCUMENTS RELATING TO damages YOU allege YOU suffered as a result of
                                                         27 AVISON YOUNG's conduct

                                                         28

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                                                                               Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
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                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
                                                          1
                                                                      Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          2

                                                          3
                                                              REQUEST FOR PRODUCTION NO. 15:
                                                          4
                                                                      YOUR federal and state income tax returns (including all schedules, attachments, W-2
                                                          5
                                                              forms, 1099 statements, pay stubs and worksheets) for the years 2015, 2016, 2017, 2018, and
                                                          6
                                                              2019.
                                                          7
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
                                                          8
                                                                      Plaintiff objects to this Request as overly broad and not relevant. Plaintiff objects to this
                                                          9
                                                              Request to the extent it violates her right to privacy in her tax returns and tax information as
                                                         10 guaranteed by Article I, § 1 of the California Constitution and relevant caselaw. Without waiving

                                                         11 such objections, Plaintiff responds as follows:
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12           Plaintiff will produce her Form W-2 for the years 2015 through 2019.
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13

                                                         14 REQUEST FOR PRODUCTION NO. 16:

                                                         15           YOUR entire personnel file maintained by any current or former employer with whom

                                                         16 YOU were employed at any time since April 4, 2020

                                                         17 RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

                                                         18           Plaintiff has no responsive documents as no such documents ever existed.

                                                         19
                                                              REQUEST FOR PRODUCTION NO. 17:
                                                         20
                                                                      All DOCUMENTS since January 1, 2017 to, from, or RELATING TO Dominik Slonek.
                                                         21
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
                                                         22
                                                                      Plaintiff objects to this Request as Defendant has equal or superior access to responsive
                                                         23
                                                              documents and it is therefore harassing. Plaintiff objects to this Request as vague, ambiguous,
                                                         24
                                                              and unintelligible as to the phrase “DOCUMENTS . . . to, from, or RELATING TO Dominik
                                                         25
                                                              Slonek.” Without waiving such objections, Plaintiff responds as follows:
                                                         26
                                                                      Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         27

                                                         28

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                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
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                                                              REQUEST FOR PRODUCTION NO. 18:
                                                          1
                                                                     All DOCUMENTS supporting YOUR a1legation in paragraph of YOUR COMPLAINT
                                                          2
                                                              that "[t]he company also encouraged [YOU] to maintain an active real estate license-which
                                                          3
                                                              [YOU] did - so [YOU] remain[ed] eligible for any 'Spot Bonus' on AY real estate transactions."
                                                          4
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
                                                          5
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          6

                                                          7
                                                              REQUEST FOR PRODUCTION NO. 19:
                                                          8
                                                                     All DOCUMENTS supporting YOUR a1legation in paragraph 9 of YOUR
                                                          9
                                                              COMPLAINT that "After helping with the opening of the AY San Francisco office, [YOU
                                                         10 played key roles in AY's expansion through the region ... with [YOUR] help, AY opened 5

                                                         11 offices in Oakland, San Mateo, San Jose, Sacramento, and Denver ... [ constituting] AY's
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 'Northern California Region."'
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13 RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

                                                         14          Plaintiff will produce all responsive documents in her possession, custody or control.

                                                         15

                                                         16 REQUEST FOR PRODUCTION NO. 20:

                                                         17          All DOCUMENTS supporting YOUR a11egation in paragraph 11 of YOUR

                                                         18 COMPLAINT that "[s]tarting in approximately late 2017, [YOU] began taking notice of Slonek's
                                                            alcohol consumption, including his apparent intoxication at the office during work hours."
                                                         19
                                                            RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
                                                         20
                                                                   Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         21

                                                         22
                                                              REQUEST FOR PRODUCTION NO. 21:
                                                         23
                                                                     All DOCUMENTS supporting YOUR a11egation in paragraph 12 of YOUR
                                                         24
                                                              COMPLAINT that "Slonek's alcohol consumption -particularly during work hours - appeared to
                                                         25
                                                              be escalating in the first part of 2018. He would frequently attend 'business lunches' ... at which
                                                         26
                                                              he apparently would consume significant amounts of alcohol to the point that he would be
                                                         27

                                                         28

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                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 275 of 412



                                                              obviously intoxicated when he returned to the office [and] [s]ometimes, he would not even return
                                                          1
                                                              to the office after these lengthy lunches."
                                                          2
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
                                                          3
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          4

                                                          5
                                                              REQUEST FOR PRODUCTION NO. 22:
                                                          6
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 13 of YOUR
                                                          7
                                                              COMPLAINT that YOU "noticed that Slonek regularly expensed significant alcohol tabs from
                                                          8
                                                              occasions during which Slonek said he had been 'recruiting,' from bars or events like Golden
                                                          9
                                                              State Warriors games where Slonek would host clients .. . [and that YOU] also managed Slonek's
                                                         10 calendar on which [YOU] observed his many lunches and recruiting meetings."

                                                         11 RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12          Plaintiff will produce all responsive documents in her possession, custody or control.
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13

                                                         14 REQUEST FOR PRODUCTION NO. 23:

                                                         15          All DOCUMENTS supporting YOUR allegation in paragraph 14 of YOUR

                                                         16 COMPLAINT that "[i]n early March 2018, an AY broker confided in [YOU] THAT HE

                                                         17 COULD NO LONGER ATTEND LUNCHES WITH Slonek because they ended up consuming

                                                         18 too much alcohol."
                                                            RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
                                                         19
                                                                  Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         20

                                                         21
                                                              REQUEST FOR PRODUCTION NO. 24:
                                                         22
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 15 of YOUR
                                                         23
                                                              COMPLAINT that "[o]n or about March 16, 2018, [YOU] observed Slonek leave around 11 :30
                                                         24
                                                              a.m. for a lunch meeting with a client. Slonek did not return to the office until approximately
                                                         25
                                                              4:30 p.m. [and] Slonek was obviously intoxicated, stumbling down the hallway."
                                                         26
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
                                                         27          Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         28

                                                                                                                     -8-
                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
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                                                              REQUEST FOR PRODUCTION NO. 25:
                                                          1
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 16 of YOUR
                                                          2
                                                              COMPLAINT that YOU were "increasingly concerned by Slonek's alcohol consumption and the
                                                          3
                                                              fact that he would be driving home to Los Altos from San Francisco while intoxicated."
                                                          4
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
                                                          5
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          6

                                                          7
                                                              REQUEST FOR PRODUCTION NO. 26:
                                                          8
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 16 of YOUR
                                                          9
                                                              COMPLAINT that "[o]n or around March 19, 2018, [YOU] called AY Human Resources
                                                         10 Manager Bethany Marinacci to discuss several events at the office, including Slonek's [alleged]

                                                         11 alcohol consumption [and YOU] said [YOU were] concerned for the well-being of both Slonek
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 and others who were or could be impacted by Slonek's drinking. [YOU] w[ere] afraid that
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13 Slonek's escalating drinking would result in him killing someone while [allegedly] driving drunk

                                                         14 on his way home from work ... in [YOUR] view, the company was abetting Slonek's drinking by

                                                         15 paying Slonek's expense reports which included reimbursement for alcohol costs."

                                                         16 RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

                                                         17          Plaintiff will produce all responsive documents in her possession, custody or control.

                                                         18
                                                              REQUEST FOR PRODUCTION NO. 27:
                                                         19
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 17 of YOUR
                                                         20
                                                              COMPLAINT that in a call from AY Chief Human Resources Officer Pam Mazza YOU
                                                         21
                                                              "indicated to Mazza that there was another issue -relating to Slonek-to which Mazza responded 'I
                                                         22
                                                              know' and proceeded to end the call [and] YOU came away from th[at] conversation with the
                                                         23
                                                              impression that Mazza seemed to not want to know anything further about Slonek."
                                                         24
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
                                                         25
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         26
                                                              ///
                                                         27 ///

                                                         28

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                                                                               Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
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                                                              REQUEST FOR PRODUCTION NO. 28:
                                                          1
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 18 of YOUR
                                                          2
                                                              COMPLAINT that "AY did not engage in any sort of investigation into [YOUR] complaints
                                                          3
                                                              related to Slonek's alcohol consumption nor did the company undertake any remedial action
                                                          4
                                                              beyond Marinacci saying that AY President of US Operations Earl Webb would 'speak to'
                                                          5
                                                              Slonek about his drinking."
                                                          6
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
                                                          7
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          8

                                                          9
                                                              REQUEST FOR PRODUCTION NO. 29:
                                                         10          All DOCUMENTS supporting YOUR allegation in paragraph 19 of YOUR
                                                         11 COMPLAINT that "[a]fter [YOUR] calls to Marinacci, Slonek began closing the San Francisco
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 office early on most Fridays, often saying he was going to 'recruiting lunches' and would not be
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13 back until later [and continued doing so] through at least March 2020."

                                                         14 RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

                                                         15          Plaintiff will produce all responsive documents in her possession, custody or control.

                                                         16

                                                         17 REQUEST FOR PRODUCTION NO. 30:

                                                         18          All DOCUMENTS supporting YOUR allegation in paragraph 19 of YOUR
                                                              COMPLAINT that "[o]n one of the first instances [of closing the office early], [YOU] briefly
                                                         19
                                                              returned to the office after it had closed to finish up a few tasks [and while there] ... Slonek
                                                         20
                                                              entered the office through the back door and began yelling at [YOU] that the office was closed
                                                         21
                                                              [and] [t]o your observation, Slonek was intoxicated and agitated."
                                                         22
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
                                                         23
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         24

                                                         25
                                                              REQUEST FOR PRODUCTION NO. 31:
                                                         26
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 20 of YOUR
                                                         27 COMPLAINT that "[a]fter her call to Marinacci, Slonek never again put [YOU] on a Spot Bonus

                                                         28

                                                                                                                     - 10 -
                                                                                Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                          Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 278 of 412



                                                              ... [but] Slonek approved at least one other Operations Manager in the region [to] receive
                                                          1
                                                              multiple Spot Bonuses, including one for approximately $20,000."
                                                          2
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 31:
                                                          3
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                          4

                                                          5
                                                              REQUEST FOR PRODUCTION NO. 32:
                                                          6
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 25 of YOUR
                                                          7
                                                              COMPLAINT that "[b]eginning on March 16, 2020, all AY US offices transitioned to Work
                                                          8
                                                              From Home as a result of COVID-19."
                                                          9
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
                                                         10          Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         11
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12 REQUEST FOR PRODUCTION NO. 33:
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13          All DOCUMENTS supporting YOUR allegation in paragraph 26 of YOUR
                                                         14 COMPLAINT that "[o]n April l , AY held a virtual town hall for employees ... [during which it

                                                         15 was] announced to that the company would be eliminating a small number of its 5,250

                                                         16 employees."

                                                         17 RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

                                                         18          Plaintiff will produce all responsive documents in her possession, custody or control.

                                                         19
                                                              REQUEST FOR PRODUCTION NO. 34:
                                                         20
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 27 of YOUR
                                                         21
                                                              COMPLAINT that on April 3, 2020, while on a Zoom meeting, "Slonek informed [YOU] that
                                                         22
                                                              due to the impact of COVID-19 on the business, [YOUR] position was being 'eliminated."'
                                                         23
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
                                                         24
                                                                     Plaintiff will produce all responsive documents in her possession, custody or control.
                                                         25
                                                              ///
                                                         26
                                                              ///
                                                         27 ///

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                                                                               Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
                                                         Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 279 of 412



                                                              REQUEST FOR PRODUCTION NO.35:
                                                          1
                                                                     All DOCUMENTS supporting YOUR allegation in paragraph 31 of YOUR
                                                          2
                                                              COMPLAINT that YOUR "responsibilities and job duties were taken over by an employee who
                                                          3
                                                              was substantially younger than [YOU] [are], who had less seniority than [YOU] do[], and who
                                                          4
                                                              had substantially less experience than [YOU] do[]."
                                                          5
                                                              RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
                                                          6
                                                                     Plaintiff has no responsive documents in her possession, custody or control.
                                                          7

                                                          8

                                                          9

                                                         10 Dated: September 21, 2020                   LAW OFFICE OF NOAH D. LEBOWITZ
                                                         11
LAW OFFICE OF NOAH D. LEBOWITZ




                                                         12
                          1442A Walnut Street. No. 452
                              Berkeley, CA 94709




                                                         13

                                                         14                                             By:__                                  ___,
                                                                                                               Noah D. Lebowitz
                                                         15                                             Attorneys for Plaintiff Melinda Miyagishima

                                                         16

                                                         17

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                                                                               Plaintiff’s Response to Defendant’s Request for Production of Documents, Set One
Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 280 of 412
Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 281 of 412




                       EXHIBIT C
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                                                                                                                           mwe.com

                                                                                                                  Yesenia Gallegos
                                                                                                                     Attorney at Law
                                                                                                               ygallegos@mwe.com
                                                                                                                    +1 310 788 4199


October 1, 2020

VIA EMAIL

NOAH D. LEBOWITZ
LAW OFFICE OF NOAH D. LEBOWITZ
1442A WALNUT STREET, NO.. 452
BERKELEY, CALIFORNIA 94709

Re:      Miyagishima v. Avison Young – Northern California, LTD.

Dear Mr. Lebowitz:

        This letter is an attempt to resolve deficiencies with respect to Plaintiff Melinda Miyagishima’s
responses and objections to Defendant’s Request for Production of Documents (Set One) To Plaintiff (the
“Requests”).1 Plaintiff has refused to produce broad swaths of highly relevant documents, citing myriad
boilerplate objections. Each objection is baseless, and under no circumstance supports Plaintiff’s refusal
to produce documents. Even where Plaintiff has agreed to produce responsive documents, her production
appears to be incomplete. To avoid burdening the court with unnecessary discovery motions, we are
willing to work with Plaintiff to resolve these discovery issues.

        In response to Request for Production Nos. 1, 5, and 17, Plaintiff has asserted boilerplate
objections, but also promised to produce responsive documents without waiving those objections. Upon
review of Plaintiff’s document production, it is unclear whether Plaintiff has indeed produced all
responsive documents in her possession, custody, or control or whether Plaintiff is withholding some
documents on the basis of the stated objections. Please identify which documents are responsive and if
there are none, please have Plaintiff produce the documents she intended to produce.

         Request for Production No. 2 seeks production of “All DOCUMENTS which YOU intend to, or
may, submit at either the trial of this action or in connection with a motion for summary judgment in this
action.” Plaintiff has objected that this request is not reasonably particularized, compound, vague,
ambiguous, and “unintelligible as Plaintiff has no idea what Defendant would, could, or will argue, if at
all, in an (sic) yet-unfiled motion for summary judgment.” Based on these objections, Plaintiff stated that
she is incapable of providing a substantive response. These objections are without merit. Any
DOCUMENTS in Plaintiff’s possession, custody or control, which she intends to or may submit as
evidence in this litigation to support her theories of age discrimination and retaliation for complaining
about Nick Slonek, must be produced.


1
 As used herein, the capitalized terms “DOCUMENTS,” “COMMUNICATIONS,” “RELATING TO,” “AVISON
YOUNG,” “YOU” and “YOUR” have the meanings set forth in the Definitions section of the Requests.

                                2049 Century Park East Suite 3200 Los Angeles CA 90067-3206 Tel +1 310 277 4110 Fax +1 310 277 4730

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Noah D. Lebowitz
October 1, 2020
Page 2

       Request for Production No. 3 seeks production of “All DOCUMENTS from January 1, 2017
through present between YOU and AVISON YOUNG.” Plaintiff has refused to produce any responsive
documents, objecting that this request is vague, ambiguous and unintelligible as to the phrase “between
YOU and AVISON YOUNG.” Plaintiff did not explain how the identified phrase is vague, ambiguous
and unintelligible. This objection is without merit. This request plainly seeks the production of any
COMMUNICATIONS or other DOCUMENTS from Plaintiff to AVISON YOUNG or vice versa.
Responsive DOCUMENTS in Plaintiff’s possession, custody or control must be produced.

        In response to Request for Production No. 5, Plaintiff agreed to produce all DOCUMENTS
RELATING TO any formal or informal complaint YOU made to or regarding AVISON YOUNG, but
Plaintiff’s production appears to include no such documents. Is this because no responsive documents
exist, or are responsive documents being withheld based on the asserted objections?

        Request for Production No. 6 seeks “All DOCUMENTS RELATING TO any disclosure of
information by YOU to or regarding AVISON YOUNG in relation to a potential or actual violation of a
law, statute, rule, or regulation.” Plaintiff has refused to produce any responsive documents, objecting
that the request is vague, ambiguous and unintelligible as to the phrase “any disclosure of information by
YOU.” Plaintiff has not explained how the identified phrase is vague, ambiguous or unintelligible. This
objection is without merit. This request plainly seeks the production of (1) any DOCUMENTS
RELATING TO Plaintiff making information known to, reporting information to, or otherwise disclosing
information to AVISON YOUNG in relation to a potential or actual violation of law, statute, or regulation,
and (2) any DOCUMENTS RELATING TO Plaintiff making information known regarding, reporting
information regarding, or otherwise disclosing information regarding AVISON YOUNG in relation to a
potential or actual violation of law, statute, or regulation. Responsive DOCUMENTS in Plaintiff’s
possession, custody or control must be produced.

        Request for Production No. 9 seeks the production of “All DOCUMENTS RELATING TO any
claim by YOU for unemployment benefits related to the termination of YOUR employment with AVISON
YOUNG.” Plaintiff has refused to produce any documents, objecting as to relevance. This objection is
misplaced. Relevance is broad and includes, inter alia, information regarding Plaintiff’s damages and any
mitigation thereof. Responsive documents in Plaintiff’s possession, custody or control must be produced.

        Request for Production No. 10 seeks the production of “All documents or communications
RELATING TO YOUR attempt(s) to find employment following termination of YOUR employment with
AVISON-YOUNG.” Plaintiff has agreed to produce all responsive documents in Plaintiff’s possession,
custody or control. Plaintiff’s document production, however, fails to include any responsive documents.
Plaintiff’s interrogatory responses indicate that Plaintiff has submitted multiple job applications since
termination of her employment with Avison Young. Plaintiff’s production, however, does not include
any job application materials or communications to or from prospective employers. Responsive
documents in Plaintiff’s possession, custody or control must be produced.

      Request for Production No. 14 seeks the production of “All DOCUMENTS RELATING TO
damages YOU allege YOU suffered as a result of AVISON YOUNG’s conduct.” Plaintiff has agreed to




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produce all responsive documents in her possession, custody or control. Plaintiff’s interrogatory responses
identified several medical providers as having treated her for medical conditions allegedly caused by
Avison Young’s conduct. Plaintiff’s document production, however, is devoid of records from the
identified medical providers. Please advise whether Plaintiff will obtain and produce these medical
records or sign an authorization to have the records released to Avison Young.

        Request for Production No. 15 seeks the production of “YOUR federal and state income tax returns
(including all schedules, attachments, W-2 forms, 1099 statements, pay stubs and worksheets) for the
years 2015, 2016, 2017, 2018, and 2019.” Plaintiff has agreed to produce her W-2 forms for the years
2015 through 2019. Plaintiff’s document production, however, contains no such forms. Please advise
when the promised documents will be produced. Further, Plaintiff has refused to produce any other
requested documents, objecting that the request is overly broad and not relevant. Plaintiff states that there
is “relevant caselaw (sic)” supporting her objections. Please direct us to the referenced case law.

        In response to Request for Production No. 23, Plaintiff has promised to produce “All
DOCUMENTS supporting YOUR allegation in paragraph 14 of YOUR COMPLAINT that ‘[i]n early
March 2018, an AY broker confided in [YOU] THAT HE COULD NO LONGER ATTEND LUNCHES
WITH Slonek because they ended up consuming too much alcohol.” No such documents appear in
Plaintiff’s document production. Please advise whether no such documents exist or whether responsive
documents are being withheld.

        Finally, it is unclear exactly which custodians, forms of media, and accounts Plaintiff searched for
responsive documents. We particularly note that Plaintiff has not produced a single text message or social
media message. Please provide clarification regarding the custodians, forms of media, and accounts
Plaintiff searched for responsive documents.

        Due to the essential nature of the requested discovery and the impending deposition of Plaintiff,
please respond to this letter on or before the close of business on October 9, 2020. If we do not hear from
you by that time, we will be forced to postpone Plaintiff’s deposition while we file a motion to compel
and Avison Young will seek reimbursement of its fees and costs in connection with said motion.

Sincerely,
McDermott Will & Emery LLP



Yesenia Gallegos




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                       EXHIBIT D
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 286 of 412


From:            Noah Lebowitz
To:              Moore, Emory
Cc:              Gallegos, Yesenia
Subject:         RE: Miyagishima v. Avison Young - Northern California, LTD.
Date:            Thursday, October 1, 2020 4:31:20 PM
Attachments:     image001.png



[ External Email ]

Hi Emory,

As noted in my September 21 email, we are working on producing additional documents. We have
run into some technical issues, exacerbated by COVID business closures and access to available
reproduction sources, but I believe we have solved those issues. I expect to have the additional
documents ready for transmission either tomorrow or Monday.

Let me know once you have had a chance to review those documents which of the requests you still
would like to address via meet and confer and we can set up a time to talk and work through any
outstanding issues.

Thank you.


NDL




Noah D. Lebowitz
1442 A Walnut Street, No. 452
Berkeley, CA 94709
510.883.3977
510.540.1057 (f)
noah@ndllegal.com
www.ndllegal.com


From: Moore, Emory
Sent: Thursday, October 1, 2020 1:49 PM
To: Noah Lebowitz
Cc: Gallegos, Yesenia
Subject: Miyagishima v. Avison Young - Northern California, LTD.

Noah:

Attached please find correspondence related to the Miyagishima matter.
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Best Regards,
Emory

EMORY D. MOORE, II
ASSOCIATE
McDermott Will & Emery LLP  444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
Tel +1 312 984 3379 | Fax +1 312 275 8359
emoore@mwe.com
Website | vCard | Twitter | LinkedIn | Blog


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**********************
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Please visit http://www.mwe.com/ for more information about our Firm.
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                       EXHIBIT E
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 289 of 412


From:           Noah Lebowitz
To:             Gallegos, Yesenia
Cc:             Moore, Emory; Liu, Cindy
Subject:        Miyagishima v Avison Young
Date:           Monday, October 5, 2020 12:47:36 PM
Attachments:    image001.png
                PL 00077 - PL 00441.pdf



[ External Email ]

Hi Yesenia,

Attached please find documents Bates stamped PL 00077 – PL 00441. With this transmission, our
document production is complete. If you have any additional questions regarding our responses,
please do not hesitate to call me to discuss.

Thank you.


NDL




Noah D. Lebowitz
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                      EXHIBIT G
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                                                                                                                           mwe.com

                                                                                                                  Yesenia Gallegos
                                                                                                                     Attorney at Law
                                                                                                               ygallegos@mwe.com
                                                                                                                    +1 310 788 4199




October 12, 2020

VIA EMAIL


Noah D. Lebowitz
Law Office of Noah D. Lebowitz
1442A Walnut Street, No.. 452
Berkeley, California 94709

Re:      Miyagishima v. Avison Young – Northern California, LTD.

Dear Mr. Lebowitz:

        We write in follow-up to our October 1, 2020 letter, in further attempt to resolve deficiencies with
respect to Melinda Miyagishima’s responses and objections to Defendant’s Request for Production of
Documents (Set One) To Plaintiff (the “Requests”).1 In our October 1st letter, we explained that (1)
Plaintiff has refused to produce broad swaths of highly relevant documents, citing myriad boilerplate
objections, (2) each objection is baseless, and under no circumstance supports Plaintiff’s refusal to
produce documents, and (3) even where Plaintiff has agreed to produce responsive documents, her
production appears to be incomplete. We requested a response before close of business October 9th to
avoid the necessity of delaying Plaintiff’s deposition and filing a motion to compel. You responded on
October 1st, but did not address the first two issues. You simply addressed the third issue by promising to
issue a supplemental production. Even then, however, Plaintiff’s supplemental production fails to fully
address the third issue.

       Having not received compliant discovery responses and document production from Plaintiff and
having received no substantive response to our meet and confer efforts on multiple issues, we have no
choice but to postpone Plaintiff’s deposition until the dispute is resolved. We note that you have also
requested postponement of Plaintiff’s deposition.

       Despite the fact that your October 1st email only addressed one issue, in the interest of compromise,
we have reviewed Plaintiff’s supplemental production and are now restating the present discovery issues
as you have requested.

        In response to Request for Production Nos. 1, 5, and 17 Plaintiff has asserted boilerplate objections,
but also promised to produce responsive documents without waiving those objections. Upon review of

1
 As used herein, the capitalized terms “DOCUMENTS,” “COMMUNICATIONS,” “RELATING TO,” “AVISON
YOUNG,” “YOU” and “YOUR” have the meanings set forth in the Definitions section of the Requests.

                                2049 Century Park East Suite 3200 Los Angeles CA 90067-3206 Tel +1 310 277 4110 Fax +1 310 277 4730

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Noah D. Lebowitz
October 12, 2020
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Plaintiff’s document production, it is unclear whether Plaintiff has indeed produced all responsive
documents in her possession, custody, or control or whether Plaintiff is withholding some documents on
the basis of the stated objections. Please clarify.

         Request for Production No. 2 seeks production of “All DOCUMENTS which YOU intend to, or
may, submit at either the trial of this action or in connection with a motion for summary judgment in this
action.” Plaintiff has objected that this request is not reasonably particularized, compound, vague,
ambiguous, and “unintelligible as Plaintiff has no idea what Defendant would, could, or will argue, if at
all, in an (sic) yet-unfiled motion for summary judgment.” Based on these objections, you stated that
Plaintiff is incapable of providing a substantive response. These objections are without merit. Any
DOCUMENTS in Plaintiff’s possession, custody or control, which she intends to or may submit as
evidence in this litigation, must be produced.

       Request for Production No. 3 seeks production of “All DOCUMENTS from January 1, 2017
through present between YOU and AVISON YOUNG.” Plaintiff has refused to produce any responsive
documents, objecting that this request is vague, ambiguous and unintelligible as to the phrase “between
YOU and AVISON YOUNG.” Plaintiff did not explain how the identified phrase is vague, ambiguous
and unintelligible. This objection is without merit. This request plainly seeks the production of any
COMMUNICATIONS or other DOCUMENTS from Plaintiff to AVISON YOUNG or vice versa.
Responsive DOCUMENTS in Plaintiff’s possession, custody or control must be produced.

        In response to Request for Production No. 5, Plaintiff agreed to produce all DOCUMENTS
RELATING TO any formal or informal complaint YOU made to or regarding AVISON YOUNG. Please
clarify whether any responsive DOCUMENTS are being withheld based on the asserted objections.

        Request for Production No. 6 seeks “All DOCUMENTS RELATING TO any disclosure of
information by YOU to or regarding AVISON YOUNG in relation to a potential or actual violation of a
law, statute, rule, or regulation.” Plaintiff has refused to produce any responsive documents, objecting
that the request is vague, ambiguous and unintelligible as to the phrase “any disclosure of information by
YOU.” Plaintiff has not explained how the identified phrase is vague, ambiguous or unintelligible. This
objection is without merit. This request plainly seeks the production of (1) any DOCUMENTS
RELATING TO Plaintiff making information known to, reporting information to, or otherwise disclosing
information to AVISON YOUNG in relation to a potential or actual violation of law, statute, or regulation,
and (2) any DOCUMENTS RELATING TO Plaintiff making information known regarding, reporting
information regarding, or otherwise disclosing information regarding AVISON YOUNG in relation to a
potential or actual violation of law, statute, or regulation. Responsive DOCUMENTS in Plaintiff’s
possession, custody or control must be produced.

       Request for Production No. 9 seeks the production of “All DOCUMENTS RELATING TO any
claim by YOU for unemployment benefits related to the termination of YOUR employment with AVISON
YOUNG.” Plaintiff has refused to produce any documents, objecting as to relevance. This objection is
misplaced. Relevance is broad and includes, inter alia, information regarding Plaintiff’s damages and any




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mitigation thereof. Responsive DOCUMENTS in Plaintiff’s possession, custody or control must be
produced.

        Request for Production No. 10 seeks the production of “All documents or communications
RELATING TO YOUR attempt(s) to find employment following termination of YOUR employment with
AVISON-YOUNG.” Plaintiff has agreed to produce all responsive documents in Plaintiff’s possession,
custody or control. Plaintiff’s document production, however, fails to include multiple responsive
documents. Plaintiff’s interrogatory responses and document productions indicate that Plaintiff has
submitted multiple job applications since termination of her employment with Avison Young. Plaintiff’s
production, however, does not include job application materials. For example, PL00413 appears to be
incomplete. It indicates that there are 11 pages in the job application, but only the first page has been
produced. Likewise, PL00424 indicates that document Shrm_Miyagishima_892469.pdf was submitted
as a part of Plaintiff’s application materials, but that document has not been produced. Similarly, PL00424
indicates that it is an “Application Summary.” Please confirm whether or not the full application is
available and will be produced. Additionally, PL00429, PL00432 and PL00438 contain attachments that
have not been produced. These attachments are responsive and must be produced. To be clear, these are
simply examples. All DOCUMENTS OR COMMUNICATIONS relating to Plaintiff’s attempts to find
employment following termination of her employment with Avison Young must be produced.

         Request for Production No. 14 seeks the production of “All DOCUMENTS RELATING TO
damages YOU allege YOU suffered as a result of AVISON YOUNG’s conduct.” Plaintiff has agreed to
produce all responsive documents in her possession, custody or control. Plaintiff’s interrogatory responses
identified several medical providers as having treated her for medical conditions allegedly caused by
Avison Young’s conduct. Plaintiff’s document production, however, is devoid of records from the
identified medical providers. Please advise whether Plaintiff will obtain and produce these medical
records or sign an authorization to have the records released to Avison Young.

        Request for Production No. 15 seeks the production of “YOUR federal and state income tax returns
(including all schedules, attachments, W-2 forms, 1099 statements, pay stubs and worksheets) for the
years 2015, 2016, 2017, 2018, and 2019.” Plaintiff has agreed to produce her W-2 forms for the years
2015 through 2019. Plaintiff has refused to produce any other requested documents, objecting that the
request is overly broad and not relevant. Plaintiff states that there is “relevant caselaw (sic)” supporting
her objections. Please direct us to the referenced case law.

      PL00131 indicates that a voicemail is attached, but Plaintiff’s production did not contain that
voicemail file. Please advise whether and when this file will be produced.

        PL00364 is a partially illegible scan of a paper document. Please advise whether this document
can be rescanned and sent to us?

       Finally, it is unclear exactly which custodians, forms of media, and accounts Plaintiff searched for
responsive DOCUMENTS. We particularly note that Plaintiff has not produced a single text message.




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Noah D. Lebowitz
October 12, 2020
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Please provide clarification regarding the custodians, forms of media, and accounts Plaintiff searched for
responsive DOCUMENTS.

Sincerely,
McDermott Will & Emery LLP


Yesenia Gallegos
Emory D. Moore, Jr.




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                                         October 20, 2020



Yesenia Gallegos                                                      Transmitted via E-mail
Emory D. Moore, Jr.
McDermott Will & Emery
2049 Century Park East, Suite 3200
Los Angeles, CA 90067

       RE:     Miyagishima v. Avison Young

Dear Yesenia & Emory:

        I write in response to your meet and confer letter of October 12, 2020. As you are aware,
we now have served just shy of 450 pages of documents in response to Avison Young’s
document request (in contrast to Avison Young’s production of a mere 162 pages of documents
in response to our earlier-served document requests). As explained below, with the exception of
a few items that we will examine more closely in regard to our production, the issues you
highlight in your October 12 letter have been resolved.

        To begin, your incredibly overbroad Request No. 1 does not comply with CCP §
2031.030(c)(1) in that it is not reasonably particularized. You have not addressed this code
section in any of your correspondence. Please explain how a request seeking “all documents
relating to the allegations in the complaint” is in any way particularized. In any event, the
documents that have been produced in response to the remaining requests represents the universe
of documents in my client’s possession related to this case.

       Request No. 2 remains improper, unintelligible and non-compliant with CCP §
2031.030(c)(1). You have not addressed how the request complies with this code section. Nor
have you explained how it is that I should be able to read a crystal ball and “know” what Avison
Young may or may not argue in the course of some unfiled motion for summary judgment. Nor
have you explained how it is that I should be able to know now what items or issues will be
presented to a jury at trial. In your October 12 letter you state that we are required to produce any
document that we “intend[] to or may submit as evidence in this litigation.” Aside from failing to
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                                                                                 Yesenia Gallegos
                                                                               Emory D. Moore, Jr.
                                                                                 October 20, 2020
                                                                                           Page 2


solve the defects of the original request, this articulation is not what the request seeks. The
request seeks documents we intend or may submit at trial or in response to a summary judgment
motion. We remain unable to formulate a response to this request.

        As with several of your requests, Request No. 3 is missing a key word or phrase. As
noted in our original response, we invited you to meet and confer to clarify. Now that you have
done so – adding the word “communication” to the request – I can confirm that we have
produced all responsive documents.

       All documents responsive to Request No. 5 have been produced.

        To the extent that your October 12 letter clarifies that Request No. 6 seeks documents
reflecting disclosures regarding potential violations of law by Avison Young, those documents
have been produced.

        In response to Request No. 9, we objected that the documents – unemployment benefits –
are not relevant or discoverable because it reflects inadmissible and irrelevant collateral source
information. In your October 12 letter, you assert that the information is relevant to my client’s
mitigation of damages. That is incorrect. As noted in our objection, unemployment benefits are
considered collateral source funds and do not subject a damages award to offset or reduction. As
such, they are inadmissible and not likely to lead to the discovery of relevant or admissible
evidence. If you have contrary authority, I would be happy to consider it.

       I will review the documents identified in regard to Request No. 10 and ensure that you
have complete production of those documents and any others that may be responsive.

        In regard to Request No. 14, my client does not have any medical records in her
possession, custody or control. You may proceed with the normal process for seeking medical
records that are directly relevant to this case. If the medical providers require authorizations, we
will review any proposed narrowly tailored authorization form when such form is provided.

         In regard to Request No. 15, you assert we objected that it was “overly broad and not
relevant.” That is partially accurate. We primarily objected that the request violates my client’s
right to privacy. You requested caselaw referenced in our objection, and we cite the following as
the stating point for any analysis of discoverability of tax returns and personal finances: Webb v.
Standard Oil Co. of Calif. (1957) 49 Cal. 2d 509, 513-14; Valley Bank of Nevada v. Superior
Court (1975) 15 Cal. 3d 652, 656. As you note in your October 12 letter, we have produced my
client’s W-2’s for the requested years. She has no 1099’s. If you believe additional tax forms or
documents are discoverable, please explain which such forms or documents meet that standard.
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                                                                                  Yesenia Gallegos
                                                                                Emory D. Moore, Jr.
                                                                                  October 20, 2020
                                                                                            Page 3


       Request No. 17 remains unintelligible as written. However, as is our obligation under the
Code, we have interpreted this request to contain the word “communication” – even though it
was not part of the request – so as to attempt to make sense of the request. All such documents
have been produced.

       In regard to your notes related to PL00131 and PL00364, I will review and ensure that all
available responsive information is produced in a legible manner.

        Your final note asks about my client’s search and existence of any text messages. My
client searched all files – whether electronic or hard copy – in her possession, custody or control
and produced all responsive documents. In regard to text messages, my client has none. I am
informed that at one point she did have text messages between herself and Mr. Slonek. However,
almost immediately upon her termination, and before she consulted with counsel, my client
deleted those messages from her phone. You are free to inquire further at my client’s deposition.

        I believe the above takes care of all the issues raised in your October 12 letter. I will
venture to review the identified documents and ensure full production within the next week.
Please let me know if you have any additional concerns or questions.




                                                Very truly yours,




                                                Noah D. Lebowitz
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                       EXHIBIT I
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Melinda Miyagishima                                                         2/18/2021
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  1                          APPEARANCES OF COUNSEL
  2

  3    For Plaintiff MELINDA MIYAGISHIMA:
  4       LAW OFFICE OF NOAH D. LEBOWITZ
          NOAH D. LEBOWITZ, ESQ.
  5       1442A Walnut Street, No. 452
          Berkeley, California 94709
  6       510.883.3977
          510.540.1057 Fax
  7       noah@ndllegal.com
  8
       For Defendant AVISON YOUNG - NORTHERN CALIFORNIA,
  9    LTD.:
 10       McDERMOTT WILL & EMERY LLP
          EMORY D. MOORE, JR., ESQ.
 11       444 West Lake Street, Suite 4000
          Chicago, Illinois 60606
 12       312.372.2000
          312.984.7700 Fax
 13       emoore@mwe.com
 14

 15    ALSO PRESENT:
 16       SHIMON GALILEY, Videographer
 17

 18

 19

 20

 21

 22

 23

 24

 25

                                 www.trustpoint.one                     800.FOR.DEPO
                               www.aldersonreporting.com                 (800.367.3376)
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Melinda Miyagishima                                                         2/18/2021
       Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 307 of 412 Page 118


  1       A.    Yes.
  2       Q.    Have you communicated with your husband about
  3    Mr. Slonek's alcohol consumption?
  4       A.    Yes.
  5       Q.    Have those communications been via text message,
  6    social media message or email?
  7       A.    I believe all of our discussions have either been
  8    on the telephone -- speaking on the telephone or talking
  9    privately, in person, together.
 10       Q.    So no personal emails.           No emails to your -- your
 11    husband about Mr. Slonek's alcohol consumption; correct?
 12       A.    I don't recall doing that, no.
 13       Q.    Have you searched for emails with Mr. Slonek
 14    about -- or with your husband about Mr. Slonek's alcohol
 15    consumption?
 16       A.    No, because I don't think there are any.
 17       Q.    Have you communicated with your husband about any
 18    discrimination you believe you experienced at
 19    Avison Young via text message, email or social media
 20    message?
 21       A.    I do not believe so, no.
 22             Again, the same answer.            It would be on the phone
 23    or in person.
 24       Q.    Do you know if Shannon Dupler received spot
 25    bonuses after March 2018?

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                               www.aldersonreporting.com                 (800.367.3376)
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                       EXHIBIT J
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 310 of 412




 1   Yesenia Gallegos (SBN 231852)
     ygallegos@mwe.com
 2   McDermott Will & Emery LLP
     2049 Century Park East, Suite 3200
 3   Los Angeles, CA 90067
     Tel: 310.277.4110
 4   Facsimile: 310.277.4730

 5   Emory D. Moore, Jr. (pro hac vice application forthcoming)
     E-mail: emoore@mwe.com
 6   McDermott Will & Emery LLP
     444 West Lake Street, Suite 4000
 7   Chicago, IL 60606
     Tel: 312.372.2000
 8   Facsimile: 312.984.7700

 9   Attorneys for Defendant Avison Young – Northern
     California, LTD.
10
                                  SUPERIOR COURT OF CALIFORNIA
11
                                     COUNTY OF SAN FRANCISCO
12

13   Melinda Miyagishima,                                Case No. CGC-20-584874
14                  Plaintiff,                           Complaint Filed: June 11, 2020
                                                         Trial Date: None Set
15   v.
16   Avison Young – Northern California, LTD.,           DEFENDANT’S REQUEST FOR
     and Does 1 through 10 inclusive,                    PRODUCTION OF DOCUMENTS
17                                                       (SET TWO) TO PLAINTIFF
                    Defendants.
18

19

20          REQUESTING PARTY:              Defendant, Avison Young – Northern California, LTD.

21          RESPONDING PARTY:              Plaintiff, Melinda Miyagishima

22          SET NUMBER:                    Two (2)

23          Demand is hereby made by Defendant Avison Young – Northern California, LTD., pursuant

24   to California Code of Civil Procedure Section 2031.010 et. seq. that Plaintiff Melinda Miyagishima

25   produce and permit inspection and copying of the documents and items described below, within

26   thirty (30) days from the date of service hereof. The place of inspection shall be the offices of

27   McDermott Will & Emery LLP, 2049 Century Park East, Suite 3200, Los Angeles, CA 90067.

28

     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
                                                                    CASE NO. CGC-20-584874
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 1                                              DEFINITIONS

 2          The following terms shall have the following meanings, unless the context requires

 3   otherwise:

 4          1.      The terms “DOCUMENT” OR “DOCUMENTS” as used herein means the original

 5   (and any copies which differ in any way from the original) of any written, printed, typed, recorded,

 6   or graphic material of every type, form, or description, including but not limited to, letters,

 7   correspondence, COMMUNICATIONS, notes of oral COMMUNICATIONS, telegrams, telexes,

 8   microfiches, bulletins, circulars, pamphlets, studies, reports, charts, graphs, notices, diaries,

 9   summaries, notes, messages, instructions, work assignments, personal notes, e-mails, digital

10   information and files, screen shots, web sites, social media pages, text messages, SMS messages,

11   messaging sent through applications, notebooks, drafts, data sheets, data compilations, statistics,

12   maps, speeches, tapes, tape recordings and transcripts of such tapes and recordings.

13          2.      The term “COMMUNICATION” or “COMMUNICATIONS” as used herein shall

14   mean and refer to any meeting, conversation (face-to-face, telephonic, or otherwise), discussion, text

15   message, instant message, direct message, private message, social media message, telex message,

16   cable, correspondence, message, tape-recorded message, video message, or other occurrences in

17   which thoughts, opinions, or information are transmitted between or among two or more persons or

18   between or among one or more persons and any electronic, photographic, or mechanical device or

19   devices for receiving, transmitting, or storing data or other information.

20          3.      The term “RELATING TO” as used herein means concerning, referring to, pertaining

21   to, reflecting, evidencing, describing, memorializing, recording, contradicting or supporting.

22          4.      The terms “YOU” and “YOUR” as used herein mean Plaintiff MELINDA

23   MIYAGISHIMA.

24          5.      “AVISON YOUNG” means Defendant AVISON YOUNG – NORTHERN

25   CALIFORNIA, LTD. and each of its employees, officers, directors, independent contractors,

26   partners, shareholders, agents, members, attorneys, predecessors, successors, assignees, subsidiary

27
28
                                                       2
     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
     CASE NO. CGC-20-584874
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 1   or parent corporations, affiliates, and all persons now or previously under their control or acting on

 2   their behalf.

 3           6.      The term “COMPLAINT” refers to the Complaint filed by you in San Francisco

 4   Superior Court Case No. CGC-20-584874, as well as any subsequent amendments.

 5           7.      The terms “and, “or,” and “and/or” shall be interpreted in the broadest sense, so as to

 6   be read as “and” and “or.”

 7                                        DOCUMENT REQUESTS

 8   REQUEST FOR PRODUCTION NO. 35

 9           Produce all text messages, emails, social media messages, and any other written

10   communications RELATING TO YOUR separation from AVISON YOUNG or the allegations in

11   the COMPLAINT between YOU and any current or former employee of AVISON YOUNG

12   including, but not limited to: Cheryl Simpson, Kiana Akina, Elisa Soria, Shannon Dupler, Johanna

13   Garcia, Kelly Glass-Ahaesy, and Raquel Ledesma.

14   REQUEST FOR PRODUCTION NO. 36

15           Produce all text messages, emails, social media messages, and any other written

16   communications RELATING TO YOUR separation from AVISON YOUNG or the allegations in

17   the COMPLAINT between YOU and BK Masterson.

18   REQUEST FOR PRODUCTION NO. 37

19           Produce all witness statements that YOU have secured in connection with the COMPLAINT.

20    Dated: February 18, 2021                        MCDERMOTT WILL & EMERY LLP
21
                                                      By: ____________________________________
22                                                        YESENIA GALLEGOS
23                                                        Attorneys for Defendant
                                                          Avison Young – Northern California, LTD
24

25

26

27
28
                                                        3
     DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) TO PLAINTIFF
     CASE NO. CGC-20-584874
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                                           PROOF OF SERVICE
 1
            I, Yvonne Rivera, declare:
 2
            I am a citizen of the United States and employed in San Francisco County, California. I am
 3   over the age of eighteen years and not a party to the within-entitled action. My business address is
     2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206. On February 18, 2021, I
 4   served a copy of the within document(s):

 5       DEFENDANT’S REQUEST FOR PRODUCTION OF DOCUMENTS
         (SET TWO) TO PLAINTIFF
 6
     ☒      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
 7          agreement of the parties to accept service by e-mail or electronic transmission, I caused the
            document(s) to be sent from e-mail address yrivera@mwe.com to the persons at the e-mail
 8          addresses listed below. I did not receive, within a reasonable time after the transmission,
            any electronic message or other indication that the transmission was unsuccessful.
 9
     ☐      by placing the document(s) listed above in a sealed envelope with postage thereon fully
10          prepaid, in the United States mail at Los Angeles, California addressed as set forth below.
11   ☐      by placing the document(s) listed above in a sealed envelope and affixing a pre-paid air
            bill, and causing the envelope to be delivered to a agent for delivery.
12
               Noah D. Lebowitz, Esq.                        Counsel for Plaintiff
13             LAW OFFICE OF NOAH D.                         Melinda Miyagishima
               LEBOWITZ
14             1442A Walnut Street, No. 452
               Berkeley, CA 94709
15
               Tel: 510-883-3977
16             Fax: 510-540-1057
               Email: noah@ndllegal.com
17
             I am readily familiar with the firm’s practice of collection and processing correspondence
18
     for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
19   day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
     motion of the party served, service is presumed invalid if postal cancellation date or postage meter
20   date is more than one day after date of deposit for mailing in affidavit.
21          I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.
22
            Executed on February 18, 2021, at Los Angeles, California.
23

24                                                      Yvonne Rivera
25

26

27

28

     PROOF OF SERVICE                                                          CASE NO.: CGC-20-584874
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                       EXHIBIT L
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                                                                                                                         mwe.com

                                                                                                                Yesenia Gallegos
                                                                                                                   Attorney at Law
                                                                                                             ygallegos@mwe.com
                                                                                                                  +1 310 788 4199




April 6, 2021

VIA EMAIL: noah@ndllegal.com
Noah D. Lebowitz, Esq.
Law Office of Noah D. Lebowitz
1442A Walnut Street, No. 452
Berkeley, CA 94709

Re:    Miyagishima v. Avison Young Northern California, LTD

Dear Mr. Lebowitz:

As a follow up to our call on April 2, 2021, we write to formally meet and confer regarding the topics
below.

Request to Continue Trial by 30 Days or More




Plaintiff Withheld Documents Responsive to Avison Young’s First Set of Document Requests;
Avison Young is entitled to re-open Plaintiff’s Deposition.




                              2049 Century Park East Suite 3200 Los Angeles CA 90067-3206 Tel +1 310 277 4110 Fax +1 310 277 4730

                              US practice conducted through McDermott Will & Emery LLP.
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April 6, 2021
Page 3




Potential Improper Conduct that May Impact Your ability to serve as Plaintiff’s Counsel and/or
Ms. Miyagishima’s Ability Call Cheryl Simpson at Trial – Request for Notes




1
  This has become even more important given Ms. Miyagishima’s admission at deposition that she intentionally destroyed
evidence, including text messages with Slonek the day of her termination, despite having collected documents and planning
to file a retaliation lawsuit since September 2018.
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                      EXHIBIT M
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 322 of 412




                                          April 7, 2021



Yesenia Gallegos                                                   Transmitted via E-mail
Emory D. Moore, Jr.
McDermott Will & Emery
2049 Century Park East, Suite 3200
Los Angeles, CA 90067

       RE:      Miyagishima v. Avison Young

Dear Yesenia:

        I read your letter of April 6, 2021 with some interested. I will respond to each of your
assertions below. As an initial matter, however, I must ask that you avoid the co-mingling of
discovery meet and confer discussions with confidential settlement discussions. I will respond to
your settlement proposal via separate, confidential, communication.

AY’s Request to Continue Trial Date
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                                                                                  Yesenia Gallegos
                                                                                     April 7, 2021
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        .

AY’s Fact-less Assertion that Ms. Miyagishima Withheld Documents

        The next section of your letter hurls many accusations at Ms. Miyagishima, accusing her
of misconduct. Those accusations ignore significant facts and are based on myriad assumptions.
In particular, you accuse Ms. Miyagishima of withholding the documents. Please explain upon
what facts you base that accusation as her testimony at deposition is just the opposite. Also, on
numerous occasions, you characterize Ms. Miyagishima as planning a retaliation lawsuit. Of
course, that is fantasy and not based on any reality or actual facts. Ms. Miyagishima did
everything she could to remain actively employed at AY; it was AY, alone, who made the
decision to terminate her employment. Moreover, Ms. Miyagishima forthrightly admitted to
deleting her messages with Nick Slonek, and explained her reasons for doing so. (Miyagishima
Depo 37:4-20; see also id. at 82:23-83:25.)

         To begin, you fail to describe the relevant sequence of events accurately. During Ms.
Miyagishima’s deposition, she was asked by Mr. Moore about text messages between herself and
AY employees. Ms. Miyagishima forthrightly testified that she had such text messages, but had
not searched for them previously. Mr. Moore’s questions then morphed into accusations, without
first laying any foundation that any such documents would have been responsive to prior
document requests. I objected to the questions on that basis. (See id. at 112:8-118:1.)

        After the deposition concluded, you served AY’s Request for Production of Documents,
Set Two. Those requests very specifically asked for the text messages at issue here. We provided
written responses to those requests on March 22 and produced all responsive documents over the
course of the next six days.

        So, considering the actual facts and history of this case, your characterization of the
recent document production as a “supplemental” production is inaccurate. It was not
supplemental. It was directly responsive to AY’s Request for Production of Documents, Set
Two.

        If AY genuinely believed that the documents sought by Request for Production, Set Two
actually were responsive to its first set of document requests, you or Mr. Moore would have
engaged in a meet and confer process, and, if dissatisfied with the outcome of that process, filed
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                                                                                  Yesenia Gallegos
                                                                                     April 7, 2021
                                                                                            Page 3


a motion under CCP § 2031.320 to compel compliance with the prior requests. 2 But, we heard
nothing from you about the topic other than the second request for production – no letter, no
email, no phone call. We diligently searched for and produced all responsive documents. 3 In fact,
we produced many documents that were not directly responsive, just to make sure there was no
concern regarding completeness of production.

        Finally, you continue to ignore a material fact about all your complaints relating to these
communications: They were all made between Ms. Miyagishima and AY employees. In other
words, AY has had access to the entire universe of these communications at all times. For
instance, any text message(s) to Nick Slonek are still available to, and retrievable by, Mr.
Slonek; 4 same goes for Ms. Simpson or Ms. Ledesma, and until recently, Ms. Soria. In fact, AY
should have taken active measures to search for and preserve all the documents about which the
company now complains were “withheld” by Ms. Miyagishima if the company had acted
diligently in response to my May 14, 2020 evidence preservation letter.

       Please explain why AY has not preserved the communications at issue from its own
custodians (i.e., the other participants in the communications).


Baseless Allegations of “Improper Conduct”




       2
        Note, the CCP’s 45-day time limit on motions to compel does not apply to motions to
compel compliance.
       3
         As I noted to you in my email of March 24, 2021, Ms. Miyagishima was involved in a
running accident in the weeks prior to the production (see PL 00514-PL 00520), requiring
surgery and substantially impeding the speed at which we could gather and organize the
documents. We produced each batch of responsive documents as they were ready, completing
the production within six days of the response date.
       4
          In fact, based on his questioning at deposition (see Miyagishima Depo at 36:24-37:3
[“Q. You sent Mr. Slonek a text message around 11:45 am that day, informing him about Mr.
Gonzalez’ conduct, and telling him you could no longer work with Mr. Gonzalez’ bullying
tactics; correct? A. Yes.”]) it appears that at least Mr. Moore has reviewed some of Mr. Slonek’s
text messages.
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                                                                             Yesenia Gallegos
                                                                                April 7, 2021
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         I draw your attention to Rule of Professional Conduct 3.3 “Candor Toward the
Tribunal.”
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                                                                                Yesenia Gallegos
                                                                                   April 7, 2021
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      As always, I remain available to discuss any matters related to this case at your
convenience.



                                              Very truly yours,




                                              Noah D. Lebowitz
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                       EXHIBIT N
        Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 328 of 412


                                                                                                                         mwe.com

                                                                                                                Yesenia Gallegos
                                                                                                                   Attorney at Law
                                                                                                             ygallegos@mwe.com
                                                                                                                  +1 310 788 4199




April 14, 2021

VIA EMAIL: noah@ndllegal.com

Noah D. Lebowitz, Esq.
Law Office of Noah D. Lebowitz
1442A Walnut Street, No. 452
Berkeley, CA 94709

Re:    Melinda Miyagishima v. Avison Young - Northern California, LTD.

Dear Mr. Lebowitz:

This letter responds to your correspondence of April 7, regarding several outstanding issues.

A.     Defendant Avison Young’s Request that Plaintiff Stipulate to a Trial Continuance




                              2049 Century Park East Suite 3200 Los Angeles CA 90067-3206 Tel +1 310 277 4110 Fax +1 310 277 4730

                              US practice conducted through McDermott Will & Emery LLP.
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April 14, 2021
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B.       Securing Material Documents from Plaintiff and Re-Opening Her Deposition

Your correspondence of April 7 failed to substantively respond to our request to (i) image all cellular
phones utilized by your client since 2017; and (ii) re-open Plaintiff’s deposition in light of her recent
production of material documents (most recently on March 28) that she withheld for nearly six months
(“Material Documents”). To correct Plaintiff’s shortcomings in comprehending the scope of documents
responsive to AY’s first set of RFPs, we expressly identified for you and Plaintiff (at your request) the
specific document requests to which Plaintiff should have produced these Material Documents in
September 2020, long before her deposition in February 2021, long before AY filed its MSJ in March
2021, and long before depositions of AY’s witnesses in March 2021. Your letter failed to address the
substance of the identified requests and why Plaintiff failed to produce the Material Documents in
September and October 2020. Your failure to respond to this inquiry is further proof that we need to take
control over Plaintiff’s document collection efforts to ensure that these deficiencies do not cost AY and
the court the benefit of discovery of relevant evidence.

To be clear, your response to our request is long, but devoid of meaningful substance. First, you ask us
for a basis for the assertion that Plaintiff has withheld documents. We have provided that explanation to
you twice now in very simple terms. We now offer you the simple bullet points below:

     •   Aug 2020: AY served its first request of RFPs requesting communications relating to the facts at
         issue in this litigation;
     •   Sept-Oct 2020: In her verified responses, Plaintiff stated she would produce the communications,
         and subsequently produced communications and indicated that her production was complete;
     •   Feb. 2021: Plaintiff admitted at deposition that she has additional communications that she did
         not even bother to search for responsive communications;
     •   March 2021: Plaintiff then produced over 400 pages of communications relating to the facts at
         issue in this litigation – six months after they should have been produced.

Second, you state that Plaintiff forthrightly admitted to deleting her text messages with Mr. Slonek.
Under the California Code of Civil Procedure section 2031.210(a)(2), Plaintiff was required to inform
AY in response to its first set of RFPs that she did not have the ability to comply because she had
destroyed the text messages. Rather than being forthright, however, Plaintiff withheld this information
until backed into a corner at deposition months after serving responses to AY’s first set of RFPs. As
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Noah D. Lebowitz, Esq.
April 14, 2021
Page 3

Plaintiff’s deposition transcript clearly reveals, you then attempted to prevent AY from learning the facts
of this deletion during Plaintiff’s deposition by making speaking objections and coaching the Plaintiff.

Third, you appear to argue that Plaintiff is absolved from the need for a re-opening of her deposition or
forensic review of her cellular phones because she eventually produced text messages between her and
the witnesses specifically identified in AY’s second set of RFPs. That gives us no relief from the fact
that these documents were not produced before Plaintiff’s deposition, the fact that you and/or your client
have misread and continue to misread AY’s first set of RFPs, or the fact that text messages with Mr.
Slonek were deleted and require forensic inspection to determine the date of the deletion, the extent of
such deletion, the existence of those text messages, and the ability to recover them.




Finally, you argue that these communications are equally available to AY because they are between
Plaintiff and AY’s employees. Of course, equally available is not a proper discovery response. Further,
Plaintiff retained communications, notes and other records dating back to 2018 in an effort to document
her workplace issues and possibly in preparation for litigation. AY’s preservation requirements arose
much later in time. Your letter even argues that

       In fact, based on his questioning at deposition (see Miyagishima Depo at 36:24-37:3 [“Q.
       You sent Mr. Slonek a text message around 11:45 am that day, informing him about Mr.
       Gonzalez’ conduct, and telling him you could no longer work with Mr. Gonzalez’
       bullying tactics; correct? A. Yes.”]) it appears that at least Mr. Moore has reviewed some
       of Mr. Slonek’s text messages.

This calls into question Plaintiff’s willingness to meet her discovery obligations with respect to
collecting responsive documents without involvement of us and/or the Court. This questioning is
plainly based on notes your client produced regarding her text messages with Mr. Slonek. Indeed,
Plaintiff’s notes reveal just how egregious it is that Plaintiff selectively chose portions of text message
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Noah D. Lebowitz, Esq.
April 14, 2021
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conversations to record in her notes, while destroying the actual text messages and the other information
contained therein.

Please advise us by the close of business on April 19, whether Plaintiff will agree to: (i) produce her
cellular phone(s) (those utilized by her since 2017) for forensic imaging – we would of course agree
to all customary parameters to protect her privacy; and (ii) appear for deposition so that we may
questions her about her eleventh hour production of Material Documents. The sooner Plaintiff
complies, the less of a trial continuance that the parties will be need.

C.     Pre-Litigation Communications with AY’s Operations Manager Cheryl Simpson




I am hopeful that you will reconsider producing your notes in order to resolve AY’s concerns.

Sincerely,



Yesenia Gallegos
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                      EXHIBIT O
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                                          April 19, 2021



Yesenia Gallegos                                                     Transmitted via E-mail
Emory D. Moore, Jr.
McDermott Will & Emery
2049 Century Park East, Suite 3200
Los Angeles, CA 90067

       RE:      Miyagishima v. Avison Young

Dear Yesenia:

        I write in response to your further meet and confer letter of April 14. Despite its length,
your letter raises no new points or issues that have not been addressed in prior correspondence. I
will note some continued omissions and continued mis-statements of the record and history of
this case below.

AY’s Request to Continue Trial Date
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 334 of 412

                                                                                  Yesenia Gallegos
                                                                                    April 19, 2021
                                                                                            Page 2




AY’s Fact-less Assertion that Ms. Miyagishima Withheld Documents

       You spend a great deal of time in your April 14 letter re-stating your position regarding
the documents we produced in March. Yet, within that lengthy, accusatory recitation, you
continue to fail to address material items. For instance, you have yet to address why it is that you
have not been able to retrieve text messages between Ms. Miyagishima and Mr. Slonek via Mr.
Slonek’s cell phone. You have yet to address what, if any, steps AY took to preserve evidence in
response to my May 2020 evidence preservation letter insofar as it relates to any of the issues
about which you now complain. You have yet to acknowledge that your Request for Production
of Documents, Set Two directly asked for the other text messages, and we produced all
responsive documents and even provided documents beyond the scope of the request to ensure
completeness.

        You have provided no facts to support any claim for need to engage in an invasive
forensic examination of Ms. Miyagishima’s cell phone. You have engaged in rank speculation
that she is withholding further data, but that is based entirely on your interpretation of the
sequence of events, which I have corrected multiple times. If you have a factual basis for your
conclusion that Ms. Miyagishima has failed to produce all responsive documents, please detail
them so I may evaluate your request for a forensic examination.

       You further accuse Ms. Miyagishima of not being forthright regarding the text messages
between herself and Mr. Slonek, yet you fail to acknowledge I directly informed you of this
circumstance in my October 2020 letter to you.




                                                                                           requests
    Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 335 of 412

                                                              Yesenia Gallegos
                                                                April 19, 2021
                                                                        Page 3




Baseless Allegations of “Improper Conduct”




                                         Very truly yours,




                                         Noah D. Lebowitz
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                       EXHIBIT P
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 337 of 412


From:                   Noah Lebowitz
To:                     Gallegos, Yesenia
Cc:                     Moore, Emory
Subject:                RE: Miyagishima v Avison Young - Northern California, Ltd.
Date:                   Wednesday, April 21, 2021 7:01:58 PM
Attachments:            image001.png



[ External Email ]
This occurs to me to be a complete waste of the court’s time. If it would completely tie this up, I
would be willing to consider producing my client for one additional hour of deposition for
questioning based on the documents produced in response to Request for Production No. 35.




Noah D. Lebowitz
1442 A Walnut Street, No. 452
Berkeley, CA 94709
510.883.3977
510.540.1057 (f)
noah@ndllegal.com
www.ndllegal.com


From: Gallegos, Yesenia <Ygallegos@mwe.com>
Sent: Wednesday, April 21, 2021 4:37 PM
To: Noah Lebowitz <noah@ndllegal.com>
Cc: Moore, Emory <Emoore@mwe.com>
Subject: RE: Miyagishima v Avison Young - Northern California, Ltd.

We will move to compel.

YESENIA GALLEGOS
Partner
McDermott Will & Emery LLP  2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206
Tel +1 310 788 4199 | Email ygallegos@mwe.com
Biography | Website | vCard | Twitter | LinkedIn

Access our COVID-19 Resource Center at www.mwe.com/coronavirus

From: Noah Lebowitz <noah@ndllegal.com>
Sent: Wednesday, April 21, 2021 4:37 PM
To: Gallegos, Yesenia <Ygallegos@mwe.com>
Cc: Moore, Emory <Emoore@mwe.com>
Subject: RE: Miyagishima v Avison Young - Northern California, Ltd.
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 338 of 412


[ External Email ]
As I have stated multiple times, you have articulated no facts to support a departure from the one
deposition rule of CCP section 2025.610; her deposition was completed in February.




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From: Gallegos, Yesenia <Ygallegos@mwe.com>
Sent: Wednesday, April 21, 2021 4:33 PM
To: Noah Lebowitz <noah@ndllegal.com>
Cc: Moore, Emory <Emoore@mwe.com>
Subject: RE: Miyagishima v Avison Young - Northern California, Ltd.

Are you refusing to produce Plaintiff Miyagishima for deposition? Yes or No.

YESENIA GALLEGOS
Partner
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Tel +1 310 788 4199 | Email ygallegos@mwe.com
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From: Noah Lebowitz <noah@ndllegal.com>
Sent: Wednesday, April 21, 2021 4:30 PM
To: Gallegos, Yesenia <Ygallegos@mwe.com>
Cc: Moore, Emory <Emoore@mwe.com>
Subject: RE: Miyagishima v Avison Young - Northern California, Ltd.

[ External Email ]
Counsel,

My responses are interlineated below. Hopefully, we can put these issues to bed now, and focus on
preparations for trial.

Thank you.
   Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 339 of 412




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From: Gallegos, Yesenia <Ygallegos@mwe.com>
Sent: Monday, April 19, 2021 6:10 PM
To: Noah Lebowitz <noah@ndllegal.com>
Cc: Moore, Emory <Emoore@mwe.com>
Subject: RE: Miyagishima v Avison Young - Northern California, Ltd.

This shall respond to your letter of April 19.

    1. Defendant Avison Young’s (AY) Reasoning for Requesting to Continue the Trial Date Based, In
       Part, On the Fact That Plaintiff Withheld Documents for Six Months – Producing Them In Late
       March 2021, Only After Her Deposition of February 2021.
Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 340 of 412




2. Imaging Plaintiff’s Cell Phone to Collect The Communications That She Admittedly Deleted
          You continue to deflect by claiming AY can and should get the text messages it seeks
          from Plaintiff’s cell phone from others, like Nick Slonek. Even if Mr. Slonek still had
          those text messages, Plaintiff cannot evade her statutory obligations under the
          Discovery Act, including producing responsive documents (and her cellular phone for
          imaging after she admittedly deleted material text messages), by arguing that AY
          should get them elsewhere.    
          It is common in employment litigation to image cellular phones, particularly where
          the plaintiff has deleted material evidence from them. AY already agreed to limit the
          scope and time frame of the communications sought from the phone to protect
          Plaintiff’s right to privacy. Further, AY’s forensic consultant will send a forensic kit to
          Plaintiff’s home to avoid in-person contact, and remotely image her phone.
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           Moreover, AY will pay the cost even though this exercise was necessitated by
           Plaintiff’s decision to delete text messages and withhold others for six months.
           Unless Plaintiff confirms that she will make the cellular phone that she used in
           2019 and 2020 available for imaging by the close of business on April 21, 2021, AY
           will file a motion to compel and will seek reimbursement of its fees and costs.

   PLAINTIFF’S RESPONSE:

   You continue to fail to articulate any facts that support any basis for seeking the imaging of
   my client’s cell phone. Your prior communications have contained many assertions, but little
   fact. Yes, my client deleted her text messages with Nick Slonek. Yes, I told you about it in
   October 2020. No, you did not do anything about it until now. No, you have not explained
   how an imaging of my client’s cell phone will enable the recovery of deleted text messages.
   Yes, there exists a less-intrusive means within your control of actually obtaining the desired
   documents: Nick Slonek’s phone. Because you have not established any factual basis for
   obtaining an undefined, unlimited, image of my client’s phone, we will not agree to such a
   process.



3. Your Communications with Cheryl Simpson – AY’s Operations Manager – of April 2020 (Pre-
  Litigation).
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 342 of 412




YESENIA GALLEGOS
Partner
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Tel +1 310 788 4199 | Email ygallegos@mwe.com
Biography | Website | vCard | Twitter | LinkedIn

Access our COVID-19 Resource Center at www.mwe.com/coronavirus


From: Noah Lebowitz <noah@ndllegal.com>
Sent: Monday, April 19, 2021 4:41 PM
To: Gallegos, Yesenia <Ygallegos@mwe.com>; Moore, Emory <Emoore@mwe.com>
Subject: Miyagishima v Avison Young - Northern California, Ltd.

[ External Email ]
Counsel,

Please see attached correspondence of today’s date.

Thank you.




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noah@ndllegal.com
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*******************************************************************************************************************

Please visit http://www.mwe.com/ for more information about our Firm.
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         EXHIBIT K
to DAVID DERUBERTIS DECL
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 345 of 412



 1    LYNNE C. HERMLE (STATE BAR NO. 99779)
      JESSICA R. PERRY (STATE BAR NO. 209321)
 2    ANJALI PRASAD VADILLO (STATE BAR NO. 318440)
      ORRICK, HERRINGTON & SUTCLIFFE LLP
 3    1000 Marsh Road
      Menlo Park, California 94025
 4    Telephone:    650-614-7400
      Facsimile:    650-614-7401
 5    lchermle@orrick.com
      jperry@orrick.com
 6    avadillo@orrick.com

 7    Attorneys for Defendant
      CARTA, INC.
 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                   COUNTY OF SAN FRANCISCO

11

12    EMILY KRAMER,                               Case No. CGC-20-585478

13                     Plaintiff,                 DISCOVERY

14           v.                                   DECLARATION OF ANJALI
                                                  VADILLO IN SUPPORT OF
15    CARTA, INC., ESHARES, INC. (DBA             DEFENDANT’S MOTION TO COMPEL
      CARTA, INC.), and DOES 1-10, inclusive,     DEPOSITION OF PLAINTIFF EMILY
16                                                KRAMER AND FOR SANCTIONS
                       Defendants.
17                                                Discovery Referee: Judge Elizabeth D.
                                                                     Laporte
18                                                Hearing Date: October 28, 2021
                                                  Hearing Time: 2:00 p.m.
19

20                                                Complaint Filed: July 21, 2020
                                                  Trial Date: December 5, 2022
21

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       VADILLO DECLARATION ISO DEFENDANT’S MTC DEPOSITION OF PLAINTIFF EMILY KRAMER AND
                                       FOR SANCTIONS
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 346 of 412



 1           I, Anjali (Annie) Vadillo, hereby declare:

 2           1.      I am an active member of the State Bar of California and am authorized to practice

 3    before this Court. I am an attorney with Orrick, Herrington & Sutcliffe LLP, attorneys of record

 4    for Defendant Carta, Inc. in this action. I make this declaration in support of Carta’s Motion to

 5    Compel the Deposition of Emily Kramer and For Sanctions. The facts set forth in this declaration

 6    I know to be true of my own personal knowledge, except where such facts are stated to be based

 7    on information and belief, and those facts I believe to be true. If called as a witness, I could and

 8    would testify competently to the matters set forth in this declaration.

 9           2.      Plaintiff filed her complaint on July 21, 2020. August 24, Carta noticed Plaintiff’s

10    deposition for November 11 and 12, 2020. When Plaintiff objected to the November deposition

11    dates, Carta requested available dates in December. Plaintiff failed to provide any dates, so after

12    repeated requests, Carta re-noticed the deposition for January 21 and 22, 2021. Plaintiff sought

13    again to postpone her deposition and Carta requested available dates in late February or early

14    March. After weeks of stonewalling saying counsel was “checking with Plaintiff,” Plaintiff

15    ultimately informed Carta she could not appear for deposition until Carta produced all documents

16    and information Plaintiff unilaterally deemed relevant. Carta informed Plaintiff on December 16,

17    2020 that it was unwilling to have Plaintiff hold the discovery process hostage by refusing to sit

18    for her deposition. Attached as Exhibit A is a true and correct copy of my email correspondence

19    with Plaintiff’s counsel regarding this issue.

20           3.      Before Carta moved to compel Plaintiff’s deposition, I am informed and thereon

21    believe that Plaintiff’s counsel requested a call with Carta’s lead counsel Lynne Hermle on

22    January 11, 2021. I am informed and thereon believe that when lead counsel subsequently spoke,

23    Plaintiff’s counsel represented that due to Plaintiff being diagnosed with a medical condition, she

24    could not sit for her deposition until at least August 2021 (over a year after filing her complaint)

25    and her attorneys were not able to communicate with her on a predictable basis. Carta respected

26    Plaintiff’s medical condition and did not further request dates. Nevertheless, Plaintiff’s counsel

27    continued to send meet and confer letters and pursue their own discovery. For example, Carta

28    received the following from Plaintiff, seeking to compel Carta to engage in extensive,
                                                      -1-
       VADILLO DECLARATION ISO DEFENDANT’S MTC DEPOSITION OF PLAINTIFF EMILY KRAMER AND
                                       FOR SANCTIONS
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 347 of 412



 1    burdensome, expensive discovery: (1) a 62-page meet and confer letter on January 13 regarding

 2    Carta’s responses to Plaintiff’s 140 Requests for Production, demanding a response by January

 3    30; (2) further correspondence regarding negotiations about an ESI protocol on January 19; (3) a

 4    6-page meet and confer letter on January 26 regarding Carta’s responses to Plaintiff’s Special

 5    Interrogatories, demanding a response by January 30; (4) a list of substantial revisions to Carta’s

 6    proposed search terms, incorporating the 62-page meet and confer letter, on February 1.

 7    Thereafter, Carta received follow-up correspondence from Plaintiff on February 9 asking for a

 8    substantive response to the January 13 letter and threatening to move to compel. Again on

 9    February 25, Carta received additional follow-up correspondence about Plaintiff’s over 65 pages

10    of meet and confer letters. Plaintiff subsequently filed two enormous motions to compel,

11    necessitating over 750 pages of briefing by Carta, on March 16 and March 17, 2021.

12           4.      On September 21, 2021, I accessed Emily Kramer’s public Twitter profile,

13    available at https://twitter.com/emilykramer. Attached as Exhibit B are true and correct

14    screenshots of Ms. Kramer’s Twitter profile that I took on September 21, 2021. The posts in

15    Exhibit B are Ms. Kramer’s publicly available Twitter posts dated July 1, 2021, July 19, 2021,

16    July 26, 2021, July 28, 2021, and August 3, 2021.

17           5.      I contacted Plaintiff’s counsel Sharon Vinick via email on July 21, 2021 and asked

18    for an update about Plaintiff’s deposition availability. Ms. Vinick did not respond. I emailed Ms.

19    Vinick again on July 30. Ms. Vinick informed me she would “get back” to me. Ms. Vinick never

20    responded to my email. Attached hereto as Exhibit C is a true and correct copy of my email

21    correspondence with Ms. Vinick.

22           6.      On an August 11 call on a separate issue which also included my colleague Nick

23    Weaver, I for the third time asked Plaintiff’s counsel Genevieve Guertin for deposition dates for

24    Plaintiff. Ms. Guertin told me she did not have that information, and that she would “pass on the

25    message” to Ms. Vinick. As of the date of filing this Motion, 14 months after filing her lawsuit, I

26    nor anyone at my firm have heard from Plaintiff’s counsel about her availability to sit for her

27    deposition.

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                                                      -2-
       VADILLO DECLARATION ISO DEFENDANT’S MTC DEPOSITION OF PLAINTIFF EMILY KRAMER AND
                                       FOR SANCTIONS
Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 348 of 412
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to DAVID DERUBERTIS DECL
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 350 of 412




 1    QUINN EMANUEL URQUHART & SULLIVAN, LLP                 Electronically FILED by
        Steven G. Madison (Bar No. 101006)                   Superior Court of California,
 2      stevemadi son@quinnemanuel .com                      County of Los Angeles
        John P. D’Amato (Bar No. 143314)                     8/10/2023 8:57 PM
                                                             David W. Slayton,
 3     j ohndamato@quinnemanuel .com                         Executive Officer/Clerk of Court,
       Robert E. Allen (Bar No. 314120)                      By N. Alvarez, Deputy Clerk
 4      robertallen@quinnemanuel.com
      865 S. Figueroa St., 10th Floor
 5    Los Angeles, California 90017
      Telephone:     (213) 443-3000
 6    Facsimile:     (213) 443-3100

 7 Attorneys for Quinn Emanuel Urquhart &
      Sullivan, LLP
 8

 9                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                   COUNTY OF LOS ANGELES
11

12    QUINN EMANUEL URQUHART &                   Case No.   23STCV1 9134
      SULLIVAN, LLP,
13
                      Plaintiff,                 COMPLAINT FOR:
14
             vs.                                    1. BREACH OF CONTRACT
15
   COUNTY OF LOS ANGELES; LOS                       2. SERVICES
16 ANGELES COUNTY SHERIFF’S                            RENDERED/QUANTUM MERUIT
   DEPARTMENT; and LOS ANGELES
17 COUNTY SHERIFF ALEX VILLANUEVA,                  3. PROMISSORY ESTOPPEL
   in his official capacity,
18                                                  4. OPEN BOOK ACCOUNT
                      Defendants.
19                                               DEMAND FOR JURY TRIAL
20

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                                            COMPLAINT
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 351 of 412




 1           Plaintiff Quinn Emanuel Urquhart & Sullivan LLP (“Quinn Emanuel”) brings this
 2    complaint against Defendants the County of Los Angeles (the “County”), the Los Angeles County
 3    Sheriff’s Department (the “LASD”), and Los Angeles County Sheriff Alex Villanueva (the
 4    “Sheriff,” and, together with the County and LASD, the “Defendants”) as follows:
 5                                             INTRODUCTION
 6           1.        This complaint is brought to collect attorneys’ fees and costs owed to Quinn
 7 Emanuel by Defendants for legal work Quinn Emanuel indisputably performed on behalf of the

 8    Sheriff and LASD in litigation brought by the County against the Sheriff and LASD in County of

 9 Los Angeles v. SheriffAlex v Villanueva, et al., Case No. 19STCP00630 (the “Mandovan matter”).

10 The County, acting through its Board of Supervisors and County Counsel, determined to sue the
11    Sheriff and LASD, declared a conflict between the Board and the Sheriff/LASD pursuant to
12 California Government Code Section 31000.6, which conflict disqualified County Counsel from

13    representing any of its three clients regarding the matter, and authorized the Sheriff to engage
14 counsel to defend the lawsuit. The Sheriff engaged Quinn Emanuel as authorized, and County

15    Counsel confirmed that Quinn Emanuel had been retained by the Board pursuant to Section
16 31000.6. That retention was subsequently memorialized in a written engagement agreement

17 between Quinn Emanuel and the Sheriff and LASD. Quinn Emanuel proceeded to litigate on

18 behalf of the Sheriff and LASD, but Defendants have failed to pay any amount of fees and costs to
19 Quinn Emanuel even though Quinn Emanuel was retained pursuant to the Board’s and County

20 Counsel’s authorization, and that Quinn Emanuel defended the Sheriff/LASD in the lawsuit filed

21    by the County.
22                                      JURISDICTION AND VENUE
23           2.        Jurisdiction is proper pursuant to California Constitution Article VI, Section 10 and

24    California Code of Civil Procedure section 410.10.
25           3.        Venue in this Court is proper under California Code of Civil Procedure section 401
26    because the conduct complained of herein occurred in the County of Los Angeles and the
27    Defendants are all located in the County of Los Angeles.
28

                                                          1
                                                    COMPLAINT
     Case 3:17-cv-06748-WHO Document 494-7 Filed 10/25/23 Page 352 of 412




 1                                             THE PARTTES

 2             4.    Plaintiff Quinn Emanuel is, and at all relevant times was, a California limited
 3    liability partnership engaged in the practice of law. Quinn Emanuel has maintained, and at all
 4    relevant times did maintain, an office located at 865 South Figueroa Street, 10th Floor, Los
 5    Angeles, California 90017.
 6             5.    Defendant the County of Los Angeles is a charter county and a legal subdivision of
 7    the State of California, located at 500 West Temple Street, Los Angeles, CA 90012.
 8             6.    Five elected members of the Board of Supervisors comprise the executive,
 9    legislative and for some purposes quasi-judicial branch of County government. See Cal. Const.
10    Art. 11, § 1(a); Government Code § 23005; Los Angeles County Charter Art. II § 4. Under State
11    law the Board “directs and controls” litigation in which the County is a party. Government Code §
12    25203.

13             7.    For charter counties like Los Angeles, the position of County Counsel is created by
14 County Charter. Cal. Const., Art. 11, § 4(c). County Counsel must provide legal services and
15 opinions to the county and all county departments and officers, including the Board of
16 Supervisors, the Sheriff and LASD. Government Code §§ 26520, 27642. County Counsel defends
17 civil actions where the County or any officer is a party in an official capacity. Government Code §
18 26529(a). When, as here, the interests of one of County Counsel’s clients conflicts with another in
19 a matter in which County Counsel has advised both sides, County Counsel is disqualified from
20 representing either side under the California Rules of Professional Conduct. See Government
21 Code § 36000.1; Rule of Professional Conduct 1-7; Civil Service Commission v. Superior Court
22    (County of San Diego), 163 Cal. App. 3d 163, 77-78 (1984); People ex rel. Deukmejian v. Brown,

23    29 Cal. 3d 150, 155 (1981).

24             8.    The California Constitution requires each county in California to have an
25    independently elected Sheriff. Cal. Const. Art. 11 § 1(b). Under State law, the Sheriff has
26    independent authority to, among other things, preserve the peace, investigate crime and arrest and
27 jail those who commit public offenses. See Cal. Gov. Code §§ 26600, 26601, 26602. In

28    furtherance of those duties, the Sheriff has authority to “appoint as many deputies as are necessary

                                                       2
                                                   COMPLAINT
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 1    for the prompt and faithful discharge of the duties of his office.” Cal. Gov. Code §§ 24000, 24101.
 2    On investigative, law enforcement functions, the Sheriff does not report to the Board, but rather to
 3    the State Attorney General. The Sheriff was at all relevant times the elected Sheriff of Los
 4    Angeles County, overseeing LASD located at Hall of Justice, 211 W. Temple Street, Los Angeles,
 5    CA 90012 LASD is the largest sheriff’s department in the country, with approximately 9,000
 6    sworn Deputies and over 18,000 total employees.
 7           9.      Unlike the direct oversight exercised by the Board of Supervisors over most
 8    County departments, the Board’s authority “shall not be construed to affect the independent and
 9    constitutionally and statutorily designated investigative and prosecutorial functions of the
10    sheriff . . . .” Cal. Gov. Code § 25303. Although the Board provides the Sheriff’s Department with
11    its budget, it may not direct how that budget may be spent: “The control by a board of supervisors
12    over the manner in which funds allocated to the sheriff and district attorney are to be expended,
13    including the assignment of personnel, would impair the exercise of those officers of their
14    constitutionally and statutorily defined powers. Such supervisory control would directly
15    conflict with the admonition that ‘the board has no power to perform county officers’
16    statutory duties for them or direct the manner in which those duties are performed.” 77 Cal.
17    Op. Att’y Gen. 82 (1994) (quoting Hicks v. Board of Supervisors 69 Cal. App. 3d 228 (1977)

18    (emphasis added). “Accordingly, it is concluded that a county board of supervisors is not
19    authorized to govern the actions of a sheriff or district attorney concerning the manner in which
20    their respective budget allotments are expended or the manner in which personnel are assigned.”
21    Id.

22                                      FACTUAL ALLEGATIONS
23           A.      The County Expressly Authorizes The Sheriff To Select Independent Counsel.
24           10.     On Thursday, February 28, 2019, County Counsel sent the Sheriff a letter, stating

25    that a conflict had arisen between him and the Board regarding the Sheriff’s decision to rehire a
26    Deputy Sheriff who had been previously terminated, Deputy Mandoyan. County Counsel, who
27    had advised both the Board and the Sheriff regarding the facts underlying the dispute, appeared to
28

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                                                   COMPLAINT
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 1    realize it had an actual conflict of interest once the Board, unbeknownst to the Sheriff, decided to
 2 sue the Sheriff and LASD regarding the Mandoyan matter.

 3            11.    In the letter, the Board (through County Counsel) expressly offered—as they were
 4 required pursuant to California Government Code section 31000.6(a), which the letter cites—to

 5 provide the Sheriff with independent legal counsel “on the question of whether under the Los

 6 Angeles County Charter, [he] had the authority to settle the civil actions involving Mr. Mandoyan

 7 absent the approval of County Counsel and the Board of Supervisors.” Exhibit A. However,

 8 rather than retain counsel on the Sheriff’s behalf, County Counsel left the selection of counsel to

 9 the Sheriff, and the letter expressly authorizes the Sheriff himself to select independent counsel for

10 the Mandoyan matter. Id. (“You may select which independent counsel to represent you in this
11    matter.”) Id. The letter imposes no restrictions on the selection of counsel for the Mandoyan
12 matter, but notes that the Board retained discretion “to pay such compensation as it deems just and

13    proper for [those] services.” Id.
14           B.      The Sheriff Retains Quinn Emanuel As Independent Counsel For The
                     Mandoyan Matter.
15
              12.    A few days later, on or about March 3, 2019, the Sheriff—in reliance on the
16
      February 28 letter and the express authorization therein to select independent counsel—engaged
17
      Quinn Emanuel as counsel.
18
              13.    That same weekend, on the evening of Sunday, March 3, before the Sheriff could
19
      have had any meaningful opportunity to prepare a defense, the County’s outside counsel, Miller
20
      Barondess, emailed the Sheriff to inform him that the County was suing him and LASD the next
21
      day, and would appear in court seeking a temporary restraining order the day after that. Shortly
22
      after midnight on March 4, the County sued the Sheriff and LASD in Los Angeles County
23
      Superior Court. i
24

25

26    1 Regrettably, notwithstanding its conflict of interest arising out of its joint representation of the
   County and the Sheriff and LASD regarding the Mandoyan matter, County Counsel improperly
27
   continued to advise the Board regarding the dispute; in so acting County Counsel was advising
28 one client adverse to the interests of its other clients whom County Counsel had represented
   regarding the subject matter of the lawsuit.
                                                          4
                                                    COMPLAINT
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 1            14.    Quinn Emanuel’s representation is memorialized in a written agreement dated
 2    March 28, 2019 and effective as of the first day Quinn Emanuel began providing legal services to
 3    the Sheriff and LASD in the Mandoyan matter: March 4, 2019 (the “Engagement Agreement”).

 4    The Engagement Agreement is signed by the Sheriff on behalf of himself, in his official capacity,
 5    and LASD. Exhibit B. Consistent with the terms of the February 28 letter, the scope of the Quinn
 6    Emanuel’s engagement covers the County’s lawsuit and matters directly related to defense of the
 7    lawsuit. It includes anticipated billing rates ranging from $695 per hour to $1400 per hour, but

 8    acknowledges (consistent with the February 28 letter) that the Board has agreed to pay an
 9    unspecified amount of the Sheriff and LASD’s legal fees and costs. It also includes an arbitration
10    provision, requiring that any dispute as to attorneys’ fees and/or costs be resolved via arbitration in
11    Los Angeles, with JAMS arbitrators in accordance with the JAMS Streamlined Arbitration Rules
12    and Procedures.
13           C.      Quinn Emanuel Commences Its Representation Of The Sheriff And LASD,
                     Without Objection By The County, The Board Or County Counsel.
14
              15.    The County’s immediate request for emergency relief via a TRO hearing went
15
      forward on March 6, 2019. Quinn Emanuel appeared on behalf of the Sheriff and LASD, who
16
      were both named by the County and who both were the subject of the TRO application. The
17
      County, eager to obtain its emergency relief and recognizing that the Sheriff required counsel to
18
      proceed, raised no objection to Quinn Emanuel’s appearance or representation of the Sheriff and
19
      LASD at that hearing; to the contrary, the County announced “Ready” on its TRO Application.
20
      Numerous representatives of the County Counsel’s office, including the County Counsel herself,
21
      who were also present, raised no objection to Quinn Emanuel’s appearance or representation of
22
      the Sheriff and LASD. Quinn Emanuel filed papers in opposition and the matter was vigorously
23
      argued. At the conclusion of the hearing, the Sheriff and LASD prevailed, and the County’s TRO
24
      application was denied by the Court. At no time during the hearing did anyone from the County,
25
      County Counsel’s office, or the County’s outside counsel at Miller Barondess suggest that any
26
      further action—such as a contract with the Board—was required for Quinn Emanuel to lawfully
27
      represent the Sheriff and LASD in the Mandoyan matter.
28

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                                                    COMPLAINT
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 1           16.     Over the next month, the parties and their respective outside counsel, Miller
 2    Barondess and Quinn Emanuel, vigorously litigated the case. All papers served and
 3    correspondence sent by the County were directed to Quinn Emanuel as counsel for the Sheriff and
 4    LASD, and neither County Counsel, nor Miller Barondess raised any objection to Quinn

 5    Emanuel’s representation of the Sheriff and LASD—nor insisted that a written agreement between
 6    Quinn Emanuel and the County was required to represent the Sheriff and LASD or to be paid for
 7    that representation. All proofs of service filed with the Court by the County attested that Quinn
 8    Emanuel was counsel for the Sheriff and LASD. Neither the County, County Counsel, nor Miller
 9    Barondess raised any objection to Quinn Emanuel’s representation of the Sheriff and LASD—nor

10    insisted that a written agreement between Quinn Emanuel and the County was required to
11    represent the Sheriff and LASD or to be paid for that representation.

12
             D.      County Counsel Belatedly Demands That Quinn Emanuel Contract With
13
                     County Counsel To Be Paid For Its Representation Of The Sheriff And LASD.

14           17.     After the County’s initial ambush tactic failed and the case had been ongoing for
15    nearly a full month, and notwithstanding a) County Counsel’s conflict of interest, b) the February
16    28 letter authorizing the Sheriff to engage independent counsel, c) the allegations of the County’s
17    lawsuit, and d) the litigation activity that had already occurred without objection, County Counsel
18    wrote to Quinn Emanuel on March 29, 2019, demanding—for the first time—that Quinn Emanuel
19    enter into a written contract with County Counsel to be paid.
20           18.     Notably, County Counsel’s March 29, 2019 letter to Quinn Emanuel, written on

21    County Counsel letterhead and signed by Thomas J. Faughnan, Senior Assistant County Counsel,
22    does not dispute that Quinn Emanuel was validly retained (when selected by the Sheriff) to
23    represent the Sheriff in connection with the Mandoyan matter. To the contrary, County Counsel

24    confirmed Quinn Emanuel’s representation by the Board. Mr. Faughnan wrote, “As you know,
25 you were retained under Government Code section 31000.6(a), which authorizes the Board of

26    Supervisors to employ legal counsel to assist the Sheriff in any case where the County Counsel

27    would have a conflict of interest.” Exhibit C (emphasis added). Mr. Faughnan then identified the

28

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                                                   COMPLAINT
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 1    hourly rate approved by the County before providing billing requirements that he asserted Quinn
 2 Emanuel must agree to before it could remit invoices for payment.

 3           19.     The County thus threatened to withhold payment from its adversaries’ legal counsel
 4 unless and until Quinn Emanuel agreed to unreasonable and unacceptable terms unilaterally

 5 imposed by the County. First, County Counsel asserted that Quinn Emanuel could only represent

 6 the Sheriff, not LASD, even though the County had itself named LASD as a defendant, sought a

 7 TRO and preliminary injunction as to LASD, and had not previously objected to the fact or scope

 8 of representation by Quinn Emanuel. Second, County Counsel dictated that the Sheriff could only

 9 have counsel for one issue out of several raised in the lawsuit, and only on two out of the County’s

10 three causes of action. Third, County Counsel was unequivocal that under no circumstances
11    would the Sheriff ever be reimbursed for legal fees and costs incurred prior to Quinn Emanuel
12 entering into a contract with conflicted County Counsel, meaning that work performed for the

13    first month, and continuing indefinitely thereafter, defending the County’s emergency TRO
14 application, preparing a response to the Petition/Complaint, propounding, and meeting and

15    conferring about discovery, etc. would be uncompensated. Fourth, the proposed agreement fixed
16 the hourly rate for all partners and associates at a blended rate of $495 per hour—well below the

17 rates included in the Engagement Agreement.2 Fifth and finally, the County insisted that Quinn

18 Emanuel submit invoices directly to conflicted County Counsel for review, despite the clearly-
19 privileged nature of the invoices, which included a description of the specific services rendered

20 and hours worked.

21           20.     On April 16, 2019, Quinn Emanuel rejected the terms in the proposed agreement
22    and explained that the Sheriff had already engaged counsel pursuant to his express authorization in
23    the February 28 letter, an engagement agreement had been entered into with the clients (the Sheriff
24    and LASD), and that County Counsel was conflicted and so under the Rules of Professional
25

26    After initially refusing to provide information regarding the hourly rates paid to its own
      2

   attorneys on the specious claim that hourly rates were “privileged,” the County ultimately
27
   admitted that the $495 hourly rate was the rate Miller Barondess received. Plaintiffs never
28 confirmed the hourly rate paid to OMM, which Quinn Emanuel understands exceeded the hourly
   rate paid to Miller Barondess.
                                                       7
                                                  COMPLAINT
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 1    Conduct could have no involvement whatsoever in the matter. The County Counsel’s office
 2    appeared to accede to these (correct) positions, as it never responded.
 3           21.     Quinn Emanuel continued to litigate the matter with Miller Barondess, who had not
 4    objected to Quinn Emanuel acting on all issues and claims on behalf of the Sheriff and LASD, and
 5    who in fact repeatedly continued to acknowledge Quinn Emanuel’s representation of both
 6    defendants on all issues in the case the County had filed against them.
 7           E.      O’Melveny & Myers Objects To Quinn Emanuel’s Representation Of The
                     Sheriff And LASD.
 8
             22.     Notwithstanding County Counsel’s clear acknowledgment that Quinn Emanuel had
 9
      been retained by the Board pursuant to Section 31000.6 and the months that Quinn Emanuel had
10
      spent litigating on behalf of the Sheriff and LASD—without objection—on May 31, 2019, another
11
      outside law firm, O’Melveny & Myers (“OMM”), a global “big law” law firm, wrote Quinn
12
      Emanuel stating that it too was representing the County regarding the dispute, and asserting—for
13
      the first time—that Quinn Emanuel could not represent either the Sheriff or LASD at all.
14
             23.     Incredibly, OMM further asserted that LASD could not legally be sued (even
15
      though OMM’s client, the County, had sued LASD and averred to the Court that it could be sued),
16
      because it has no separate legal personality from the County and is controlled by the Board. When
17
      these assertions were shown to contradict the specific allegations of the lawsuit and state law,
18
      OMM responded that Quinn Emanuel should have demurred to the County’s Complaint, while
19
      maintaining that Quinn Emanuel could not represent LASD. OMM also flatly refused to dismiss
20
      LASD, despite the assertion that it lacked a separate legal personality.
21
             24.     In an effort to negotiate in good faith a potential agreement with the County, Quinn
22
      Emanuel requested information regarding the hourly rates the Board had agreed to pay Miller
23
      Barondess or OMM (or another global law firm, Latham & Watkins, who also represented the
24
      Board in this dispute), or the total fees and costs expended by the County in its case against the
25
      Sheriff/LASD. County Counsel and OMM flatly refused to provide this information, claiming
26
      such information was “privileged,” notwithstanding that an attorney’s hourly rate (as opposed to,
27

28

                                                         8
                                                   COMPLAINT
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 1    for example, the number of hours worked) cannot possibly reveal the substance of any attorney-
 2    client privileged communications or information, or any legal strategy.
 3           F.      Quinn Emanuel Seeks A Declaration Of Conflict And Confirmation Of
                     Selection Of Counsel.
 4
             25.     Quinn Emanuel subsequently filed an ex parte application, pursuant to Government
 5
      Code Section 31000.6, seeking a declaration that a conflict existed between the Board and LASD
 6
      and that Quinn Emanuel be confirmed as counsel. On July 9, 2019, the Court declined to grant the
 7
      application because (1) Government Code Section 31000.6 does not allow for the Court to make a
 8
      finding of a conflict between the Board and LASD; and (2) the Court was not asked to determine
 9
      whether a conflict existed between the Board and Sheriff such that an ethical wall could not be
10
      established, as required by Section 31000.6. The Court noted that the Board concurred that a
11
      conflict existed between the Board and Sheriff under Section 31000.6. The Court made no ruling
12
      whatsoever regarding the validity or enforceability of the Engagement Agreement.
13
             G.      The County’s Attempt To Disqualify Quinn Emanuel Fails.
14
             26.     On August 22, 2019, the County filed its own ex parte application, requesting that
15
      the Presiding Judge remove Quinn Emanuel as counsel of record in the Mandoyan matter. In its
16
      September 19, 2019 order, the Court flatly rejected that request.
17
             27.     Unfortunately, despite the Court’s nudging the parties to enter into a contract for
18
      payment, the County refused to pull back from its untenable demands, including its position that
19
      Quinn Emanuel never receive a single cent for work rendered prior to execution of any agreement
20
      with the Board,3 and no additional agreement was reached.
21

22

23

24

25    The County’s consistent refusal to pay Quinn Emanuel for any work rendered prior to the
      3

   execution of a contract with County Counsel was even at odds with representations made by
26 OMM to the Presiding Judge, who agreed that such a position was not tenable. Despite
   representing to the Court that Quinn Emanuel could be paid for prior work if it signed a contract
27
   with the County and that Mr. Faughnan would be walled off from the rest of the County Counsel’s
28 office, OMM insisted that Quinn Emanuel sign the same March 29, 2019 contract that provided
   for neither.
                                                        9
                                                   COMPLAINT
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 1              H.    Quinn Emanuel Substitutes Out Of The Case And Requests Payment For
                      Services Provided To The Sheriff And LASD, Which The County Refuses.
 2
                28.   Quinn Emanuel substituted out of the case in January 2020. At that time, Plaintiffs
 3
      had made no payment whatsoever of attorneys’ fees or costs despite their legal obligation to
 4
      employ counsel for the Sheriff, their delegation of authority to the Sheriff to select his own
 5
      counsel, and the undisputed fact of Quinn Emanuel’s representation of the Sheriff.
 6
                29.   One payment of several invoices for the first few months of legal services was
 7
      approved internally by the County, and a County check was prepared in payment thereof in the
 8
      amount of $280,075.94, but counsel apparently interceded with the auditor-controller on behalf of
 9
      the Board and blocked the delivery of the payment to Quinn Emanuel. Plaintiff Quinn Emanuel
10
      billed and is owed a sum according to proof at hearing in unpaid attorneys’ fees and costs
11
      defending the Sheriff and LASD.
12
                30.   In December 2020 and January 2021, Quinn Emanuel submitted to the attorney at
13
      County Counsel responsible for paying Quinn Emanuel an overview of the work performed on
14
      behalf of the Sheriff in order to finally be paid for its work. In a January 11, 2021 letter from
15
      OMM, the County refused to approve the invoices for payment.
16
                31.   On March 2, 2021, Quinn Emanuel served each of the Defendants with a Notice of
17
      Client’s Right to Fee Arbitration identifying the outstanding balance for fees and/or costs for
18
      professional services charged in the Mandoyan matter.
19
                32.   To date, Defendants have never paid Quinn Emanuel for any of the legal services
20
      provided in the Mandoyan matter, nor have Defendants reimbursed Quinn Emanuel for any fees or
21
      costs incurred by Quinn Emanuel arising out of its representation of the Sheriff and LASD in that
22
      matter.
23
                                          FIRST CAUSE OF ACTION
24
                                               Breach of Contract
25
                33.   Plaintiff incorporates by reference each and every allegation contained in
26
      paragraphs 1 to 32 as if set forth fully herein.
27

28

                                                         10
                                                     COMPLAINT
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 1            34.     As set forth above, Quinn Emanuel was retained on an emergency basis to
 2    represent the Sheriff and LASD at the hearing on the County’s emergency request for a TRO mere
 3    days after the Sheriff was informed he required counsel. Thereafter, Quinn Emanuel and the
 4    Sheriff and LASD negotiated a written Engagement Agreement (Exhibit B) to memorialize and
 5    record the terms of Quinn Emanuel’s engagement, consistent with the terms of the Sheriff’s
 6    express authorization in the February 28 letter (Exhibit A). The Engagement Agreement was
 7    dated March 28, 2019 and effective retroactive to the first date upon which Quinn Emanuel
 8    provided legal services to the Sheriff and LASD in the Mandoyan matter: March 4, 2019. The

 9    Engagement Agreement was signed by both Quinn Emanuel and the Sheriff on behalf of himself
10    and LASD.
11            35.     Quinn Emanuel has performed its obligations under the Engagement Agreement by
12    providing legal services to the Sheriff and LASD in connection with the County litigation.

13            36.     Defendants have breached the Engagement Agreement by failing to fully pay
14    Quinn Emanuel’s legal fees and costs incurred on their behalf in connection with the County
15    litigation. Defendants’ failure to pay Quinn Emanuel is a material breach of the Agreement.
16            37.     As a direct and proximate cause of Defendants’ breach, Quinn Emanuel has been
17    damaged in an amount according to proof, plus interest and further fees thereon. The exact
18    amount of Quinn Emanuel’s damages will be proven at the hearing herein.
19                                      SECOND CAUSE OF ACTION

20                                    Services Rendered / Quantum Meruit
21            38.     Plaintiff incorporates by reference each and every allegation contained in
22    paragraphs 1 to 37 as if set forth fully herein.
23            39.     Quinn Emanuel performed legal services and incurred costs on behalf of the Sheriff
24    and LASD, at Defendants’ request, in good faith. Defendants’ request was legally authorized and
25    effective to bind Defendants.
26            40.     Defendants accepted the legal services provided by Quinn Emanuel and directly
27    benefitted as a result. Defendants were aware that Quinn Emanuel’s legal services were not being
28    rendered gratuitously, as indicated by the February 28 letter (Exhibit A), the Engagement

                                                         11
                                                     COMPLAINT
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 1    Agreement (Exhibit B), Quinn Emanuel’s invoices, and the approval of several invoices in the

 2    amount billed and the preparation of a check payable to Quinn Emanuel therefor.

 3           41.     Quinn Emanuel has requested payment from Defendants for the reasonable value of
 4    its legal services and costs. However, Defendants have refused, and continue to refuse, to pay
 5    Quinn Emanuel for the reasonable amount of its legal services and costs incurred defending the
 6    Sheriff and LASD against the County’s lawsuit.
 7           42.     Quinn Emanuel has requested payment from Defendants for the reasonable value of
 8    its legal services and costs. However, as a direct and proximate result of Defendants’ failure to
 9    pay Quinn Emanuel, Quinn Emanuel is owed the reasonable value of its legal services, plus
10    interest and further fees thereon. The exact amount of Quinn Emanuel’s damages will be proven
11    at the hearing herein.
12                                      THIRD CAUSE OF ACTION

13                                           Promissory Estoppel

14           43.     Plaintiff incorporates by reference each and every allegation contained in

15 paragraphs 1 to 42 as if set forth fully herein.
16           44.     The February 28 letter is a clear and unambiguous promise by the County (through
17 County Counsel) authorizing the Sheriff to engage conflict counsel regarding the dispute between
18 the Board and the Sheriff; Quinn Emanuel reasonably relied on the February 28 letter in
19 representing the Sheriff and appearing on his behalf, including on an emergency basis at the TRO
20 hearing. Quinn Emanuel’s reliance on the February 28 letter was foreseeable and known to the
21 County from March 6, 2019 forward, as Quinn Emanuel had by that time appeared as counsel for
22    the Sheriff and LASD.

23           45.     Quinn Emanuel has been damaged by the promises contained in the February 28
24    letter, and its reliance thereon, in the amount of attorneys’ fees and costs incurred in representing
25    the Sheriff and LASD in the lawsuit filed by the County.
26

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                                                         12
                                                    COMPLAINT
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 1                                      FOURTH CAUSE OF ACTION

 2                                              Open Book Account

 3            46.     Plaintiff incorporates by reference each and every allegation contained in
 4    paragraphs 1 to 45 as if set forth fully herein.
 5            47.     Beginning in or about March 4, 2019, Quinn Emanuel represented Defendants the

 6    Sheriff and LASD as their legal counsel in the Mandoyan Matter and Underlying Case and

 7    performed legal services in connection therewith, thereby creating an attorney-client relationship.

 8            48.     In connection with the Representation, Quinn Emanuel sent the Sheriff and LASD

 9    the Invoices, detailing the legal fees and costs incurred on their behalf in the Underlying Case.
10            49.     Beginning in or about June 2019, Defendants became indebted to Quinn Emanuel
11    on an open book account for money due, owing and unpaid to Quinn Emanuel for legal services
12    provided by Quinn Emanuel to, and for the benefit of, Defendants.
13            50.     Defendants’ indebtedness is based on an account kept by Quinn Emanuel in a
14     reasonably permanent manner in Los Angeles, California, showing the debits and credits
15     between Quinn Emanuel and Defendants arising from Quinn Emanuel’s work in connection with

16    the Underlying Case. This account was created, and is kept, in the ordinary course of Quinn
17    Emanuel’s business.
18            51.     There is now due, owed and unpaid from Defendants to Quinn Emanuel, as
19    reflected by the account kept by Quinn Emanuel, a sum that will be proven at the hearing herein,
20    plus interest and further fees thereon.
21                                            PRAYER FOR RELIEF

22           WHEREFORE, Plaintiff Quinn Emanuel Urquhart & Sullivan, LLP prays for relief as
23    follows:
24            1.      Compensatory damages in an amount to be established by proof;
25            2.      Interest, including but not limited to pre-judgment interest, at the legal rate; and
26            3.      For attorneys’ fees, costs of suit, and such other and further relief as this Court may
27                    deem just and proper.
28

                                                          13
                                                     COMPLAINT
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 1                                              JURY DEMAND
 2          Plaintiff requests a trial by jury on all issues so triable.

 3    DATED: August 10, 2023                        QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP
 4

 5

 6                                                   By         lS2s
                                                          John P. D’Amato
 7                                                        Attorneys for QUINN EMANUEL URQUHART
                                                          & SULLIVAN, LLP
 8

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                                 INDEX OF EXHIBITS

Exhibit   Description                                                              Page(s)

  A       2019.02.28 Letter from M. Wickham to A. Villanueva re Conflict                16-17
          Counsel
  B       2019.03.28 Retainer Agreement Between Quinn Emanuel and the                   18-47
          Sheriff and LASD
  C       2019.03.29 Proposed Retainer Agreement from T. Faughnan to                   48-62
          Quinn Emanuel_____________________________________________




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              Exhibit




                                                            Exhibit A - Page 16
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                         COUNTY OF LOS ANGELES
   Si»\
    |§;
                          OFFICE OF THE COUNTY COUNSEL
                               648 KENNETH HAHN HALL OF ADMINISTRATION
                                        500 WEST TEMPLE STREET
                                   LOS ANGELES. CALIFORNIA 90012-2713           TELEPHONE
                                                                                (213)974-1801
                                                                                FACSIMILE
MARY C. WICKHAM
 County Counsel                           February 28, 2019                     (213)626-7446
                                                                                TDD
                                                                                (213)633-0901
                                                                                E-MAIL
   Via Messenger and                                                            mwickham@counsel.lacounty.gov
   Acknowledgement of Receipt

   The Honorable Alex Villanueva
   Sheriff, Los Angeles County
   211 West Temple Street, 8th Floor
   Los Angeles, California 90012

             Re:       Conflict of Interest Regarding Mr. Caren Mandoyan

   Dear Sheriff Villanueva:

           This letter shall serve as notice that the Los Angeles County Board of Supervisors
   has agreed to offer you conflict counsel on the question of whether under the Los Angeles
   County Charter you had the authority to settle the civil actions involving Mr. Mandoyan
   absent the approval of County Counsel and the Board of Supervisors.

           Accordingly, pursuant to California Government Code section 31000.6(a), the
   Board of Supervisors will provide you with independent legal counsel for the sole issue
   stated above. To be clear, the Board of Supervisors has not authorized you to use
   independent counsel for any other issue. The scope of independent counsel's
   representation is limited to this specific matter.

         You may select which independent counsel to represent you in this matter.
   However, please note that the Board of Supervisors has discretion to pay such
   compensation as it deems just and proper for these services. (Government Code § 31000).

          If you have any questions regarding the above, please contact my office and 1
   would be happy to discuss further.

                                                  (ry truly yours,


                                               MARY C. VnjCKHAM
                                               County Counsel

   MCW:mag

   c:        Honorable Board of Supervisors
             Sachi A. Hamai, Chief Executive Officer
             John Naimo, Auditor-Controller
                                                                                      Exhibit A - Page 17
   HO A. 102479957.1
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              Exhibit B




                                                            Exhibit B - Page 18
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                    Qllinil emanuel trial lawyers I Its aageles
                    865 South Figueroa Street, 10th Floor, Los Aageles, California 90017-2543 ! TEL (213) 443-3000 FAX (213) 443-3100




                                                                                                                         Write   r 's Dire ct  Dial No .
                                                                                                                                         (213) 443-3150

                                                                                                                       Writ er 's Email Addre ss
                                                                                                              stevemadison@quinnemanuel.com



            March 28, 2019


           Strict ly Confide ntia l - Attorney                         -Client
           Privil eged Materi al
           Via Email


           Hon. Alex Villanueva
           Los Angeles County Sheriff
           Los Angeles County Sheriffs Department
           Hall of Justice
           211 W. Temple Street
           Los Angeles, CA 90012

           Re:         County of Los Angeles v. Alex Villanueva, et al.

           Dear Sheriff Villanueva:

           We are pleased to confirm your engagement of Quinn Emanuel Urquhart & Sullivan, LLP
           ("QEU&S") as counsel to represent both you and the Los Angeles County Sheriffs
           Department (henceforth, in this letter, for the sake of brevity and convenience, both you and the
           Los Angeles Sheriffs Department (“Sheriffs Department”) are referred to as "LASD") in
           connection with the civil lawsuit entitled County ofLos Angeles v. Alex Villanueva, Caren Carl
           Mandoyan, and Los Angeles County Sheriff’s Department, etal., Case No. 19STCP00630 (“the
           lawsuit”). The purpose of this letter is to confirm the terms and conditions upon which QEU&S
           will provide legal services to LASD in connection with the lawsuit (such provision of legal
           services henceforth will be referred to as “the Engagement”). We believe that a mutual
           understanding of these terms and conditions at the outset is fundamental to establishing a good
           working relationship. In this engagement letter, we sometimes refer to you and LASD as "you"
           or "your" and to QEU&S as "we," "our" or "us."

           Client

           Our engagement is on behalf of LASD (meaning both you in your capacity as Sheriff of Los
           Angeles County in the above-titled lawsuit and the Sheriffs Department) and no one else. In
           representing LASD, save as set forth below in connection with joint representation of both you


                    LOS ANGELES    NEW Y< )RK   SAN FRANCISCO   SILICON VALLEY   CHICAGO    WASHINGTON. DC     HOUSTON     SEATTLE   POSTON SALT LAKE CITY
0081 1-99578/107455|5^4l • ON   TOKYO   MANNHEIM    HAMBURG     PARIS . MUNICH   SYDNEY   HONG K‘ 'NO   BRUSSELS   ZURICH • S HANG MAI   PERTH   STUTTGART

                                                                                                                                          Exhibit B - Page 19
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and the Sheriff s Department, we will not be representing any other officers, employees, or other
persons affiliated with LASD in their individual capacities. If any such individuals believe that
they might require counsel, we would be happy to discuss with them whether we might be able
to represent them as well, but any such representation would need to be covered by a separate
engagement letter, and would depend on a review by us and disclosure to all concerned of the
conflicts of interest that would arise in connection with any such concurrent representation, and
on appropriate consents being obtained from LASD and from those seeking such additional
representation.

Scope of Engagement

You have engaged QEU&S to represent you in connection with the Engagement. Our scope of
work in the Engagement will entail defending LASD in the lawsuit and matters directly related
to such defense of the lawsuit, such as filing any cross-claim in the lawsuit or responding to
inquiries from the Office of Inspector General concerning the matters involved in the lawsuit.
QEU&S's services will be limited to the representation of LASD in the Engagement. Our
services will not extend to other business, personal or legal affairs of LASD, or to any other
aspect of LASD's activities, except as described above in this section. Our representation will
conclude with the settlement of the lawsuit or entry of an award or judgment in the lawsuit or for
any of the reasons stated in the Date of Commencement and Termination of the Engagement
section of this letter. Our engagement does not include the defense or prosecution of an appeal.
If an appeal is appropriate and if we agree to represent LASD in the appeal, we reserve the right
to enter into a separate agreement for that representation. QEU&S's receipt or use of confidential
or other information from LASD or others in the course of this representation does not mean that
QEU&S will render any other advice or services either to LASD or any other person or entity.
Similarly, LASD will not look to or rely upon QEU&S for any investment, accounting, financial
or other non-legal advice, including without limitation any advice regarding the character or
credit of any person with whom LASD may be dealing.

Insurance Coverage and Claims

LASD understands and agrees that QEU&S is not being engaged to advise regarding the
existence of any insurance coverage in connection with the circumstances of the Engagement or
to advise or assist in the formulation or submission of any insurance claim in connection with the
Engagement. If LASD has not done so already, LASD should consider tendering this entire
matter to any entity that provides any insurance coverage or indemnification or reimbursement of
expenses in defending against lawsuits, such as the Office of County Counsel or County Board
of Supervisors in order to determine whether there is insurance coverage or right to
indemnification or reimbursement of expenses, including attorney’s fees and costs, for any of the
claims asserted and the entirety of expenses that might be incurred in defending against the
lawsuit.

Responsible Persons - Communications Between QEU&S and LASD

We will keep LASD regularly and currently informed of the status of the Engagement and will
consult with you whenever appropriate. Within QEU&S, I will be primarily responsible for the
Engagement and will be actively involved in the preparation of the case and any trial. My office


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telephone number and e-mail address are (213) 443-3150 and
stevemadison@quinnemanuel.com. In the event that you need to reach me and I am
unavailable, please leave a voicemail message for me. It is my policy that all calls will be
returned promptly and, in any event, no later than within one business day of receipt of the call;
if you have not received a return call within that time, please call again. Also, should you have
an urgent need to reach me, my cell phone number is 213-880-1131. In the event of an
emergency, please call my assistant, Vanessa Velez at 213-443-3131, and she will endeavor to
reach me as soon as practicable thereafter.

We currently anticipate that John Gordon and Scott Mills also will be working with me on the
Engagement, but we may change the staffing as the need arises. Their office telephone numbers
and e-mail address arejohngordon@quinnemanuel.com / 213-443-3613 and
scottmills@quinnemanueI.com / 213-443-3636. John Gordon’s cell phone number is 626-818-
6504. I will of course seek to staff this Engagement in a manner that I think will be the most
effective and efficient. I will be happy to discuss with you any staffing issues or concerns you
may have at any time.

Protection of Client Confidences - High Tech Communication Devices

We are always mindful of our central obligation to preserve the precious trust which our clients
repose in us—their secrets and confidences. We take this duty very seriously and, except to the
extent permitted by the applicable rules of professional conduct, we will not disclose any
confidential information of yours to any other client or person. Similarly, we cannot disclose to
you the confidences of any other client, even when such information relates to matters that might
affect you.

In order to meet our obligation to preserve your confidences, it is important that we agree from
the outset what kinds of communications technology we will employ in the course of this
Engagement. Unless you specifically direct us to the contrary, for purposes of this Engagement,
we agree that it is appropriate for us to use fax machines and e-mail in the course of the
Engagement without any encryption or other special protections. Please notify me if you have
any other requests or requirements in connection with the methods of telecommunication relating
to the Engagement.

LASD's Designee to Receive Communications

We understand that you have designated Lt. Roel Garcia as the person who is primarily
responsible for managing the Engagement within LASD and that he is authorized to direct our
activities and deal with us on any issues relating to the Engagement, including billing. Unless
otherwise directed by LASD, we shall fulfill our obligation to LASD to keep LASD informed as
to the progress of the Engagement by communicating with Lt. Garcia and by keeping him so
informed, and it shall be the obligation of Lt. Garcia to communicate with all others within
LASD regarding the progress of the Engagement.

Self-Representation

QEU&S has designated one of the firm's partners to act as the firm's General Counsel (the
"General Counsel"). The General Counsel acts as a lawyer to the firm, representing QEU&S in a

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variety of professional and legal matters and helping attorneys at the firm to comply with their
professional and ethical responsibilities to clients. Among other things, the General Counsel
provides QEU&S and its attorneys with legal advice concerning professional responsibilities,
potential or actual professional liabilities, and other matters. QEU&S also retains outside
counsel from time to time to provide similar legal advice to the firm. It is possible that attorneys
or staff working on matters for LASD may, from time to time, consult with the General Counsel
or QEU&S's outside counsel on matters related to our representation of LASD. In the course of
such consultation, QEU&S's attorneys and/or staff may disclose to the General Counsel or
QEU&S's outside counsel privileged information concerning LASD's representation, and may
receive legal advice related to QEU&S's work on LASD's matter, which legal advice QEU&S
may or may not disclose to you. QEU&S views such consultations as privileged and not
discoverable by anyone, not even the clients about whom such a consultation may take place. By
retaining QEU&S LASD acknowledges and consents to QEU&S's attorneys and staff consulting
with the General Counsel or QEU&S's outside counsel as they deem necessary, both during
QEU&S's representation of LASD and after such representation ends, and LASD confirms that
such communications are privileged and protected against disclosure to you.

Responsibilities of Client

In order to represent you effectively, it is important that you provide us with complete and
accurate information regarding the subject matter of the Engagement, and that you keep us
informed on a timely basis of all relevant developments. In addition, it is essential that LASD
and its officers and employees provide us with timely assistance and cooperation in connection
with the Engagement.

Recent changes in the case law addressing electronic discovery have profoundly altered the
obligations of the parties involved in litigation and their counsel. An understanding of these
changes, which relate to the duties of preservation and discovery of electronically stored
information ("ESI"), is an essential prerequisite to the development of a successful litigation
strategy for every client. Because the duty to preserve potentially relevant information is
triggered when litigation is reasonably anticipated or commenced, and because the failure to
comply with these rules can have dire consequences (including sanctions ranging from monetary
penalties, to entry of a default against you), we have prepared a written guideline explaining in
detail these rules, their operation, and the consequences of failing to adhere to them. In the event
LASD has not already issued a litigation hold in this matter, we request that you immediately do
so, consistent with the attached guidelines.

If you have any questions about the guidelines after you read them, please call us.

No Guarantee of Result

In providing legal advice to you, I or others at QEU&S may from time to time express opinions
or beliefs regarding the likely effectiveness of various courses of action or about results that may
be anticipated. You understand that any such statements are opinions and beliefs only and are
not promises or guaranties. We cannot and do not guarantee any particular course or outcome of
the Engagement.



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Joint Representation

To save legal fees and to present a unified case, we are, at LASD's request, representing both you
and the Sheriff s Department jointly in this matter. Based on the information you and the
Sheriffs Department have given us, we are not aware of any conflict of interest that would
preclude us from representing both parties (together, "Clients").

Each of the Clients has the right to retain separate counsel. However, the Clients have agreed
that joint representation by QEU&S is currently the most appropriate option for them. In this
regard, each Client acknowledges that it/he understands and accepts the following considerations
and risks associated with a joint representation. Each Client should discuss the following
considerations and risks, and any other questions or concerns each Client may have, with each
Client's own separate legal counsel, to make sure that each Client is comfortable with
participating in this joint representation.

           1.    Confidentiality and Privilege. In a joint representation, each of the participating
Clients is entitled to know what any of the other Clients has told us, as well as what we have
learned from third parties in connection with the representation. As among the jointly
represented Clients, there is no privileged or confidential information concerning matters within
the scope of the representation. Each Client's communications to us in the course of the joint
representation will generally be privileged as to third parties. Although we are bound to protect
the confidences of each Client from disclosure to third parties, such protection does not apply
vis-a-vis the other jointly represented Clients. In a joint representation such as this, all
confidences are shared confidences because we owe a duty to keep each Client informed
throughout the course of the representation. In addition, as a general matter, each jointly
represented Client is obliged to protect the confidences of the other jointly represented Clients
from disclosure to third parties. However, if a dispute were to arise between any of the jointly
represented Clients, information communicated in the course of the joint representation would
not be privileged or confidential in a proceeding to resolve the dispute.

         2.     Conflicts and Possible Withdrawal by OEU&S or Client. Joint representation
requires that all participating Clients take common positions as to all issues. As counsel to a
group of jointly represented Clients, QEU&S cannot take inconsistent positions for different
members of the group. There is always the potential that the individual interests of one Client
may not be the same as the interests of the other Client. This could result in the need for some or
all of the Clients to retain new counsel.

Based on our present understanding of the facts and the issues in the Engagement, we do not now
expect a divergence of interests to occur between the Clients, but it is possible that this could
change. If a divergence or conflict of interest were to arise between the Clients, we would not be
able to continue representing any of them unless both Clients consented. Depending on the
nature of the divergence or conflict, it might be possible for QEU&S to continue representing
each Client, provided that each gave consent. However, even with such consent, there could be
circumstances that render it inappropriate for QEU&S to continue representing either of the
Clients.




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If, due to a divergence or conflict of interest, it were necessary for one of the Clients ("Client A")
to be separately represented, the other ("Client B") could continue to be represented by QEU&S
if Client A consented. Similarly, Client A could continue to be represented by QEU&S if
Client B consented. In either case, the consent would have to include: (a) the former Client's
agreement that all information provided by the former Client to QEU&S prior to its withdrawal
from the representation of the former Client may be used in the representation of the continuing
Client(s); and (b) each former Client's agreement that it/he will not seek to disqualify QEU&S
from continuing to represent the continuing Client.

There is also the possibility that a Client may choose to withdraw from the joint representation
under circumstances where there is not a divergence or conflict of interest that necessitates
separate representation of the withdrawing Client. This should not interfere with our ability to
continue to represent the remaining Client. Accordingly, each Client understands and agrees that
in the event it/he withdraws from the joint representation under such circumstances, it/he hereby:
(a) consents to our continuing representation of the remaining Client; (b) agrees that all
information provided to QEU&S prior to the Client's withdrawal from the joint representation
may be used in the representation of the remaining Client; and (c) agrees that the Client will not
seek to disqualify QEU&S from continuing to represent the remaining Client.

The countersignature to this letter on behalf of you and the Sheriffs Department constitutes
agreement by each of you that we have made disclosure to each of you that, notwithstanding
consent by each of you, it is possible that we might be required to withdraw or disqualify from
representing one or both of you by reason of our representation of another client and, further, that
one or both of you may incur delay, prejudice or additional cost associated with acquainting new
counsel with the Engagement.

Future Conflicts ofInterest

Our firm has many lawyers and several offices. We may currently or in the future represent one
or more other clients in matters involving LASD and we may represent the parties that are
adverse to you in this matter in other unrelated matters. We are undertaking this Engagement on
condition that LASD gives its express consent and agreement that we may represent other
clients, including the parties adverse to you in this matter, in the future in other matters in which
we do not represent LASD even if the interests of the other clients are adverse to LASD
(including the appearance on behalf of another client adverse to LASD in an unrelated
negotiation, litigation or arbitration), provided that the other matter is not substantially related to
our representation of LASD and that in the course of representing LASD we have not obtained
confidential information from LASD material to the representation of the other clients.

At this time we are aware of the following facts that may be relevant to actual or potential
conflicts of interest and to the above waiver: The Firm has been advising the Brennan Center
for Justice at New York University School of Law (the “Brennan Center”) in an unrelated matter
adverse to the Sheriffs Department. In particular, the Firm has been advising the Brennan
Center in connection with a request to the Sheriffs Department under the California Public
Records Act for information relating to the Sheriffs Department’s policies, contracts and use of
predictive policing technology. The Firm has a written waiver from the Brennan Center to
represent the Sheriffs Department in matters that are not substantially related to our


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representation of the Brennan Center. Correspondingly, we are undertaking this representation
of the Sheriff’s Department with its acknowledgement and consent that we may continue to
represent the Brennan Center in connection with the foregoing matter. To ensure that our
representation of the Brennan Center is kept separate from this engagement, we will establish an
ethical wall between the two matters and the Firm’s lawyers on each matter.

The above conflict waiver waives possible conflicts based on future facts and circumstances that
cannot be known at this time.

The countersignature to this letter on behalf of LASD also acknowledges that we have made
disclosure to LASD of the above facts and that LASD agrees to the conflict waiver set forth
herein.

Billing

Our fees are based on the amount of time we spend on this Engagement. Each QEU&S attorney,
legal assistant and other timekeeper assigned to this Engagement will have an hourly billing rate.
These billing rates, which are set based upon seniority and expertise, are subject to adjustment
annually and we will notify you of these changes thirty days in advance of their going into effect.
In addition, our associate rates are based on years out of law school, so annually on September 1,
each associate's rate moves up to the next higher class rate on our rate schedule; for example, on
September 1, 2019, a class of 2018 graduate's rate will move up from a first-year associate rate to
a second-year associate rate, and so on. These "class graduation" adjustments are not rate
increases, and LASD acknowledges and agrees to these associate class adjustments by signing
this letter. The billing rates of the attorneys whom we anticipate assigning to this Engagement
currently range from $ 1400 per hour for Steve Madison to $695 per hour for Scott Mills. If one
of our professionals performs multiple tasks for LASD during the course of a day, our statement
will describe those tasks in a continuous narrative form accompanied by a single time entry for
all tasks, a practice known as "block billing." LASD agrees that we may block bill.

Estimates

LASD understands that it is impossible to determine in advance the amount of fees and costs
needed to complete any given matter. From time to time during the course of our Engagement
we may provide LASD with estimates of costs and fees or projected budgets for our work going
forward. Ordinarily, we do not provide these projections unless LASD specifically requests us to
do so. When we do provide them, we will make a good faith effort to estimate what the future
cost will be. However, in no case can such projections be guarantees regarding what the actual
cost will be. The cost of litigation may change dramatically based on factors we do not control,
including actions taken by our adversary, rulings by the court, or other developments in the
litigation. In all instances when we provide such projections, they should be viewed as guidance
only. The fees and costs which LASD will be liable for will be based on our time charges as set
forth in this agreement, and not on any such projections.

Ancillary Costs

We will charge separately for certain ancillary services we provide, such as facsimile charges,
secretarial and paralegal overtime and word processing. We pass along out-of-pocket costs and

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charges that we incur on our clients' behalf. These typically include messenger charges,
deposition videography and transcript charges and administrative charges. Other charges are
based on market, not cost, including service of process, document reproduction ($0.24/page),
color document reproduction ($ 1.00/page), binders, tabs, tab creation, manila folders, redwelds,
binding, punching, black and white scanning ($0.24/page), color scanning ($ 1.00/page), black
and white oversized scanning ($0.40-$ 1.50/page), color oversized scanning ($2.25-$12.50/page),
black and white blowbacks ($0.15/page), color blowbacks ($ 1.00/page), slipsheets ($0.03/page),
native file printing ($0.18/page), TIFF generation ($0.02/page), OCR ($0.03/page), Viewpoint
search and culling $50-$150/GB), EDD ($325-625/GB), image endorsement ($0.02/page),
media creation and duplication ($15-$400), document coding ($0.28-$ 1.50/document), hosting
($25/GB) and litigation support consulting at hourly rates of $175 to $365 per hour, depending
on the work performed. Additionally, we charge for computerized legal research (Westlaw or
Lexis fees, without any applicable discount), travel costs, meal charges and parking charges
(when we are working exclusively on your matter), filing fees, telephone toll charges, fees for
experts and other consultants retained on LASD's behalf, and similar charges. Our charges may
also include cellular or air telephone charges that are not related to the representation, but are
necessarily incurred while we are traveling on a client's case. These charges will be at cost. The
costs listed are the current rates but may be subject to future adjustment. LASD agrees that the
ancillary costs described in this paragraph are costs to be paid in addition to our hourly billings,
are not "overhead," and are payable separate and apart from our hourly billings in the event of
any dispute.

In some cases, particularly if the amount is large, we may forward an invoice from an outside
vendor or service directly to LASD for payment, which will also be due and payable upon
receipt. Failure to pay such invoice upon request will be grounds for us to withdraw from our
representation.

In the event LASD has supplied us with billing guidelines that are inconsistent with the terms of
this Engagement Letter, LASD agrees that the terms of this Engagement Letter shall apply unless
a copy of LASD's billing guidelines are attached to this Engagement Letter countersigned on
behalf of QEU&S, in which event LASD's billing guidelines shall control.

We will submit bills on a monthly basis. All bills shall be paid within thirty days of receipt by
LASD. The obligation to pay our bills is solely yours and is not contingent upon any judgment
or settlement; any right you may have for reimbursement, indemnification, insurance or the like;
or your receipt of any other form of payment you may expect to receive from some other party.
We reserve the right at our sole discretion to charge interest of 6% per month on invoices that are
90 days or more past due. If LASD has any question regarding, or wish to challenge any bill,
LASD shall notify us promptly of any such question or challenge, and shall in any event pay any
portion of such bill that is not subject to question or challenge.



Responsibility for Payment

In this matter, our understanding is that the Counsel of Los Angeles has agreed to pay an
unspecified amount of your legal fees and costs; however, we represent only LASD and not the


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County of Los Angeles or the Board of Supervisors or Office of County Counsel. If, for any
reason, the Count of Los Angeles or one of its departments or offices does not pay your legal
fees and costs, LASD agrees that LASD will be responsible for payment of legal fees and costs
incurred. Payment by LASD's employer and/or other third parties will not interfere with
QEU&S's independence of professional judgment or with our attorney-client relationship.
LASD's employer's and/or third parties' payment of legal fees in this matter does not create an
attorney-client relationship between QEU&S and the party making such payment-our client is
only LASD. Moreover, information relating to our representation of LASD is protected. LASD
is advised that LASD has the right to have an independent lawyer of your choice review this
entire agreement, including this provision, prior to initialing or signing this Engagement Letter.

Our Lien On Any Recovery You Obtain

LASD hereby grants us a lien as security for the payment of fees and costs due and owing to us
under this agreement. This lien will attach to any recovery LASD may obtain, whether by
arbitration award, judgment, settlement or otherwise, in connection with the Engagement, and we
may use this lien to enforce our right of payment. This lien entitles us to be paid first and before
any payment can be made to you. The lien allows us to compel payment of our unpaid fees,
interest, costs, advances and expenses. The lien is intended to remain valid even if for any
reason we no longer represent you in this matter. The lien could delay payments to LASD or
receipt by LASD of some or all of any recovery LASD may obtain as a result of our services
until any dispute over the amounts to be paid to us is resolved. You also authorize us to make
disclosure of the lien when such is necessary to enforce our rights and interests.

LASD may seek the advice of an independent lawyer of your choice about this lien provision and
its consequences. LASD also has the right to ask us questions about our understanding of the
lien. By signing this agreement LASD acknowledges that LASD has been advised of the terms
of this lien agreement and of LASD's right to consult independent counsel. LASD also
acknowledges that LASD has been given a reasonable opportunity both to seek such advice and
to ask us any questions that you may have prior to signing.

Award of Costs and Fees

A court may sometimes order a payment of costs or attorneys' fees by one party to the other. If
any fees or costs are paid to us, they will be credited against any amounts LASD owes us, but
LASD will be obligated for any unpaid portion of our statements as they become due. Payment
of our statements may not be deferred pending a ruling on an application for attorneys' fees, costs
or sanctions or pending the receipt of such an award. Any fee or cost award received from
another party will be credited to LASD's account, unless it results in a credit balance. If it does,
we will refund the balance to LASD. If a court awards fees or costs against LASD and in favor
of an opposing party, LASD will be responsible for payment of that amount separately from any
amounts due to us.

Termination

Above all, our relationship with you must be based on trust, confidence and clear understanding.
If you have any questions at any time about this letter or the work that the firm, or any attorney.


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is performing, please call me or, if you prefer, John Quinn in our Los Angeles office at
(213) 443-3000, to discuss it. You may terminate this representation at any time, with or without
cause. Subject to the application of the applicable rules of professional responsibility, we also
reserve the right to withdraw if, among other things, you fail to make timely payment of any
invoice, you fail to cooperate or follow QEU&S's advice on a material matter, or any fact or
circumstance arises that, in QEU&S's view, renders our continuing representation unlawful or
unethical. Any termination of our representation of you would be subject to such approval as
may be required from any court(s) in which we are appearing on your behalf. In the event of
termination by either of us, fees and costs for work performed prior to termination will still be
payable to the extent permitted by law.

Date of Commencement and Termination of the Engagement

The effective date of our agreement to provide services is the date on which we first performed
services, namely, Monday, March 4, 2019. The date at the beginning of this letter is for
reference only. If this letter is not signed and returned for any reason, LASD will be obligated to
pay us the reasonable value of any services we have performed as well as the costs we have
incurred on LASD's behalf.

QEU&S's representation of LASD will be considered terminated at the earliest of (i) LASD's
termination of the representation, (ii) QEU&S's withdrawal from the representation, (iii) the
completion of QEU&S's substantive work for the Client, or (iv) following 60 days of inactivity
by QEU&S on the matter.

File Retention and Disposition

After the Engagement has concluded, and subject to payment of all outstanding fees and
disbursements, you may request the return of files pertaining to the Engagement. LASD's files
will be released only following delivery to QEU&S of a signed release letter containing
appropriate directions and acknowledgment of the obligation to pay outstanding fees. QEU&S
may charge you for the reasonable costs of retrieval, assembly, copying and transfer of all files
or materials in any format. It is our practice to retain the permanent records of the matter, in
accordance with our records retention policy, for a period of not less than 7 years after the
Engagement has ended. If you do not request the files in writing before the end of our retention
period, upon the expiration of that period we will have no further obligation to retain the files
and may, at our discretion, destroy the files without further notice to you.

Other Litigation or Proceedings

If, as a result of this Engagement, and even if the Engagement has ended, we are required to
produce documents or appear as witnesses in any governmental or regulatory examination, audit,
investigation or other proceeding or any litigation, arbitration, mediation or dispute involving
LASD or related persons or entities, LASD shall be responsible for the costs and expenses we
reasonably incur (including professional and staff time at our then-standard hourly rates).
Similarly, if we are sued or subjected to legal or administrative proceedings as a result of our
representation of LASD in this matter (including unmeritorious disqualification proceedings),
LASD agrees to indemnify us for any attorney's fees and expenses (including our own


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professional and staff time at our then-standard hourly rates) we incur as a result. This
paragraph is not intended to apply to any claim brought by or on behalf of LASD alleging
wrongdoing by QEU&S.

Arbitration

Although we think it is unlikely, it is possible that a dispute may arise between us regarding
some aspect of the Engagement and our representation of you. If the dispute cannot be resolved
amicably through informal discussions, we believe that most, if not all, disputes can be resolved
more expeditiously and with less expense by binding arbitration than in court. This provision
will explain under what circumstances such disputes shall be subject to binding arbitration.

(a)      AGREEMENT TO ARBITRATE:

Any dispute between QEU&S and LASD as to attorneys' fees and/or costs in connection with the
Engagement shall be resolved as follows:

        1.       If any such fee and/or cost dispute arises, QEU&S shall provide LASD with
written notice of LASD's right to arbitrate under the California State Bar Act (Bus. & Prof. Code
§ 6200, et seq.). Those procedures permit a trial after arbitration, unless the parties agree in
writing, after the dispute has arisen, to be bound by the arbitration award.

    2.     If LASD exercises its rights under the California State Bar Act, LASD and
QEU&S may thereafter agree that the arbitration will be binding.

        3.      If LASD exercises its rights under the California State Bar Act, and LASD and
QEU&S do not agree that the arbitration is binding, then upon the rejection by either party of the
decision resulting from the arbitration procedures under the Act, LASD and QEU&S agree that
the dispute will then be subject to mandatory arbitration as described in ^ (b) below.

         4.    If, after receiving notice of its right to arbitrate, LASD does not exercise its rights
under the California State Bar Act by filing a request for fee arbitration within 30 days, LASD
and QEU&S agree that the dispute will be subject to mandatory arbitration as described in
If (b) below.

Any other dispute arising under the Engagement or in connection with the provision of legal
services by QEU&S including, without limitation, any claim for breach of contract, professional
negligence or breach of a fiduciary duty, shall be resolved by confidential, binding arbitration as
described in | (b) below.




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By signing this Engagement Letter, LASD and QEU&S confirm that they have read and
understand these paragraphs concerning arbitration and voluntarily agree to binding arbitration.
In doing so, LASD and QEU&S voluntarily give up important constitutional rights to trial by
judge or jury, as well as rights to appeal; depending on the rules of the arbitration program, both
also may be giving up their rights to discovery. If LASD later refuses to submit to arbitration
after agreeing to do so, LASD may be ordered to arbitrate pursuant to the provisions of
California law. LASD is advised that it has the right to have an independent lawyer of LASD's
choice review these arbitration provisions, and this entire agreement, prior to signing this
Engagement Letter.         .
(b)      ARBITRATION PROCEDURES:
In the event of any dispute that is subject to arbitration pursuant to (a) above, the initiating
party will provide a written demand for arbitration to the other party setting forth the basis of the
initiating party's claim and the dollar amount of damages sought.

The parties further agree that, if arbitration is necessary, each arbitration will:

         1.      Be heard and determined by a panel of three arbitrators (all of whom will be
retired state or federal judges), with one selected by each party to the arbitration, and the third
selected by the first two from the panel of arbitrators of JAMS (or its successor);

          2.         Take place in Los Angeles, California;

        3.      Be conducted in accordance with JAMS Streamlined Arbitration Rules and
Procedures (or any successor rules and procedures), in effect at the time the initiating party
delivers to the other party the demand for arbitration required hereunder;

        4.      Require the arbitrators to enforce the terms of this agreement, and they will lack
authority to do otherwise;

         5.      Apply the laws of the State of California. The arbitration proceedings and the
decision of the arbitrator will be confidential. Notwithstanding anything to the contrary
contained in this agreement, the prevailing party in any arbitration, action or proceeding to
enforce any provision of this agreement (for avoidance of doubt, a party that obtains a net
monetary recovery shall be the prevailing party) will be awarded attorneys' fees and costs
incurred in that arbitration, action or proceeding even if the law provides otherwise, including,
without limitation, the value of the time spent by QEU&S attorneys to prosecute or defend such
arbitration, action or proceeding (calculated at the hourly rate(s) then normally charged by
QEU&S to clients which it represents on an hourly basis), except that the foregoing shall not
apply to any mediation, as described above, and the parties will split the fees of the arbitrator;
and

        6.      Be final and binding on both parties, will not be subject to de novo review, and
that no appeal may be taken. The ruling of the arbitrator(s) may be entered and enforced as a
judgment by a court of competent jurisdiction. The arbitration provisions of this Agreement may
be enforced by any court of competent jurisdiction, and the party seeking enforcement shall be
entitled to an award of all costs, fees and expenses.



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Binding Agreement

By signing below, you both agree that you and the Sheriffs Department have had enough time to
review this letter, that we have advised you that LASD has the right to consult another,
independent lawyer about the provisions relating to the waiver of conflicts of interest and any
other aspect of this letter as to which LASD may wish to avail itself of such advice, and that
LASD is satisfied that it understands this letter. LASD also agrees that LASD has the freedom to
select and engage the counsel of its own choice and accordingly that this is an arm's length
agreement between parties of equal bargaining strength and that LASD has freely determined,
without any duress, to sign and agree to these terms.

Severability

Should any part of this Agreement, or language within any provision of this Agreement, be
rendered or declared invalid by a court of competent jurisdiction of the State of California, such
invalidation of such part or portion of this Agreement, or any language within a provision of this
Agreement, should not invalidate the remaining portions thereof, and they shall remain in full
force and effect.

Amendments and Additional Engagements

The provisions of this letter may only be amended in writing, signed by both parties.

If LASD later asks us to take on additional assignments, we will send you a supplementary
engagement letter reflecting each additional assignment.

I am enclosing two executed copies of this letter. If the foregoing accurately reflects our
agreement, please confirm that by signing and returning one of the enclosed copies to me. Please
do not hesitate to call me to discuss any questions you may have regarding this agreement.

Thank you again for this opportunity to be of service. We look forward to working with you on
this Engagement.

Very truly yours,




Steven G. Madison

SGM:vv




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[STATEMENT TO BE SIGNED BY EACH CLIENT:]

I have read the above Engagement Letter and understand and agree to its contents. The parties to
this Engagement hereby agree that a faxed, pdf or electronic signature shall count as the original.


Alex Villanueva, Sheriff, Los Angeles County


By:

Date:



Los Angeles County Sheriffs Department


By:

Name:            V--zWf
Title:
Date:




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      PRIVILEGED & CONFIDENTIAL. ATTORNEY-CLIENT COMMUNICATION

   GUIDELINES ON PRESERVATION AND PRODUCTION OF
        ELECTRONICALLY STORED INFORMATION
  Introduction

         Some preliminary background information may assist you in understanding the
  legal duties now applicable to the preservation and production of electronically stored
  information. Advancements in information technology have fundamentally changed how
  we communicate with one another and how companies do business. These changes have
  resulted in the development of new rules governing discovery in litigation. These new
  rules are an attempt by our courts to adapt to the changes in today's business world and
  society which these technological innovations have produced.

           These new rules relate to "electronic discovery" and are referred to as "e-discovery
  rules." Because electronically stored information ("ESI") is particularly vulnerable to
  accidental deletion, modification or corruption, courts have imposed new duties on both
  parties and their attorneys to preserve ESI. The new e-discovery rules were enacted to
  address problems unique to electronic discovery. As used in these guidelines, ESI refers to
  any type of electronic data or information in any type of format. So long as electronic data
  is in a fixed tangible form and is capable of being electronically stored, even temporarily,
  the e-discovery rules apply.

        All parties are required to follow these e-discovery rules regardless of how simple or
 sophisticated their computer system. In other words, it does not matter whether a party is
 an individual, partnership, joint venture, sole proprietorship or mega-corporation. Nor
 does it matter whether a party has a single laptop computer or a massive computer
 network. If a party has any device that generates or stores ESI, whether it be a bank of
 servers or a single "thumb" drive, a Blackberry, cell phone or any other type of electronic
 storage device, the e-discovery rules apply.

         The duty to preserve potentially relevant ESI is triggered whenever litigation is
 "reasonably anticipated." The process by which a party identifies and preserves potentially
 relevant information or evidence including ESI is generally referred to as a "litigation
 hold," and that is how we will refer to the process in these guidelines. The imposition of a
 litigation hold, among other things, requires the suspension of any document
 retention/ destruction policies or any automated features of a party's computer or email
 systems that could result in the loss, destruction or deletion of ESI or paper records. For
 example, if a party recycles its back-up tapes or if its email system automatically deletes
 emails after a specified time frame, those processes have to be stopped, at least until the
 party can develop an appropriate strategy for preserving potentially responsive ESI.
 Otherwise sanctions can be imposed if relevant ESI is lost or destroyed.




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        The new e-discovery rules mandate a heightened level of cooperation between
 clients and their counsel in locating and preserving potentially relevant ESI. The new
 duties which these rules impose on both clients and their counsel profoundly affect the
 relationship between them. Additionally, the e-discovery rules can dramatically increase
 the cost of discovery and materially affect how litigation is conducted. Before explaining
 how electronic discovery works under these rules, it is important to understand how the
 responsibility for e-discovery compliance has been allocated between clients and their
 counsel.

 Respectiv       e Duties   Of Clients   And Their Counse l Rela tiv e To E-Dis covery

        In Zubulake v Warburg LLC, 229 F.R.D. 422,431 (S.D.N.Y. 2004) (Zubulake V), a case
 generally followed throughout the country, the court held that in order to avoid the
 imposition of discovery sanctions, a party "must suspend its routine document
 retention/destruction policy and put in place a 'litigation hold' to ensure the preservation
 of relevant documents." The court explained that "a party and its counsel must make
 certain that all sources of potentially relevant information are identified and placed 'on
 hold.'" 229 F.R.D. at 432. To accomplish this the court explained counsel should:

           •         Become fully familiar with the client's document retention policies,
                     and data-retention architecture including system-wide backup
                     procedures, recognizing that this will invariably involve speaking
                     with the client's IT personnel; and

           •         Communicate with "key players" in the litigation to understand how
                     they store information.

         The court in Zubulake observed that a party's e-discovery obligations do not end
 with the implementation of a litigation hold. It noted that a party has an ongoing duty to
 preserve relevant information while the lawsuit remains pending. The court explained that
 it was not sufficient for counsel to simply notify the client about the need to impose a
 litigation hold and assume the client will preserve and produce relevant information.
 Rather, the court concluded that counsel should oversee compliance with the litigation
 hold and outlined three steps that counsel should take to confirm that the client is
 complying with its preservation obligation:

           First, counsel must issue a litigation hold at the outset of litigation or whenever
           litigation is reasonably anticipated. The litigation hold should be periodically re-
           issued so that new employees are aware ot it, and so it is fresh in the minds of all
           employees.

           Second, counsel should communicate directly with the 'key players' in the litigation
           so that the preservation duty is clearly communicated to them. As with the




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           litigation hold, the key players should be periodically reminded that the
           preservation duty is still in place.

           Finally, counsel should instruct all employees to produce electronic copies of their
           relevant active files, and make sure that all backup media which the party is
           required to retain has been identified and properly preserved.

 Zubulake V, 229 F.R.D. at 433-34.

        These action steps must be taken at the outset of any lawsuit, and then periodically
 repeated throughout the litigation. Moreover, attorneys have a continuing obligation to
 monitor a client's efforts to preserve and produce ESI. It is essential that a client fully
 cooperate in the process, understanding that these obligations are imposed on all parties as
 a matter of law, and not by the whim of counsel. Sanctions for noncompiiance with these
 e-discovery obligations can be imposed on both client and counsel alike. Should such a
 motion ever be filed, it could trigger a number of additional issues that we would need to
 discuss with you.

          Please also be aware that in some cases, e-discovery may generate a significant
 increase in the cost of defending a lawsuit and in the diversion of personnel and resources
 needed to address a party's e-discovery obligations. The expense involved in locating,
 reviewing and producing ESI in some cases may be so significant as to warrant serious
 consideration of an early resolution of the claim. In other cases, e-discovery costs may have
 little or no impact on litigation or settlement strategies and merely represent expenses that
 are now incurred at the beginning of the case, rather than at a later point in time.

Writte      n Guidel     ines   For Compl iance With The Rules Governing    Esi

        The written guidelines set out below are not intended to serve as a mechanical
 checklist applied in an identical manner in all cases. The process of identifying, preserving
 and producing ESI can be a highly complex undertaking. There is no "one size fits all" set
 of rules when it comes to e-discovery. Rather, the principles discussed below should guide
 you in implementing a process to preserve and produce ESI, tailored to the complexities of
 a given matter.

 1.       When the Duty to Preserve Evidence is Triggered

       Various statutes and regulations require the preservation of specific types of
information in a variety of contexts. However, in the absence of such a statute or
regulation, for litigation purposes the duty to preserve is triggered at that point in time
when litigation, a governmental investigation, or any adversarial proceeding or process is
"reasonably anticipated." When litigation is "reasonably anticipated" requires a reasoned,
good-faith analysis of all relevant facts and circumstances.




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        When a duty to preserve is triggered, the parties should immediately begin the
 process of attempting to locate and preserve any potentially relevant ESI, regardless of its
 source or location (e.g., desktop or laptop computer, network server, thumb drive, backup
 tapes, digital audio recording, voice mail etc.). The duty to preserve continues through the
 pendency of the proceeding, and includes any relevant evidence that is created during the
 course of the proceedings.

       If you have not already done so, please institute a "litigation hold" on any
 potentially relevant ESI or other information in accordance with these guidelines.

 2.         Identify Key Personnel

        "Key Personnel" should be immediately identified for several reasons; first so that
 they can be notified in writing about their duty to preserve evidence, and second, so that
 any potentially relevant ESI in their possession, custody or control can be located and
 preserved. Key Personnel are those individuals who were involved in any aspect of the
 matter at hand, as well as those individuals who either have or claim to have some
 knowledge of the matter or any defenses that relate to it, or to the claimed injury or
 resulting damages, and/or who have in their possession or under their control ESI or any
 other form of potentially relevant evidence.

         The effort to identify the Key Personnel and locate potentially relevant information
 in their possession should focus on the assertions made and any potential defenses to those
 assertions. It will also be helpful to identify any other employees or third parties with
 whom Key Personnel had contact involving the relevant issues so that emails, letters and
 other communications to and from those individuals or physical evidence in their
 possession, custody or control can be located and preserved.

        Please prepare a list of all Key Personnel for when we meet in the near future.
 Please include the work or home addresses, email addresses and phone numbers (for
 those individuals no longer in your employ), so that we can follow up with them to
 verify that they have been notified about the need to preserve ESI, understand the
 ramifications if they fail to do so and to learn how they store information.

        You should expect that at an early stage of this matter our opponent will request a
 deposition or ask to interview the person(s) most knowledgeable about your computer,
 email, and record keeping systems. Please identify who that person is or who those
 persons are, and provide their contact information at our initial meeting. We may ask that
 one of them attend our initial Rule 26 scheduling conference with opposing counsel if
 available. Additionally, please designate someone who could serve as your e-discovery
 liaison or as our contact person should questions arise about your computer, email or
 record keeping systems.




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 3.        Content and Scope of Litigation Hold Notice

          You should notify Key Personnel in writing about their duty to preserve any
 evidence, be it paper records or ESI, which is potentially relevant to this matter or any
 defenses that could be asserted. The written hold notice should broadly describe the
 nature of the claims being asserted and any defenses to the claims so that your Key
 Personnel do not inadvertently delete or destroy any potentially relevant ESI or paper
 records. Your written hold notice should also explain the potential types of ESI that should
 be preserved and where potential sources of that ESI may be found. We have included a
 list of possible sources in guideline 6 below. The written hold notice should also explain
 that sanctions could be imposed in this matter if they fail to preserve relevant information
 and that the sanctions could range anywhere from the imposition of a large fine to the
 entry of [a default judgment/the dismissal of the claim].

        The written hold notice should be broadly disseminated. The notice should be sent
 to Key Personnel, to the IT, Information Management and/or Risk Management
 departments (where applicable), to the persons in charge of departments such as Human
 Resources, Product Development, Marketing, or any other department where potentially
 relevant ESI may be located, and to any department heads in which Key Personnel are
 employed. In addition to the litigation hold notice, those department heads should be
 provided a list of Key Personnel in their respective departments who you believe may be in
 possession of potentially relevant ESI. Department heads should be instructed that if they
 are aware of any other person who may have possession of potentially relevant ESI, they
 should immediately notify that employee of the litigation hold and also notify a designated
 member of your legal department who should promptly send a copy of the hold notice to
 that employee.

        Consider designating a member of your legal department to answer any questions
 which anyone may have about the litigation hold process. You also should consider
 including a statement in the litigation hold notice explaining that should anyone have a
 question about the litigation hold process or the obligation to preserve ESI, that they
 should immediately contact the designated member of your legal department.

         The litigation hold notice should periodically be resent to the original Key Personnel
 and any new employees who have access to potentially relevant ESI which is subject to
 your litigation hold so they do not inadvertently delete or destroy it. As a lawsuit matures,
 the litigation hold may need to be modified as issues are added or evolve. Additional
 employees may need to be notified about the hold when new claims or issues are added or
 when our opponent's liability theory changes. We will discuss these points with you at our
 initial meeting.

      A party's litigation hold process has been held to be deficient when senior
 management was not involved in the process. Accordingly, we recommend that the



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 written hold notice be issued either by a member of senior management or by a senior
 member of your legal department.

        Please notify all Key Personnel that we will be contacting them to discuss the topics
 noted above, and please alert the head of your IT department that we will need to speak
 with IT staff to learn about your email and information systems, data-retention architecture
 and document retention practices.

 4.        The Duty to Preserve Includes ESI on Home or Personal Computers or PDAs

        Your written hold notice should advise Key Personnel and others who receive the
 notice that any potentially relevant ESI created or stored on home or personal computers,
 PDA's or at locations other than your office(s) or business (locations) must also be
 preserved, regardless of whether that ESI was transmitted to you, or is now in your
 possession or is available elsewhere. The existence of potentially relevant ESI on home or
 external computers or PDA's can raise sensitive privacy issues. The law nevertheless
 requires that relevant information on home computers or storage devices be preserved and
 treated in exactly the same way as the ESI located on your business systems.

 5.        The Duty to Preserve Includes ESI in the Possession of Third Parties Under Your Control

         The obligation to preserve potentially relevant evidence extends beyond the ESI in
 your immediate possession. The duty to preserve potentially relevant ESI extends to any
 third party who is subject to your direction and under your control. For example, if you
 have outsourced any accounting, computer or business functions to a third-party vendor
 ("Application Service Provider"), or have transferred any archived data to a third-party
 storage facility, you must instruct that third party to preserve any potentially relevant ESI
 in its possession. Accordingly, you should immediately notify any such third party about
 the obligation to preserve any of your ESI in its possession. Please provide us with the
 current contact information for any third parties who may be in possession of
 potentially relevant evidence, including ESI, so that we may follow up and request that
 they take steps similar to those described in these guidelines.

 6.        Potential Sources of ESI

        The following list is intended to provide examples of the types, sources and formats
 of ESI that should be located and preserved, where applicable, pursuant to the litigation
 hold issued in connection with this matter. Because we have not yet spoken with your IT
 department, we recognize the foregoing list could be over or under inclusive. Thus, you
 may want to consult with your IT department to tailor the information provided in this
 guideline. However, you should consider including the type of information outlined
 below in your written hold notice so that your Key Personnel and others who were sent
 that notice do not overlook a source or type of potentially relevant ESI:

          Digital Communications (e.g., e-mail, voicemail, instant messaging (if logged));

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          Electronic Mail Logging and Routing Data;

          Word Processing Documents (e.g., Word or WordPerfect documents and drafts);

          Spreadsheets and Tables (e.g.. Excel or Lotus 123 worksheets);

          Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);

          Image and Facsimile Files (e.g. PDF, TIFF, .JPG, GIF, DICOM images);

          Sound Recordings (e.g., .WAV and .MP3 files);

          Video and Animation (e.g., .AVI and .MOV files);

          Databases (e.g.. Access, Oracle, SQL Server data, SAP);

          Personal Data Assistants (PDAs) (e.g., Blackberry, PalmPilot, HP Jornada);

          Contact and Relationship Management Data (e.g., Outlook, ACT);

          Calendar and Diary Application Data (e.g., Microsoft Outlook PST, Lotus Notes,
                third-party internet calendars through mail accounts - Yahoo and Hotmail);

          Online Access Data (e.g., Temporary Internet Cache Files);

          Presentations (e.g., PowerPoint, Corel Presentations);

          Network Access and Server Activity Logs;

          Project Management Application Data and related documents;

          Computer Aided Design/Drawing Files; and.

          Backup and Archival Files (e.g.. Zip, GHO).

      In addition to preserving the electronic data or files themselves, as explained below
you must also preserve all archived data or backup media which may contain potentially
relevant ESI until otherwise directed by counsel. This includes magnetic and optical media,
hard drives, floppy disks, backup tapes, Jaz cartridges, CD-ROMs and DVDs. Any
software necessary to review the data contained on these media also must be preserved. If
any backups are made in realtime via the web (e.g., LineVault, e-Vault), they must be
preserved and the third party handling this data must be contacted to assist in its retention.

      In order to prevent data loss due to normal replacement of outdated computers,
systems, hardware or software, you should also preserve all computers, hardware and
software no longer in use that were used during the relevant timeframe until it has been



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  verified that no potentially relevant ESI is stored on those computers or systems. This
  includes any servers, desktops, laptops, hard drives, and all associated hardware and
  software applications.

        Some systems have the capability to capture or log instant messages (IM), if that
 feature has been activated. Does your system have the capability to log IM and, if so, has
 that feature been activated? Do you have any policy concerning the use of IM for business
 purposes? If so, please provide us with a copy of that policy at our initial meeting.

        If your IT staff has developed a data map covering any aspect of your computer,
 email or record keeping systems, sometimes referred to as a "topology," please have a
 copy available at our initial meeting because it will hopefully reduce the amount of time we
 need to spend with your IT staff learning about those systems.

 7.        Preservation Obligations

        The law governing the preservation of ESI also applies to other forms of evidence,
 including your paper records. No potentially relevant evidence should be altered or
 destroyed. Rather, it should be maintained in the way it is kept in the ordinary course of
 business. All copies, including all duplicates should be preserved. Even if paper copies
 have been made of electronic files, you should preserve the original electronic files.

        The potential for accidental deletion, destruction or corruption of ESI makes it
 essential that prompt steps be taken to preserve relevant information. Delay in doing so
 increases the possibility that relevant ESI may lost, thereby exposing you to sanctions.
 Thus, it is important to quickly act to preserve ESI. The obligation to preserve does not
 require imaging all computers and email, or freezing all electronic documents and data.
 Absent extraordinary circumstances, the preservation obligation need only involve steps
 reasonably necessary to secure potentially relevant evidence necessary for a just and fair
 resolution of the issues presented.

        In some instances, however, it may be prudent to make a forensically sound mirror
 image of certain computer hard drives to avoid the accidental deletion of ESI due to
 everyday computer usage. In matters where an employee is believed to have electronically
 misappropriated company information or property; where particularly critical evidence is
 recognized to exist on a specific hard drive; where potentially relevant information has
 been recently deleted and may need to be reconstructed; or where the way in which a
 computer was used appears to be a potential issue in the case, imaging the computer(s)
 involved should be considered. In such cases, a bit-by-bit copy of the hard drive should
 promptly be made. Consider whether to employ a qualified outside expert, rather than
 using your internal IT personnel to complete that work. The use of an outside forensic
 computer expert will help to insulate you from any adverse consequences resulting from
 the errant handling of the evidence and will limit the need for your IT personnel to become
 potential witnesses in the litigation.


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       To prevent the inadvertent destruction of potentially relevant ESI, you are
 obligated to:

        (1) discontinue the destruction of potentially relevant information pursuant to any
 document retention/destruction policy and/or any automated features of your systems
 that delete or overwrite information;

       (2) temporarily stop the recycling of all backup tapes until otherwise directed by
 counsel;

        (3) preserve any storage devices containing potentially relevant information until
 the information has been preserved or if necessary, until a forensically sound replica (bit
 by bit mirror image) is made;

       (4) temporarily refrain from installing new software that might overwrite
 potentially relevant data;

           (5) maintain properly working virus protection software to protect the data from
 loss;

           (6) preserve any website content and links;

      (7) preserve all login ID's, names and passwords, decryption procedures (and
 accompanying software), network access codes, manuals, tutorials, written instructions,
 decompression software;

       (8) maintain all other information and tools needed to access, review or
 reconstruct potentially relevant electronic data;

       (9) preserve (do not recycle or dispose of) any computers that may have been used
 during the relevant timeframe;

       (10) preserve (do not reuse) computers of key employees who leave or have left
 your business until the all relevant information has been preserved; and

        (11) suspend all maintenance procedures that could result in the deletion of ESI,
 including disk defragmenting, on computers that may contain relevant information until
 any relevant ESI stored on those computers has been preserved or until a forensically
 sound copy of the hard drive has been made, if necessary.

        If you have any document retention or document destruction policy, please provide
 us with a copy of that policy at our initial meeting. If there is a person who is responsible
 for auditing and/or enforcing that policy, please provide us with that person's contact
 information at our meeting. We also need to learn if there are any automated features of
 your computer, email or record keeping systems automatically or routinely delete ESI. If



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 so, we will need to confirm that those features have been suspended and learn when they
 were deactivated.

 8.        Document Each Step Taken to Preserve ESI

        To defend against claims that you failed to properly preserve ESI, it is extremely
 important that a record be kept of every step taken by you to implement the litigation hold
 and to preserve ESI. Document the names of all employees and department heads to
 whom the litigation hold notice was sent and record when they were notified. Keep copies
 of the written hold notice and consider sending two copies of the hold notice to your
 employees with an instruction that they keep one, and sign and return the other as
 evidence that they received, read and understood its content. Maintain a log of any verbal
 instructions given, including when the instructions were given, the persons who provided
 and received the instructions and a summary of the instructions.

        Frequently one party will attempt to discredit the other's effort to preserve ESI in the
 hope of gaining a tactical advantage through the imposition of sanctions. A comprehensive
 record documenting till efforts that are taken is necessary so that if challenged ini court,
 your efforts at preserving evidence can be properly defended.

 9.        "Metadata," Embedded Data and Data Created or Stored in Unique or Proprietary Formats

        Every document, report or email created on a computer contains hidden electronic
 information called "metadata." Metadata is literally defined as "data about data."
 Metadata is automatically created by your computer and functions like a library catalog
 card for the computer. Among other things, the metadata will reveal: who created a
 document, when it was created, who last had access to the document, whether it has been
 revised and by whom, when that revision was made and the number of versions of a
 document.

         Metadata may contain potentially relevant information that can be used to
 authenticate an electronic document or email and may be sought in discovery. Metadata
 should be considered part of the original electronic document and should be preserved.
 One difficulty in preserving metadata is that by simply opening a document and moving it
 to a folder to preserve it for discovery purposes will alter several metadata fields including
 when the document was last accessed and who accessed it.

        Besides metadata, there is another form of potentially hidden information that can
 exist in the electronic version of a document which is manually embedded into a
 document's content itself through the track changes feature of a word processing program.
 That embedded data may contain information subject to attorney-client privilege or work
 product protection.

       We need to learn if any of your ESI is created or stored in a unique or proprietary
 format since that may impact the form of its production. We also need to learn if any

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 aspect of your ESI is electronically searchable as it is ordinarily maintained since that may
 also impact the format of its production. Are there any unusual aspects of your computer,
 email or record keeping systems that could make production of ESI difficult or
 problematic?

        The reason we are raising these questions is that the e-discovery rules provide you
 some choice as to format in which ESI will be produced. ESI can be electronically produced
 in either its "native state" or in an imaged format. The term "native" when used in an e-
 discovery context simply refers to the program or file format in which the document or
 data was originally created. In other words, if a document was created in WordPerfect,
 producing it in its native state would require production of it in a WordPerfect format. A
 commonly used image format is Adobe's Portable Document Format or PDF.

         There are advantages and disadvantages to each form of electronic production.
 Producing ESI in its "native state" would include production of any associated metadata or
 accompanying embedded data. Additionally, documents produced in their native state can
 be altered. Native documents cannot be Bates stamped or redacted without altering the
 original. To view an electronic document in its native state which is created or stored in a
 unique or proprietary format requires that the party receiving it have access to the same
 software used to create or store the document. On the other hand, documents produced in
 an imaged format cannot be altered and will not include any metadata unless metadata
 fields are loaded into the image. Imaged documents can be redacted and bates stamped,
 but are more costly and take longer to produce.

        You should carefully review all of these subjects with your IT department. Your
 preferred format of ESI production is an issue which we need to discuss with you at this
 stage because it is a subject which the court's rules require us to address with opposing
 counsel at the initial scheduling conference.

 10.      Accessibility of Electronic Data

        The federal rules set up a two-tiered system of ESI discovery. Parties are expected to
 produce ESI that is readily accessible. However, there is no obligation to produce ESI from
 sources that are not reasonably accessible because of "undue burden or cost." The
 following are recognized categories of ESI which generally describe the ways data may be
 stored relative to its potential accessibility:

          Active data - computer data which is immediately and easily accessible;

          Backup data - computer data residing on readily available storage media;

          Archived data - computer data placed into long term storage on backup tapes or
                other forms of media that may be periodically recycled or reused.




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           Legacy data - computer data created on old, out of date, obsolete or no longer used
                 computer systems and/or hardware or software; and

           Deleted data - computer data that has been "deleted" from a computer's hard drive
                 but is potentially recoverable through computer forensic techniques;

         We need to learn if you have any legacy data or legacy system(s), and, if so, whether
 there is any data which has not been transferred to the system(s) currently in use, and how
 far back the legacy data which has not been transferred to your current system goes, as well
 as whether any of that data might be relevant to the issues in this matter. In that event, we
 would need to determine what steps would be required, and at what expense, to access,
 review and produce that legacy data.

        In addition, we will need to learn how ESI is stored by its custodians. If your
 systems are backed up or archived, we need to learn what data is backed up and/ or
 archived, how that is accomplished, how frequently the process occurs, how long the ESI is
 retained, where the backup tapes or archived media is stored and any rotation cycle. To
 determine the accessibility of ESI from those sources, we should learn what steps would
 have to be taken, and at what cost, to restore, search for and produce specific data or
 information on those tapes. We also need to learn if those backup tapes or archived data is
 used for any reason other than disaster recovery.

        We bear the burden of proving that it would be unduly burdensome or costly to
 produce ESI from these or any other sources or potential repositories of ESI. Thus, we will
 need to speak with your IT department to discuss any features of your system(s) or the
 information stored in various sources that would make production of ESI from those
 sources unduly burdensome or costly. Your IT department will be of invaluable assistance
 in evaluating whether we can claim that ESI from any of those sources is inaccessible
 within the meaning of the e-discovery rules and thereby possibly avoiding the expense of
 producing ESI from those sources. However, you still need to preserve potentially relevant
 ESI from those sources until the issue of ESI production from those sources has been
 resolved by agreement with opposing counsel or an order from the court.

 11.       Processing and Production of ESI

       You need to anticipate that you may have to segregate and process for review and
 production an unknown quantity of electronic data. One way to limit the cost of e-
 discovery is to use filtering techniques to reduce the size of the data set that may need to be
 reviewed for privilege and/or produced in discovery. Common filtering techniques
 include "de-duplication" of identical documents or emails through the use of "hash
 methodologies," key-word or concept searches, and screening data by date ranges,
 custodians and/or file types.




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         These are issues we need to discuss at our initial meeting. You should assess
 whether your IT staff has the time and/or capacity to collect and process ESI for
 production in discovery in this matter. More importantly, you need to assess whether your
 IT staff should perform these types of tasks given the range of sanctions that could be
 imposed if ESI is lost in the process. Having your IT staff perform these tasks could require
 that they be deposed and opens their work up to review and potential criticism by our
 opponent and the court. It also diverts their attention from company business. While we
 have our own experienced IT staff who could provide technical or other assistance, there is
 a risk that if we assist in or actually perform these tasks, our staff could potentially become
 witnesses if a motion for sanctions were later filed, and in an extreme case, we could be
 disqualified from representing you. Accordingly, unless it would be cost prohibitive or
 there are other good reasons not to do so in a given matter, we generally recommend that
 a qualified outside vendor be considered for managing the recovery and processing of
 ESI necessary for its production. Please let us know if you have used any e-discovery
 vendors in the past and, if so, whether you were satisfied with their work and would be
 willing to use them again.

           Other     E-Discove ry Relate   d Iss ues

        In addition to the issues noted above, at our initial meeting there are several other
 points that we need to discuss with you. They include:

           •        When the litigation hold was issued or the process began;

           •        What steps have been taken to implement a litigation hold;

           •        What documentation do you have concerning the steps taken to
                    implement the litigation hold;

          •         The name and contact information of the person in charge of the hold
                    process or any member of your legal department designated to
                    answer questions;

          •         What types of ESI are in your possession, what formats is it stored in,
                    and where are the data repositories or sources for that ESI located;

          •         How much ESI and how many custodians are involved.

        Finally please let us know when the appropriate persons from your IT department
 are available to meet with us. We do not want to delay our initial meeting with you to
 cover these various issues, so our meeting with IT does not have to occur the same day.
 Depending upon the complexity of your systems, the meeting with your IT staff could run
 much longer than our meeting to discuss the issues raised above.




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 Summary

        The duty to preserve and produce ESI has become central to the litigation process.
 The tasks required to comply with our respective obligations must be performed at the
 very beginning of a lawsuit, and again periodically throughout the course of the litigation.
 At our initial meeting, we will discuss with you the strategic implications of these ESI
 obligations and how our respective obligations will be met in connection with this matter.
 At that meeting, we will review with you any steps that have already been taken to
 preserve ESI and work with you to develop a clear plan to properly preserve and produce
 any potentially relevant ESI on a going-forward basis.

       In some cases, e-discovery costs may have little or no impact on litigation or
settlement strategies. In other cases, e-discovery may generate significant costs and require
the diversion of personnel and resources needed to address a party's e-discovery
obligations. The expense involved in locating, reviewing and producing ESI in some cases
may warrant serious consideration of an early resolution of the claim. We will be glad to
discuss these and any other issues or questions you may have at our initial meeting in the
near future. Of course, should you have any questions about what steps should be taken to
preserve ESI prior to our initial meeting, please immediately contact us at your earliest
convenience.




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              Exhibit C




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                         COUNTY OF LOS ANGELES

   m                     OFFICE OF THE COUNTY COUNSEL
                              648 KENNETH HAHN HALL OF ADMINISTRATtON
                                       500 WEST TEMPLE STREET
                                  LOS ANGELES, CALIFORNIA 90012-2713            TELEPHONE
                                                                                (213)974-1838
                                                                                FACSIMILE
MARY C. WICKHAM
 County Counsel                           March 29,2019                         (213)626-7446
                                                                                TDD
                                                                                (213)633-0901
                                                                                E-MAIL
                                                                                tfaughnan@counsel.Iacounty.gov




       VIA U.S. MAIL AND
       Email: stevemadison@quiiinenianue1 .com

       Steven G. Madison, Esq.
       QUINN EMANUEL URQUHART &
       SULLIVAN, LLP
       865 South Figueroa Street, 10th Floor
       Los Angeles, California 90017-2543

                Re:      Retainer Agreement -
                         County ofLos Angeles v. Villanueva, et at
                         Los Angeles Superior Court Case No. 19STCP000630
                         RMIS No. XX-XXXXXXX*001

       Dear Mr. Madison:

              I write on behalf of the County of Los Angeles ("County") in regards to
       your engagement to represent Los Angeles County Sheriff Alex Villanueva on the
       question of whether, under the Los Angeles County Charter, the Sheriff"had
       authority to settle the civil actions involving Mr. Mandoyan absent the approval
       of County Counsel and the Board of Supervisors in Los Angeles Superior Court
       Case No. 19STCP00630 (County ofLos Angeles v. Alex Villanueva, etal.) (the
       "Mandoyan Matter").

                As you know, you were retained under Government Code section
       31000.6(a), which authorizes the Board of Supervisors to employ legal counsel to
       assist tire Sheriff in any case where the County Counsel would have a conflict of
       interest. To reiterate prior communications to the Sheriff, your representation of
       the Sheriff is limited to-the scope of the Mandoyan Matter. The Board of
       Supervisors has not authorized your services for any other matter or purpose. In
       accordance with Government Code section 31000, the Board of Supervisors "may
       pay from any available funds such compensation as it deems proper for these
       special services." Accordingly, it is the Board of Supervisors who determines
       "the appropriate hourly rate or other fee structure for the employment of outside


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 counsel selected by the sheriff." See Opinion of the Attorney General
 No. 96-901, 80 Ops. Cal. Atty. Gen. 127.

         The maximum hourly rates (billed in one-tenth of an hour/six-minute
  increments) for this matter have been set as follows:

          • Attorneys: $495 (blended rate; partner and associate time)

          • Paralegals: $165

         In addition to setting rates, the County also has standard billing
 requirements and terms and conditions it requires of all contracted law firms:
 Those terms, applicable to your firm, are detailed in the following pages. After
 your review, please initial each page, sign and date at the end, and return the
 enclosed copy of this letter accepting these terms. Thereafter, your firm may
 remit invoices for payment in accord with these terms. Please take note that in
 this matter, all of your invoices or payment inquiries should be submitted directly
 to me. I will review your invoices and submit for payment

                         BILLING REQUIREMENTS
  SUBMISSION OF INVOICE
                 Invoices for services and reimbursable expenses must be submitted
 monthly (in arrears). Each invoice must be for services performed and expenses
 incurred commencing on the first day of the calendar month and ending on the 1
 last day of that month. The monthly invoice must include all services and
 reimbursable expenses incurred during the month. Charges for court reporters,
 experts, document reproduction, and other recurrent expenses must be included in
 the invoice for the month in which the cost was incurred.
                   Please submit all other original invoices to:
                   Thomas J. Faughnan
                   Senior Assistant County Counsel
                   Office of the Los Angeles County Counsel
                   648 Kenneth Hahn Hall of Administration
                   500 West Temple Street
                   Los Angeles, California 90012




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  TIME CHARGES
                 All legal services must be billed in one-tenth of an hour (.10/hour)
 or six-minute increments. Legal services billed in quarter-hour or half-hour
 increments are not acceptable. The legal services category of the invoice must set
 forth: (1) the date of each service; (2) a description of the specific service
 rendered; (3) the identity of the attorney or paralegal rendering the service;
 (4) the time expended for each service; and (5) the amount charged for each
 service,

  DESCRIPTION OF SERVICE
                 Only professional services should be billed. There are numerous
 secretarial or clerical functions which are integral to the business of the law firm
 which do not constitute professional services. Such functions include scheduling
 meetings, collating, proofreading, calendaring, and processing of vendor bills.
 Such services are considered firm overhead expenses. Generic or general activity
 descriptions for purposes of invoicing are acceptable, in this matter, for payment
 However, detailed descriptions of each billed service must be maintained by your
 firm and described with sufficient detail to permit: (1) a determination of the
 precise legal service provided, and (2) an assessment as to the appropriateness of
 the related time charge. Each specific service must be separately described.
 "Block billing" is not acceptable. Descriptions which are acceptable: (1) identify
 the purpose and attendees of the conference; (2) describe the form of discovery
 propounded or responded to; (3) identify the deponent and the party who noticed
 the deposition; (4) provide a general description of the documents reviewed; and
 (5) specify the nature and purpose of the research. Your firm's detailed
 descriptions may be audited or reviewed by a court or other authorized party.
  TIME EXPENDED
                 The time charged must reflect the actual time expended on the
 service. Standardized charges are not acceptable. Many documents are
 maintained as forms and are utilized repeatedly as modified for a particular case
 or matter. Only the time required for modification should be billed. Such billing
 practices also apply to similar or identical notices or subpoenas which are
 prepared with minimal modifications and served on multiple parties. Only the
 time spent on modifications should be billed. V   j




  OVERHEAD EXPENSES
               Expenses, such as document reproduction and scanning, postage,
 telephone charges (local and long distance), facsimile/telecopier (local and long

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  distance), local (within the counties of Los Angeles, Orange, Riverside, San
  Bernardino and Ventura) transportation costs (travel/mileage/pafking), secretarial
  or clerical time or overtime, on-line computer-assisted research, word processing,
  books, office supplies, time responding to invoice audits or inquiries, and other
  ordinary expenses which the firm incurs to maintain its offices are overhead
  expenses and are not reimbursed by the County,

  REIMBURSABLE EXPENSES AND DISBURSEMENTS
                  Reimbursable expenses and disbursements include costs
  attributable to conducting depositions (including transcript and videos fees),
  retaining experts and consultants, messenger and investigative services, filing fees
  for which the County is not exempt, and out-of-town travel expenditures.
                  The following guidelines should be observed with regard to these
  particular cost items:
                 Messenger/Courier/Delivery/Express/Overnight Mail Services.
 The use of messengers and expedited mail services is considered part of the
 normal overhead costs of the firm. Such costs will only be reimbursed if they are:
 (1) required because of an emergency situation over which the firm had no
 control; or (2) necessary to ensure the safekeeping of sensitive documents or
 materials.
                 Travel. The County does not reimburse for taxis, mileage, meals,
 parking or other local (within counties of Los Angeles, Orange, Riverside, San
 Bernardino and Ventura) travel expenses. When out-of-town travel is required,
 mileage will be reimbursed. The County will also reimburse for coach airline
 travel only. Should counsel or a retained expert elect to travel first-class, the
 coach rate should be indicated on the travel voucher submitted with the invoice.
 Airport parking will be reimbursed at various rates depending upon the location of
 the lot. Out-of-town ground transportation (taxi or rental car) will be reimbursed
 at cost. A per diem is provided for out-of-town meals. The actual cost of meals
 must be itemized and supported by receipts. Lodging will be reimbursed on a per
 night basis (single-occupancy, plus tax) with the submission of the hotel receipt.
 Telephone bills and personal expenses, such as charges for "gift shop," "valet,"
 "movies," bar," and the like, will not be reimbursed.

                  Reproduction/Photocopying and Scanning. The internal copying
  and scanning of documents are considered to be overhead items which are part of
  the firm's cost of doing business. The County expects all monthly copying and
  scanning projects not exceeding 500 pages to be performed internally. A single
  billing period may contain multiple copying and scanning "projects." Outside

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  photocopying or scanning services should be used for large volume (exceeding
  500 pages), or special-sized or formatted projects.
                  Copying. When documents are copied by an outside vendor, the
  County will reimburse the firm for the actual cost of the copying project not to
  exceed $ .15 per page. Should the number of copies exceed 2,500 pages, the
  County shall be billed at a reduced rate not to exceed $ .10 per page. If the firm
  elects to internally copy a large volume (exceeding 500 pages) project, the County
  will reimburse the firm at a rate comparable to that charged by local outside
  vendors, not to exceed $ .15 per page for copies over 500 pages and $ .10 per
  page for copies over 2,500 pages.

                Scanning. When documents are scanned or imaged by an outside
 vendor, the County will reimburse the firm for the actual cost of imaging not to
 exceed $ .20 per page. Hard copies or "blow-backs" produced by imaging
 vendors will be reimbursed at $ .05 per page. An additional charge of up to $ .03
 per hard copy may be added if the documents are "bate-stamped." The County
 will reimburse the firm for projects over 500 pages at the firm's actual cost of
 scanning or imaging, "blow-backs," and bate-stamping not to exceed the
 allowable outside vendor rates for such services.
                 Invoicing. Copying and scanning charges must be documented,
  i.e., the number of pages and cost per page as reflected by the firm's records when
  copied or scanned internally, and by the vendor's invoice when copied or scanned
  outside. The firm or vendor invoice should specifically reference each copying or
  scanning project for which reimbursement is sought

               On-Line Computer-Assisted Research. Charges arising from
 Westlaw, LexisNexis, and other on-line computer research databases are non-
 reimbursable.

         OTHER STANDARD TERMS AND CONDITIONS
 A.       Indemnification:
          Your firm shall indemnify, defend and save harmless the County, its
          agents, officers and employees from and against any and all liability
          expense, including defense costs and legal fees, and claims for damages of
          any nature whatsoever, including, but not limited to, bodily injury, death,
          personal injury, or property damage (including your firm's property), in
          connection with your firm's operations or its services, including any
          workers' compensation suits, liability or expense, arising from or
          connected with services performed.

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  B.       Insurance:
           Without limiting your firm's indemnification of the County and its
           officers, agents and employees, your firm shall provide and maintain at its
           own expense the following programs of insurance covering your firm's
           operations during the term of our engagement.
            1.       Liability: Such insurance shall be primary to and not contributing
                     with any other insurance maintained by the County shall name the
                     "County of Los Angeles" as an additional insured, and shall
                     include, but not be limited to:

                     a)     Comprehensive General Liability insurance endorsed for
                            Premises-Operations, Products/Completed Operations,
                            Contractual, Broad Form Property Damage, and Personal
                            Injury with a combined single limit of not less than
                            $1,000,000 per occurrence.

                     b)     Professional liability insurance with a liability limit of at
                            least $1,000,000 per claim. In lieu of naming the County as
                            an additional insured, the policy may be endorsed as
                            follows:
                            "Insurance afforded by this policy shall also apply to the
                            liability assumed by the insured under the agreement with
                            the County of Los Angeles for legal services, provided such
                            liability results from an error, omission, or negligent act of
                            the insured, its officers, employees, agents, or
                            subcontractors. All other provisions of this policy remain
                            unchanged."

                     c)     Comprehensive Auto Liability endorsed for all owned, non-
                            owned, and hired vehicles with a combined single limit of
                            at least $300,000 per occurrence.
           2.        Workers' Compensation: A program of Workers' Compensation
                     insurance in an amount and form to meet all applicable
                     requirements of the Labor Code of the State of California,
                     including Employers Liability with a $1,000,000 limit, covering all
                     persons providing services on behalf of your firm.
  C.       Warranty of Adherence to the County's Child Support Compliance
           Program:

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          1.       Your firm acknowledges that the County has established a goal of
                   ensuring that all firms which benefit financially by contracting
                   with the County are in compliance with their court ordered child,
                   family and spousal support obligations in order to mitigate the
                   economic burden otherwise imposed upon the County and its
                   taxpayers.
          2.       As required by the County's Child Support Compliance Program
                   (County Code Chapter 2.200) and without limiting your firm's duty
                   to comply with all applicable provisions of law, your firm warrants
                   that it is now in compliance and shall maintain compliance with
                   employment and wage reporting requirements in the Federal Social
                   Security Act (42 USC §653a) and California Unemployment
                   Insurance Code §1088.5, and shall implement all lawfully served
                   Wage and Earnings Withholding Orders or Child Support Services
                   Department Notices of Wage and Earnings Assignment for Child
                   or Spousal Support, pursuant to Code of Civil Procedure §706.031
                   and Family Code §5246(b).
 D.       Compliance with the County's Jury Service Program:
          1.       Jury Service Program: Subject to the provisions of the County's
                    ordinance entitled Contractor Employee Jury Service ("Jury
                    Service Program") as codified in §2.203.010 through §2.203.090
                    of the County Code.
          2.       Written Employee Jury Service Policy;
                   a)     Unless your firm has demonstrated to the County's
                          satisfaction either that your firm is not a "Contractor" as
                          defined under the Jury Service Program (County Code
                           §2.203.020) or that your firm qualifies for an exception to
                          the Jury Service Program (County Code §2.203.070), your
                          firm shall have and adhere to a written policy that provides
                          that its employees shall receive from your firm, on an
                          annual basis, no less than five days of regular pay for actual
                          jury service. The policy may provide that employees
                          deposit any fees received for such jury service with the
                          your firm or that your firm deduct from the employee's
                          regular pay the fees received for jury service.
                   b)     For purposes of this Paragraph, "Contractor" means a
                          person, partnership, corporation or other entity which has a

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                           contract with the County and has received or will receive
                           an aggregate sum of $50,000 or more in any 12 month
                           period under one or more the County contracts or
                           subcontracts. "Employee" means any California resident
                           who is a full-time employee, of your firm. "Full time"
                           means 40 hours or more worked per week, or a lesser
                           number of hours if: 1) the lesser number is a recognized
                           industry standard as determined by the County, or 2) your
                           firm has a long standing practice that defines the lesser
                           number of hours as full time. Full time employees
                           providing short term, temporary services of 90 days or less
                           within a 12 month period are not considered full time for
                           purposes of the Jury Service Program. If your firm uses
                           any subcontractor to perform services for the County, the
                           subcontractor shall also be subject to the provisions of this
                           Paragraph. The provisions of this Paragraph shall be
                           inserted into any such subcontract agreement.

                    c)     If your firm is not required to comply with the Jury Service
                           Program, your firm shall have a continuing obligation to
                           review the applicability of its "exception status" from the
                           Jury Service Program, and your firm shall immediately
                           notify the County if your firm at any time either comes
                           within the Jury Service Program's definition of
                           "Contractor" or if your firm no longer qualifies for an
                           exception to the Jury Service Program. In either event,
                           your firm shall immediately implement a written policy
                           consistent with the Jury Service Program. The County
                           may also require, at its sole discretion, that your firm
                           demonstrate to the County's satisfaction that your firm
                           either continues to remain outside of the Jury Service
                           Program's definition of "Contractor" and/or that your firm
                           continues to qualify for an exception to the Program.
  E.      Independent Contractor Status:
           1.       This agreement is not intended, and shall not be construed to create
                    the relationship of agent, servant, employee, partnership, joint
                    venture, or association, as between the County and your firm.
          2.        Your firm understands and agrees that all your firm personnel
                    furnishing services to the County are employees solely of your


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                   firm and not of the County for purposes of workers' compensation
                   liability.

          3.       Your firm shall b ear the sole responsibility and liability for
                   furnishing workers' compensation benefits to any of your firm's
                   personnel for injuries arising from services performed.
 F.       Warranty Against Contingent Fees:
         Your firm warrants that no person or selling agency has been employed or
         retained to solicit or secure your employ upon an agreement or
         understanding for a commission, percentage, brokerage or contingent fee.

 G.       Governing Laws:
          This agreement shall be governed by and construed in accordance with the
          laws of the State of California and any action brought by either party on
          the agreement shall be brought in Los Angeles County.               .

 H.       Compliance with Applicable Law:
          1.       Your firm shall comply with all applicable federal, State, and local
                   laws, rules, regulations and ordinances, and all provisions required
                   thereby to be included in this agreement are hereby incorporated
                   herein.
          2.       Your firm shall indemnify and hold harmless the County, and its
                   officers, agents, and employees, from and against any and all
                   liability, damages, costs, and expenses, including, but not limited
                   to, defense costs and attorneys' fees, arising from or related to any
                   violation on the part of your firm or its employees, agents, or
                   subcontractors of any such laws, rules, regulations, ordinances, or
                   directives.
                     s


 I.       County Lobbyists:
          Your firm and each County lobbyist or County lobbying firm as defined in
          County Code §2.160.010, retained by your firm, shall fully comply with
          the County Lobbyist Ordinance, County Code Chapter 2.160.




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  J.       Employment Eligibility Verification:
           Your firm warrants that it fully complies with all statutes and regulations
           regarding employment of aliens and others, and that all its employees
           performing services hereunder meet the citizenship or alien status
           requirements contained in all statutes and regulations. Your firm shall
           obtain, from all covered employees performing services hereunder, all
           verification and other documentation of employment eligibility status
           required by all statutes and regulations as they currently.exist and as they
           may be hereafter amended. Your firm shall retain such documentation for
           all covered employees for the period prescribed by law. Your firm shall
           indemnify, defend and hold harmless the County, its officers and
           employees from employer sanctions and any other liability which may be
           assessed against your firm or the County in connection with any alleged
           violation of any statute or regulation pertaining to the eligibility for
           employment of persons performing services.

  K.       Fair Labor Standards:
          Your firm shall comply with all applicable provisions of the Federal Fair
          Labor Standards Act and shall indemnify, defend, and hold harmless the
          County and its agents, officers, and employees from any and all liability,
          including, but not limited to, wages, overtime pay, liquidated damages,
          penalties, court costs, and attorneys' fees arising under any wage and hour
          law, including, but not limited to, the Federal Fair Labor Standards Act,
          for work performed by your firm's employees for which the County or its
          officers, agents and employee may be found jointly or solely liable.

  L.       Record Retention and Inspection:
           Your firm shall allow authorized agencies or any duly authorized
           representative to have the right to access, examine, audit, excerpt, copy or
           transcribe any pertinent transaction, activity, time cards or other records
           relating to your services under this agreement Your firm shall keep such
           material, including all pertinent cost accounting, financial records and
           proprietary data for a period of four (4) years after termination or
           completion.

  M.      Nondiscrimination and Affirmative Action:
           1.       Your firm certifies and agrees that all persons employed by it, its
                    affiliates, subsidiaries, or holding companies are and shall be
                    treated equally without regard to or because of race, color, religion,

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                    ancestry, national origin, sex, age, physical or mental disability,
                    marital status, or political affiliation, in compliance with all
                    applicable federal and State anti-discrimination laws and
                    regulations.
           2.       Your firm shall certify to, and comply with, the provisions of your
                    firm's Equal Employment Opportunity Certification.
           3.       Your firm shall take affirmative action to ensure that applicants are
                    employed, and that employees are treated during employment,
                    without regard to race, color, religion, ancestry, national origin,
                    sex, age, physical or mental disability, marital status, or political
                    affiliation, in compliance with all applicable federal and State anti-
                    discrimination laws arid regulations. Such action shall include, but
                    is not limited to: employment, upgrading, demotion, transfer,
                    recruitment or recruitment advertising, layoff or termination, rates
                    of pay or other forms of compensation, and selection for training,
                    including apprenticeship.
           4.       Your firm certifies and agrees that it will deal with its
                    subcontractors, bidders, or vendors without regard to or because of
                    race, color, religion, ancestry, national origin, sex, age, or physical
                    or mental disability, marital status, or political affiliation.
           5.       Your firm certifies and agrees that it, its affiliates, subsidiaries, or
                    holding companies shall comply with all applicable federal and
                    State laws and regulations to the end that no person shall, on the
                    grounds of race, color, religion, ancestry, national origin, sex, age,
                    physical or mental disability, marital status, or political affiliation,
                    be excluded from participation in, be denied the benefits of, or be
                    otherwise subjected to discrimination.
 N.        Assurance of Compliance with Civil Rights Laws
           Your firm assures that it shall comply with Sub chapter VI of the Civil
           Rights Act of 1964, 42 USC §§ 2000e through 2000e (17), to the end that
           no person shall, on the grounds of race, religion, ancestry, national origin,
           sex, age, condition of physical handicap, marital status or political
           affiliation, be excluded fiom participation in, be denied the benefits of, or
           be otherwise subjected to discrimination under this agreement or under
           any project, program or activity supported by this agreement.



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  0.     Confidentiality;
         1.       Your firm shall maintain the confidentiality of all information
                  which it may acquire arising out of or connected with activities in
                  accordance with all applicable federal, State and County laws,
                  regulations, ordinances and directives relating to confidentiality,
                  including the Code of Professional Responsibility. Your firm shall
                  inform all of its principals, employees and agents providing
                  services hereunder of the confidentiality provisions.
         2.       Your firm shall ensure that all attorneys, paralegals, and secretarial
                  and clerical personnel having access to information relevant to
                  your firm's provision of services under this agreement, are aware
                  of and acknowledge the confidentiality requirements set forth in
                  Paragraph 1* above.
         3.       These confidentiality obligations shall survive this agreement's
                  termination or expiration.
 P.      Conflict of Interest:
         Your firm shall comply with all conflict of interest laws, ordinances, and
         regulations now in effect or hereafter to be enacted.

  Q-     Termination for Non-Appropriation of Funds:
         Notwithstanding any other provision of this agreement, the County shall
         not be obligated for your firm's performance hereunder or by any
         provision of this agreement during any of the County's future fiscal years
         unless and until the County's Board of Supervisors appropriates funds for
         this agreement in the County's budget for each such future fiscal year. In
         the event that funds are not appropriated for this agreement, then this
         agreement shall terminate as of June 30 of the last fiscal year for which
         funds were appropriated. The County shall notify your firm in writing of
         any such non-allocation of funds at the earliest possible date.
 R.      Termination for Insolvency:

         The County may terminate this agreement for default in the event any of
         the following occur:

         1.       Your firm's insolvency - your firm shall be deemed to be insolvent
                  if it has ceased to pay its debts in the ordinary course of business or
                  cannot pay its debts as they become due, whether it has committed
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                     an act of bankruptcy or not, and whether insolvent within the
                     meaning of the Federal Bankruptcy Law or not;

           2.        Your firm's filing of a voluntary petition for reorganization or
                     bankruptcy;

           3.        The appointment of a Receiver or Trustee for your firm;

           4.        Your firm's execution of an assignment for the benefit of creditors.

  S.       Authorization Warranty:

           Your firm represents and warrants that the signatory to this agreement is
           fully authorized to obligate your firm and that all corporate acts necessary
           to the execution of this agreement have been accomplished.

  T.       Changes and Amendments of Terms:

           County reserves the right to change any portion of tire work required under
           this agreement, or amend its terms and conditions as may become
           necessary.

  U.       Validity:

           The invalidity in whole or in part of any provision of this agreement shall
           not void or affect the validity of any other provision.

 V.        Waiver:

           No waiver of a breach of any provision of this agreement by either party
           shall constitute a waiver of any other breach of the provision or any other
           provision of this agreement. Failure of either party to enforce any
           provision of this agreement at any time shall not be construed as a waiver
           of that provision. County's remedies as described in this agreement shall
           be cumulative and additional to any other remedies in law or equity.

 W.        Remedies Reserved to County:

           The remedies reserved to County shall be cumulative and additional to any
           other remedies provided in law or equity.




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  X.       Complete Agreement and Interpretation:

           This agreement supersedes all prior communications and all previous
           written and oral agreements, and shall constitute the complete and
           exclusive statement of understanding between County and firm relating to
           the subject matter of this agreement. No provision of this agreement is to
           be interpreted for or against either party because that party's legal
           representative drafted such provision.
           Please feel free to contact me with any questions.

                                             Very truly yours,

                                             MARY C. WICKHAM
                                             Counly-Ccrianfiek
                                                   /
                                                       /         t
                                             By '    A/
                                                 THOMAS J. F-;UGHNAN
                                                 Senior AssistsCounty Counsel
                                                Executive Office
  TJFtmr


  QUINN EMANUEL URQUHART & SULLIVAN, LLP




  By Steven G. Madison                                           Date




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